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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                           )
 MAKE THE ROAD NEW YORK, et al.,                           )
                                                           )
                              Plaintiffs,                  )
                                                           )
              v.                                           )
 KRISTI NOEM, Secretary of the Department of               ) No. 1:25-cv-00190-JMC
 Homeland Security, in her official capacity, et al.,      )
                                                           )
                               Defendants.                 )
                                                           )


                          DECLARATION OF HANNAH STEINBERG

        I, Hannah Steinberg, declare as follows:

        1.      I am over eighteen years of age and am competent to make this declaration.

        2.      I am a Staff Attorney at the American Civil Liberties Union Immigrants’ Rights

Project. I represent the Plaintiffs in this case.

        3.      Attached hereto as exhibits are true and correct copies of the following:

 Exhibit      Document

 1            U.S. Dep’t of Homeland Sec., Designating Aliens for Expedited Removal, 90 Fed. Reg.
              8,139 (Jan. 24, 2025), https://perma.cc/5AF6-LRYH.

 2            Memorandum from Benjamine C. Huffman, Acting Sec’y, Dep’t of Homeland Sec., to
              Caleb Vitello, Acting Dir., Immigr. & Customs Enf’t, et al., Guidance Regarding How to
              Exercise Enforcement Discretion (Jan. 23, 2025), https://perma.cc/W3CL-SNDN.

 3            Letter from Am. Immigr. Lawyers Ass’n, et al., to Leon Rodríguez, U.S. Citizenship &
              Immigr. Servs., and Sarah Saldana, Immigr. & Customs Enf’t (Dec. 24, 2015),
              https://perma.cc/34JT-H7PN.

 4            U.S. Comm’n on Int’l Religious Freedom, Report on Asylum Seekers in Expedited
              Removal: Volume I: Findings & Recommendations (2005), https://perma.cc/4UFX-26BK.



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5          U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection: The Treatment of
           Asylum Seekers in Expedited Removal (2016), https://perma.cc/YB27-K8FQ.

6          U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection as of 2024 (2025),
           https://perma.cc/6ED5-6UF4.

7          Am. C. L. Union, American Exile: Rapid Deportations that Bypass the Courtroom (2014),
           https://perma.cc/N5DP-4YQ7.

8          Ian James, Wrongly Deported, American Citizen Sues INS for $8 Million, L.A. Times
           (Sept. 3, 2000), https://perma.cc/D4N4-67R9.

9          Order, ECF No. 37, United States v. Sanchez-Figuero, No. 3:19-cr-00025-MMD-WGC
           (D. Nev. July 25, 2019).

10         Pet. for Writ of Habeas Corpus, ECF No. 1, Maria de la Paz v. Jeh Johnson, No. 1:14-
           CV-016 (S.D. Tex. Jan. 24, 2014).

11         Alan Gomez, Trump’s Quick Deportation Plan May Be Illegal, Past Immigration Chiefs
           Say, USA Today (Feb. 24, 2017), https://perma.cc/SQJ3-VJU7.

12         Interior Immigration Enforcement Legislation: Hearing Before the Subcomm. on Immigr.
           & Border Sec. of the H. Comm. on the Judiciary, 114th Cong. (2015) (statement of
           Eleanor Acer, Dir., Refugee Prot., Human Rights First), https://perma.cc/WPV7-LWBU.

13         Hamed Aleaziz, The Biden Administration Has Suspended A Trump-Era Policy That Put
           Immigrants At Risk Of Being Deported Without Due Process, Buzzfeed News (Oct. 14,
           2021), https://www.buzzfeednews.com/article/hamedaleaziz/expedited-removal-trump-
           immigrant-policy-suspended.

14         Ctr. for Migration Studies, Estimates of Undocumented and Eligible-to-Naturalize
           Populations by State, https://perma.cc/KW2H-3WRQ.

15         U.S. Citizenship & Immigr. Servs., Instructions for Consideration of Deferred Action for
           Childhood Arrivals (Jan. 20, 2025), https://perma.cc/B5Q6-TLML.

16         Hamed Aleaziz et al., How ICE Is Seeking To Ramp Up Deportations Through
           Courthouse Arrests, N.Y. Times (May 30, 2025), https://perma.cc/GQ6N-LCL5.

17         Arelis R. Hernández & Maria Sacchetti, Immigrant Arrests at Courthouses Signal New
           Tactic in Trump’s Deportation Push, Wash. Post (May 23, 2025), https://perma.cc/P9WL-
           SCS8.

18         Bill Melugin (@BillMelugin_), Twitter (May 22, 2025), https://perma.cc/P63W-GZ29.



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19         Cameron Arcand, Trump Administration Sets New Goal of 3,000 Illegal Immigrant Arrests
           Daily, Fox News (May 29, 2025), https://perma.cc/Q5XP-Y5NY.

20         Brittany Gibson & Stef W. Kight, Scoop: Stephen Miller, Noem Tell ICE to Supercharge
           Immigrant Arrests, Axios.com (May 28, 2025), https://perma.cc/KY9F-SED4.

21         Gwynne Hogan, ICE Agents Arrest at Least Seven Immigrants as Courthouse Blitz
           Continues, The City (May 29, 2025), https://perma.cc/L73F-3P6K.

22         Luis Ferré-Sadurní & Dana Rubenstein, ICE, Shifting Tactics, Detains High School Student
           at N.Y.C. Courthouse, N.Y. Times (May 27, 2025), https://perma.cc/7FLS-VSDU.

23         Ted Hesson & Kristina Cooke, ICE Arrests Migrants at Courthouses, Opens Door to Fast-
           track Deports, Reuters (May 23, 2025), https://perma.cc/GRV8-J7TS.

24         Camilo Montoya-Galvez & Nidia Cavazos, ICE Ending Migrants’ Court Cases in order to
           Arrest and Move to Deport Them, CBS News (May 23, 2025), https://perma.cc/QKS3-
           5LBQ.

25         Michael Elsen-Rooney, A Bronx High Schooler Showed up for a Routine Immigration Court
           Date. ICE Was Waiting, Chalkbeat (May 26, 2025), https://perma.cc/A75D-PCC5.

26         Nat’l Immigr. Just. Ctr., 22 People Arrested in ICE Raids Announce Federal Court Action
           Challenging Unlawful Warrantless ICE Arrests Under New Trump Administration (Mar.
           17, 2025), https://perma.cc/L88H-YMQT.

27         Judd Legum, US Citizen Jose Hermosillo Was Wrongly Detained by ICE. The
           Government’s Account Is False., Mother Jones (Apr. 23, 2025), https://perma.cc/RV2U-
           3KSR.

28         Laura Barron Lopez et al., American Citizens Wrongly Detained in Trump Administration’s
           Immigration Crackdown, PBS NewsHour (Apr. 23, 2025), https://perma.cc/LH6V-U5TV.

29         Dell Cameron, ICE’s Facial Recognition Dragnet Is Getting More Dangerous, SLATE
           (June 6, 2025), https://perma.cc/9EW4-TSEB.

30         Bryan Baker & Robert Warren, Estimates of the Unauthorized Immigrant Population
           Residing in the United States: January 2018–January 2022, Off. of Homeland Sec.
           Statistics (Apr. 2024), https://perma.cc/JG94-X8FY.

31         “Manifesting” Fear At the Border: Lessons from Title 42 Expulsions, Ctr. for Gender &
           Refugee Studies (Jan. 30, 2024), https://perma.cc/HZD7-S7SJ.

32         Human Rts. First, “Don’t Tell Me About Your Fear”: Elimination of Longstanding
           Safeguard Leads to Systematic Violations of Refugee Law(Aug. 2024),
           https://perma.cc/3J73-D4X2.

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 33          Borderland Immigr. Council, Discretion to Deny: Family Separation, Prolonged Detention,
             and Deterrence of Asylum Seekers at the Hands of Immigration Authorities Along the US-
             Mexico Border (Feb. 2017), https://perma.cc/Q7S2-6FAG.

 34          Hum. Rts. Watch, “You Don’t Have Rights Here:” US Border Screening and Returns of
             Central Americans to Risk of Serious Harm (Oct. 2014), https://perma.cc/9H2G-3C6K.

 35          Nat’l Immigr. Just. Ctr., Re: Inadequate U.S. Customs and Border Protection (CBP)
             Screening Practices Block Individuals Fleeing Persecution From Access to the Asylum
             Process, (Nov. 13, 2014), https://perma.cc/Z4U5-NGZW.

 36          Immigr. & Customs Enf’t, Report of the DHS Advisory Committee on Family Residential
             Centers, (Sept. 30, 2016), https://perma.cc/TP5U-A4TA.

 37          Lydia DePillis & Ernesto Londoño, Trump Targets Workplaces as Immigration Crackdown
             Widens, N.Y. Times (June 7, 2025), https://perma.cc/LF7E-328V.

 38          Exec. Off. for Immigr. Rev., Immigration Court Practice Manual, Chapter 3.1,
             https://perma.cc/CBS9-FQAP.

 39          Refugees Int’l, Addressing the Legacy of Expedited Removal: Border Procedures and
             Alternatives for Reform, (May 2021), https://perma.cc/42PQ-TPZA.

 40          U.S. Dep’t of Homeland Sec., Sample Form I-860 Notice and Order of Expedited Removal
             (Rev. Aug. 1, 2007), https://perma.cc/8352-7W26.

 41          Jackie Llanos, Cuban Man Tries to Strangle Himself Following Arrest in Miami
             Immigration Court, Florida Phoenix (May 30, 2025), https://perma.cc/N3JH-AJY7.



I hereby declare under penalty of perjury of the laws of the United States that the foregoing is true

and correct to the best of my knowledge and belief.



Executed on June 10, 2025, in San Francisco, CA.



                                              _________________________
                                              Hannah Steinberg




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                EXHIBIT 1
                                                                Case 1:25-cv-00190-JMC                          Document 50-23                    Filed 06/10/25             Page 6 of 305
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                                               DEPARTMENT OF HOMELAND                                   border other than at a port of entry, with             235.3(b)(1)(ii),3 this designation is
                                               SECURITY                                                 the March 21, 2022 Notice, the Secretary               effective without prior notice and
                                                                                                        of DHS effectively exercised his                       comment or a delayed effective date.
                                               Office of the Secretary                                  discretion under the INA to limit the                  See, e.g., 67 FR 68923, 68925 (2002
                                                                                                        use of expedited removal to aliens                     Notice); 69 FR 48877, 48880 (2004
                                               Designating Aliens for Expedited                         apprehended by an immigration officer                  Notice); 82 FR 4769, 4769 (2017
                                               Removal                                                  within 100 air miles of the United States              elimination of exception for Cuban
                                               AGENCY: Office of the Secretary,                         international land border and who were                 nationals arriving by air); 82 FR. 4902,
                                               Department of Homeland Security                          continuously present in the United                     4902 (2017 elimination of exception for
                                               ACTION: Notice.                                          States for less than 14 days immediately               Cuban nationals encountered in the
                                                                                                        prior to the date of encounter.                        United States or arriving by sea); 84 FR
                                               SUMMARY: This Notice rescinds the                                                                               35409, 35413 (2019 Notice); 87 FR
                                                                                                           The INA grants the Secretary of                     16022, 16024 (2022 Notice).
                                               March 21, 2022 Notice, Rescission of the
                                               Notice of July 23, 2019, Designation for                 Homeland Security the ‘‘sole and                          Congress explicitly authorized the
                                               Expedited Removal. This Notice also                      unreviewable discretion’’ to modify at                 Secretary to designate categories of
                                               restores the scope of expedited removal                  any time the discretionary limits on the               aliens to whom expedited removal
                                               to the fullest extent authorized by                      scope of the expedited removal                         procedures may be applied. It also made
                                               Congress.                                                designation. The Secretary is exercising               clear that ‘‘[s]uch designation shall be in
                                                                                                        his statutory authority through this                   the sole and unreviewable discretion of
                                               DATES: This designation is effective on                  Notice to designate for expedited                      the [Secretary] and may be modified at
                                               6:00 p.m. EST on Tuesday January 21,                     removal the following categories of                    any time.’’ See INA 235(b)(1)(A)(iii)(I), 8
                                               2025.                                                    aliens not currently designated: (1)                   U.S.C. 1225(b)(1)(A)(iii)(I)(emphasis
                                               FOR FURTHER INFORMATION CONTACT:                         Aliens who did not arrive by sea, who                  added). Therefore, the Secretary’s
                                               Joseph Mazarra, Office of the General                    are encountered anywhere in the United                 designation, within statutory bounds, is
                                               Counsel, Department of Homeland                          States more than 100 air miles from a                  ‘‘committed to agency discretion by law
                                               Security, 202–282–9256.                                  U.S. international land border, and who                and . . . there is no cause of action to
                                               SUPPLEMENTARY INFORMATION:                               have been continuously present in the                  evaluate the merits of the Secretary’s
                                               I. Background                                            United States for less than two years;                 judgment under APA standards.’’ Make
                                                                                                        and (2) aliens who did not arrive by sea,              the Road N.Y. v. Wolf, 962 F.3d 612,
                                                  This Notice rescinds the March 21,                                                                           633–634 (D.C. Cir. 2020). Furthermore,
                                                                                                        who are encountered within 100 air
                                               2022 Notice, Rescission of the Notice of                                                                        as the D.C. Circuit held, based on the
                                                                                                        miles from a U.S. international land
                                               July 23, 2019, Designating Aliens for                                                                           statutory language allowing for
                                                                                                        border, and who have been
                                               Expedited Removal,1 which limited the                                                                           modification of the designation ‘‘at any
                                               application of expedited removal                         continuously present in the United
                                                                                                        States for at least 14 days but for less               time’’ and in his ‘‘sole and unreviewable
                                               procedures to certain aliens under the                                                                          discretion,’’ the Department does not
                                               Immigration and Nationality Act (INA),                   than two years. Therefore, the
                                                                                                        designation in this Notice restores the                have to undertake the notice-and-
                                               to the extent the March 21, 2022 Notice                                                                         comment rulemaking process. Id. at 635.
                                               is inconsistent with this Notice. This                   scope of expedited removal to the fullest
                                                                                                        extent authorized by Congress, as was                  As discussed above, the rulemaking
                                               Notice enables the U.S. Department of                                                                           procedures of the APA do not apply to
                                               Homeland Security (DHS) to exercise                      previously established in the July 23,
                                                                                                                                                               this Notice and the expansion or
                                               the full scope of its statutory authority                2019 Notice, Designating Aliens for
                                                                                                                                                               contraction of a designation may be
                                               to place in expedited removal, with                      Expedited Removal. To the extent there
                                                                                                                                                               made ‘‘at any time.’’ Id. at 634–635
                                               limited exceptions, aliens 2 determined                  is an ambiguity in this Notice, the                    (internal quotation marks omitted).
                                               to be inadmissible under sections                        intended effect of this notice is to apply
                                               212(a)(6)(C) or (a)(7) of the INA who                    expedited removal to the fullest extent                III. Notice of Designation of Aliens
                                               have not been admitted or paroled into                   authorized by statute.                                 Subject to Expedited Removal
                                               the United States and who have not                          The effect of this change will be to                   Pursuant to INA 235(b)(1)(A)(iii), 8
                                               affirmatively shown, to the satisfaction                 enhance national security and public                   U.S.C. 1225(b)(1)(A)(iii), and 8 CFR
                                               of an immigration officer, that they have                safety—while reducing government                       253.3(b)(1)(ii), I order, in my sole and
                                               been physically present in the United                    costs—by facilitating prompt                           unreviewable discretion, as follows:
                                               States continuously for the two-year                     immigration determinations. In                            (A) The Notice titled Designating for
                                               period immediately preceding the date                    particular, the full application of                    Expedited Removal, 87 FR 16022
                                               of the determination of inadmissibility.                 expedited removal authority will enable                (March 21, 2022), is hereby rescinded,
                                               Presently, immigration officers may                      DHS to address more effectively and                    effective immediately.
                                               apply expedited removal to aliens                                                                                  (B) I designate for expedited removal
                                                                                                        efficiently the large volume of aliens
                                               apprehended anywhere in the United                                                                              the following categories of aliens not
                                                                                                        who are present in the United States
                                               States for up to two years after the alien               unlawfully, without having been                           3 8 CFR 235.3(b)(1)(ii) (providing that ‘‘[t]he
                                               arrived in the United States, provided                   admitted or paroled into the United                    Commissioner shall have the sole discretion to
                                               that the alien arrived by sea and the                    States, and ensure the prompt removal                  apply the provisions of section 235(b)(1) of the Act,
                                               other conditions for expedited removal                   from the United States of those not                    at any time, to any class of aliens described in this
                                               were satisfied. For aliens who entered                                                                          section’’ and that this ‘‘designation shall become
                                                                                                        entitled to enter, remain, or be provided
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                                                                                                                                                               effective upon publication of a notice in the Federal
                                               the United States by crossing a land                     relief or protection from removal.                     Register’’ as well as that, ‘‘if the Commissioner
                                                                                                                                                               determines, in the exercise of discretion, that the
                                                 1 The 2022 notice was published at 87 FR 16022.        II. This Notice Is Immediately Effective               delay caused by publication would adversely affect
                                               The 2019 notice was published at 84 FR 35409.                                                                   the interests of the United States or the effective
                                                 2 The term ‘‘alien’’ is defined in statute as ‘‘any      In keeping with the practice followed                enforcement of the immigration laws, the
                                               person not a citizen or national of the United           in announcing the previous                             Commissioner’s designation shall become effective
                                               States.’’ 8 U.S.C. 1101(a)(3). Going forward, DHS                                                               immediately upon issuance, and shall be published
                                               will adhere to statutory language and use the proper
                                                                                                        designations, and consistent with                      in the Federal Register as soon as practicable
                                               terminology.                                             implementing regulations at 8 CFR                      thereafter’’ (emphasis added)).



                                          VerDate Sep<11>2014    16:21 Jan 23, 2025   Jkt 265001   PO 00000   Frm 00025   Fmt 4703   Sfmt 4703   E:\FR\FM\24JAN1.SGM   24JAN1
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                                               currently designated: (1) Aliens who did                 States within a reasonably foreseeable                 containing the same, and methods for
                                               not arrive by sea, who are apprehended                   time.                                                  manufacturing the same by reason of
                                               anywhere in the United States more                                                                              misappropriation of trade secrets the
                                                                                                        Background
                                               than 100 air miles from a U.S.                                                                                  threat or effect of which is to destroy or
                                               international land border, and who have                     The Commission instituted these                     substantially injure a domestic industry.
                                               been continuously present in the United                  reviews on June 3, 2024 (89 FR 47614)                  The complaint, as supplemented,
                                               States for less than two years; and (2)                  and determined on September 6, 2024                    further alleges that an industry in the
                                               aliens who did not arrive by sea, who                    that it would conduct expedited reviews                United States exists as required by the
                                               are apprehended within 100 air miles                     (89 FR 97653, December 9, 2024).                       applicable Federal Statute. The
                                               from a U.S. international land border,                      The Commission made these                           complainant requests that the
                                               and who have been continuously                           determinations pursuant to section                     Commission institute an investigation
                                               present in the United States for at least                751(c) of the Act (19 U.S.C. 1675(c)). It              and, after the investigation, issue a
                                               14 days but for less than two years. Each                completed and filed its determinations                 general exclusion order, or in the
                                               alien placed in expedited removal under                  in these reviews on January 17, 2025.                  alternative a limited exclusion order,
                                               this designation bears the affirmative                   The views of the Commission are                        and cease and desist orders.
                                               burden to show to the satisfaction of an                 contained in USITC Publication 5578                    ADDRESSES: The complaint, except for
                                               immigration officer that the alien has                   (January 2025), entitled Quartz Surface                any confidential information contained
                                               been present in the United States                        Products from China: Investigation Nos.                therein, may be viewed on the
                                               continuously for the relevant period.                    701–TA–606 and 731–TA–1416                             Commission’s electronic docket (EDIS)
                                               This designation does not apply to                       (Review).                                              at https://edis.usitc.gov. For help
                                               aliens who arrive at U.S. ports of entry,                  By order of the Commission.                          accessing EDIS, please email
                                               because those aliens are already subject                   Issued: January 17, 2025.                            EDIS3Help@usitc.gov. Hearing impaired
                                               to expedited removal. Nor does this                      Lisa Barton,                                           individuals are advised that information
                                               designation apply to or otherwise affect                                                                        on this matter can be obtained by
                                                                                                        Secretary to the Commission.
                                               aliens who satisfy the expedited                                                                                contacting the Commission’s TDD
                                                                                                        [FR Doc. 2025–01632 Filed 1–23–25; 8:45 am]
                                               removal criteria set forth in any of the                                                                        terminal on (202) 205–1810. Persons
                                                                                                        BILLING CODE 7020–02–P
                                               previous designations. See 82 FR 4902,                                                                          with mobility impairments who will
                                               69 FR 48877; 67 FR 68923.                                                                                       need special assistance in gaining access
                                                  (C) With the exception of the March                                                                          to the Commission should contact the
                                                                                                        INTERNATIONAL TRADE
                                               21, 2022 Notice rescinded above, this                                                                           Office of the Secretary at (202) 205–
                                                                                                        COMMISSION
                                               Notice does not supersede, abrogate, or                                                                         2000. General information concerning
                                               amend or modify any of the Pre-2019                      [Investigation No. 337–TA–1433]                        the Commission may also be obtained
                                               Designations,4 which shall remain in                                                                            by accessing its internet server at
                                               full force and effect in accordance with                 Certain Glass Substrates for Liquid                    https://www.usitc.gov.
                                               their respective terms.                                  Crystal Displays, Products Containing
                                                                                                                                                               FOR FURTHER INFORMATION CONTACT:
                                                                                                        the Same, and Methods for
                                                 Signed at Washington, DC.
                                                                                                        Manufacturing the Same; Notice of                      Pathenia M. Proctor, The Office of
                                               Benjamine C. Huffman,                                    Institution of Investigation                           Unfair Import Investigations, U.S.
                                               Acting Secretary of Homeland Security.                                                                          International Trade Commission,
                                               [FR Doc. 2025–01720 Filed 1–21–25; 4:45 pm]              AGENCY: U.S. International Trade                       telephone (202) 205–2560.
                                               BILLING CODE 9110–9M–P
                                                                                                        Commission.                                            SUPPLEMENTARY INFORMATION:
                                                                                                        ACTION: Notice.                                           Authority: The authority for
                                                                                                                                                               institution of this investigation is
                                                                                                        SUMMARY: Notice is hereby given that a                 contained in section 337 of the Tariff
                                               INTERNATIONAL TRADE                                      complaint was filed with the U.S.                      Act of 1930, as amended, 19 U.S.C.
                                               COMMISSION                                               International Trade Commission on                      1337, and in section 210.10 of the
                                                                                                        December 18, 2024, under section 337 of                Commission’s Rules of Practice and
                                               [Investigation Nos. 701–TA–606 and 731–                  the Tariff Act of 1930, as amended, on                 Procedure, 19 CFR 210.10 (2024).
                                               TA–1416 (Review)]                                        behalf of Corning Incorporated, Corning,                  Scope of Investigation: Having
                                                                                                        New York. A supplement to the                          considered the complaint, the U.S.
                                               Quartz Surface Products From China                       Complaint was filed on January 7, 2025.                International Trade Commission, on
                                               Determinations                                           The complaint, as supplemented,                        January 17, 2025, ordered that—
                                                                                                        alleges violations of section 337 based                   (1) Pursuant to subsection (b) of
                                                  On the basis of the record 1 developed                upon the importation into the United                   section 337 of the Tariff Act of 1930, as
                                               in the subject five-year reviews, the                    States, the sale for importation, and the              amended, an investigation be instituted
                                               United States International Trade                        sale within the United States after                    to determine:
                                               Commission (‘‘Commission’’)                              importation of certain glass substrates                   (a) whether there is a violation of
                                               determines, pursuant to the Tariff Act of                for liquid crystal displays, products                  subsection (a)(1)(B) of section 337 in the
                                               1930 (‘‘the Act’’), that revocation of the               containing the same, and methods for                   importation into the United States, the
                                               countervailing duty and antidumping                      manufacturing the same by reason of the                sale for importation, or the sale within
                                               duty orders on quartz surface products                   infringement of certain claims of U.S.                 the United States after importation of
                                               from China would be likely to lead to
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                                                                                                        Patent No. 7,851,394 (‘‘the ’394 patent’’);            certain products identified in paragraph
                                               continuation or recurrence of material                   U.S. Patent No. 8,627,684 (‘‘the ’684                  (2) by reason of infringement of one or
                                               injury to an industry in the United                      patent’’); and U.S. Patent No. 9,512,025               more of claims 1, 5, 6, and 8–10 of ’394
                                                                                                        (‘‘the ’025 patent’’). The complainant, as             patent; claims 1, 2, 4, 7, and 10–12 of
                                                 4 See, e.g., 82 FR 4902 (Jan. 17, 2017); 69 FR
                                                                                                        supplemented, also alleges violations of               the ’684 patent; and claims 15–20 of the
                                               48877 (Aug. 11, 2004); 67 FR 68924 (Nov. 13, 2002).
                                                 1 The record is defined in § 207.2(f) of the           section 337 based upon the importation                 ’025 patent, and whether an industry in
                                               Commission’s Rules of Practice and Procedure (19         and sale of certain glass substrates for               the United States exists as required by
                                               CFR 207.2(f)).                                           liquid crystal displays, products                      subsection (a)(2) of section 337;


                                          VerDate Sep<11>2014    16:21 Jan 23, 2025   Jkt 265001   PO 00000   Frm 00026   Fmt 4703   Sfmt 4703   E:\FR\FM\24JAN1.SGM   24JAN1
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                EXHIBIT 2
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                                                                      Secretary
                                                                      U.S. Department of Homeland Security
                                                                      Washington, DC 20528


                                                                      Homeland
                                                                      Security

                                       January 23, 2025


MEMORANDUM FOR:              Caleb Vitello
                             Acting Director
                             U.S. Immigration and Customs Enforcement

                             Pete R. Flores
                             Senior Official Performing the Duties of the Commissioner
                             U.S. Customs and Border Protection

                             Jennifer B. Higgins
                             Acting Director
                             U.S. Citizenship and Immigration Se~ ·~es -

FROM:                        Benjamine C. Huffman
                             Acting Secretary

SUBJECT:                     Guidance Regarding How to Exerci"se Enforcement Discretion

On January 20, 2025, I signed a memorandum entitled Exercising Appropriate Discretion Under
Parole Authority. That memorandum clarifies DHS's position regarding the scope of the parole
statute, 8 U.S.C. § 1182(d)(5), and directs a variety of actions to implement the memorandum.
The memorandum also authorizes DHS components to pause, modify, or terminate, effective
immediately, any parole program that is inconsistent with the memorandum-subject to certain
conditions designed to ensure any such actions are lawful.

On January 21, 2025, I signed and transmitted to the Federal Register a notice entitled
Designating Aliens for Expedited Removal. That notice expands the scope of expedited removal
to the statutory maximum under 8 U.S.C. § 1225(b)(l) which, as further explained in the notice,
includes certain aliens who have not been continuously present in the United States for two
years.

This memorandum provides guidance regarding how to exercise enforcement discretion in
implementing these policies.

"[T]he Executive Branch has exclusive authority and absolute discretion to decide whether to
prosecute a case." United States v. Nixon, 418 U.S. 683,693 (1974). That principle applies with
equal force to immigration enforcement. United States v. Texas, 599 U.S. 670, 679 (2023); see


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                                                                       www.dhs.gov
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also Reno v. American-Arab Anti-Discrimination Comm., 525 U.S. 471,484 (1999) (Scalia, J.)
(describing the Executive Branch's broad discretion to initiate or abandon removal proceedings).

To effectively implement these two new policies, consistent with the principles of enforcement
discretion discussed above, I am directing you to take the following actions.

    (1) For any alien DHS is aware of who is amenable to expedited removal but to whom
        expedited removal has not been applied:
            a. Take all steps necessary to review the alien's case and consider, in exercising
               your enforcement discretion, whether to apply expedited removal. This may
               include steps to terminate any ongoing removal proceeding and/or any active
               parole status.
    (2) For any alien DHS is aware of who does not meet the conditions described in (1) but has
        been granted parole under a policy that may be paused, modified, or terminated
        immediately under the January 20 memorandum:
           a. Take all steps necessary to review the alien's case and consider, in exercising
               your enforcement discretion, whether any such alien should be placed in removal
               proceedings; and
           b. Review the alien's parole status to determine, in exercising your enforcement
               discretion, whether parole remains appropriate in light of any changed legal or
               factual circumstances.

The actions contemplated by this memorandum shall be taken in a manner consistent with
applicable statutes, regulations, and court orders. They shall also be taken in a manner that takes
account of legitimate reliance interests. It should be noted, however, that parole is a positive
exercise of enforcement discretion to which no alien is entitled and that parole "shall not be
regarded as an admission of the alien." 8 U.S.C. § 1182(d)(5)(A). Further, the expedited removal
process includes asylum screening, which is sufficient to protect the reliance interests of any
alien who has applied for asylum or planned to do so in a timely manner. See 8 U.S.C. §
1225(b)(l). To maximize efficiency in the short term, DHS components may wish to prioritize
aliens eligible for expedited removal who failed to apply for asylum within the statutory
deadline. See 8 U.S.C. § 1158(a)(2)(B) (setting a one-year deadline); but see id. § 1158(a)(2)(D)
(discussing a very narrow exception to that deadline).




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                EXHIBIT 3
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December 24, 2015

León Rodríguez
Director, U.S. Citizenship and Immigration Services
20 Massachusetts Avenue, NW
Washington, DC 20529

Sarah Saldaña
Director, Immigration and Customs Enforcement
Department of Homeland Security
500 12th Street, SW
Washington, DC 20536

Dear Director Rodríguez and Director Saldaña:

The undersigned organizations provide legal assistance to parents and children detained in Dilley
and Karnes City, Texas and Berks County, Pennsylvania.1 We write to raise urgent concerns
regarding egregious due process violations taking place inside family detention centers.

On August 21, 2015, Judge Dolly Gee ordered the Department of Homeland Security (DHS) to
comply with the Flores Settlement Agreement by October 23, 2015.2 Since that deadline,
practitioners and advocates on the ground in all three family detention facilities have witnessed
the implementation of a rapid deportation strategy that has short-circuited due process, rivaling
the unlawful processes in place during the summer of 2014 at the Artesia, New Mexico family
detention center.

The vast majority of mothers and children detained at the Dilley, Karnes, and Berks facilities
have fled the regional refugee crisis caused by extreme violence in the Northern Triangle of
Central America, which continues to escalate. The United States has both a legal and a moral
obligation to give these families a meaningful opportunity to establish their claims for protection
before taking steps to deport them. The danger of wrongfully returning someone — especially a
child — to the very danger that prompted his or her family’s flight, is very real. The Guardian




1
  Catholic Legal Immigration Network (CLINIC), the American Immigration Council, Refugee and Immigrant
Center for Education and Legal Services (RAICES), and the American Immigration Lawyers Association (AILA)
are partners in the CARA Family Detention Pro Bono Project, which provides legal services at the Dilley and
Karnes detention facilities. Human Rights First (HRF) coordinates pro bono representation for some families
detained at the Berks facility.
2
  Flores, et al. v. Lynch, et al., No. 2:85-cv-04544, 2015 U.S. Dist. LEXIS 112911 (C.D.Ca. Aug. 21, 2015).

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recently reported more than eighty confirmed cases since January 2014 in which Central
Americans deported from the U.S. were killed upon return.3

Yet the U.S. government has deported many vulnerable, traumatized mothers and children with
viable claims for protection based on a flawed credible and reasonable fear process. These
problems have been compounded since October 23, because DHS has introduced practices that
offend fundamental principles of due process and run rough-shod over key protections built into
the expedited removal process. Specifically:

   USCIS’ negative fear determinations are often flawed, with numerous substantive problems
    evident in the transcripts of initial fear interviews. Further, USCIS is adjudicating requests
    for reconsideration of negative fear determinations based on a heightened standard, which
    has led to the removal of families with viable claims for protection.

   USCIS and ICE have deprived parents and children of their statutory right to immigration
    judge review of a second negative fear determination.

   USCIS is effectively depriving certain children of the opportunity to assert their claims for
    asylum by refusing to fully consider children’s claims independently of their parents’ claims.

   ICE has deported represented parents and children while their cases are still in progress. In
    particular, ICE has disregarded pending and scheduled requests for reconsideration by a
    USCIS asylum officer, pending civil rights complaints, and pending petitions for review to
    the federal courts.

   DHS has transferred represented mothers and children away from counsel sometimes without
    any notice and more recently, without meaningful notice.

These changes, which are discussed in more detail below, have led to the unlawful deportation of
many families who have legitimate claims for asylum or other protection under U.S. law. These
problems also illustrate why expedited removal is simply the wrong approach for a traumatized
population of families, many of whom have survived horrendous violence, rape or domestic
violence.

    I.      Flawed fear interviews and use of a heightened standard to adjudicate requests
            for reconsideration of negative fear determinations

There are many reasons why an initial fear interview, which is often conducted within days of
apprehension, can go awry. Asylum-seeking mothers, who are frequently sick from their
journeys and from their time in Customs and Border Protection (CBP) short-term holding
facilities prior to arriving at Dilley, Karnes, or Berks, are often far too traumatized to reveal
personal details of rape or other abuse, especially in front of their children or if the asylum
officer is male. Those who speak indigenous languages may not be able to communicate at all.
3
 Sibylla Brodzinsky and Ed Pilkington, U.S. Government deporting Central American migrants to their death, THE
GUARDIAN, Oct. 12, 2015, http://www.theguardian.com/us-news/2015/oct/12/obama-immigration-deportations-
central-america (last visited Dec. 22, 2015).

                                                      2

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These hurdles are compounded in the case of a child. It often takes experienced asylum attorneys
many hours or even days to build a relationship of trust with a client before she is ready to reveal
the circumstances that prompted her to flee to the United States.4

Immigration judge review, while very important in the asylum pre-screening process, does not
replace the need for reconsideration. Immigration judge review does not always involve
testimony and seldom involves attorney participation. At Dilley, CARA Project attorneys
receive the next day’s immigration court docket in the late afternoon, usually around 3:30 or 4:00
pm. With hearings beginning at 8:00 am the next morning, our clients have little to no time to
prepare for their immigration judge reviews. At Karnes, RAICES pro bono attorneys do not even
receive the docket from the San Antonio immigration court, which poses obvious challenges to
representation and preparation for negative fear reviews before immigration judges.
Consequently, families at Karnes often do not access legal representation until after an
immigration judge has affirmed a negative fear determination. The reconsideration process
provides a critical opportunity to correct factual errors, provide additional explanation, and
ensure that individuals with meritorious cases can meaningfully access the protections our law
affords. The CARA Project typically spends at least twenty hours per family for those who
request reconsideration.

USCIS’ new approach to reconsideration requests has undermined its regulatory charge to
prevent the erroneous deportation of bona fide asylum seekers. USCIS has the regulatory
authority to reconsider a negative credible fear determination. 8 C.F.R. § 1208.30(g)(2)(iv)(A)
(“the Service … may reconsider a negative credible fear finding that has been concurred upon by
an immigration judge after providing notice of its reconsideration to the immigration judge.”).
Under longstanding agency policy, the government has previously exercised its discretion to
reconsider an asylum seeker’s negative credible fear determination when she “has made a
reasonable claim that compelling new information” in her case exists and should be considered.
See Michael A Benson, Executive Assoc. Commissioner for Field Operations, Immigration &
Naturalization Service, Memorandum, Expedited Removal: Additional Policy Guidance (Dec.
30, 1997).

However, on or around October 23, 2015, USCIS changed its approach and now will only
reconsider a negative fear determination under egregious circumstances. Under 8 C.F.R. §
208.30(e), USCIS should find a credible fear where the facts and law give rise to a “significant
possibility” that an individual will prove a claim for asylum. Given the life and death
consequences of an erroneous fear determination, any type of error by USCIS — whether
egregious or not — indicating that an applicant may in fact meet this standard, should prompt
reconsideration.
Data collected by the CARA Project at Dilley demonstrate the consequences of USCIS’ new
standard, which coincided with a substantial increase in denials of requests for reconsideration.
Notably, the denial rate jumped from 23% to 66% in the weeks following October 23. During
4
 See, e.g., Jane Herlihy, et al., Asylum Claims and Memory of Trauma: Sharing Our Knowledge, THE BRITISH
JOURNAL OF PSYCHIATRY, June 2007, 191 (1) 3-4, http://bjp.rcpsych.org/content/191/1/3 (last visited Dec. 22,
2015); Dr. Julian Gojer et al., Post-Traumatic Stress Disorder and the Refugee Determination Process in Canada:
Starting a Discourse, UNHCR POLICY DEVELOPMENT AND EVALUATION SERVICE, March 2014,
http://www.unhcr.org/53356b349.pdf (last visited Dec. 22, 2015).

                                                        3

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the same period, the length of time USCIS takes to adjudicate a request for reconsideration was
sharply reduced. Whereas USCIS previously took a week or more, the Houston Asylum Office
now issues a decision on a request for reconsideration within twenty-four to forty-eight hours,
and sometimes on the same day that the request was submitted.
The data strongly suggest that USCIS has shifted its approach to the reconsideration process to
match its twenty-day representation to Judge Gee about processing times — notwithstanding the
grave risk to bona fide asylum seekers who will be unlawfully deported as a result. A
substantive comparison of recent denials with pre-October 23 approvals does not reveal any
distinguishable characteristics. Specifically, CARA Project staff have observed that requests for
reconsideration by families articulating the same type of fear, very similar past persecution, and a
comparable fear of future persecution, which were frequently granted in the past, are now
denied.
The impact of USCIS’s new approach on bona fide asylum seekers is plain. Neither its
heightened standard for reconsideration nor the pace of its adjudications aligns with a desire for
accuracy. For example:

          During “Sofia’s”5 credible fear interview at the Dilley facility on November 25, 2015,
           she had trouble understanding the interpreter, was extremely nervous, and felt sick. She
           and her twelve-year-old daughter “Carolina” felt paralyzed by fear during their interview.
           These difficulties prevented Sofia from explaining the threats her daughter faces from a
           known sexual predator and gang member in Honduras, as well as her fears that any
           attempt to protect her daughter could provoke lethal retaliation from the gang. On
           December 3, without allowing any attorney participation, the immigration judge affirmed
           Sofia’s negative credible fear finding. On December 6, CARA Project attorneys
           submitted a request for reconsideration detailing the significant threats that Sofia and her
           daughter would face if forced to return to Honduras. These new facts demonstrate that
           Sofia and Carolina have faced past persecution and have a well-founded fear of future
           persecution on account of Sofia’s political opinion against the gang preying on her child,
           as well as her membership in the particular social group of young women without male
           protection in Honduras. The trauma that Sofia and Carolina have suffered, coupled with
           Sofia’s severe anxiety during her initial fear interview, prevented her from fully
           presenting the facts of her case and warrant reconsideration. Nonetheless, the Asylum
           Office denied her request for reconsideration on December 8. On December 15, the
           CARA Project submitted a request for reconsideration for Sofia’s daughter, which the
           Asylum Office denied the very next day. The family is at risk of imminent deportation
           while Sofia’s attorneys try to persuade USCIS to reconsider her case.

          An asylum officer interviewed “Martiza” at the Karnes facility on November 24, 2015.
           Although she had suffered severe domestic violence at the hands of her husband, who
           started abusing her while she was pregnant with their second son and repeatedly
           threatened to kill her, Martiza only discussed the threats she received from MS-13 gang
           members during her credible fear interview. For Martiza, who comes from El Salvador, a
           country where domestic violence is common, the threats from the MS-13 gang members,

5
    For confidentiality reasons, pseudonyms are used in all case summaries.

                                                           4

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        who had threatened to kill her in an effort to extort money, seemed more important.6
        Moreover, the asylum officer never inquired about her experience of domestic violence.
        Martiza received a negative fear determination, which was affirmed by the immigration
        judge. On December 7, her counsel filed a request for reconsideration outlining new
        information that had not been covered in her initial interview. On December 9, the
        Asylum Office denied the request. On December 10, Martiza filed a new request for
        reconsideration, including additional evidence. On December 14, the Asylum Office
        denied the new request. Martiza, who was deported on December 15, never had an
        opportunity to explain the domestic violence she endured to an asylum officer.

       “Adriana” fled El Salvador with her daughter due to threats from gangs and sexual
        harassment of her daughter at school. On October 17, 2015, while detained at the Karnes
        facility, Adriana had her initial credible fear interview. On October 23, she received a
        negative determination, which an immigration judge affirmed on November 2. That
        same day, her attorneys submitted a request for reconsideration, citing interpretation
        problems, the fact that the asylum officer had repeatedly cut Adriana off, and additional
        information regarding her daughter’s case that had not been elicited in the initial
        interview. The Asylum Office denied this request. Adriana’s attorneys placed multiple
        phone calls with asylum officers and eventually secured a second interview for her
        daughter on the basis that the child’s first interview did not meet the USCIS child asylum
        guidelines. In the course of this process, Adriana and her daughter were placed in
        medical isolation after refusing to sign their removal orders because they were still trying
        to fight their case. The family was finally released more than a month after their initial
        detention.

       When “Kezia” was ten years old, her uncle raped her. Now in her early twenties, she has
        a three-year-old daughter and remains unmarried. Before leaving her home country,
        Kezia and her daughter lived in a small village without male protection. Shortly before
        they fled to the United States, Kezia received an anonymous letter making it clear that
        local gang members had targeted Kezia and her daughter for sexual assault. Convinced
        that the police could not protect them, Kezia and her daughter fled the country. Following
        their arrival in the United States, they were detained at Dilley.

        During Kezia’s initial fear interview, she did not have an opportunity to explain all the
        problems that had led to flee her home country and why she was afraid to return. As
        Kezia explained to CARA staff, “The officer only allowed me to make very short
        answers, or to answer ‘yes’ or ‘no’ to her questions.” She received a negative fear
        determination, which an immigration judge affirmed two days later without allowing any
        attorney participation in the process. Kezia subsequently requested reconsideration, but
        the Asylum Office denied her request.



6
 While persecution based on threats of extortion is an evolving area of asylum law, a recent decision from the
Fourth Circuit Court of Appeals held that nexus to a protected ground exists between gang extortion threats and the
proposed particular social groups in that case. See Ortega Oliva v. Lynch, Slip Op. No. 14-1780, __ F.3d __, 2015
WL 7568245 (4th Cir. Nov. 25, 2015).

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    II.      Refusing to afford immigration judge review of negative fear determinations.

DHS has interfered with our clients’ statutory right to administrative review by an immigration
judge. The Immigration and Nationality Act (INA) and the applicable regulations require that all
individuals who receive negative credible fear determinations have access to administrative
review by an immigration judge. INA § 235(b)(1)(B)(iii)(III) (“The Attorney General shall
provide by regulation and upon the alien’s request for prompt review by an immigration judge of
a determination under subclause (I) that the alien does not have a credible fear of persecution.”);
8 C.F.R. 1208.30(g)(2)(i) (unless an applicant specifically declines immigration judge review,
“[t]he asylum officer’s negative decision regarding credible fear shall be subject to review by an
immigration judge[.]”). The immigration judge’s decision “is final and may not be appealed.” 8
C.F.R. § 1208.30(g)(2)(i).

Likewise, an asylum officer may reconsider a negative determination. 8 C.F.R.
§ 1208.30(g)(2)(iv)(A). Upon reconsideration, the Asylum Office may grant a positive finding
or may re-interview the noncitizen. The process for credible fear interviews, whether initial or
subsequent, is laid out in INA § 235(b)(1)(B), which contains mandatory procedural protections
that apply to all such interviews. Thus, a written record is required in the event of a negative
determination, INA § 235(b)(1)(B)(iii)(II), and the applicant has a right to administrative review
by an immigration judge, INA § 235(b)(1)(B)(iii)(III).

Longstanding agency policy makes clear that when a noncitizen requests and receives a re-
interview, the procedural protections set forth by statute and regulation, including the right to
seek administrative review of any negative credible fear determination, attach. See Michael A.
Benson, Executive Assoc. Commissioner for Field Operations, Immigration & Naturalization
Service, Memorandum, Expedited Removal: Additional Policy Guidance (Dec. 30, 1997) (“Re-
interviews will occur when the Office of International Affairs determines that the alien has made
a reasonable claim that compelling new information concerning the case exists and should be
considered. Districts should cooperate by continuing to detain the alien until the second
adjudication, and potentially also a second review by the immigration judge, is completed.”).

Notwithstanding these procedural protections, sometime after November 5, 2015, USCIS and
ICE began refusing to file necessary paperwork with the immigration courts to allow parents and
children to avail themselves of their statutory right to immigration judge review of a negative
credible fear determination following a re-interview by USCIS.7 In several cases where parents
and children independently filed motions with the immigration courts to obtain such review,
immigration judges denied these motions.




7
  Recently, USCIS appears to have adopted another new practice. After an immigration judge has reviewed certain
cases and affirmed negative determinations, instead of granting a new interview, USCIS has purported to conduct
follow-up questioning to the initial § 235(b)(1)(B) interview. But that practice seems statutorily problematic. The
statute authorizes asylum officers to undertake particular duties, and the regulations further delineate and constrain
those duties. INA § 235(b)(1)(B) provides the only authority for interviewing a noncitizen for purposes of making a
fear determination, and that section requires a written negative finding at the conclusion of the interview – not in the
middle. Moreover, every negative finding requires immigration judge review.

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   “Juliza” and her three children were apprehended on October 7, 2015. Fearing that gang
    members would target her family if they were forced to return to El Salvador, Juliza
    expressed her intent to seek asylum in the United States. On October 14, while detained
    at the Dilley facility, Juliza was interviewed by an asylum officer, who rendered a
    negative decision. Juliza explained during that interview that she only understood “a
    little, not much” of what the officer was asking her. On October 20, without allowing any
    attorney participation in the review, an immigration judge affirmed the negative
    determination. On November 5, Juliza requested reconsideration by the Asylum Office.
    Her request was granted, but her second interview was interrupted because one of her
    children was very sick. At the conclusion of the interview, Juliza was told that if “the
    asylum officer determines that you do not have a credible fear of persecution or torture,
    you may ask an Immigration Judge to review the decision. If you are found not to have a
    credible fear of persecution or torture and you do not request review, you may be
    removed from the United States as soon as travel arrangements can be made.” The
    asylum officer subsequently issued a negative determination in writing.

    Despite Juliza’s statutory and regulatory right to have an immigration judge review that
    decision, DHS refused to facilitate that process. On or about November 9, immigration
    officials refused to refer Juliza’s case to the immigration judge for review of the negative
    determination. On or about November 12, immigration officials from USCIS and ICE
    informed Juliza’s representatives that ICE had refused to refer her case to EOIR because
    she was not entitled to administrative review and would be scheduled for deportation.

    On or about November 13, Juliza filed a motion with EOIR requesting review under INA
    § 235(b)(1)(B)(iii)(III). On November 16, DHS filed an opposition brief stating that
    Juliza is not entitled to administrative review and erroneously relied upon 8 C.F.R. §
    235.3(b)(7), which applies solely to review of expedited removal orders rather than
    immigration judge review of adverse fear determinations. DHS also erroneously stated
    that Juliza is a Mexican national. On November 17, EOIR refused to undertake an
    administrative review and denied Juliza a hearing. Recognizing that USCIS had granted
    Juliza a new credible fear interview pursuant to 8 C.F.R. § 1208.30(g)(2)(iv)(A), EOIR
    declined to review that determination because she “does not have the opportunity for any
    further review by statute or regulation.”

    On November 17, ICE initiated the removal of Juliza and her three children and advised
    that they would be deported without any administrative review. Immigration officials
    took Juliza and her children to the airport to put them on a flight to El Salvador.
    However, due to a health concern Juliza had for one of her children, she and her family
    were taken back to the Dilley facility at the last minute. Three days later, Juliza and her
    children were deported. Since they arrived in El Salvador, Juliza and her children have
    received threats from members of the same gang who had targeted them before they fled.
    Juliza’s husband, who lives in the United States, remains terrified that they will be
    harmed.




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    III.      Failing to consider a child’s asylum claim independently from the parent’s
              claim.

INA § 235(b)(1) sets forth the scheme through which foreign nationals subject to expedited
removal shall be referred to the Asylum Office for a fear determination if they indicate an
intention to apply for asylum or a fear of persecution, which may be expressed any time prior to
deportation. This rule does not exclude minors who have been placed in expedited removal from
being referred for a fear determination.8

Recognizing children’s unique vulnerabilities, USCIS created a special set of guidelines for
analyzing children’s asylum claims.9 These guidelines require asylum officers to view events
from the child’s perspective, taking into account the unique physical and psychological capacity
of a child who is developing.10 Thus, children may have claims distinct from their parents or
stronger claims based on the same facts.11

Notwithstanding the USCIS guidelines, asylum officers have often failed — in the name of
expeditiously processing families — to carry out their duty to conduct comprehensive,
individualized screenings of children. In recent weeks, attorneys have observed that many
requests for independent, initial interviews or re-interviews for children have been denied.
Further, many initial credible fear “interviews” of children have lasted only a few minutes and
have involved only brief, perfunctory questioning in the middle of, or immediately after, the
mother’s interview. Immigration judges often affirm the resultant negative findings without
even speaking with the affected children. Given ICE’s refusal to refer negative fear
determinations issued after reconsideration to immigration judges for review, these children will
receive less process than other asylum seekers – although they are among the most vulnerable
asylum seekers the government encounters. The children’s lack of review safeguards available to
other asylum seekers prejudices them in establishing eligibility for asylum.

          Nine-year-old “Danny” was never given the chance to speak to an asylum officer or an
           immigration judge before being deported with his five-year-old brother, two-year-old
           sister, and mother (see Juliza’s story in section II, above). Danny was terrorized by a
           Mara 18 gang member who accosted him outside the grounds of his school. The gang
           member threatened to take Danny away if he did not deliver a certain amount of money.
           On October 16, 2015, without speaking to Danny, the Asylum Office issued him a

8
  The regulations specifically note that a noncitizen may be – but does have to be – included in the principal’s
credible fear determination. See 8 C.F.R. § 208.30(b) Treatment of dependents (providing that a spouse or child
who arrived in the United States concurrently with the principal “may have his or her credible fear evaluation and
determination made separately, if he or she expresses such a desire”).
9
  Memorandum from Jeff Weiss, Acting Director, Office of International Affairs, to Asylum Officers, Immigration
Officers and Headquarters Coordinators (Refugees and Asylees), “Guidelines for Children’s Asylum Claims”
(December 10, 1998), http://www.aila.org/infonet/ins-guidelines-for-childrens-asylum-claims.
10
   Asylum Officer Basic Training Course Lesson Plan, “Guidelines for Children’s Asylum Claims,” at 37 (Sept. 1,
2009), http://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Refugees%20%26%20Asylum/Asylum/
AOBTC%20Lesson%20Plans/Guidelines-for-Childrens-Asylum-Claims-31aug10.pdf.
11
   The practice of subjecting any minor to the expedited removal process is questionable for reasons beyond the
scope of this letter. One question that bears mention is whether there could ever be a jurisdictional basis for lodging
the necessary predicate charge under INA § 212(a)(6) or (a)(7) against a minor – especially an infant – who plainly
lacks the capacity to form the intent required under either provision.

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    negative credible fear determination, solely on the basis of his mother’s interview. On
    October 20, an immigration judge, who also did not speak to Danny, affirmed this
    determination. As previously discussed, Danny’s mother requested reconsideration of the
    fear finding by USCIS because, as she clearly stated during her initial interview, she
    understood only “a little, not much” of what the officer was asking her. Danny’s mother’s
    reconsideration interview had to be interrupted because her daughter was sick. When the
    interview was completed, the Asylum Office again issued a negative determination.
    Danny’s mother sought immigration judge review of that decision, which was denied on
    or around November 9. On November 17, the CARA Project requested that the Asylum
    Office conduct an independent interview of Danny; that request was denied on November
    18. In the early morning hours of November 20, Danny and his family were deported.

   Twelve-year-old “Carolina” was asked only nine questions in the middle of her mother’s
    credible fear interview (see Sofia’s story in section I, above). None of these questions
    addressed whether she was afraid to return to Honduras or, if so, why. The asylum
    officer, who was male, spoke to Carolina for only a few minutes before resuming her
    mother’s interview and then issued a negative determination for both Carolina and her
    mother. But Carolina has a strong asylum claim of her own, separate and apart from her
    mother’s. Carolina was repeatedly and directly targeted for predatory sexual acts and has
    been aggressively stalked, at times with knives and machetes, by a gang member who
    raped her friend. Carolina fears not only that this man will rape or kill her, but also the
    consequences of having reported her friend’s rape to her mother and community
    members and of having defied the wishes of a gang member. The questioning Carolina
    received during her mother’s credible fear interview was brief, perfunctory, and wholly
    insufficient to elicit information from a terrified preteen girl. She states in the declaration
    accompanying her own request for reconsideration that she had not even shared with her
    mother many of the harrowing details of the sexual harassment to which she was
    subjected. Despite Carolina’s inability to explain the persecution she faces during the
    original credible fear interview, the Asylum Office denied her request for
    reconsideration. Carolina and her mother are now in danger of imminent deportation.
    Meanwhile, her attorneys are continuing to try to persuade USCIS to reconsider her case.

   “Eliana,” a Guatemalan Mam-speaking mother, and her four children, ages four, five,
    nine, and thirteen, were detained at Dilley for more than a month. An asylum officer
    interviewed Eliana on November 18, 2015. But the transcript of the interview revealed
    clear communication difficulties because Eliana could not understand the particular
    dialect spoken by the Mam interpreter, who in turn spoke to a telephonic Spanish
    interpreter, who then communicated with the asylum officer. On multiple occasions,
    Eliana asked for a different interpreter and stated she did not understand the language
    being used, but the asylum officer responded that this was “proably [sic] as good as it
    gets” and forged ahead with the interview. At two points of the interview, the interpreter
    service was disconnected, first for twenty minutes and then for five minutes. The only
    child to whom the asylum officer spoke was “Jorge,” Eliana’s eldest child. The officer
    asked Jorge only six questions, not one of which was meaningfully designed or intended
    to elicit evidence regarding a credible fear for a child; like his mother, Jorge understood
    little of what was said. Yet on the basis of that flawed interview, the asylum officer

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      concluded that neither Eliana nor any of her children had a fear of return. Without
      allowing any attorney participation, an immigration judge affirmed that decision for the
      entire family. Eliana requested reconsideration, but the Asylum Office denied that
      request. The family’s attorneys then requested an initial interview for Eliana’s daughter
      as well as a re-interview for Jorge, who had never been meaningfully interviewed in the
      first place. The Asylum Office denied those requests, too, and the family was scheduled
      for deportation. The family’s return to danger was only stayed at the last minute after
      Eliana’s attorneys filed a complaint with the DHS Office for Civil Rights and Civil
      Liberties.

     As an eleven-year-old boy, “Ricardo” found the fear determination process very
      intimidating. He was so nervous during his initial fear interview that his hands were
      sweaty and shaking and he “was crying a little bit.” Since the age of five, Ricardo has
      suffered from memory retention problems, which prevented him from fully explaining his
      fear of return to the asylum officer. Throughout his childhood, Ricardo endured severe
      trauma. His grandfather physically abused his mother and murdered his grandmother. On
      one occasion, Ricardo’s grandfather locked him in the house with his mother, walked
      around with a machete, and threatened to kill both of them. Despite significant case law
      establishing that domestic violence constitutes persecution and that gangs specifically
      target boys Ricardo’s age without male protection, the asylum officer only questioned
      Ricardo briefly during his mother’s interview. His subsequent request for an independent
      interview was denied, and Ricardo and his mother were deported the next day.

IV.      Disregarding pending and scheduled requests for reconsideration and other
         ongoing legal processes.

Since early November 2015, ICE has disregarded pending requests for reconsideration and
other ongoing legal processes in deporting families. Previously, when attorneys informed the
Asylum Office that they were preparing requests for reconsideration on behalf of particular
families, the Asylum Office would request stays of removal for those families with their ICE
counterparts. This practice changed around early November, when ICE’s Office of Chief
Counsel informed CARA Project staff on the ground at the Dilley facility that this
“gentleman’s agreement” would no longer be honored. As a result of this change in practice,
several families with valid claims for protection have been deported, sometimes even after a
request for reconsideration has been granted and a re-interview has been scheduled. In
addition, CARA Project staff have also observed that ICE effectuates deportations regardless
of other pending legal processes, including in certain instances stay requests with federal
courts of appeals, of which CARA staff routinely notify ICE upon filing.

     In May 2014, three M-18 gang members attacked “Iliana” and her sisters and held them
      hostage for ransom in their home country of Honduras. In August 2015, the same gang
      members began threatening Iliana again and, on one occasion, grabbed her, held a knife
      to her neck, and demanded money. The gang members later appeared at her home and
      again threatened her if she refused to pay. Once the gang members realized that Iliana
      lived alone with her twelve-year-old son, they repeatedly returned to her home,
      threatening to kill her and her son if she did not pay. In early September 2015, Iliana fled

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    to the United States with her son. They were detained at the Karnes facility, and Iliana
    did not receive any legal advice prior to her initial credible fear interview on October 10,
    2015. After the Asylum Office issued a negative decision on October 12, Iliana’s
    attorneys filed a request for reconsideration, which was granted on October 29. The
    Asylum Office scheduled Iliana’s new credible fear interview for November 3 at 8 am.
    However, when an attorney arrived at the Karnes facility and attempted to attend the re-
    interview, Iliana could not be found. Shortly thereafter, the Asylum Office confirmed that
    Iliana had been deported on the evening of November 2, despite having a re-interview
    scheduled for the following morning.

    “Yatzil” an indigenous K’iche-speaking woman, fled her home country of Guatemala
    after non-indigenous men from a neighboring community repeatedly targeted and
    threatened her. The threats began around August 2015 when a masked man came into
    Yatzil’s store, grabbed her daughter, and threatened to kidnap her if Yatzil did not give
    him money. After fleeing to the United States, Yatzil and her daughter were detained at
    Karnes on September 28, 2015. Yatzil underwent a credible fear interview, which was
    conducted in Spanish, on October 8 and received a negative determination. On October
    26, CARA attorneys submitted a request for reconsideration, explaining that Yatzil’s
    credible fear interview had been conducted in Spanish even though she is a K’iche
    speaker. The request explained further that Yatzil had received new information from her
    mother that members of the gangs who had previously threatened her had returned to
    their home.

    Yatzil’s request for reconsideration was submitted by e-mail with attachments in excess
    of 10 MB. Given that the e-mail did not bounce back, her attorneys presumed it had been
    delivered. Having received no acknowledgement from the Asylum Office, they
    resubmitted the request on October 27, and copied a specific asylum officer. The
    attorneys also directly contacted ICE to alert them that the request was pending. The ICE
    officer who responded advised that Yatzil’s deportation was imminent, and that he would
    continue moving forward until he heard otherwise. On October 28, the attorneys again
    contacted the Asylum Office to confirm that Yatzil’s request had been received. That
    day, for the first time, the Asylum Office advised the attorneys that their servers could
    not accept attachments in excess of 10 MB. Accordingly, the attorneys re-submitted the
    request for reconsideration for the third time in as many days, in three separate emails.
    Later that day, the Asylum Office advised Yatzil’s attorneys that they could not
    adjudicate the request because Yatzil had been deported that morning. Since her return to
    Guatemala, Yatzil has lived in hiding, afraid to leave her house because she knows that
    the men who were threatening her before she left still want to kill her and her daughter.

   As a single mother, “Lillian” was targeted and repeatedly raped over a period of seven
    months by her former employer. She and her thirteen-year-old daughter “Maribel” fled
    Guatemala after known rapists and drug traffickers began targeting Maribel. Armed men
    known for raping young girls chased Maribel on two separate occasions. Lillian and
    Maribel's decision to seek protection in the United States was driven in part by the nearly
    identical recent experiences of two other girls around Maribel’s age, who had been


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          pursued and raped. Additionally, the same men went to Lillian’s home and threatened to
          harm her if she refused to work for their drug trafficking ring.

          On November 10, 2015, an Asylum Officer interviewed Lillian and issued a negative fear
          determination. The asylum officer never interviewed Maribel, even though Lillian’s
          claims focused on protecting her daughter. On November 20, the immigration judge
          affirmed the negative determination. On November 24, CARA attorneys filed a request
          for reconsideration, which the Asylum Office denied the following day. On December 2,
          CARA attorneys filed another request for reconsideration based on additional
          information, including a declaration detailing the danger that Maribel faced. The Asylum
          Office denied that request the same day.

          When Lillian arrived in the United States, she was suffering from an infection that
          required surgery, but she did not receive adequate medical attention while detained.
          Instead, after going to the medical clinic and complaining of her pain on three separate
          occasions, she was given pain medication. When ICE attempted to deport Lillian and
          Maribel, they were removed from the airplane due to concern that Lillian would be
          traveling under dangerous conditions because she did not have an adequate supply of her
          medication.
          Despite pending claims under the Federal Torts Claim Act on behalf of Lillian and
          Maribel, ICE deported them on December 14, in direct violation of the agency’s policy
          not to deport any individual with a pending civil rights claim against the government.12
          Lillian and Maribel are currently living in hiding in Guatemala. Already, in the weeks
          since their return, Lillian has received two letters under her door threatening to kidnap
          Maribel if Lillian refuses to cooperate in drug trafficking.

     V.       Transferring Represented Families Without Notice to Counsel

Shortly after October 23, the CARA Project and Human Rights First became aware that DHS
was transferring families from Dilley and Karnes to Berks after they had been detained in the
Texas facilities for around seventeen days. Very often, the families who were transferred had
either a pending request for reconsideration or a scheduled re-interview.

On November 2, 2015, the CARA Project sent DHS and ICE Headquarters a list of nineteen
client families who had been transferred from Dilley to Berks, along with six client families who
had been transferred from Karnes to Berks, without any prior notice to their counsel. Prior to
these transfers, the lawyers for each of the clients had a G-28 (Notice of Appearance as Attorney
or Representative) on file with the local ICE office. On November 16, the CARA Project advised
ICE that the Flores Settlement Agreement requires advance notice to counsel of any transfer of a
child in DHS custody.13 Since then, the advance notice provided has often not been meaningful

12
   Memorandum of Understanding, Director John Morton, Prosecutorial Discretion: Certain Victims, Witnesses
and Plaintiffs (June 17, 2011).
13
   Flores Settlement Agreement, No. CV-85-4544 (C.D.Cal. 1997), at para. 27,
https://www.aclu.org/sites/default/files/assets/flores_settlement_final_plus_extension_of_settlement011797.pdf (last
visited Dec. 22, 2015).


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because ICE does not tell counsel when a family is scheduled for transfer — only that the family
will at some indeterminate time in the future be transferred, making it nearly impossible for
attorneys to take steps to prepare their clients.

The transfer of represented families has interfered with representation efforts by the CARA
Project and caused our clients a great deal of stress. For example:

      The CARA Project notified ICE on October 28, 2015 that one client, “Jenny,” had been
       transferred from the Dilley facility to the Berks facility with no notice to counsel. CARA
       staff explained that Jenny was a particularly vulnerable client whose mental state was
       very fragile. In fact, on October 25, a licensed clinical social worker at Dilley had found
       that Jenny was suffering from Post-traumatic Stress Disorder (PTSD) with anxiety
       features and depression. When Jenny learned that she had received a negative credible
       fear determination, she ran to the bathroom, vomited, and then had a panic attack — after
       which she was rushed out of the legal visitation trailer on a stretcher. After an
       immigration judge affirmed the asylum officer’s negative fear determination, Jenny had
       another panic attack outside the court trailer. By that point, Jenny and her children, ages
       six and three, had been detained for more than five weeks. Despite Jenny’s submission of
       a request for reconsideration on October 27, she and her children were transferred to the
       Berks facility the following day with no warning to her or her counsel.

       Transferring Jenny away from her attorneys, with whom she had built trust through
       numerous meetings to prepare her case, worsened her fragile psychological state. On
       November 7, following her transfer to the Berks facility, a licensed clinical social worker
       who met with Jenny reported that she appeared highly fearful and distraught during most
       of the interview and had again displayed symptoms consistent with PTSD. As CARA
       staff have observed with many other transfers, ICE officials did not tell Jenny where she
       was going when they took her to the airport. Jenny and her children were transported on
       a flight with a number of men and women shackled at the back of the plane. Jenny was so
       afraid that she refused to allow her six-year-old daughter to use the bathroom at the rear
       of the plane and instead diapered her for the duration of the flight. Following her arrival
       at the Berks facility, her attorneys had to refile Jenny’s request for reconsideration with
       the Newark Asylum Office and secure local counsel at the Berks facility. Jenny’s request
       for reconsideration was ultimately granted, and her re-interview resulted in a positive
       determination.

      “Alejandra’s” husband was killed by local MS-13 gang members in her home country of
       El Salvador on June 20, 2015. After her husband’s murder, Alejandra had contact with
       the police in the course of getting papers signed for her husband’s life insurance policy.
       Because she was seen in a police car, certain gang members assumed she was
       cooperating with the police and began threatening her and her children. After two months
       in hiding, Alejandra and her children fled to the United States. While detained at the
       Karnes facility, Alejandra received a negative reasonable fear determination and her
       children received negative credible fear determinations. CARA attorneys filed G-28s for
       Alejandra and her children before their cases were reviewed by an immigration judge,
       who subsequently affirmed the negative determinations. On October 26, 2015,

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       Alejandra’s attorney called her deportation officer to alert him that a request for
       reconsideration was being prepared. However, only after filing the request on October 28
       did Alejandra’s attorney learn that she and her children had been transferred to the Berks
       facility. Her attorneys received no prior notice of the transfer.

                                          Conclusion

The shifts in USCIS and ICE practices detailed in this letter undermine due process protections
for the vulnerable population of families fleeing violence in Central America and seeking
protection in the United States. These shifts underscore the reality that this Administration’s
experiment with family detention has failed. We hope that this letter will prompt your agencies
to reconsider the implications of these practices and to immediately end the misguided policy of
detaining children and their parents in Texas and Pennsylvania.



Benjamin Johnson                                    Jeanne Atkinson




American Immigration Council                        Catholic Legal Immigration Network, Inc.



Victor D. Nieblas Pradis                            Jonathan Ryan




American Immigration Lawyers Association            Refugee and Immigrant Center for
                                                    Education and Legal Services


Eleanor Acer




Human Rights First




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cc:

Cecilia Muñoz, Assistant to the President and Director, White House Domestic Policy Council

Alejandro Mayorkas, Deputy Secretary, Department of Homeland Security

Esther Olavarria, Senior Counselor to the Secretary of Homeland Security

Serena Hoy, Senior Counselor to the Deputy Secretary of Homeland Security

Juliet Choi, Chief of Staff, U.S. Citizenship and Immigration Services

Leonard P. Joseph, Chief of Staff, U.S. Immigration and Customs Enforcement




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                                              UNITED STATES COMMISSION ON
                                              INTERNATIONAL RELIGIOUS FREEDOM
                                              Report on Asylum Seekers
                                              in Expedited Removal
                                              VOLUME I: FINDINGS & RECOMMENDATIONS
                                              As authorized by Section 605 of the International Religious Freedom Act of 1998




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                      REPORT ON
                    ASYLUM SEEKERS
                        IN
                EXPEDITED REMOVAL




                         FEBRUARY 2005
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             U.S. Commission on International Religious Freedom
                      800 North Capitol Street, NW
                                 Suite 790
                          Washington, DC 20002
                              202-523-3240
                            202-523-5020 (fax)

                              www.uscirf.gov
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                                                 Preeta D. Bansal
                                                       Chair

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                                                    Nina Shea*
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                                                Michael Cromartie
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                                            Bishop Ricardo Ramirez
                                                Michael K. Young
                                 Ambassador John V. Hanford, III, ex officio

                                                 Joseph R. Crapa
                                                Executive Director
                             Tad Stahnke                          Mark Hetfield
                        Deputy Director of Policy              Immigration Counsel

                            Asylum Seekers in Expedited Removal Subcommittee

                                                 Preeta D. Bansal
                                                Michael Cromartie
                                            Bishor Ricardo Ramirez
                                                Michael K. Young
                                            Felice D. Gaer, ex officio




*
    Due to personal demands on her time, Commissioner Shea did not review or participate in the Study.
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                                                  AUTHORS
                                     REFUGEE AND ASYLUM EXPERTS
                              Mark Hetfield, Editor and Director of Study
                          (U.S. Commission on International Religious Freedom)
                                                Kate Jastram
                      (University of California at Berkeley, Boalt Hall School of Law)
                                           Allen S. Keller, M.D.
               (NYU School of Medicine, Bellevue-NYU Program for Survivors of Torture)
                                             Charles H. Kuck∗
                              (Weathersby, Howard, and Kuck, LLC, Atlanta)
                                           DETENTION ADVISOR
                                            Craig Haney, Ph.D.
                                   (University of California at Santa Cruz)
                                          CHIEF METHODOLOGIST
                                           Fritz Scheuren, Ph.D.
                        (National Opinion Research Center, University of Chicago)
                                        LEADING RESEARCH STAFF
                                         Patrick Baier, Statistician
                                    (National Opinion Research Center)
                                        Cory Fleming, Statistician
                                    (National Opinion Research Center)
                                 Tala Hartsough, Research Coordinator
                      (University of California at Berkeley, Boalt Hall School of Law)
                                   Susan Kyle, Research Coordinator
                          (U.S. Commission on International Religious Freedom)
                             Andrew Rasmussen, Ph.D., Research Director
                             (Bellevue-NYU Program for Survivors of Torture)
                                   Kim Reeves, Research Coordinator
                             (Bellevue-NYU Program for Survivors of Torture)
                      Barry Rosenfeld, Ph.D., Port of Entry Study Methodologist
                                            (Fordham University)




∗
 Replaced Robert C. Divine, who resigned on June 30, 2004 to accept an appointment at the Department of
Homeland Security as the Chief Counsel to U.S. Citizenship and Immigration Services.
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                               RESEARCHERS

            U.S. COMMISSION ON INTERNATIONAL RELIGIOUS FREEDOM
                             Claire Morris Clark
                                 Robin Gary
                             Anne Marie Harkins
                                Karen Luong

                    NATIONAL OPINION RESEARCH CENTER
                              Ali Mushtaq

      UNIVERSITY OF CALIFORNIA AT BERKELEY BOALT HALL SCHOOL OF LAW
                              Michael Burstein
                              Shelley Cavalieri
                                Carol Chacon
                               Amy Cucinella
                             Allison Davenport
                               Kathleen Glynn
                               Steven Herman
                                Olivia Horgan
                               Tara Lundstrom
                                 Lauri Owen
                                 Kyra Sanin
                                 Rani Singh
                               Rebecca Tanner
                                Kaja Tretjak
                             Kristie Whitehorse

               BELLEVUE-NYU PROGRAM FOR SURVIVORS OF TORTURE
        Monica Aguirre                                Jonathan Hill
       Christopher Barrett                            Jessica Hood
          Pamela Blair                               Marissa Huang
           Rona Carter                                Allison Korn
        Charlotte Labys                             Charlotte Labys
           Tracy Chu                                 Christina Luna
          Adam Cohen                                  Jane Marshall
        R. Meghan Davis                           Christina Mathieson
           Nirva Delva                               Melody Moezzi
           Mariel Diaz                             Valentina Nikulina
            Tia Dole                                 Lorelei Prevost
        Darlene Dowling                              Claudia Rincón
       Cristina Fernandez                           Jamie Rosenman
          Lara Gamble                                Evan Silverman
         Sanida Halebic                              Sylvia Sullivan
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ACKNOWLEDGEMENTS

        The authors of this Study would like to express our appreciation to the following
individuals and organizations who were of great assistance during our research. We would
especially like to thank the Commissioners on the Expedited Removal Subcommittee for their
tireless support, their counsel, and for accompanying us to numerous detention centers and ports
of entry. We would also like to express our gratitude to the many men and women around the
country at the Department of Homeland Security and the Executive Office for Immigration
Review who provided us with their time and insights on the Expedited Removal Process.
DEPARTMENT OF HOMELAND SECURITY
Customs and Border Protection (CBP) – especially our primary liaison, Linda Loveless, as
well as Salvador Flores and Dana Graydon;
Immigration and Customs Enforcement (ICE) – especially our primary liaison, Elizabeth
Herskovitz, as well as John Bjerke and Teresa Logue;
Office of Immigration Statistics – especially our primary liaison, Michael Hoefer, and Jim
Fitzsimmons; and
U.S. Citizenship and Immigration Services (USCIS) – especially our primary liaison, Georgia
Papas, as well as Karen Fitzgerald and Marc Sanderson.
DEPARTMENT OF JUSTICE
Executive Office for Immigration Review (EOIR) – especially our primary liaison, Marta
Rothwarf, as well as Isabelle Chewning, Steven Lang, Scott Rosen, Brett Endres and Pamela
Calvert.
GOVERNMENT ACCOUNTABILITY OFFICE (GAO) – especially Richard Stana and Jim Blume, who
interrupted his retirement to discuss the GAO Study with us.
UNITED NATIONS HIGH COMMISSIONER FOR REFUGEES (UNHCR) – especially Larry Katzman,
Dianne Curran, Elizabeth Dallam, Jane Kochman, Janice Marshall and Andrew Painter.
NON-GOVERNMENTAL ORGANIZATIONS AND ACADEMIC INSTITUTIONS
American Bar Association, Washington, D.C. – especially Andrea Siemens for her invaluable
guidance on the detention standards;
Center for Gender and Refugee Studies, UC Hastings College of the Law, San Francisco –
especially Karen Musalo for sharing her extensive expertise and groundbreaking efforts;
Florida Immigrant Advocacy Center (FIAC), Miami – especially Cheryl Little for facilitating
meetings with clients to hear about their experiences in Expedited Removal;
Georgetown University, Washington, D.C. – especially Dean T. Alexander Aleinikoff of the
Law Center, and Andrew Schoenholtz at the Institute for the Study of International Migration,
for hosting a roundtable on the Study;
Hebrew Immigrant Aid Society (HIAS), New York – especially Frank Lipiner, Reena Arya
and Simon Wettenhall for facilitating meetings to hear about their clients’ experiences;
Human Rights First, New York – especially Eleanor Acer, Archi Pyati, Erin Corcoran and
Anwen Hughes for facilitating meetings to hear about their clients’ experiences; and
Migration Policy Institute (MPI), Washington, D.C. – especially Kathleen Newland for
hosting a roundtable marking the beginning, and a briefing marking the end, of the Study.
And the many other NGOs around the country who met with us on Expedited Removal.


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      A Study Authorized by Section 605 of the International Religious Freedom Act of 1998
                        (The entire study is available at www.uscirf.gov)

EXECUTIVE SUMMARY

THE UNITED STATES COMMISSION ON INTERNATIONAL RELIGIOUS FREEDOM

        The U.S. Commission on International Religious Freedom (USCIRF) was established by
the International Religious Freedom Act of 1998 (IRFA). USCIRF is an independent and
bipartisan federal agency created to monitor religious freedom in other countries and advise the
President, Secretary of State and Congress on how best to promote it.

        IRFA also authorized the Commission to appoint experts to conduct a study to advise
whether certain legislative changes to asylum, enacted in 1996, were impairing America’s
obligation – and founding tradition – of offering refuge to those suffering persecution.

        The Study examined how the new immigration procedure – known as “Expedited
Removal” – was affecting asylum seekers, regardless of whether or not the claim was based on
religion, race, nationality, membership in a particular social group, or political opinion.

EXPEDITED REMOVAL

       In 1996, President Bill Clinton signed the Illegal Immigration and Immigrant
Responsibility Act (IIRAIRA), the most comprehensive immigration reform legislation in over
30 years. Among other reforms, the legislation established Expedited Removal, which was
intended to strengthen the security of America’s borders, without closing them to those fleeing
persecution.

       Specifically, prior to IIRAIRA, immigration inspectors could not compel an improperly
documented alien to depart the United States. The inspector had the discretion to offer the alien
the opportunity to withdraw his application for admission, or to refer the alien to an immigration
judge for a hearing. If the inspector did refer the alien to an immigration judge, the alien could
be detained until the hearing, but would generally be released due to bed-space shortages.

       Under IIRAIRA, immigration inspectors were authorized to summarily remove aliens
who lacked appropriate travel documents, or who obtained their travel documents through fraud
or misrepresentation. Concerned, however, that bona fide asylum seekers not be removed to
countries where they may be persecuted, Congress also included provisions to prevent the
Expedited Removal of refugees fleeing persecution.1 Specifically, an alien who indicates an

1
  Under the 1967 Protocol to the 1951 Convention relating to the Status of Refugees, which the United States has
ratified, as implemented by the Refugee Act of 1980 and other amendments to the Immigration and Nationality Act,
the United States may not return any individual to a country where that individual may face persecution on the basis
of race, religion, nationality, membership in a particular social group or political opinion. In addition, the United


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intention to apply for asylum or a fear of return is entitled to a “credible fear interview” by an
asylum officer. If the asylum officer determines that an alien has a “significant possibility” of
establishing eligibility for asylum, he is entitled to ask the immigration judge for relief from
removal.2 If credible fear is not found, the asylum officer orders the alien removed (although
this decision is subject to review by an immigration judge).

        Congress also required that aliens, including asylum seekers, subject to Expedited
Removal be detained until the United States physically removes them, after which they may not
return to the United States for five years. If an asylum officer determines that an alien has
credible fear, however, the alien may be considered for release while waiting for an asylum
hearing. While decisions of release (“parole”) are discretionary, agency memoranda instruct that
“parole is a viable option and should be considered for aliens who meet the credible fear
standard, can establish identity and community ties, and are not subject to any possible bars to
asylum involving violence or misconduct.”3

         On March 1, 2003, the Immigration and Naturalization Service (INS), the lead agency
on Expedited Removal, was abolished by the Homeland Security Act of 2002. The functions of
the former INS were dispersed to various components within the newly created Department of
Homeland Security. The immigration judges, however, remained in the Executive Office for
Immigration Review (EOIR) within the Department of Justice. 4

          Expedited Removal is mandatory for aliens arriving at ports of entry. Congress,
however, also authorized the Attorney General to exercise discretion in applying Expedited
Removal in the interior of the United States to undocumented aliens apprehended within two
years after entry. On November 13, 2002, Expedited Removal was expanded by the INS to
apply to undocumented non-Cubans who entered the United States by sea within the prior two
years.

         On August 11, 2004, the Department of Homeland Security announced that, effective
immediately, it was exercising its discretion to further expand Expedited Removal authority to
the Border Patrol for undocumented aliens apprehended within 14 days after entry and within
100 miles of the border, in the Tucson and Laredo Border Patrol sectors.5




States has ratified and implemented regulations to execute the Convention Against Torture (CAT), and may not
remove anyone to a country where (s)he is in danger of being tortured.
2
  “Credible fear” is defined in section 235(b)(1)(B)(v) of the Immigration and Nationality Act, 8 USC
1225(b)(1)(B)(5) (2004).
3
   INS Memorandum, Expedited Removal: Additional Policy Guidance (Dec. 30, 1997) from Michael A. Pearson,
Executive Associate Commissioner for Field Operations, Office of Field Operations, to Regional Directors, District
Directors, Asylum Office Directors, reproduced in 75 Interpreter Releases 270 (Feb. 23, 1998).
4
  EOIR oversees the Immigration Judges who review negative credible fear determinations made by asylum officers
and who hear asylum claims from aliens placed in Expedited Removal. It also houses the Immigration Judges’
appellate review unit, the Board of Immigration Appeals (BIA).
5
  Designating Aliens for Expedited Removal, 69 Fed. Reg. 48,877 (2004).


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THE STUDY

        In the International Religious Freedom Act of 1998 (IRFA), Congress authorized the
USCIRF to appoint experts to examine whether immigration officers, in exercising Expedited
Removal authority over aliens who may be eligible for asylum, were:

(1) Improperly encouraging withdrawals of applications for admission;
(2) Incorrectly failing to refer such aliens for credible fear determinations;
(3) Incorrectly removing such aliens to countries where such aliens may face persecution; or
(4) Improperly detaining such aliens, or detaining them under inappropriate conditions.

Congress authorized the USCIRF-appointed experts to have virtually unrestricted access to
Expedited Removal proceedings.

          IRFA also required the Government Accountability Office (GAO) to complete its own
study on asylum seekers in Expedited Removal, which was released in September 2000. That
study found that, in spite of some deficiencies in the process, INS was generally in compliance
with its own Expedited Removal procedures. GAO, however, relied primarily on the review of
INS records, statistical analyses, and whether INS was following its own procedures. GAO
chose not to critically review legal determinations made by INS or the Executive Office for
Immigration Review.

          The Commission began its effort in the Fall of 2003, after the absorption of most
Expedited Removal operations into the Department of Homeland Security (DHS). Like the
GAO, USCIRF appointed experts chose to avoid reviewing legal analyses performed by the
Departments of Homeland Security and Justice, focusing instead on building on the file review
and statistical analyses gathered by GAO. The USCIRF Study, however, also differed from the
GAO effort in several respects. Specifically, the USCIRF-appointed experts chose to:

   •   Observe inspections at seven major ports of entry (GAO did not collect data from
       observations of Expedited Removal proceedings);
   •   Compare the detention standards to correctional standards, and ascertain whether
       correctional standards where “appropriate” for a non-criminal asylum seeker population
       (GAO instead accepted the INS detention standards, and measured INS compliance with
       some of those standards);
   •   Review the use of documents created during the Expedited Removal process are used as
       evidence during asylum hearings; and
   •   Examine the impact of representation on asylum claimants subject to Expedited Removal.

          In collecting data for the Study, under the guidance of a chief methodologist and other
experts in research methods, the experts:

   •   Observed, and collected data from, 404 secondary inspections and interviewed 194 aliens
       in Expedited Removal proceedings (with 155 of those aliens being both interviewed and
       observed);



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   •   Reviewed randomly selected subsamples of an additional 339 files from the Ports of
       Entry; 32 files of aliens who dissolved their asylum claims; 163 records of proceeding
       from the Board of Immigration Appeals; and 321 Alien Files of Asylum Seekers who
       were referred for credible fear;
   •   Surveyed all eight asylum offices and 19 detention facilities;
   •   Interviewed, and collected data from, 39 asylum seekers who were dissolving their
       asylum claim;
   •   Reviewed 50 files provided by DHS of negative credible fear determinations; and
   •   Compiled nation-wide statistics with the assistance of EOIR and DHS.

OVERVIEW OF FINDINGS AND RECOMMENDATIONS OF THE USCIRF STUDY

          The Study found mandatory procedures in place to ensure that asylum seekers are
protected under Expedited Removal. Some procedures were applied with reasonable
consistency, but compliance with others varied significantly, depending upon where the alien
arrived, and which immigration judges or inspectors addressed the alien’s claim. Most
procedures lacked effective quality assurance measures to ensure that they were consistently
followed. Consequently, the outcome of an asylum claim appears to depend not only on the
strength of the claim, but also on which officials consider the claim, and whether or not the alien
has an attorney. Similarly, while DHS has developed criteria relating to the release of detained
asylum seekers, the implementation of these criteria also varies widely from place to place.

          There are a few areas, however, where the Study identified problems other than
inconsistent practices. For example, with regard to detention, the Study found that asylum
seekers are consistently detained in jails or jail-like facilities, which the experts found
inappropriate for non-criminal asylum seekers. There were, however, a small number of
exceptions to this rule, the most prominent being a contract facility in Broward Country, Florida,
which represents a secure, but appropriate and non-correctional, environment for non-criminal
asylum seekers.

          The Study also found that asylum seekers without a lawyer had a much lower chance of
being granted asylum (2 percent) than those with an attorney (25 percent). This difference was
consistent whether the alien resided – or was detained – in an area with a high rate of
representation, or a low rate of representation. The Study does, however, identify a number of
locations where public-private initiatives involving DHS, the Executive Office for Immigration
Review, and non-governmental organizations, have put legal assistance within reach of more
detained asylum seekers. These programs, however, are limited to only a few select locations.

          With regard to credible fear determinations, the Study found that asylum officers
screened-in more than 90 percent of credible fear applicants, and made a negative credible fear
finding in only 1 percent of cases. Quality assurance procedures – requiring much more
extensive documentation and review of negative claims than of positive ones, may have created a
built-in bias in the credible fear screening, undermining the objectivity of the process.

         Each stage of the Expedited Removal Process relies upon the information collected in
previous stages:


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(1) The alien is referred by Customs and Border Protection (CBP) for a credible fear interview,
or removed; then
(2) Referred by an asylum officer at U.S. Citizenship and Immigration Services (USCIS) for an
asylum hearing, or ordered removed (subject to immigration judge review of the negative
credible fear determination); then
(3) Detained or paroled by Immigration and Customs Enforcement (ICE); and then
(4) With the participation in the courtroom by an ICE Trial Attorney, granted or denied asylum,
withholding, or Convention Against Torture (CAT) relief by the immigration judge (in the
Department of Justice Executive Office for Immigration Review – EOIR).

          The impediments to communication and information sharing within DHS, however, are
serious. By the end of the process – the asylum hearing – unreliable and/or incomplete
documentation from CBP and USCIS is susceptible to being misinterpreted by the ICE Trial
attorney, misapplied by the Immigration Judge, and may ultimately result in the denial of the
asylum-seeker’s claim. The Study did not seek to determine whether asylum claims were
incorrectly denied, but did determine that immigration judges, even within the same court, had
significantly different rates of granting or denying asylum claims. Furthermore, in denying
asylum applications on the basis of credibility, immigration judges frequently cited documents
which the Study found to be unreliable and incomplete records. The unreliability of the
documentation was documented by the Port of Entry study (Keller, et al), and its incompleteness
and its use in immigration proceedings were documented by the File Review (Jastram, et al).

          The Study also noted that Expedited Removal has been expanded twice in recent years,
without first addressing the flaws in the system which undermine the protections for asylum
seekers.

          The Study urges the incoming Secretary of Homeland Security to ensure that it is no
longer he – but a high ranking official who reports to him – who is responsible for coordinating
refugee and asylum matters among the various bureaus. Without day-to-day oversight of asylum
policy and its implementation department-wide, the flaws in the system identified in this Study
cannot be effectively addressed, leaving asylum seekers in Expedited Removal at risk of being
returned to countries where they may face persecution.

SPECIFIC FINDINGS AND RECOMMENDATIONS

FINDINGS

Question One

ARE IMMIGRATION OFFICERS, EXERCISING EXPEDITED REMOVAL AUTHORITY, IMPROPERLY
ENCOURAGING ASYLUM SEEKERS TO WITHDRAW APPLICATIONS FOR ADMISSION?

       Department of Homeland Security (DHS) regulations, and Customs and Border
Protection (CBP) procedures and training materials make it clear to CBP inspectors that the
withdrawal of an application for admission is “strictly voluntary” and “must not be coerced in



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any way.” While most officers observed complied with these procedures, in one port of entry the
Study observed a few instances in which immigration officers improperly encouraged asylum
seekers to withdraw their applications for admission.

Question Two

ARE IMMIGRATION OFFICERS, EXERCISING EXPEDITED REMOVAL AUTHORITY, INCORRECTLY FAILING
TO REFER ASYLUM SEEKERS FOR A CREDIBLE FEAR INTERVIEW?

        DHS regulations state that an immigration inspector must refer an alien for a credible
fear determination if that alien indicates “an intention to apply for asylum, a fear of torture, or a
fear of return to his or her country.” In accordance with these regulations, nearly 85 percent
(67/79) of arriving aliens observed by the Study expressing a fear of return were referred for a
credible fear interview. CBP Guidelines, however, provide the inspector with more discretion
than the regulations, allowing the inspector to decline referral in cases where the fear claimed
by the applicant is unrelated to the criteria for asylum. Indeed, in 15 percent (12/79) of observed
cases when an arriving alien expressed a fear of return to the inspector, the alien was not
referred. Moreover, among these twelve cases were several aliens who expressed fear of
political, religious, or ethnic persecution, which are clearly related to the grounds for asylum.
Of particular concern, in seven of these twelve cases, the inspector incorrectly indicated on the
sworn statement that the applicant claimed he had no fear of return.

       DHS regulations require immigration inspectors to follow a standard script informing
each alien that (s)he may ask for protection if (s)he has a fear of returning home. In
approximately half of inspections observed, inspectors failed to inform the alien of the
information in that part of the script. Aliens who did receive this information were seven times
more likely to be referred for a credible fear determination than those who were not.

         While DHS guidance requires that asylum seekers at land ports of entry be placed in
Expedited Removal and referred for a credible fear interview, the Study interviewed two groups
of aliens (one from the Middle East, the other from East Africa) who requested the opportunity to
apply for asylum but were refused and “pushed back” at primary inspection. We became aware
of these cases only because, in each case, the asylum seekers tried again on a different day and
were referred into Expedited Removal as well as for a credible fear interview. CBP has stated
that it is “very concerned and dismayed that this is happening contrary to policy, and is taking
steps to address this.”6

Question Three

ARE IMMIGRATION OFFICERS, EXERCISING AUTHORITY UNDER EXPEDITED REMOVAL, INCORRECTLY
REMOVING ASYLUM SEEKERS TO COUNTRIES WHERE THEY MAY FACE PERSECUTION?


6
 Letter from Michael J. Hrinyak, Acting Executive Director , Immigration Policy and Programs, Office of Field
Operations, to Mark Hetfield, USCIRF (February 2, 2005). See also “Aliens Seeking Asylum at Land Border Ports
of Entry,” Memorandum from Michael A. Pearson, Executive Associate Commissioner, Office of Field Operations,
Immigration and Naturalization Service, to Regional Directors (2/6/2002).


                                                      6
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        The second Study question concerned bona fide asylum seekers who are improperly
denied a referral for a credible fear determination. While such asylum seekers may be removed
to a country where they may face persecution, those findings are not repeated here. Rather, to
respond to this question, the focus is on asylum seekers who are removed after the credible fear
interview. In addressing this question, it is also appropriate to examine asylum seekers ordered
removed by the immigration judge at the conclusion of their asylum hearing, focusing on the
characteristics of the proceeding which are unique to cases that originate in Expedited Removal.

       Asylum officers reach a negative credible fear determination in only one percent of cases
referred. Moreover, a negative credible fear determination is subject to strict quality assurance
procedures by Asylum headquarters, and may then be reviewed by an immigration judge, who
vacates negative credible fear findings reached by asylum officers more than ten percent of the
time.

         Under the current system, immigration judges – not asylum officers – determine
eligibility for asylum for aliens in Expedited Removal proceedings. We found very significant
variations in the asylum approval rates of individual judges Furthermore, in nearly 40% of the
immigration judge decisions examined where relief was denied, the judge cited that the
applicant’s testimony was inconsistent with his or her initial asylum claim, as expressed to the
immigration inspector or the asylum officer at the time of the credible fear interview. In nearly
one-fourth of these cases, the Judge found that the asylum-seeker’s testimony was not credible
because the alien “added detail” to the prior statements. Such negative credibility findings fail
to take into account that the records of these prior statements are, according to the findings of
the Study, often unreliable and incomplete. Finally, immigration judges granted relief to 25
percent of represented asylum applicants but only two percent of unrepresented asylum seekers.

        After being denied asylum, an alien who continues to claim a fear of persecution or
torture may appeal a negative immigration judge decision to the Board of Immigration Appeals
(BIA). While the BIA sustained 23 percent of Expedited Removal asylum appeals in FY2001,
only two to four percent of such appeals have been granted since 2002, when the court began
allowing the issuance of “summary affirmances” rather than detailed decisions. Statistically, it
is highly unlikely that any asylum seeker denied by an immigration judge will find protection by
appealing to the BIA.

Question Four

ARE IMMIGRATION OFFICERS, EXERCISING AUTHORITY UNDER EXPEDITED REMOVAL, DETAINING
ASYLUM SEEKERS IMPROPERLY OR UNDER INAPPROPRIATE CONDITIONS?

        Asylum seekers subject to Expedited Removal must, by law, be detained until an asylum
officer has determined that they have a credible fear of persecution or torture, unless release
(parole) is necessary to meet a medical emergency need or legitimate law enforcement objective.
The Study found that most asylum seekers are detained in jails and in jail-like facilities, often
with criminal inmates as well as aliens with criminal convictions. While DHS has established
detention standards, these detention facilities closely resemble, and are based on, standards for
correctional institutions.



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         In one particularly innovative Immigration and Customs Enforcement (ICE) contract
facility, located in Broward County, Florida, asylum seekers are detained in a secure facility
which does not closely resemble a jail. While Broward could be the model in the United States
for the detention of asylum seekers, it is instead the exception among the network of 185 jails,
prisons and “processing facilities” utilized by DHS to detain asylum seekers in Expedited
Removal.

        DHS policy favors the release of asylum seekers who have established credible fear,
identity, community ties, and no likelihood of posing a security risk. However, there was little
documentation in the files to allow a determination of how these criteria were actually being
applied by ICE.

         In FY2003, only 0.5 percent of asylum seekers subject to Expedited Removal in the New
Orleans district were released prior to a decision in their case. In Harlingen, Texas, however,
nearly 98 percent of asylum seekers were released. Release rates in other parts of the country
varied widely between those two figures.

RECOMMENDATIONS
Recommendation One
IN ORDER TO MORE EFFECTIVELY PROTECT BOTH HOMELAND SECURITY AND BONA FIDE ASYLUM
SEEKERS, THE DEPARTMENT OF HOMELAND SECURITY SHOULD CREATE AN OFFICE- HEADED BY A
HIGH-LEVEL OFFICIAL- AUTHORIZED TO ADDRESS CROSS CUTTING ISSUES RELATING TO ASYLUM
AND EXPEDITED REMOVAL.

Recommendation Two
THE BURDEN ON THE DETENTION SYSTEM, THE IMMIGRATION COURTS, AND BONA FIDE ASYLUM
SEEKERS IN EXPEDITED REMOVAL THEMSELVES SHOULD BE EASED BY ALLOWING ASYLUM
OFFICERS TO GRANT ASYLUM IN APPROVABLE CASES AT THE TIME OF THE CREDIBLE FEAR
INTERVIEW, JUST AS THEY ARE ALREADY TRAINED AND AUTHORIZED TO DO FOR OTHER ASYLUM
SEEKERS. ALIENS WHO ESTABLISH CREDIBLE FEAR BUT, FOR WHATEVER REASON, HAVE NOT YET
ESTABLISHED AN APPROVABLE ASYLUM CLAIM, SHOULD CONTINUE TO BE REFERRED TO AN
IMMIGRATION JUDGE.

Recommendation Three
DHS SHOULD ESTABLISH DETENTION STANDARDS AND CONDITIONS APPROPRIATE FOR ASYLUM
SEEKERS. THE AGENCY SHOULD ALSO PROMULGATE REGULATIONS TO PROMOTE MORE CONSISTENT
IMPLEMENTATION OF EXISTING PAROLE CRITERIA, TO ENSURE THAT ASYLUM SEEKERS WITH A
CREDIBLE FEAR OF PERSECUTION- WHO ESTABLISH IDENTITY AND THAT THEY POSE NEITHER A
FLIGHT NOR A SECURITY RISK- ARE RELEASED FROM DETENTION.

Recommendation Four

EXPAND EXISTING PRIVATE-PUBLIC PARTNERSHIPS TO FACILITATE LEGAL ASSISTANCE FOR ASYLUM
SEEKERS SUBJECT TO EXPEDITED REMOVAL, AND IMPROVE ADMINISTRATIVE REVIEW AND QUALITY




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ASSURANCE PROCEDURES TO IMPROVE CONSISTENCY IN ASYLUM DETERMINATIONS BY
IMMIGRATION JUDGES.

Recommendation Five

THE DEPARTMENT OF HOMELAND SECURITY SHOULD IMPLEMENT AND MONITOR QUALITY
ASSURANCE PROCEDURES TO ENSURE MORE RELIABLE INFORMATION FOR HOMELAND SECURITY
PURPOSES, AND TO ENSURE THAT ASYLUM SEEKERS ARE NOT TURNED AWAY IN ERROR.

   SPECIFICALLY, IT SHOULD:

      •   CREATE A RELIABLE INTER-BUREAU SYSTEM THAT TRACKS REAL-TIME DATA OF ALIENS
          IN EXPEDITED REMOVAL PROCEEDINGS.
      •   RECONCILE CONFLICTING FIELD GUIDANCE TO REQUIRE THAT ANY EXPRESSION OF FEAR
          AT THE PORT OF ENTRY MUST RESULT IN EITHER A REFERRAL FOR A CREDIBLE FEAR
          DETERMINATION OR, IN CASES WHERE THE INSPECTOR OR BORDER PATROL AGENT
          BELIEVES THE ALIEN WOULD “CLEARLY NOT QUALIFY” FOR ASYLUM OR CAT RELIEF,
          CONTACT WITH AN ASYLUM OFFICER TO SPEAK TO THE ALIEN VIA A TELEPHONIC
          INTERPRETATION SERVICE TO DETERMINE WHETHER OR NOT THE ALIEN NEEDS TO BE
          REFERRED.
      •   IMPROVE QUALITY ASSURANCE BY EXPANDING AND ENHANCING THE VIDEOTAPE
          SYSTEMS CURRENTLY USED AT HOUSTON AND ATLANTA TO ALL MAJOR PORTS OF
          ENTRY AND BORDER PATROL STATIONS TO UNINTRUSIVELY RECORD ALL SECONDARY
          INTERVIEWS, AND CONSIDER EMPLOYING THE USE OF UNDERCOVER “TESTERS” TO
          VERIFY THAT EXPEDITED REMOVAL PROCEDURES ARE BEING PROPERLY FOLLOWED.
      •   INCLUDE, ON SWORN STATEMENT FORM I-867B, AN EXPLANATION OF THE SPECIFIC
          PURPOSE FOR WHICH THE DOCUMENT IS DESIGNED TO SERVE, AND ITS LIMITATIONS.
      •   ENHANCE THE EFFICIENCY OF THE EXPEDITED REMOVAL PROCESS BY AMENDING DHS
          QUALITY ASSURANCE PROCEDURES FOR THE CREDIBLE FEAR INTERVIEW TO SUBJECT
          NEGATIVE AND POSITIVE DETERINATIONS TO SIMILAR QUALITY ASSURANCE
          PROCEDURES.

Recommendation Summary

THIS STUDY HAS PROVIDED TEMPORARY TRANSPARENCY TO EXPEDITED REMOVAL – A PROCESS WHICH
IS OPAQUE NOT ONLY TO THE OUTSIDE WORLD, BUT EVEN WITHIN THE DEPARTMENT OF HOMELAND
SECURITY. AS A RESULT OF THIS TRANSPARENCY, SERIOUS – BUT NOT INSURMOUNTABLE – PROBLEMS
WITH EXPEDITED REMOVAL HAVE BEEN IDENTIFIED. THE STUDY’S RECOMMENDATIONS CONCERNING
BETTER DATA SYSTEMS, QUALITY ASSURANCE MEASURES, ACCESS TO REPRESENTATION, AND A DHS
REFUGEE COORDINATOR WOULD ALL CONTRIBUTE TO A MORE TRANSPARENT AND EFFECTIVE
EXPEDITED REMOVAL PROCESS. WE ALSO RECOMMEND THAT CONGRESS REQUIRE THE DEPARTMENTS
OF JUSTICE AND HOMELAND SECURITY TO PREPARE AND SUBMIT REPORTS, WITHIN 12 MONTHS OF THE
RELEASE OF THIS STUDY, DESCRIBING AGENCY ACTIONS TO ADDRESS THE FINDINGS AND
RECOMMENDATIONS OF THIS STUDY.




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                      ASYLUM SEEKERS IN EXPEDITED REMOVAL:
     A Study Authorized by Section 605 of the International Religious Freedom Act of 1998

FINDINGS
QUESTION ONE

(1) ARE IMMIGRATION OFFICERS, EXERCISING EXPEDITED REMOVAL AUTHORITY, IMPROPERLY
    ENCOURAGING ASYLUM SEEKERS TO WITHDRAW APPLICATIONS FOR ADMISSION?

       Department of Homeland Security (DHS) regulations, and Customs and Border
Protection (CBP) procedures and training materials make it clear to CBP inspectors that the
withdrawal of an application for admission is “strictly voluntary” and “must not be coerced in
any way.” While most officers observed complied with these procedures, in one port of entry the
Study observed a few instances in which immigration officers improperly encouraged asylum
seekers to withdraw their applications for admission.

Specific Findings

   A. Department of Homeland Security (DHS) policy and training aims to prevent
      immigration inspectors from encouraging asylum seekers to withdraw their
      applications for admission.

         DHS procedures make it clear to inspectors that a withdrawal of an application for
admission “is strictly voluntary, and should not be coerced in any way.” Moreover, the training
materials instruct that “if an alien is (subject to Expedited Removal but offered withdrawal), a
sworn statement should be taken whenever possible, using Form I-867A and B. This ensures
that all the facts of the case are recorded, especially in potentially controversial cases, and
protects against accusations of coercing the alien into withdrawing, especially when there may
have been an issue of fear of persecution.”

   B. In only one port of entry (Houston) did the Study observe inspectors pressuring
      individuals to retract their fear claims (4/4 cases in which fear was expressed).

       In two of these four cases, the aliens actually withdrew their applications for admission.
However, in the other two instances, the asylum seekers persisted with their credible fear claims
and were referred to an asylum officer. In these four cases the officers used strong language to
coerce applicants into withdrawing.

       There were, however, cases in other ports of entry in which CBP officers told aliens
about other consequences of pursuing asylum claims “off script.” Two were told that because
they entered illegally they might not have a chance to present their cases. Five were told they
would be held in detention for three weeks or more, three of these for over a month. Because it
was sometimes difficult to differentiate between appropriate factual responses to alien questions
and deliberate attempts to discourage fear claims, the Study did not consider these disclosures to



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reflect deliberate coercion; nevertheless they could arguably be construed as encouraging asylum
seekers to withdraw their claims.

   C. Customs and Border Protection (CBP) quality assurance mechanisms are
      inadequate to ensure that all officers comply with the policy that all withdrawals be
      “strictly voluntary.”

        As described above, even when being monitored, a few inspectors engaged in conduct
encouraging asylum seekers to withdraw their applications for admission. While a handful of
ports of entry use video cameras to help protect inspectors from allegations of coercive behavior,
most ports rely primarily on supervisory review of paper files to determine whether inspectors
are following procedures. Paper files created by an unobserved inspector are not sufficient to
monitor whether that inspector engaged in improper coercive conduct. The Study was not made
aware of any other quality assurance mechanisms in place, such as direct observations of
interviews by supervisors.

        While the regulations require that Forms I-876A and B must be used for any alien who is
ordered expeditiously removed, the regulations do not require that they be used for withdrawals.
Rather, CBP training materials instruct immigration inspectors to use those forms “whenever
possible.” According to the CBP Inspector Training Materials on Expedited Removal, the forms
should be used to prevent allegations that immigration inspectors improperly encouraging
asylum seekers to withdraw their applications for admission. Form I-867A contains a script that
informs the applicant that, if ordered removed, (s)he will be barred from re-entry for “a period of
5 years or longer.” (This is in contrast to a withdrawal, which does not carry with it any such
bar.)

        The script also requires the CBP inspector to inform the alien that if (s)he has any reason
to fear persecution, torture, or other harm upon being returned to his or her home country, (s)he
should inform the inspector during the interview and may seek protection from return under U.S.
law.

       The inspector is not required to inform the alien of the possibility of withdrawing his or
her application for admission, which does not carry the penalties associated with Expedited
Removal. This is because withdrawal is offered only at the discretion of the inspector. The alien
does not have the “right” to request a withdrawal of his or her application for admission.

        The Study found that, when Form I-867A is used, aliens are frequently informed of the
penalties of Expedited Removal but not of the availability of protection if they fear being
returned. When subject to Expedited Removal, a potential asylum seeker who is offered
withdrawal may be led to believe (s)he has only two choices: (1) to withdraw his or her
application for admission, without penalty or (2) to be expeditiously removed with a five year
bar from admission. Even in cases which resulted in the issuance of an order of Expedited
Removal, the Study found that a significant percentage of aliens are not informed of a third
choice: the right to apply for protection from return. Inspectors observed using Form I-867A
and B during the Study failed to convey the protection information to the applicant
approximately half of the time, even though that information was on the I-867A script.



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    D. The role of asylum officers in the “dissolve” process reduces the risk that asylum
       seekers will be improperly encouraged to withdraw their applications for admission.

        The Study examined whether aliens might be “improperly encouraged” to withdraw their
applications for admission by DHS detention officers after they have been referred for credible
fear. We interviewed 45 aliens who were dissolving (i.e. abandoning) their asylum claims while
in detention, and asked each of them whether any DHS official had encouraged them to
withdraw their applications for admission. While a substantial number reported that the
conditions of their detention influenced their decision to withdraw their application for
admission, no one in this sample indicated that any detention official had improperly encouraged
him or her to withdraw his or her application for asylum.

        DHS has procedures in place at detention facilities to ensure against improper
withdrawals of applications for admission. Specifically, before a detention officer can permit an
alien to withdraw his or her application for admission or otherwise abandon his or her credible
fear claim, an asylum officer “must speak to the alien to ensure that (s)he is aware of the
consequences of dissolving an asylum claim, and to ascertain why the alien no longer wishes to
remain in the credible fear process…(The asylum officer) must also read and explain the
contents of the (form) Request for Dissolution of Credible Fear to the alien.1 If, after the
(asylum officer) explains the contents of the form, the alien changes his or her mind and wants to
remain in the credible fear process, the (officer) continues processing the alien through the
credible fear process.”2

        The role of asylum officers (who belong to U.S. Citizenship and Immigration Services
(USCIS), a different agency than Immigration and Customs Enforcement, Office of Detention
and Removal Operations (ICE-DRO), whose detention officials would authorize the withdrawal)
in the dissolution process leaves detained asylum seekers less vulnerable to improperly
encouraged withdrawals than aliens at ports of entry. ICE cannot authorize an applicant to
withdraw his application for admission until an asylum officer has had the opportunity to talk to
the alien and document the voluntary nature of his decision to dissolve the credible fear claim
and, if applicable, withdraw the application for admission. This is different than the withdrawal
of applications for admission at ports of entry, as the decision to authorize withdrawals is solely
at the discretion of CBP inspectors.




1
  The dissolution form confirms that an asylum officer explained to the applicant that (s)he has “freely and
voluntarily” decided to stop pursuing protection from removal, that (s)he understands that DHS will either permit
him or her to withdraw his or her application for admission or issue an order of removal which would bar him or her
from seeking readmission to the US for five years or more. The form also reiterates that, if the alien changes his or
her mind again any time prior to departure from the United States, (s)he may again ask for protection from removal
through the credible fear process. Finally, the alien is required to state the reason (s)he has decided not to ask for
protection at this time.
2
  USCIS Credible Fear Procedures Manual, p. 35.


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QUESTION TWO

(2) ARE IMMIGRATION OFFICERS, EXERCISING EXPEDITED REMOVAL AUTHORITY, INCORRECTLY
    FAILING TO REFER ASYLUM SEEKERS FOR A CREDIBLE FEAR INTERVIEW?

        DHS regulations state that an immigration inspector must refer an alien for a credible
fear determination if that alien indicates “an intention to apply for asylum, a fear of torture, or a
fear of return to his or her country.” In accordance with these regulations, nearly 85 percent
(67/79) of arriving aliens observed by the Study expressing a fear of return were referred for a
credible fear interview. CBP Guidelines, however, provide the inspector with more discretion
than the regulations, allowing the inspector to decline referral in cases where the fear claimed
by the applicant is unrelated to the criteria for asylum. Indeed, in 15 percent (12/79) of observed
cases when an arriving alien expressed a fear of return to the inspector, the alien was not
referred. Moreover, among these twelve cases were several aliens who expressed fear of
political, religious, or ethnic persecution, which are clearly related to the grounds for asylum.
Of particular concern, in seven of these twelve cases, the inspector incorrectly indicated on the
sworn statement that the applicant stated he had no fear of return.

         While DHS guidance requires that asylum seekers at land ports of entry be placed in
Expedited Removal and referred for a credible fear interview, the Study interviewed two groups
of aliens (one from the Middle East, the other from East Africa) who requested the opportunity to
apply for asylum but were refused and “pushed back” at primary inspection. We became aware
of these cases only because in each case, the asylum seekers tried again on a different day and
were referred into Expedited Removal as well as for a credible fear interview. CBP has stated
that it is “very concerned and dismayed that this is happening contrary to policy, and is taking
steps to address this.”3

Specific Findings

    A. DHS policy does not clearly define whether all expressions of fear by an alien in
       Expedited Removal proceedings should result in a referral for a credible fear
       determination.

        DHS policy requires that immigration inspectors ask scripted questions from the Form I-
867B to determine whether the alien should be referred for a credible fear interview on the basis
of a fear of return.4 DHS instructs its inspectors that for any alien who responds to these
questions by expressing a fear of return, verbally or otherwise, a CBP inspector must refer the
alien for a credible fear determination. Section 17.15 of the Inspector Field Manual, however, is
not entirely consistent with DHS regulations. The Manual states that an inspector may choose

3
  Letter from Michael J. Hrinyak, Acting Executive Director , Immigration Policy and Programs, Office of Field
Operations, to Mark Hetfield, USCIRF (February 2, 2005). See also “Aliens Seeking Asylum at Land Border Ports
of Entry,” Memorandum from Michael A. Pearson, Executive Associate Commissioner, Office of Field Operations,
Immigration and Naturalization Service, to Regional Directors (2/6/2002).
4
  Those four questions are: (1) “Why did you leave your home country or country of last residence”; (2) Do you
have any fear or concern about being returned to your home country or being removed from the United States”; (3)
“Would you be harmed if you returned to your home country or country of last residence”; and (4) “Do you have
any questions or is there anything else you would like to add.”


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not to refer a case when the alien’s expression of fear “would clearly not qualify that individual
for asylum.” We observed examples of failures to refer aliens who expressed a fear of return that
may have ensued from this unclear guidance.

   B. DHS regulations require immigration inspectors to follow a standard script
      informing each alien that (s)he may ask for protection if (s)he has a fear of
      returning home. In approximately half of inspections observed, inspectors failed to
      inform the alien of the information in that part of the script. Aliens who did receive
      this information were seven times more likely to be referred for a credible fear
      determination than those who were not.

   C. DHS inspectors observed by Study researchers asked, “Do you have any fear or
      concern about being returned to your home country or being removed from the
      United States?” 94 percent of the time; DHS inspectors observed by Study
      researchers asked, “Would you be harmed if you were returned to your home
      country or country of last residence?” 87 percent of the time. At least one of these
      questions was asked 95 percent of the time.

   D. Approximately 85 percent (67/79) of arriving aliens whom the Study observed
      expressing a fear of return were referred for a credible fear interview, in
      accordance with DHS regulations. However, in 15 percent of observed cases (12/79)
      where an arriving alien expressed a fear of return to the inspector, that alien was
      not referred.

        The 12 cases that were not referred included expressions of economic fear but also fear
related to political, religious, or ethnic persecution, as well as unspecified fear, fear of spouse
abuse, and fear of smugglers. Under DHS regulations, all of these aliens should have been
referred for a credible fear interview.

   E. While monitoring the San Ysidro land border port of entry, researchers interviewed
      two groups of aliens who were previously refused a referral to secondary inspection,
      despite expressing an intention to apply for asylum. Aliens at busy land ports of
      entry are particularly vulnerable to improper denials of credible fear referrals, even
      though this is contrary to DHS policy.

        While monitoring the San Ysidro port of entry, the Study became aware of two instances
in which primary inspectors improperly refused entry to the United States for applicants lacking
proper documentation and “pushed back” those applicants without referring them to secondary
inspection or creating a record of the primary inspection. In contrast, at airports, aliens cannot
simply be put on a return flight without an inspector documenting the interaction. Moreover,
primary inspections at any busy port of entry are difficult for observers or supervisors to monitor.
This is particularly true in San Ysidro, where primary inspectors inspect an average of 25,000
pedestrians per day and 50,000 automobile passengers, with 24 lanes of traffic. Nevertheless,
while in San Ysidro, Study researchers encountered two small groups of aliens who reported
asking for asylum at primary inspection, but were nevertheless refused a referral to secondary




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inspection or a credible fear determination in clear violation of DHS procedures.5 These aliens
came to the attention of the Study after they made a subsequent, successful request for a credible
fear referral the following day.

    F. Files of cases resulting in Expedited Removal generally included the required
       documents used to screen aliens to determine whether the alien had a fear of return,
       and whether he or she should be referred for a credible fear interview. The
       reliance of Customs and Border Protection (CBP) on file reviews for quality
       assurance, however, is insufficient to ensure that aliens who express a fear of return
       are referred for a credible fear determination.

        CBP does not have sufficient controls in place to ensure that inspectors are referring all
aliens who express a fear of return for a credible fear determination. While a handful of ports of
entry use video cameras to help protect inspectors from allegations of improper conduct during
secondary inspections, most ports rely heavily on paper files to determine whether inspectors are
following procedures. While the paper files generally appear to be complete, Study observations
indicate that paper files created by the inspector are not always reliable indicators of whether that
inspector should have referred an alien for a credible fear determination. Study researchers
found that the file often indicated that all four fear questions were asked of the alien, even when
they were not. Conversely, when the questions were asked, the file occasionally indicated they
had not been. Of special concern in the 12 cases mentioned above where the alien responded to
the fear question by asserting that (s)he had a fear of return, seven of the files memorializing
those inspections incorrectly indicated that the alien responded that (s)he had no fear of return.




5
  While field guidance was distributed on February 6, 2002 instructing INS Inspectors on these procedures for
referring asylum seekers at land ports of entry, it appears that the Inspectors Field Manual has not yet been updated
to reflect those instructions, in spite of an indication in the memorandum that it would be.


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QUESTION THREE

(3) ARE IMMIGRATION OFFICERS, EXERCISING AUTHORITY UNDER EXPEDITED REMOVAL,
    INCORRECTLY REMOVING ASYLUM SEEKERS TO COUNTRIES WHERE THEY MAY FACE
    PERSECUTION?

        The second Study question concerned bona fide asylum seekers who are improperly
denied a referral for a credible fear determination. While such asylum seekers may be removed
to a country where they may face persecution, those findings are not repeated here. Rather, to
respond to this question, the focus is on asylum seekers who are removed after the credible fear
interview. In addressing this question, it is also appropriate to examine asylum seekers ordered
removed by the immigration judge at the conclusion of their asylum hearing, focusing on the
characteristics of the proceeding which are unique to cases that originate in Expedited Removal.

       Asylum officers reach a negative credible fear determination in only one percent of cases
referred. Moreover, a negative credible fear determination is subject to strict quality assurance
procedures by Asylum headquarters, and may then be reviewed by an immigration judge, who
vacates negative credible fear findings reached by asylum officers more than ten percent of the
time.

         Under the current system, immigration judges – not asylum officers – determine
eligibility for asylum for aliens in Expedited Removal proceedings. We found very significant
variations in the asylum approval rates of individual judges Furthermore, in nearly 40% of the
immigration judge decisions examined where relief was denied, the judge cited that the
applicant’s testimony was inconsistent with his or her initial asylum claim, as expressed to the
immigration inspector or the asylum officer at the time of the credible fear interview. In nearly
one-fourth of these cases, the Judge found that the asylum-seeker’s testimony was not credible
because the alien “added detail” to the prior statements. Such negative credibility findings fail
to take into account that the records of these prior statements are, according to the findings of
the Study, often unreliable and incomplete. Finally, immigration judges granted relief to 25
percent of represented asylum applicants but only two percent of unrepresented asylum seekers.

        After being denied asylum, an alien who continues to claim a fear of persecution or
torture may appeal a negative immigration judge decision to the Board of Immigration Appeals
(BIA). While the BIA sustained 23 percent of Expedited Removal asylum appeals in FY2001,
only two – four percent of such appeals have been granted since 2002, when the court began
allowing the issuance of “summary affirmances” rather than detailed decisions. Statistically, it
is highly unlikely that any asylum seeker denied by an immigration judge will find protection by
appealing to the BIA.

Specific Findings

   A. DHS and the Executive Office for Immigration Review (EOIR) have implemented a
      screening standard and procedures which ensure that asylum officers conducting
      the credible fear screening do not incorrectly remove asylum seekers subject to
      Expedited Removal to countries where they may face persecution.



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        According to statistics compiled for the Study, in FY2003 90 percent of aliens referred
were found to have a credible fear of persecution, nine percent withdrew their credible fear
claims, and only one percent were found by the asylum officer not to have a credible fear.
Furthermore, among those aliens who requested that an immigration judge review the negative
credible fear determination, ten percent were ultimately found to have a credible fear. In
addition to the right of review by an immigration judge, USCIS requires that the Asylum office
at USCIS headquarters review every negative credible fear determination.

        The Form I-870 documents that an alien has a credible fear of persecution due to “a
significant possibility” that during a full asylum hearing, (1) “the applicant would be found to be
credible”; and (2) the applicant has a fear of torture or would establish a fear of return which
could have a nexus to one of the grounds for asylum. Nevertheless, because USCIS imposes
much more labor intensive quality assurance procedures for negative credible fear findings than
for positive ones, the agency may be inadvertently encouraging its asylum officers to find
“credible fear” even in cases where it may not be warranted.

   B. The “Record of Sworn Statement” (Form I-867A and B) records created at ports of
      entry during the Expedited Removal process are often incomplete and less than
      reliable. Reliance on these records by immigration judges for purposes of assessing
      the credibility of an asylum applicant’s testimony in court could, therefore, lead to
      the incorrect removal of asylum seekers to countries where they may face
      persecution. In 31 percent (43/137) of transcripts reviewed, immigration judges
      denying asylum cited the asylum seeker’s statement made to the immigration
      inspector at the port of entry, as recorded on Form I-867A and B.

         The Form I-867A and B is written in question and answer format, implying that it is a
verbatim transcript. Moreover, it includes a paragraph informing the applicant that (s)he may
apply for protection if (s)he has a fear of return. The Study observed that this paragraph, which
is part of the sworn statement “verbatim” script, is in fact read to the applicant only 44 percent of
the time (164/354). In addition, while each of the required questions relating to the applicant’s
fear of return was asked approximately 95 percent of the time, in 32 of the 37 cases when a
particular fear question was not asked, the sworn statement in the file inaccurately indicated that
it had been asked – and answered. Finally, the form indicates that the information on the sworn
statement was read back to and verified by the alien. However, the statement was not, in fact,
reviewed by the alien, interpreter, or interviewing officer in 72 percent of the cases observed
(268/373).

        The Inspector Field Manual instructs immigration inspectors taking the sworn statement:
“Do not go into detail on the nature of the alien's fear of persecution or torture (emphasis in
original).” Nevertheless, in 23.3 percent of cases (10/43) reviewed in which the judge cited the
sworn statement as a basis for denying asylum, the judge found that the applicant was not
credible because the alien’s testimony in court reflected additional detail not in the original
document from the port of entry.

        Finally, with the exception of Houston and Atlanta airports, the ports of entry observed
did not create an audio or videotape of the secondary inspection interview, but relied entirely on



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an unwitnessed statement as transcribed by the interviewing officer. Even in Atlanta and
Houston, where secondary inspections are videotaped, the videos are taped over within a few
months. They are, therefore, seldom available to the government or the alien during
consideration of the alien’s asylum application before the immigration judge.

   C. The asylum officer’s notes from the asylum seeker’s credible fear interview, as
      recorded on the Form I-870, are generally incomplete summaries of the asylum
      seeker’s claim and not a verbatim transcript of the credible fear interview itself.
      Nevertheless, in 29 percent (40/137) of transcripts reviewed, immigration judges
      denying asylum on credibility grounds cited these notes.

        In a survey conducted at all eight regional asylum offices, the offices unanimously
affirmed the Study’s characterization that the statement taken at the time of the credible fear
interview is used “to record just the basics of a positive determination, to show whether the alien
has met the threshold for credible fear. The credible fear statement does not generally represent
a complete description of the alien’s asylum claim.” Nonetheless, in 25 percent (10/40) of the
cases in which the credible fear notes were cited as a basis to find that the applicant lacked
credibility, the immigration judge specified that the applicant was not credible because at the
immigration hearing, (s)he added detail to the claim originally expressed during the credible fear
interview.

       After a revision of the Form I-870 (November 21, 2003), the form indicated that: “The
following notes are not a verbatim transcript of this interview…There may be areas of the
individual’s claim that were not explored or documented for purposes of this threshold
screening.” While this language on the form I-870 was not in effect until after the period
covered by the Study, it nevertheless confirms the limitations of the evidentiary value of the
form.

   D. The outcomes of asylum claims for asylum seekers who were placed in Expedited
      Removal vary significantly across courts and judges.

       The Study identified wide statistical variations of grant rates of individual immigration
judges for asylum seekers in Expedited Removal proceedings, even among aliens of the same
nationality or among judges with the same caseload sitting in the same court.

   E. In recent years, there has been a substantial decrease in the granting of alien
      appeals by the Board of Immigration Appeals (BIA).

         Moreover, statistics gathered in the Study demonstrate that since the BIA decision to
permit “affirmances without opinion” (rather than opinions specifying the reasons for the
decision) for asylum, withholding, and relief under the Convention Against Torture (CAT), the
BIA, in deciding appeals filed by asylum seekers subject to Expedited Removal, has gone from
reversing 23 percent of immigration judge decisions to reversing only two to four percent of such
decisions. With wide variations in asylum approval rates among judges (discussed above), and
only two to four percent of those decisions now being overturned on appeal, the BIA may now
offer little protection from the possibility of erroneous immigration judge decisions.



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   F. Asylum seekers subject to Expedited Removal who are represented by an attorney
      are granted relief 25 percent of the time; this contrasts with asylum seekers
      representing themselves, who are granted relief two percent of the time.

        Asylum hearings before an immigration judge are adversarial proceedings, where an
asylum applicant faces not only the immigration judge but also a DHS trial attorney who almost
without exception argues that the alien should be removed. Asylum applicants in Expedited
Removal proceedings are entitled to counsel, but only at no expense to the government. The
Executive Office for Immigration Review (EOIR), the Arlington Asylum Office (in cooperation
with the Capital Area Immigrants’ Rights Coalition), and numerous non-profit organizations
have developed various programs which assist detained asylum seekers in receiving legal advice
and finding legal counsel. Most of these, however, are largely dependent on the local supply of
legal representation. However, many of the approximately 185 detention facilities used by DHS
to house asylum seekers subject to Expedited Removal are in areas, which are served by neither
of these programs nor by private asylum attorneys.




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QUESTION FOUR

(4) ARE IMMIGRATION OFFICERS, EXERCISING AUTHORITY UNDER EXPEDITED REMOVAL, DETAINING
    ASYLUM SEEKERS IMPROPERLY OR UNDER INAPPROPRIATE CONDITIONS?

        Asylum seekers subject to Expedited Removal must, by law, be detained until an asylum
officer has determined that they have a credible fear of persecution or torture, unless release
(parole) is necessary to meet a medical emergency need or legitimate law enforcement objective.
The Study found that most asylum seekers are detained in jails and in jail-like facilities, often
with criminal inmates as well as aliens with criminal convictions. While DHS has established
detention standards, these detention facilities closely resemble, and are based on, standards for
correctional institutions.

         In one particularly innovative Immigration and Customs Enforcement (ICE) contract
facility, located in Broward County, Florida, asylum seekers are detained in a secure facility
which does not closely resemble a jail. While Broward could be the model in the United States
for the detention of asylum seekers, it is instead the exception among the network of 185 jails,
prisons and “processing facilities” utilized by DHS to detain asylum seekers in Expedited
Removal.

        DHS policy favors the release of asylum seekers who have established credible fear,
identity, community ties, and no likelihood of posing a security risk. However, there was little
documentation in the files to allow a determination of how these criteria were actually being
applied by ICE.

       In FY2003, only 0.5 percent of asylum seekers subject to Expedited Removal in the New
Orleans district were released prior to a decision in their case. In Harlingen, Texas, however,
nearly 98 percent of asylum seekers were released. Release rates in other parts of the country
varied widely between those two figures.

Specific Findings

   A. The law and regulations require that aliens in Expedited Removal be detained until
      it is determined that they have a credible fear of return unless parole is necessary to
      meet a medical emergency or legitimate law enforcement objective.

   B. The overwhelming majority of asylum seekers in Expedited Removal are detained
      in jails and jail-like facilities, often with criminal inmates and aliens with criminal
      convictions.

        The standards applied by ICE for all of their detention facilities are identical to, and
modeled after, correctional standards for criminal populations. In some facilities with
“correctional dormitory” set-ups, there are large numbers of detainees sleeping, eating, going to
the bathroom and showering out in the open in one brightly lit, windowless and locked room.
Recreation in ICE facilities often consists of unstructured activity of no more than one hour per
day in a small outdoor space surrounded by high concrete walls or a chain link fence. All



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detainees must wear prison uniforms, and a guard is posted in each dormitory room all day and
night. Conditions do vary from facility to facility, but nearly all are prisons or prison like. In
contrast, the Executive Committee of the United Nations High Commissioner for Refugees, of
which the United States is a member, has recommended that national legislation and
administrative practice make the necessary distinction between criminals, refugees and asylum
seekers, and other aliens.6

    C. DHS detains some asylum seekers in Expedited Removal in a secure facility which
       does not resemble a conventional jail and at a cost comparable to that of other DHS
       detention centers.7 The facility, located in Broward County, Florida, has the
       potential to be copied in other locations, but has not yet been.

        The Broward County facility allows detainees to walk outside in a secure grassy
courtyard during all daylight hours, use the toilet and the shower without anyone else watching,
wear civilian clothing, and freely walk to class or other programmed activities without an armed
escort.

    D. DHS Policy Guidance, while not set in regulation, favors the release of asylum
       seekers who establish credible fear, identity, community ties, and who do not pose a
       security or flight risk.

    E. The decision-making criteria applied by Immigration and Customs Enforcement
       (ICE) in considering parole are not readily discernible from the information
       contained in the file.

        ICE has not developed a form that documents the decision-making process for parole.
Thus, it cannot be easily ascertained from ICE records whether the criteria are being
appropriately applied to asylum seekers subject to Expedited Removal.

    F. The USCIS (U.S. Citizenship and Immigration Services) Form I-870, completed by
       an asylum officer during the credible fear interview, collects information relating to
       some of the criteria which DHS guidance indicates should be applied to parole
       decisions. The asylum officer, however, does not make a recommendation to ICE
       concerning release. ICE and USCIS, however, seem to have different
       interpretations of key definitions relevant to the release criteria. For example, while


6
  UNHCR Executive Committee Conclusion No. 44 (1986) on Detention of Refugees and Asylum Seekers,
paragraphs (a), (d) and (f). In that conclusion, the Executive Committee “(a) Noted with deep concern that large
numbers of refugees and asylum seekers in different areas of the world are currently the subject of detention or
similar restrictive measures by reason of their illegal entry or presence in search of asylum, pending resolution of
their situation; …(d) Stressed the importance for national legislation and/or administrative practice to make the
necessary distinction between the situation of refugees and asylum seekers, and that of other aliens; and (f) Stressed
that conditions of detention of refugees and asylum seekers must be humane. In particular, refugees and asylum
seekers shall, whenever possible, not be accommodated with persons detained as common criminals, and shall not
be located in areas where their physical safety is endangered…”
7
  The Broward County facility costs DHS approximately $83 per bed per night, compared to a national average cost
of $85.


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        ICE does not define its interpretation of release criteria, USCIS determines identity
        on the basis of “a reasonable degree of certainty.”

        According to the file review, 20 percent of asylum seekers whom USCIS determined
identity with a reasonable degree of certainty and collected community ties information were not
released from detention by ICE prior to their asylum hearing. From most of these files, the
Study could not ascertain the basis for ICE’s decision whether or not to release the alien.

    G. The Study found no evidence that ICE is consistently applying release criteria.

         Statistical review also revealed that while the average ICE district releases 63 percent of
asylum seekers prior to their asylum hearing, release rates varied in major districts from .5
percent (New Orleans) to 97.6 percent (Harlingen). With such variations, the Study concludes
that the formal release criteria are not being consistently applied. Moreover, the Study’s
statistical review found that variations in parole rates from ICE facilities across the country are
associated with factors other than the established parole criteria, including port of entry and
country of origin.

    H. DHS regularly places aliens with facially valid documents in Expedited Removal
       and mandatory detention, for the sole reason that they expressed an intention to
       apply for asylum.

       According to the review of 353 files, 18 asylum seekers with facially valid documents
were placed in Expedited Removal proceedings and were subject to mandatory detention, solely
because they informed the inspector of an intention to apply for asylum. Six of these asylum
seekers volunteered their intention to apply for asylum at primary inspection. According to CBP,
such asylum seekers “in most cases” are subject to Expedited Removal because, while they hold
a temporary visa, their intention to apply for asylum indicates that they intend to reside in the
United States permanently.8




8
 In its policy memorandum on the topic, DHS (then INS) does not define “most cases.” See “Aliens Seeking
Asylum at Land Border Ports of Entry,” Memorandum from Michael A. Pearson, Executive Associate
Commissioner, Office of Field Operations, Immigration and Naturalization Service, to Regional Directors
(2/6/2002).



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                         ASYLUM SEEKERS IN EXPEDITED REMOVAL:
      A Study Authorized by Section 605 of the International Religious Freedom Act of 1998

RECOMMENDATIONS
OVERVIEW

        In establishing Expedited Removal, Congress included a number of safeguards and
mandated that the Attorney General ensure that legitimate asylum seekers fleeing persecution or
torture would not be “expeditiously removed” to the countries they had fled. The Immigration
and Naturalization Service (INS), indeed, implemented procedures intended to protect bona fide
asylum seekers from involuntary return, and those procedures remain in effect today. INS (now
Department of Homeland Security) officers were, and continue to be, trained in these
procedures.1 With some exceptions, however, such procedures have not been enforced through
effective quality assurance measures. The Study observed several failures to comply with a
number of required procedures. It also observed some aliens who expressed a fear but were
nevertheless returned without being referred to an asylum officer, as the CBP inspector is
required to do by law.

DHS detention practices are ill-suited to the non-criminal asylum seeking population

        Prior to the establishment of Expedited Removal, criminal aliens generally took priority
over arriving asylum seekers in the allocation of INS detention bed space. With the
establishment of Expedited Removal, however, INS was required to detain nearly all arriving
asylum seekers. In spite of this, INS did not create any program to oversee the new challenges
posed by its growing population of non-criminal asylum seekers in detention. No new
procedures or trainings were created within INS to address challenges posed by its mandate to
detain non-criminal asylum seekers at least until their credible fear hearing. The Study found
that asylum seekers subject to Expedited Removal are detained under the same conditions as
criminal inmates, and that standardized procedures have not been implemented to determine
whether – or not – an asylum seeker should be released.

Agency Coordination

        On March 1, 2003, INS was abolished and its components separated into different lines
of reporting within the newly created Department of Homeland Security (DHS). Four different
components of DHS are now involved in Expedited Removal. Under the current structure of
DHS, any differences among these agencies must be resolved by the Secretary or Deputy
Secretary of Homeland Security. This makes it exceedingly difficult to address inter-bureau
issues regarding Expedited Removal, as those officials already oversee an amalgamation of 22
former federal agencies, including INS. As a practical matter, procedural difficulties regarding
credible fear, parole, and conditions of detention cannot compete with the myriad of demands on
the Secretary’s time and attention and indeed should be resolved at lower levels. In addition, the
prominent role in asylum matters retained by the Executive Office for Immigration Review
1
 INS, an agency within the Department of Justice, was abolished by the Homeland Security Act of 2002 and its
functions were folded into the Department of Homeland Security (DHS) in March 2003.


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(EOIR), which remained in the Department of Justice, further complicates the capability of DHS
to address cross-cutting issues of Expedited Removal policy, implementation and quality
assurance.

        While the refugee and asylum programs are housed within U.S. Citizenship and
Immigration Services (USCIS) at DHS, neither USCIS nor any other office has been given the
authority to resolve, or even to act as a forum on, inter-bureau issues relating to the impact of
Expedited Removal on asylum seekers and refugees. Rather, DHS has relied on ad hoc
“working groups,” such as the recently formed working group on credible fear determinations, to
address particular issues after they arise.

Expansion of a System with Serious Flaws

        Congress mandated that Expedited Removal be applied to improperly documented aliens
at ports of entry. It also permitted Expedited Removal to apply, at Departmental discretion, to
aliens apprehended within 24 months after an entry without inspection. In November 2003, the
Commissioner of the INS exercised his discretion to expand Expedited Removal to aliens who
entered without inspection by sea within 24 months prior to apprehension. In August 2004, the
Secretary of Homeland Security further expanded Expedited Removal to aliens who enter
without inspection by land and are apprehended within 100 miles of the border within 14 days
after their last entry. Both of these expansions of Expedited Removal occurred at a time when
coordination among the different actors in Expedited Removal was particularly difficult, i.e. as
the INS was being disassembled and its components placed in different sections of DHS.

        The Study has cited several ways in which asylum seekers who express a fear of return
are nevertheless at some risk of being returned without being permitted to speak to an asylum
officer. If referred, they are almost certain to be detained in jail or under jail-like conditions.

        We are concerned that Expedited Removal has been expanded several times without an
official mechanism – such as a Refugee Coordinator - to resolve the problems which arise in its
implementation, particularly those requiring inter-bureau or inter-agency cooperation. We are
also concerned that the following recommendations would be difficult to implement without
such a mechanism.

RECOMMENDATION ONE

IN ORDER TO MORE EFFECTIVELY PROTECT BOTH HOMELAND SECURITY AND BONA FIDE ASYLUM
SEEKERS, THE DEPARTMENT OF HOMELAND SECURITY SHOULD CREATE AN OFFICE- HEADED BY A
HIGH-LEVEL OFFICIAL- AUTHORIZED TO ADDRESS CROSS CUTTING ISSUES RELATING TO ASYLUM
AND EXPEDITED REMOVAL.

   1.1 The Department of Homeland Security should create an office headed by a high-level
       Refugee Coordinator, with authority to coordinate DHS policy and regulations, and to
       monitor the implementation of procedures affecting refugees or asylum seekers,
       particularly those in the Expedited Removal process.




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       The Study found that responsibilities for the treatment of asylum seekers in Expedited
Removal are divided among several entities within DHS; therefore, resolving policy or
procedural issues in this area currently requires the involvement of the Secretary or Deputy
Secretary.2

        The Study also found that there was no effort or program at DHS to assess on an agency-
wide basis the treatment of asylum seekers in Expedited Removal. Nor were there adequate
quality control measures in place to assess the impact on asylum seekers of the individual pieces
of the process.

         The Study also identifies significant problems in implementing and maintaining the
safeguards for asylum seekers that Congress established. In order for these problems to be
addressed, and given the current structure and lines of authority at DHS, a coordinating office is
necessary to (a) ensure consistent asylum policy and legal interpretations Department-wide; (b)
coordinate implementation of necessary changes set forth in the Study’s recommendations; and
(c) monitor the system on an agency-wide basis to see that changes take hold and that emerging
problems are addressed as they arise. For example, the office would address problems identified
in this Study concerning credible fear referrals at ports of entry; credible fear determinations;
decisions concerning withdrawals of applications for admission; dissolutions of credible fear
claims; the development of detention standards and facilities specific to asylum seekers; and
information relating to parole criteria and conditions of detention specific to asylum seekers.
Addressing these problems would require a consistent DHS-wide asylum and refugee policy, as
well as inter-bureau discussions of how the various pieces of the process function and relate to
one another.3

         With the expansion of Expedited Removal authority, there are now four entities within
DHS that can enter an Expedited Removal order: CBP Inspectors at ports of entry (for arriving
aliens); Border Patrol (for aliens apprehended in the interior pursuant to the inland Expedited
Removal procedures promulgated on August 11, 2004); the Office of Asylum (for aliens who fail
to establish a credible fear of persecution); and Immigration and Customs Enforcement (ICE). It
is critical to have these four entities treating asylum seekers by the same rules and procedures,

2
  Although overall DHS was cooperative, difficulties in liaising with the agency during this study re-enforced the
conclusion concerning the need for an individual with coordinating authority across bureaus. Specifically, DHS was
unable to name any individual in a position to act as the primary liaison between the Department and Commission
experts. While DHS assigned USCIS as the nominal primary contact, conducting the Study required establishing
separate working relationships with Detention and Removal Operations within the Bureau of Immigration and
Customs Enforcement (ICE-DRO), Inspections, Border Patrol, USCIS, the Office of Immigration Statistics, as well
as the Executive Office for Immigration Review (EOIR), in the Department of Justice. While the Study was being
conducted, the experts were unable to discern who at DHS had responsibility for inter-bureau policy or DHS-wide
operational asylum issues. Nevertheless, all agencies with whom we worked were cooperative in working with the
Study. A number of agency officials confirmed that inter-bureau differences in approach are currently difficult to
resolve.
3
  We recognize, however, that such an office need not be focused exclusively on Expedited Removal issues, but
other inter-bureau refugee and asylum issues as well; e.g. refugee issues arising from interdictions of aliens at sea;
asylum issues arising from the Memorandum of Understanding on Asylum with Canada; the detention of asylum
seekers other than those in Expedited Removal proceedings; linkages between overseas enforcement programs and
the refugee resettlement program, etc.



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and to ensure that information is being adequately shared. At this point, such coordination is
only possible if done by the Office of the Secretary. The Secretary should delegate this
responsibility to an individual who is authorized to coordinate the various entities’ work relating
to the protection of refugees and asylum seekers. Otherwise, with the recent expansions of
Expedited Removal, and its serious flaws, the United States’ tradition of protecting asylum
seekers – not to mention those asylum seekers’ lives – continues to be at risk.

RECOMMENDATION TWO

DECREASE THE BURDENS ON IMMIGRATION COURTS, THE DETENTION SYSTEM, AND THE
APPLICANTS BY PERMITTING ASYLUM OFFICERS TO GRANT ASYLUM CLAIMS DURING THE CREDIBLE
FEAR INTERVIEW.

   2.1 The burden on the detention system, the immigration courts, and bona fide asylum
       seekers in Expedited Removal themselves should be eased by allowing asylum officers
       to grant asylum in approvable cases at the time of the credible fear interview, just as
       they are already trained and authorized to do for other asylum seekers.

        With some amendments to the regulations, the credible fear interview could further
expedite both the removal of aliens without bona fide asylum claims and the adjudication of
asylum claims. These changes would reduce the time spent in, and government funds spent on,
detention.

         Asylum officers are already trained and authorized to adjudicate asylum claims;
therefore, they should be permitted to grant asylum at the time of the credible fear interview for
those asylum seekers in Expedited Removal who are able to establish that they meet the criteria
at that early juncture. This is precisely what asylum officers do for asylum seekers whose claims
are addressed in the “affirmative asylum” process. In that process, asylum officers are already
trained in, and accustomed to, adjudicating full asylum applications from applicants who entered
without inspection, or who successfully passed through the inspection process in spite of a lack
of proper documentation.

        Under this proposal, at the time of the credible fear interview, asylum officers would
either (1) order the alien removed if (s)he fails to meet the credible fear standard (subject to
review by an immigration judge); (2) grant the applicant asylum if (s)he establishes a well-
founded fear of persecution; or (3) refer the alien to an immigration judge for a de novo
proceedings if the alien’s fear is credible but the case requires further consideration or
corroboration to warrant a grant of asylum. Allowing asylum officers to grant asylum at this
stage would reduce demands on detention beds, EOIR resources, trial attorney time, and reduce
the time the bona fide asylum seeker spends in detention.

        Moreover, in informal interviews with asylum seekers in Expedited Removal, it became
evident that the high screen-in rate at the credible fear stage may give aliens a false sense of
confidence about their eligibility for asylum. By allowing for an asylum determination at the
time of the credible fear interview, an asylum seeker who is merely referred to an immigration
judge rather than granted asylum may be in a position to better understand whether or not (s)he is




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eligible for asylum. Therefore, this reform may lead to more aliens dissolving their asylum
claims and spending less time in detention.

        However, such reform would require an understanding among attorneys and aliens that
continuances could not be granted by an asylum officer to delay the credible fear interview and
that asylum seekers who needed more time would still have the benefit of a referral to an
immigration judge. This reform would not require a change in the Immigration and Nationality
Act, as the statute does not specify who shall make the asylum determination in the case of an
asylum seeker with a credible fear of persecution.

        INS had once endorsed this idea in the early years of Expedited Removal. One argument
against the proposal was that an asylum officer’s decision not to approve an asylum claim at the
time of the credible fear interview could prejudice the immigration judge’s consideration of the
asylum claim. However, this concern is not supported by statistics made available to the Study
by EOIR. As seen in EOIR Table V, each year immigration judges grant asylum to
approximately 20 percent of affirmative cases referred to them by asylum officers. This
compares with an approval rate of approximately 25 percent for credible fear cases referred to
immigration judges by asylum officers. By granting relief in 20 percent of cases where asylum
officers have declined to, immigration judges do not appear to be prejudiced by asylum officer
determinations in the affirmative process. With proper training and an understanding that
compressed time frames may make it difficult for asylum seekers in Expedited Removal to
establish eligibility at the time of the credible fear interview, immigration judges would not
likely be prejudiced by asylum officer decisions not to grant asylum at the credible fear stage.

RECOMMENDATION THREE

ESTABLISH DETENTION STANDARDS AND CONDITIONS APPROPRIATE FOR ASYLUM SEEKERS. DHS
SHOULD ALSO PROMULGATE REGULATIONS TO PROMOTE MORE CONSISTENT IMPLEMENTATION OF
EXISTING PAROLE CRITERIA, TO ENSURE THAT ASYLUM SEEKERS WITH A CREDIBLE FEAR OF
PERSECUTION- AND WHO POSE NEITHER A FLIGHT NOR A SECURITY RISK- ARE RELEASED FROM
DETENTION.

   3.1 DHS should address the inconsistent application of its parole criteria by codifying the
       criteria into formal regulations.

       The INS established criteria for the release of asylum seekers (i.e. credible fear,
community ties, establishment of identity, and not a suspected security risk) and these criteria
continue, in theory, to be in effect at DHS. The Study, however, found that rates of release vary
dramatically in different parts of the country and there is no evidence that these criteria are being
applied consistently. Codification of the parole criteria into regulations will help ensure that
DHS consistently detains those aliens who do not meet the criteria and releases those who do.

   3.2 DHS should develop standardized forms and national review procedures to ensure that
       its parole criteria are more consistently applied nation-wide.

       In addition to codifying its criteria in formal regulations, DHS should create standardized
forms and review procedures to address inconsistent application of its release criteria for asylum


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seekers. In trying to understand the wide variations in release rates, the Study found no evidence
of quality assurance procedures to ensure that these criteria are being followed. Nor do DHS
files usually include the information or forms necessary to ascertain whether or not the criteria
are being applied. Detention and Removal Operations (ICE-DRO) should develop a form,
perhaps modeled after the USCIS Form I-870, as well as associated national review procedures,
to assess consistent application of the parole criteria. This will help ensure that asylum seekers
who do not pose a security risk and who establish a credible fear of persecution, community ties,
and identity are not improperly detained. The form would require DHS to document its
assessment of each of the parole criteria.

   3.3 When non-criminal asylum seekers in Expedited Removal are detained, they should
       not be held in prison-like facilities, with the exception of those specific cases in which
       DHS has reason to believe that the alien may pose a danger to others. Rather, non-
       criminal asylum seekers should be detained in “non-jail-like” facilities such as the
       model developed by DHS and INS in Broward County, Florida. DHS should formulate
       and implement nationwide detention standards created specifically for asylum seekers.
       The standards should be developed under the supervision of the proposed Office of the
       Refugee Coordinator, and should be implemented by an office dedicated to the
       detention of non-criminal asylum seekers, developing a small number of centrally
       managed facilities specific to and appropriate for, asylum seekers. The current DHS
       standards – based entirely on a penal model -- are inappropriate.

        U.S. law and DHS regulations are silent on whether asylum seekers should have
detention standards that are different from those applied to other aliens. The Executive
Committee of the United Nations High Commissioner on Refugees (UNHCR) has, however,
spoken on the subject. Specifically, in UNHCR Executive Committee Conclusion No. 44 (1986)
on Detention of Refugees and Asylum Seekers, the Executive Committee noted “deep concern”
that large numbers of asylum seekers are the “subject of detention” and “stressed the importance
for national legislation or administrative practice to make the necessary distinction between the
situation of refugees and asylum seekers, and that of other aliens” and “stressed that conditions
of detention of refugees and asylum seekers must be humane and that, in particular, refugees and
asylum seekers shall, whenever possible, not be accommodated with persons detained as
common criminals….”

        We have found that detained asylum seekers in Expedited Removal are subjected to
conditions of confinement that are virtually identical to those in prisons or jails. These
conditions create a serious risk of institutionalization and other forms of psychological harm.
They are inappropriate, particularly for an already traumatized population of asylum seekers, and
unnecessary. ICE’s own “non-jail-like detention” model in Broward County, Florida has
demonstrated that asylum seekers may be securely detained in an environment which does not
resemble a jail and which is no more expensive than more secure facilities. Broward is,
however, the only such non-jail-like detention facility among the 185 jails, prisons, and detention
centers where ICE detains asylum seekers.

        The Study concurs with the UNHCR Executive Committee that asylum seekers have
different issues and needs than those faced by prisoners or even other aliens, and standards
should be developed in recognition of this important distinction. While DHS has its own


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“Detention Standards” to ensure that aliens are detained under acceptable conditions, these
standards are virtually identical to, and indeed are based on, correctional standards. Asylum
seekers who are not criminals should not be treated like criminals.

        We recommend that the proposed Office of the Refugee Coordinator oversee the
development and implementation of those standards, and that an office be established to oversee
the centralized development and management of non-jail-like asylee detention facilities.
Standards appropriate for asylum seekers cannot be implemented in the existing decentralized
network of 185 detention facilities, nearly all of which are either jails or jail-like detention
centers.

    3.4 DHS should ensure that personnel in institutions where asylum seekers are detained
        are given specialized training to better understand and work with a population of
        asylum seekers, many of whom may be psychologically vulnerable due to the
        conditions from which they are fleeing.

        In the Study’s survey of approximately 20 detention facilities that house more than 70
percent of the population of asylum seekers subject to Expedited Removal, only one facility
indicated that line officers or guards were explicitly told which detainees were asylum seekers.
In addition, staff at very few facilities were given any specific training designed to inform them
of the special needs or concerns of asylum seekers, and in only one facility did the staff receive
any training to enable them to recognize or address any of the special problems which victims of
torture or other victims of trauma may have experienced. As noted above, asylum seekers have
different needs than, and should be distinguished from, other aliens. Indeed, unlike other
migrants, bona fide asylum seekers have a well-founded fear of persecution, and may also have
special needs and problems stemming from that fear. This distinction underscores the need for
specialized training for guards and other detention center employees.

    3.5 DHS should exercise discretion and not place a properly documented alien in
       Expedited Removal – and mandatory detention – when the sole basis for doing so is the
       alien’s expression of a desire to apply for asylum at the port of entry.

         Under DHS policy, when an alien at a port of entry indicates a desire to seek asylum, that
alien is placed in Expedited Removal after being charged with inadmissibility as an intending
immigrant under section 212(a)(7)(A)(i)(l) of the Immigration and Nationality Act for having
misrepresented the purpose of obtaining a visa to the United States. According to DHS, the
intention to apply for asylum is not permissible with a visa for a temporary stay in the United
States. The Study reviewed 353 files of aliens referred for credible fear from FY2002 to
FY2003, and found 18 asylum seekers who had valid documents and were placed in Expedited
Removal proceedings after expressing an intention to apply for asylum.4


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  Recently, this practice was the subject of press attention, when the 81 year old Reverend Joseph M. Dantica, a
frequent visitor to the United States in possession of a valid visitor visa from Haiti, was placed in Expedited
Removal proceedings. Rev. Dantica was placed in Expedited Removal because, when asked by the inspector how
long he intended to remain, the Reverend responded that he intended to apply for “temporary asylum.” Dantica was
sent to the Krome detention center in Florida, where he collapsed during his credible fear interview and died shortly
thereafter.


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         The Study questions whether it is necessary or desirable to place such aliens with facially
valid documents and whose identity is not in doubt in Expedited Removal and mandatory
detention solely because the alien expresses an intention to apply for asylum. We urge DHS to
revisit its presumption that an intention to apply for asylum is tantamount to an intention to
“immigrate” to the United States. Asylee status is not “immigrant” status. In fact, asylees may
not apply for “immigration” status (i.e. lawful permanent residence) until twelve months after
they receive asylum. Even then, asylees can only become lawful permanent residents after an
“asylum adjustment” number becomes available, which now takes more than a decade.

RECOMMENDATION FOUR

EXPAND EXISTING PRIVATE-PUBLIC PARTNERSHIPS TO FACILITATE LEGAL ASSISTANCE FOR ASYLUM
SEEKERS SUBJECT TO EXPEDITED REMOVAL, AND IMPROVE ADMINISTRATIVE REVIEW AND QUALITY
ASSURANCE PROCEDURES TO IMPROVE CONSISTENCY IN ASYLUM DETERMINATIONS BY
IMMIGRATION JUDGES.

   4.1 Statistics specific to Expedited Removal establish that asylum seekers without legal
       representation are at a significant disadvantage in presenting their asylum claim to the
       immigration judge. At the same time, other studies have shown that legal assistance
       actually improves the efficiency of the removal hearing process. Two programs in
       particular should be expanded:

       4.1.a The Legal Orientation Program (LOP), administered by the Executive Office for
       Immigration Review (EOIR) in partnership with non-governmental organizations
       (NGO’s), should be expanded beyond the seven facilities in which it is currently
       administered.

         With approval rates of 25 percent for represented asylum seekers in Expedited Removal
and 2 percent for those who are unrepresented, the findings of the Study clearly underscore that
unrepresented applicants have serious difficulties presenting their claim for asylum in an
adversarial asylum proceeding. The LOP, directed by EOIR in partnership with numerous
NGOs, has proven to be an effective and efficient model of facilitating representation for asylum
seekers and other detainees at seven facilities. EOIR and a major study by the Department of
Justice have demonstrated that such programs not only assist aliens with meritorious claims, but
assist the government as well. Because they provide aliens without a realistic possibility of relief
a better understanding of their prospects, legal orientation programs result in more efficient use
of court and detention resources.

       Regrettably, while Congress instructed that INS (now ICE) transfer $1 million in
appropriated funds to EOIR for the LOP program each year from FY2002-2004, the funds for
FY2003 have yet to be transferred. ICE did, however, agree to transfer $1 million in FY2005
funding on February 1, 2005. LOP funding should continue and, to the extent possible, be
expanded system-wide.

       4.1.b Each of the local eight asylum offices should form partnerships with service
       providers in their area to ensure that asylum seekers have an attorney to consult with
       during the credible fear process. Such a collaborative project between the Arlington,


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       Virginia Asylum Office and the Capital Area Immigrants Rights Coalition has already
       demonstrated that it can enhance the efficiency of the asylum process.

        The partnership developed between the Arlington asylum office (DHS-USCIS) and the
Capital Area Immigrants’ Rights Coalition, which endeavors to facilitate legal assistance for
asylum seekers awaiting a credible fear interview, serves as another efficiency model.
Specifically, since the launch of the program, the frequency of asylum seekers dissolving their
claims in Arlington has increased by 50 percent, and it now has the highest dissolve rate of any
asylum office in the country. After receiving legal counseling, an alien with no available relief is
more likely to retract his or her claim and ask to be returned home, saving the government
detention and immigration court costs and the alien wasted time in detention. Moreover, in
many cases, legal assistance facilitated for purposes of the credible fear interview extends to
representation at the time of the asylum hearing and helps ensure that asylum seekers with valid
claims will not be returned to countries where they may face persecution.

        Both of these public-private partnerships should be expanded for asylum seekers subject
to Expedited Removal on a national basis to supplement other effective, but under-resourced,
models of pro bono representation in various parts of the United States. Facilitating asylum
seekers’ access to legal assistance, however, will remain logistically difficult until DHS
implements the Study’s recommendation that detained asylum seekers be concentrated in a
limited number of detention centers appropriate to asylum seekers.

       4.1.c ICE and EOIR should also collaborate with local service providers to ensure that
       NGO’s, particularly those that conduct “Know Your Rights Presentations” at DHS
       detention facilities in LOP, should have access to aliens in Expedited Removal
       proceedings, including those aliens who have not been referred for a credible fear
       determination, so long as such interviews do not delay the Expedited Removal process.

         The LOP model, and similar programs such as the “Know Your Rights Presentations”
conducted by the Florence Immigrant and Refugee Rights Project (FIRRP), may also be useful in
helping DHS identify cases which should be referred for a credible fear interview. When
Commissioners and Study Experts visited Arizona in August 2004 in order to learn about the
implementation by the Border Patrol of Expedited Removal, Border Patrol officials erroneously
assured the delegation that all aliens in Expedited Removal would, while detained, be able to
attend “Know Your Rights” presentations at the detention facility in Florence. According to
subsequent conversations with other DHS officials and the FIRRP, which conducts such
presentations, the only aliens who are able to meet with FIRRP are those scheduled for a hearing
with an immigration judge. By definition, this limitation means that the only aliens in Expedited
Removal who may meet with FIRRP are those whom Border Patrol has referred for a credible
fear determination and who have then been found to have a credible fear of persecution by an
asylum officer. By facilitating meetings with all aliens in Expedited Removal, DHS could both
instill confidence that the Expedited Removal process is properly referring asylum seekers for a
credible fear determination, and also allow organizations to bring to DHS’ attention aliens who
should not be returned without first seeing an asylum officer.

       EOIR has already taken steps in this direction by allowing its contractors in the Legal
Orientation Program to provide “self-help” training workshops when needed for unrepresented


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aliens interested in pursuing relief from removal or subject to special procedures. The Study
hopes that EOIR will be given the necessary resources to help ensure that aliens have the
information they need to make the system both more efficient, and more just as well.

   4.2 The Study found significant variations in immigration judge grant rates for asylum
       claims referred through the Expedited Removal process. This is true not only from
       court to court, but also from judge to judge within individual courts. The Study also
       found that many immigration judges are relying heavily on Expedited Removal
       documents, which the Study found to be incomplete and less than reliable. We
       recommend that these quality assurance and administrative review issues be addressed
       in the following ways:

       4.2.a The Board of Immigration Appeals (BIA) should revisit its recently adopted
       practice of allowing summary affirmances for asylum, withholding, and Convention
       Against Torture (CAT) relief since there are indications that this practice may be
       undermining the Board’s effectiveness as the primary review mechanism for decisions by
       immigration judges.

        The BIA is the primary means for reviewing immigration judge decisions and correcting
judicial error. Three years ago, in order to “increase efficiency,” the BIA authorized the use of
one-sentence summary affirmances of immigration judge decisions. Since that time, the sustain
rate for appeals filed by asylum seekers subject to Expedited Removal has fallen from 23 percent
to 4 percent. This difference has not been adequately explained by EOIR and should be
thoroughly investigated. By making it significantly easier to affirm - rather than vacate - an
immigration judge decision, the BIA may be inadvertently undermining its effectiveness as a
quality assurance mechanism. The application of summary affirmances to cases involving
asylum, withholding and CAT relief should be revisited to ensure that the review process is
equitable.

       4.2.b EOIR should reinstate funding for immigration judge training and consider
       additional quality assurance procedures (i.e. peer review) to address the significant
       variations in approval and denial rates among immigration judges. In particular,
       immigration judges should be provided training specific to issues related to the reliability
       of DHS forms that they use to ascertain the credibility of testimony; e.g. the Forms I-867
       and I-870 analyzed by this study.

        The Study’s statistical findings on the variability of immigration judge decisions on relief
for asylum seekers in Expedited Removal highlight the need for these differences to be examined
and explained in order to develop and implement appropriate training and quality assurance
mechanisms. Moreover, immigration judges should be trained and otherwise advised on the
mechanics of the Expedited Removal process (i.e. the extremely limited probative value of the I-
867 and I-870 forms). Other methods of quality assurance, e.g. peer review panels, should be
considered as well. Yet, due to budget shortfalls, the immigration judges have not held a training
conference for several years. Such trainings are necessary, and should be re-established.




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RECOMMENDATION FIVE
IMPLEMENT AND MONITOR QUALITY ASSURANCE PROCEDURES TO ENSURE MORE RELIABLE
INFORMATION FOR HOMELAND SECURITY PURPOSES, AND TO ENSURE THAT ASYLUM SEEKERS ARE
NOT TURNED AWAY IN ERROR.

System Wide

   5.1 Create a reliable inter-bureau system that tracks real-time data of aliens in Expedited
       Removal proceedings.

        The Office of Immigration Statistics within DHS is currently dependent on each of the
organizational components (USCIS, ICE, CBP) spread across this vast agency – and beyond
(with the EOIR in the Department of Justice) – in order to obtain statistics on immigration
activities in general, and Expedited Removal/Asylum activities in particular. There is currently
no capability to track statistics of aliens from the beginning of the Expedited Removal process –
at the port of entry, through detention, and up until the completion of the hearing before the
immigration judge at the Department of Justice. Most of the statistics in this Study had to be
cobbled together from different non-interactive systems with different data. Other statistics
sought – such as breakdowns by nationality of aliens permitted to withdraw their applications for
admission – were simply not being tracked by DHS databases. Quality assurance and integrated
operations cannot be done until DHS develops an agency-wide (and beyond) system that tracks
real time data of aliens in Expedited Removal proceedings. The lack of reliable real time data
shared among the bureaus in the DHS raises concerns about its ability to protect not only asylum
seekers, but homeland security as well.

        Simply put, DHS should have an information system that will allow it to readily monitor
the types of issues which were examined during the Study.

Inspections and Border Patrol

   5.2 Reconcile conflicting field guidance to require that any expression of fear at the port of
       entry must result in either a referral for a credible fear determination or, in cases
       where the inspector or Border Patrol agent believes the alien would “clearly not
       qualify” for asylum or CAT relief, contact with an asylum officer to speak to the alien
       via a telephonic interpretation service to determine whether or not the alien needs to be
       referred.

        CBP regulations and guidance provide conflicting instructions to CBP officers on
whether all expressions of fear by the alien during inspection should result in a referral to an
asylum officer. We recommend that the conflicting guidance be clarified. When an inspector
has a question about whether the fear is related to the grounds for asylum, the regulations do not
provide him or her with discretion to make that determination, and the alien should be referred to
an asylum officer. The Field Manual, however, authorizes inspectors not to refer aliens whose
expression of fear “would clearly not qualify that individual for asylum.” DHS guidance also
instructs immigration inspectors to contact the asylum office point(s) of contact “when necessary




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to obtain guidance on questionable cases involving an expression of fear or a potential asylum
claim.”

       Immigration inspectors and Border Patrol agents are not trained in asylum law and should
not make determinations about whether a fear is related to the grounds of asylum or CAT relief.
On the other hand, if an alien’s expression of fear has no relationship to the grounds for asylum
or CAT relief, there is no benefit to subjecting the alien to detention for several days at
government expense.

         DHS should require that, when an alien expresses a fear of return, the immigration
inspector or Border Patrol agent must either (1) refer the alien for a credible fear determination
or (2) when the inspector believes the alien’s expression of fear is not related to grounds for
relief, initiate an interview, with appropriate privacy, between the alien and an asylum officer via
a telephonic interpretation service. The asylum officer would then determine whether the alien
should be referred for a credible fear determination and provide a short form documenting the
consultation for the file.

    5.3 DHS should improve quality assurance by expanding and enhancing the videotape
        systems currently used at Houston and Atlanta to all major ports of entry and Border
        patrol stations to unintrusively record all secondary interviews, and consider employing
        the use of undercover “testers” to verify that Expedited Removal procedures are being
        properly followed.

        The Study found current CBP quality assurance procedures to be inadequate and to rely
entirely on “self-reporting” by immigration inspectors. The Study has shown that sworn
statements taken at ports of entry are often inaccurate and are almost always unverifiable. The
unintrusive video-taping systems currently in place in Houston and Atlanta should be expanded
to all major ports of entry and the tapes should be reviewed and retained for a sufficient period of
time to be useful for quality assurance purposes. The Study found the tapes to be useful because
they may be used to protect aliens from improper conduct by inspectors, and to protect inspectors
from specious allegations of improper conduct. In addition, video should also be used by CBP
to monitor the accuracy of sworn statements and the proper implementation of all CBP
procedures. As a quality assurance measure, CBP should also consider utilizing “testers”
(undercover actors) who could verify that aliens with fraudulent documents are placed in
Expedited Removal and that asylum seekers are properly referred for a credible fear
determination. A “tester” would have the benefit of verifying compliance with procedures
without the intrusiveness of a third-party monitor in the room, which would likely have an effect
on the conduct of the officer.5 In the meantime, however, CBP should monitor ports of entry on
a periodic basis much in the way this Study has done.

        Primary inspection at land ports of entry, however, is much more difficult to monitor due
to the volume of inspections performed. While monitoring San Ysidro, the Study became aware
of two separate incidents in which religious asylum seekers from Africa and the Middle East
were turned away at primary inspection instead of being referred to Expedited Removal

5
  Testers are already routinely used by DHS at the Transportation Security Administration (TSA), which employs
them to test the effectiveness of airport passenger and baggage screening procedures.


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proceedings and a credible fear interview as required. In both cases, the asylum seekers were
eventually referred to secondary inspection, but only after returning on a subsequent day and
describing their difficulties to the secondary inspector. When a secondary inspector or an
asylum officer becomes aware of such incidents, employees should be reminded of their
responsibility to refer such cases for secondary inspection and the incident should be reported to
both CBP and Asylum Headquarters.

   5.4 Sworn Statement Form I-867B should include an explanation of the specific purpose
       for which the document is designed to serve, and its limitations.

        The Study found that immigration judges frequently deny asylum claims on the basis of
aliens “adding detail” to claims originally expressed in the sworn statement taken by CBP
officers at the secondary inspection. The Study also found that such forms are often incomplete
and less than reliable. CBP should amend its sworn statement forms (I-867B) in the same way
that USCIS recently amended its credible fear assessment form (I-870), with a prominently
displayed notation that the form is not a transcript and, echoing the language in the Inspector
Field Manual, is “not intended to go into detail about any fear of persecution or torture.”

   5.5 Current DHS procedures concerning the administration of the Form I-867A and B
       should be maintained, but should be more vigorously monitored.

        Current CBP procedures are designed to protect bona fide asylum seekers from being
removed without a hearing. They already require that immigration inspectors (1) explain the
Expedited Removal process to the alien by reading the script on the Form I-867A; (2) ask the
alien all four of the “fear questions,” as written on Form I-867B; (3) review the alien’s Sworn
Statement, as recorded on the Form I-867A and B, by reading it back to the alien (with the
assistance of an interpreter, if necessary); (4) inquire whether the alien understood what was read
back to him; and (5) correct any inaccuracies pointed out by the alien and ask him or her sign the
statement to confirm its accuracy.

         The Study, however, found lapses in compliance with these procedures. Implementation
of the procedures, could be maintained and enforced through more effective quality assurance
efforts including the use of videotapes, testers, as well as ongoing training.

        Finally, while the use of language specific videotape presentations to explain the
Expedited Removal and credible fear process to the alien could be a useful tool to help ensure
that the alien better understands the process, at least one port of entry sometimes plays a video
tape in lieu of the officer reading the script to the alien. This practice falls short of the Inspector
Field Manual guidance that an immigration inspector must be “absolutely certain that all
required procedures have been adhered to and that the alien has understood the proceedings
against him or her.” A videotape presentation is a good addition to, but should not substitute for,
the required steps mentioned above.




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Asylum

   5.6 The efficiency of the Expedited Removal process should be enhanced by amending
       DHS quality assurance procedures for the credible fear interview.

        The credible fear determination by an asylum officer, which – by law – is reviewable by
an immigration judge, has proven successful at ensuring that bona fide asylum seekers referred
from the port of entry will not be removed without a full asylum hearing. The credible fear
process fails, however, at making asylum more efficient by failing to screen out invalid claims
and thus putting more strain on detention and immigration court resources. With a screen-in rate
consistently exceeding 90 percent, and a negative determination rate of approximately 1 percent,
some view the credible fear process itself as somewhat lacking in credibility. The Asylum
Division subjects negative determinations to a much more intensive quality assurance process
than positive determinations. This lopsided treatment may be resulting in lopsided credible fear
determinations. We would suggest that this bias in favor of positive credible fear determinations
be addressed by subjecting them to similar quality assurance procedures as negative
determinations, and that immigration judges continue to review negative determinations, unless
the asylum seeker indicates he does not wish for the decision to be reviewed.

RECOMMENDATION SUMMARY

THIS STUDY HAS PROVIDED TEMPORARY TRANSPARENCY TO EXPEDITED REMOVAL – A PROCESS
WHICH IS OPAQUE NOT ONLY TO THE OUTSIDE WORLD, BUT EVEN WITHIN THE DEPARTMENT OF
HOMELAND SECURITY. AS A RESULT OF THIS TRANSPARENCY, SERIOUS – BUT NOT
INSURMOUNTABLE – PROBLEMS WITH EXPEDITED REMOVAL HAVE BEEN IDENTIFIED. THE STUDY’S
RECOMMENDATIONS CONCERNING BETTER DATA SYSTEMS, QUALITY ASSURANCE MEASURES,
ACCESS TO REPRESENTATION, AND A DHS REFUGEE COORDINATOR WOULD ALL CONTRIBUTE TO A
MORE TRANSPARENT AND EFFECTIVE EXPEDITED REMOVAL PROCESS. WE ALSO RECOMMEND THAT
CONGRESS REQUIRE THE DEPARTMENTS OF JUSTICE AND HOMELAND SECURITY TO PREPARE AND
SUBMIT REPORTS, WITHIN 12 MONTHS OF THE RELEASE OF THIS STUDY, DESCRIBING AGENCY
ACTIONS TO ADDRESS THE FINDINGS AND RECOMMENDATIONS OF THIS STUDY.




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                EXHIBIT 5
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BARRIERS TO
PROTECTION
TH E T R E AT MENT OF A SYLUM SEEKERS IN EXPEDITED REMOVAL




U.S. Commission on International Religious Freedom
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Barbed wire is seen at Casa del Migrante in Reynosa, Mexico. Casa del Migrante provides housing, food,
clothing and medical care to people who are planning to cross the border and to those have have been
deported from the United States (Reuters/Eric Thayer).
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U. S.   C O M M I S S I O N   O N   I N T E R N A T I O N A L   R E L I G I O U S   F R E E D O M




BARRIERS TO PROTECTION
T H E T R E AT M E N T O F A S Y LU M S E E K E R S I N E X PE D I T E D R E M OVA L
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                      AUTHORS OF THIS REPORT
                                 Elizabeth Cassidy
                         Co-Director for Policy and Research

                                   Tiffany Lynch
                                Senior Policy Analyst
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                                                     ACRONYMS
                                                     ABA               American Bar Association

                                                     ATD               Alternatives to Detention

                                                     BIA               Board of Immigration Appeals

                                                     BP                U.S. Border Patrol

                                                     CBP               U.S. Customs and Border Protection

                                                     DHS               Department of Homeland Security

                                                     DOJ               Department of Justice

                                                     EOIR              Executive Office for Immigration Review

                                                     HPI/GPI           Honduran and Guatemalan Pilot Initiatives

                                                     ICE               U.S. Immigration and Customs Enforcement

                                                     IIRIRA            1996 Illegal Immigration Reform and Immigrant
                                                                       Responsibility Act

                                                     INA               Immigration and Nationality Act

                                                     ISAP              Intensive Supervision Appearance Program

                                                     LOP               Legal Orientation Program

                                                     OFO               U.S. Customs and Border Protection Office of Field Operations

                                                     OIG               Department of Homeland Security Office of Inspector General

                                                     ORR               Department of Health and Human Services Office of
                                                                       Refugee Resettlement

                                                     PBNDS             2011 Performance Based National Detention Standards

                                                     RCA               Risk Classification Assessment

                                                     UAC               Unaccompanied non-citizen children

                                                     USCIRF            U.S. Commission on International Religious Freedom

                                                     USCIS             U.S. Citizenship and Immigration Services

                                                     VTC               video teleconference




vi   U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
                                                                                                                                                                                                                                                                            EXPEDITED	  REMOVAL	  FLOW	  CHART	  (2015)	  
                                                                                                                                            Inspection	  by	  Office	  of	  Field	                       Apprehension	  by	  B order	                             Arrival	  by	  Sea	  and	  
                                                                                                                                                                                                                                                                                              	                                Detention	  by	  	                                                                                                Credible	  Fear	  Interview	  by	  	  
                                                                                                                                            Operations	  (CBP)	  to	  i dentify	  	                      Patrol	  (CBP)	  within	  100	                          Apprehension	  by	                                                                        ICE	  ( DRO)	                                                                USCIS	  (Asylum	  Division)	  
                                                                                                                                            arrivals	  with	  documents	  that	                           miles	  of	  border	  a nd	  within	                   DHS	  within	  24	  
                                                                                                                                            are	  missing,	  false	  or	  obtained	                      14	  days	  of	  entry	  without	                      months	  of	  entry	  
                                                                                                                                            by	  misrepresentation	  	                                     inspection	                                                without	  inspection	                                                         Non-­‐citizens	  w ho	  have	  not	                                                  USCIS	  Asylum	  Pre-­‐Screening	  
                                                                                                                                                                                                                                                                                                                                                          expressed	  fear	  held	  for	                                                       Officer	  (APSO)	  conducts	  non-­‐
                                                                                                                                                                                                                                                                                                                                                          removal	  –	  Non-­‐citizens	  who	                                                  adversarial	  interview	  using	  the	  
                                                                                                                                                                                                                                                                                                                                                          have	  expressed	  fear	  are	  held	                                               credible	  fear	  standard	  -­‐	  Non-­‐
                                                                                                                                                            Interview	  conducted	  -­‐	  Sworn	  s tatement	  on	  I-­‐867A/B	  r ead	  aloud	  to	  noncitizen	                                                                              for	  credible	  fear	  process	  -­‐	                                              citizen	  has	  no	  right	  to	  l egal	  
                                                                                                                                                            and	  provided	  in	  writing	  -­‐	  Specific	  protection	  questions	  asked	  and	  recorded	  -­‐	                                                                           Opportunity	  to	  c ommunicate	                                                      representation	  but	  may	  have	  
                                                                                                                                                            Not	  allowed	  to	  meet	  with	  family,	  attorney,	  etc.	                                                                                                                        with	  attorney,	  family,	  etc.	                                                   an	  attorney,	  family	  or	  other	  
                                                                                                                                                                                                                                                                                                                                                                                                                                                   consultant	  present	  

                                                                                                                                                                                                                                                                                                                                                                      ICE	  ( DRO)	                        ICE	  ( DRO)	  
                                                                                                                                                                                                                              Fear	  expressed	  -­‐	  If	  non-­‐citizen	  indicates	  intent	  to	                         ICE	  ( DRO)	  
                                                                                                                                         No	  fear	  expressed	  -­‐	  If	  non-­‐citizen	  does	  not	                                                                                                                                                       identifies	  non-­‐                   informs	                              APSO	  completes	  the	  “Record	  
                                                                                                                                                                                                                              apply	  for	  asylum	  or	  fear	  of	  persecution	  or	                                      removes	  the	  
                                                                                                                                         indicate	  an	  intent	  to	  a pply	  for	  asylum	  or	                                                                                                                                                            citizen	  w ho	                      USCIS	  of	                          of	  determination/Credible	  
                                                                                                                                                                                                                              torture,	  case	  is	  flagged	  for	  credible	  fear	  referral	                             Non-­‐citizen	  
                                                                                                                                         fear	  of	  persecution	  or	  torture,	  expedited	                                                                                                                                                                   had	  not	                                                                  fear	  Worksheet”	  ( Form	  I-­‐870)	  
                                                                                                                                                                                                                              and	  additional	  information	  is	  provided	  about	  the	                                                                                                           need	  for	  
                                                                                                                                         removal	  order	  prepared	                                                                                                                                                                                               expressed	  fear	                    credible	  fear	  
                                                                                                                                                                                                                              process	  (Form	  M444)	  
                                                                                                                                                                                                                                                                                                                                                                      to	  CBP	  	                        interview	  	  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 1:25-cv-00190-JMC




                                                                                                                                                                                                                                                                                                                                                                                                                                                      Supervisory	  R eview	  (paper)	  

                                                                                                                                                   Supervisory	  R eview	  (paper)	                                                            Supervisory	  R eview	  (paper)	  
                                                                                                                                                                                                                                                                                                                                                          During	  credible	  fear	  process,	  may	  
                                                                                                                                                                                                                                                                                                                                                                                                                                            Quality	  Assurance	  R eview	  a t	  HQ	  (paper)	  
                                                                                                                                                                                                                                                                                                                                                          only	  be	  released	  if	  necessary	  to	  
                                                                                                                                                                                                                                                                                                                                                                                                                                            –	  Not	  all	  reviewed	  -­‐	  Randomly	  s elected	  
                                                                                                                                                                                                                                                                                                                                                          meet	  a 	  law	  enforcement	  objective	  or	  
                                                                                                                                                                                                                                                                                                                                                                                                                                            from	  negative	  a nd	  positive	  credible	  fear	  
                                                                                                                                  Possible	  offer	  to	                      Expedited	  removal	                          Referral	  to	  DOJ	                          Referral	  to	  ICE	                                                 for	  a	  “ medical	  emergency”	               	  
                                                                                                                                                                                                                                                                                                                                                                                                                                            determinations	  
                                                                                                                                  withdraw	                                     order	  issued	  -­‐	                        for	  potential	                               (DRO)	  for	  
                                                                                                                                  application	  for	                           Once	  removed,	                              federal	  criminal	                            detention	  during	  
                                                                                                                                  admission	  at	  the	                       the	  noncitizen	  is	                       prosecution	  for	                             credible	  fear	                                                      After	  positive	  credible	  fear	  finding,	  
                                                                                                                                  discretion	  of	  the	                      barred	  from	                                illegal	  entry	                               determination	                                                         arrivals	  to	  ports	  of	  entry	  may	                               Credible	  fear	                     Credible	  fear	  not	  
                                                                                                                                  officer	  –	  No	                           returning	  to	  the	                                                                                                                                                 paroled	  from	  detention	  by	  ICE,	  and	  	                       found	  –	                           found	  -­‐	  Expedited	  
                                                                                                                                  reentry	  bar	                               US	  for	  5 	  years	                                                                                                                                               those	  a pprehended	  by	  Border	                                       Referral	  to	  a n	                removal	  order	  issued	  
                                                                                                                                                                                                                                                                                                                                                          Patrolmay	  r equest	  a	  bond	  hearing	                               EOIR	                                 -­‐	  Non-­‐citizen	  may	  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Document 50-23




                                                                                                                                                                                                                                                                                                                                                          before	  an	  EOIR	  immigration	  j udge                                 immigration	                          request	  review	  by	  
                                                                                                                                                                                                                                                                                                                                                          	                	                                                          judge	                                EOIR	  i mmigration	  
                                                                                                                                                                                                                                                            AUSA	  prosecutes	  –	                                                                                                                                                                                          judge	  (Form	  I-­‐869)	  
                                                                                                                                                                                                                      AUSA	  declines	  
                                                                                                                                                                                                                                                            conviction,	  sentencing	  
                                                                                                                                                                                                                      to	  prosecute	  	  
                                                                                                                                                                                                                                                            and	  time	  is	  s erved	  	                                                                                                                        Asylum	  Hearing	  -­‐	  
                                                                                                                                     Referral	  to	  ICE	  ( DRO)	  for	  detention	                                                                                                                                     No	  appeal	  -­‐	  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EXPEDITED REMOVAL PROCESS FLOW CHART




                                                                                                                                     and	  removal	  by	  ICE	  ( DRO)	  or	                                                                                                                                             Relief	  stands	                                                                     EOIR	  i mmigration	  judge	                              At	  non-­‐citizen’s	  
                                                                                                                                                                                                                                                                                                                                                                          Asylum	  or	  C AT	                      conducts	  adversarial	  
                                                                                                                                     removal	  directly	  from	  CBP	                                                                                                                                                                                                                                                                                                          request,	  an	  EOIR	  
                                                                                                                                                                                                                                                                                                                                                                          granted	                                   hearing	  under	  INA	  Sec.	  240	                     immigration	  j udge	  
                                                                                                                                                                                                                                                                                                                                                                                                                      –	  Non-­‐citizen	  may	  a pply	  for	                 conducts	  a 	  video	  
                                                                                                                                                                                                                                                                           Appeal	  -­‐	                                                                                                                            asylum,	  withholding	  of	  
                                                                                                                                                                                                                                                                           Government	  or	  asylum-­‐seeker	  may	  appeal	  the	                                    Asylum	  or	                                                                                         teleconferenced	  or	  
                                                                                                                                                                                                                                                                                                                                                                                                                      removal	  (INA	  Sec.	                                    in-­‐person	  review	  
                                                                                                                                                                                                                                                                           decision	  of	  the	  immigration	  j udge	  to	  the	  EOIR	                            CAT	  denied	                           241(b)(3))	  or	  CAT	  relief	  –	  
                                                                                                                                                                                                                                                                           Board	  of	  immigration	  Appeals	  (BIA)	                                                                                                                                                        of	  negative	  
                                                                                                                                                                                                                                                                                                                                                                                                                      May	  be	  represented	  by	  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Filed 06/10/25




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   credible	  fear	  
                                                                                                                                                                                                                                                                                                                                                                                                                      counsel	  a t	  no	  cost	  to	  the	                  finding,	  usually	  
                                                                                                                                                                                                                                                                                                                                                                                                                      government	                                                 within	  7	  days	  
                                                                                                                                                                                                                                                                                                                  Re-­‐interview	  granted	                       Non-­‐citizen	  
                                                                                                                                                                                                                                                                                                                                                                    requests	  a	  re-­‐                                                                          Negative	                Negative	  
                                                                                                                                                                                                                                                                                                                                                                    interview	  by	                                                                               decision	                decision	  
                                                                                                                                                                                                                                                                                                                   Re-­‐interview	  denied	                       APSO	                                                                                          vacated	                 affirmed	  




B a r r i e r s To P r o t e c t i o n | T h e Tr e a t m e n t O f A s y l u m S e e ke r s I n E x p e d i t e d Re m o v a l
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viii   U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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EXECUTIVE SUMMARY
Unprecedented numbers of individuals worldwide are forcibly displaced
by conflict or persecution or migrating in search of improved economic
opportunities. For example, in 2015, more than one million refugees and
migrants undertook treacherous journeys across the Mediterranean Sea
to reach Europe. In fiscal year 2014, 52,000 unaccompanied non-citizen
children and 68,000 family units from Central America crossed into the
United States from Mexico.
     These large, mixed flows of people require that nations have credible,
effective immigration laws and processes to identify and protect bona fide
refugees and asylum seekers. In the United States, one such system is the
Expedited Removal process. Under Expedited Removal, foreign nationals                                 These large, mixed flows of
arriving in the United States without proper documentation or with fraud-
                                                                                                      people require that nations
ulent documentation can be returned to their countries of origin without
delay, and without the immigration court removal hearings, unless they                                   have credible, effective
establish a credible fear of persecution or torture. This report examines the                            immigration laws and
U.S. government’s treatment of asylum seekers in Expedited Removal.
                                                                                                        processes to identify and
     Expedited Removal is a complicated administrative process carried
out by multiple agencies of the U.S. Department of Homeland Security                                   protect bona fide refugees
(DHS), including U.S. Customs and Border Protection (CBP) and U.S.                                         and asylum seekers.
Immigration and Customs Enforcement (ICE). For asylum seekers, DHS’s
U.S. Citizenship and Immigration Services (USCIS) and the Executive
Office for Immigration Review (EOIR) of the U.S. Department of Justice
(DOJ) also are involved.
     CBP first encounters non-citizens when they apply for admission to
the United States at U.S. ports of entry, or after they cross the U.S. border,
and identifies those subject to Expedited Removal and, from that group,
those seeking asylum. During this initial processing, CBP officials are
required to explain Expedited Removal and its consequences, advise
non-citizens to ask for protection without delay if they have any fear or
concern about being returned home, and ask four questions related to
fear of return. CBP then turns non-citizens subject to Expedited Removal
over to ICE for detention and removal. While in ICE detention, those
who claimed fear of return are screened by USCIS asylum officers to
determine if their fear is credible, defined as “a significant possibility”
of establishing eligibility for protection. If USCIS finds a credible fear
of persecution or torture, the asylum officer places the non-citizen in
removal proceedings before an EOIR immigration judge, in which he or
she may apply for asylum or other relief or protection from removal, and
ICE may release the asylum seeker from detention while the immigration
court proceeding is pending. If USCIS does not find credible fear, the
non-citizen may request a review by an immigration judge, but if credible
fear is again denied the person is removed promptly thereafter.




               B a r r i e r s To P r o t e c t i o n | T h e Tr e a t m e n t O f A s y l u m S e e ke r s I n E x p e d i t e d Re m o v a l   1
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                                                         The International Religious Freedom Act of 1998 authorized the U.S.
                                                     Commission on International Religious Freedom (USCIRF) to designate
                                                     experts to conduct a study to assess the situation of asylum seekers in
                                                     Expedited Removal. USCIRF released its first assessment in the 2005 Report
                                                     on Asylum Seekers in Expedited Removal, which documented serious flaws
                                                     placing asylum seekers at risk of return to countries where they could
                                                     face persecution and inappropriate, prison-like detention conditions.
                                                     To address these problems, USCIRF made a series of recommendations
                                                     designed both to help protect U.S. borders and ensure the fair and humane
                                                     treatment of bona fide asylum seekers.
                                                         This follow-up report, based on field research and a review of public
                                                     information conducted by USCIRF between 2012 and 2015, evaluates the
                                                     current situation of asylum seekers in Expedited Removal and the imple-
                                                     mentation of USCIRF’s 2005 recommendations. The research revealed
                                                     that, although DHS had taken some measures in response to the 2005
                                                     study, there were continuing and new concerns about the processing and
                                                     detention of asylum seekers in Expedited Removal, and most of USCIRF’s
                                                     2005 recommendations had not been implemented. Furthermore, since
                                                     USCIRF’s original research, both the U.S. government’s use of Expedited
                                                     Removal and the number of individuals in Expedited Removal seeking
                                                     asylum have grown significantly. As a result, flaws in the system now
                                                     potentially affect even more asylum seekers.

                                                     Key findings include:
                                                       • There continues to be a need for a high-ranking DHS official to
                                                         coordinate refugee and asylum issues among the various agencies
                                                         involved in Expedited Removal.
                                                       • USCIRF’s observations and research revealed continuing and new
                                                         concerns about CBP officers’ interviewing practices and the reli-
                                                         ability of the records they create, including: flawed Border Patrol
                                                         internal guidance that conflates CBP’s role with that of USCIS; cer-
                                                         tain CBP officers’ outright skepticism, if not hostility, toward asylum
                                                         claims; and inadequate quality assurance procedures.
                                                       • CBP’s and USCIS’ reliance on technology to process and interview
                                                         increased numbers of border crossers has improved efficiency, but
                                                         the impersonal nature of the interviews raises concerns that this
                                                         may be at the expense of identifying and protecting asylum seekers.
                                                       • USCIS’ 2014 revised lesson plan for asylum officers on credible
                                                         fear and a new detailed interview checklist may have moved what
                                                         should be a screening interview closer to a full asylum adjudication.
                                                       • ICE continues to detain asylum seekers before their credible fear
                                                         interviews, and, in some cases even after being found by USCIS to
                                                         have credible fear, under inappropriate penal conditions.




2   U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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• ICE’s 2009 directive on parole, and its increased use of Alternatives
  to Detention, have improved opportunities for release of asylum
  seekers found to have a credible fear, in line with USCIRF’s 2005
  recommendations.
• ICE’s failure to develop uniform procedures to determine bond
  amounts and its extensive use of ankle bracelets over other alter-
  natives, without individually assessing each asylum seeker’s
  non-appearance risk, raise serious concerns.
• Detained asylum seekers with whom USCIRF met lack any real
  understanding of their rights, responsibilities, and, if relevant, the
  next steps in their asylum cases.
• The prioritization of funding for the agencies involved in the
  enforcement aspects of Expedited Removal has resulted in adjudi-
  cation delays and backlogs at both USCIS and EOIR.
• CBP’s referral of non-citizens who claim fear to DOJ for prosecution
  for illegal entry or illegal re-entry without first allowing USCIS to
  assess their fear claim is problematic and may violate the United
  States’ international obligations.
• The U.S. government’s detention of mothers and children in
  Expedited Removal who expressed fear of return is inherently prob-
  lematic and several courts have found that the facilities used do not
  comply with the U.S. government’s own standards for child deten-
  tion as defined in a 1997 legal settlement, the Flores Agreement.
• CBP’s and ICE’s implementation of the Honduran and Guatemalan
  Pilot Initiatives to detain separately and remove speedily adults
  from these two countries who do not claim fear has the negative
  effect of limiting these non-citizens’ opportunities to learn about
  their legal rights.




             B a r r i e r s To P r o t e c t i o n | T h e Tr e a t m e n t O f A s y l u m S e e ke r s I n E x p e d i t e d Re m o v a l   3
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                                                       KEY RECOMMENDATIONS INCLUDE

                                                        To the Secretary of Homeland Security
                                                          • Appoint a high-ranking official with sufficient authority and resources to
                                                            make the reforms necessary to ensure the protection of asylum seekers
                                                            in Expedited Removal and to oversee implementation.
                                                          • Reiterate to all agencies and officers implementing Expedited Removal
                                                            that their law enforcement mandate includes fully implementing U.S.
                                                            laws and regulations governing the protection of individuals seeking
                                                            refuge from return to persecution or torture.
                                                          • Request that the DHS Office of Inspector General audit the Expedited
                                                            Removal process for compliance with laws and policies regarding the
                                                            protection of asylum seekers.


                                                        To CBP
                                                          • Video record all Expedited Removal processing interviews and require
                                                            supervisory and headquarters review of the recordings of a sampling of
                                                            interviews for quality assurance purposes.
                                                          • Retrain all officers and agents on their role in the Expedited Removal
                                                            process, the proper procedures for interviewing non-citizens, and the
                                                            special needs and concerns of asylum seekers and other vulnerable
                                                            populations.
                                                          • Establish a dedicated corps of specially-trained, non-uniformed inter-
                                                            viewers to interview women and children to identify fear claims, and
                                                            ensure that female interviewers are included.
                                                          • Track the results of interviews conducted by virtual processing against
                                                            those conducted in person to determine if the two methods are produc-
                                                            ing materially different outcomes.
                                                          • Develop a document that briefly and clearly explains the Expedited
                                                            Removal process, its consequences, the right to seek protection for
                                                            those who fear return, and the right to request a private interview, and
                                                            provide this document to all individuals, in a language they understand,
                                                            as soon as possible when they come into CBP custody.


                                                        To USCIS
                                                          • Track whether credible fear interview referrals are coming from CBP or
                                                            ICE to better understand when in the process most fear claims are being
                                                            raised.
                                                          • Reaffirm in the asylum officers’ lesson plan that the credible fear
                                                            standard is a screening standard requiring a showing of a “significant
                                                            possibility” of eligibility for asylum, not a full assessment of the merits of
                                                            the case.
                                                          • Continue to track the results of credible fear interviews conducted
                                                            telephonically and those conducted in person to determine if the two
                                                            methods are producing materially different outcomes.
                                                          • Allow asylum officers to convert and adjudicate appropriate Expedited
                                                            Removal cases in which credible fear is found as affirmative asylum cases.


                                                        To ICE
                                                          • Detain all adult asylum seekers who must be detained, whether before
                                                            or after a credible fear determination, in civil facilities only.
                                                          • Require an individualized re-assessment of the need for custody for all
                                                            detainees with a positive credible fear finding, and apply a presumption




4   U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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KEY RECOMMENDATIONS INCLUDE (CONTINUED)
    of bond for detainees with credible fear who do not fall under the 2009
    parole directive.
 • Increase the use of Alternatives to Detention, such as monitored release,
   for asylum seekers, beyond bond and parole opportunities.
 • Expand the Know Your Rights presentations that provide detainees with
   basic legal information to all facilities that house asylum seekers.
 • If families are placed in Expedited Removal, detain them only in facili-
   ties that meet the standards of the Flores Agreement and individually
   re-assess the need for custody after credible fear is found, with a pre-
   sumption of release.
 • Ensure that programs that detain nationals of particular countries sepa-
   rately do not have the effect of preventing them from learning about the
   right to seek asylum.


To EOIR
 • Retrain immigration judges that the interview record created by CBP is not
   a verbatim transcript of the interview and does not document the individ-
   ual’s entire asylum claim in detail, and should be weighed accordingly.
 • Expand the Legal Orientation Program available in some facilities to all
   detention facilities housing asylum seekers, and provide it to detainees
   before their credible fear interviews.


To CBP, USCIS, and DOJ
 • Work together to develop procedures to allow USCIS to conduct cred-
   ible fear interviews for non-citizens being referred for prosecution who
   express fear before DOJ pursues their criminal cases.


To Congress
 • Authorize and fund another independent, comprehensive study of
   the treatment of asylum seekers in Expedited Removal at all stages of
   the process.
 • Request the Government Accountability Office to conduct a study to
   assess whether non-citizens removed to their home countries under
   Expedited Removal have faced persecution or torture after their return.
 • Increase funding for the adjudicatory aspects of Expedited Removal to
   enable USCIS and EOIR to address backlogs, conduct timely adjudica-
   tions, and provide due process.
 • Increase funding to EOIR to expand the Legal Orientation Program to
   all facilities housing asylum seekers and to enable it to be provided to
   detained asylum seekers before their credible fear interviews.




             B a r r i e r s To P r o t e c t i o n | T h e Tr e a t m e n t O f A s y l u m S e e ke r s I n E x p e d i t e d Re m o v a l   5
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FINDINGS AND RECOMMENDATIONS
MANAGEMENT AND COORDINATION
The 2005 Study found extensive problems with DHS’s overall manage-
                                                                                                      USCIRF’s current research
ment and coordination of the Expedited Removal process, including poor
communication among the responsible agencies, insufficient quality                                      revealed continuing and
assurance and data management practices, and no mechanism to address                                    new concerns about the
system-wide issues. USCIRF’s main recommendation to address these                                    treatment of asylum seekers
flaws was that the Secretary of Homeland Security appoint a high-rank-
ing official to coordinate refugee and asylum matters among the various
                                                                                                          in Expedited Removal
agencies and implement reforms.                                                                        and confirmed that most
     Although then-Secretary Michael Chertoff appointed a Senior Advi-                                  recommendations from
sor for Refugee and Asylum Policy in 2006, that position was never at the
                                                                                                         the 2005 Study remain
level, nor had the authority and resources, necessary to address USCIRF’s
findings. The position did not report to the Secretary or Deputy Secretary,                                   unimplemented.
but rather was within the DHS Office of Policy. The position was filled from                            A high-ranking official,
2006 to 2011, but since then has been vacant.                                                          with the Secretary’s clear
     USCIRF’s current research revealed continuing and new con-
cerns about the treatment of asylum seekers in Expedited Removal and
                                                                                                         support and sufficient
confirmed that most recommendations from the 2005 Study remain unim-                                    authority and resources,
plemented. A high-ranking official, with the Secretary’s clear support                               is still needed to implement
and sufficient authority and resources, is still needed to implement the
                                                                                                     the required reforms, ensure
required reforms, ensure consistent asylum policy and practice, manage
the Expedited Removal system, and address issues as they arise.                                         consistent asylum policy
                                                                                                       and practice, manage the
                                                                                                     Expedited Removal system,
 RECOMMENDATIONS
                                                                                                            and address issues
  To the Secretary of Homeland Security
                                                                                                                as they arise.
   • As recommended in 2005, appoint a high-ranking official with sufficient
     authority and resources to make the reforms necessary to ensure the
     protection of asylum seekers in Expedited Removal and to oversee
     implementation, including by chairing a regular interagency working
     group of all agencies involved in the Expedited Removal process.
   • Reiterate to all agencies and officers implementing Expedited Removal
     that their law enforcement mandate includes fully implementing U.S.
     laws and regulations governing the protection of individuals seeking
     refuge from return to persecution or torture.
   • Request that the DHS Office of Inspector General audit the Expedited
     Removal process for compliance with laws and policies regarding the
     protection of asylum seekers.


  To Congress
   • Authorize and fund another independent, comprehensive study of the
     treatment of asylum seekers in Expedited Removal at all stages of the
     process.
   • Request the Government Accountability Office to conduct a study to
     assess whether non-citizens removed to their home countries under
     Expedited Removal have faced persecution or torture after their return.




             B a r r i e r s To P r o t e c t i o n | T h e Tr e a t m e n t O f A s y l u m S e e ke r s I n E x p e d i t e d Re m o v a l   17
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                                                     INITIAL PROCESSING
                                                     As discussed above, CBP first encounters non-citizens at ports of entry
                                                     or after they cross the border and identifies those subject to Expedited
                                                     Removal and from that group, those seeking asylum. OFO officers process
                                                     non-citizens arriving at ports of entry and BP agents process non-citizens
   Why did you leave your                            apprehended along the border through interviews taken as sworn state-
 home country or country of                          ments on Form I-867. Form I-867 seeks to ensure that non-citizens who fear
      last residence?                                return are identified and not erroneously returned to countries where they
                                                     may face persecution. The form has two parts: (1) side A (see Appendix A)
        Do you have any fear                         includes a required script explaining the Expedited Removal process and
      or concern about being                         its consequences and advising non-citizens to ask for protection without
       returned to your home                         delay if they have any reason to fear being returned home;20 and (2) side B
     country or being removed                        (see Appendix B) includes four required questions relating to fear of return.21
      from the United States?
  Would you be harmed if
  you are returned to your                           20
                                                          Form I-867 Side A reads as follows:
 home country or country of
                                                     		I am an officer of the United States Department of Homeland Security. I am autho-
       last residence?                                  rized to administer the immigration laws and to take sworn statements. I want to
                                                        take your sworn statement regarding your application for admission to the United
 Do you have any questions                              States. Before I take you statement, I also want to explain your rights, and the pur-
 or is there anything else you                          pose and consequences of this interview.

       would like to add?                            		You do not appear to be admissible or to have the required legal papers authorizing
                                                        your admission to the United States. This may result in your being denied admission
                                                        and immediately returned to your home country without a hearing. If a decision
                                                        is made to refuse your admission into the United States, you may be immediately
                                                        removed from this country, and if so, you may be barred from reentry for a period
                                                        of 5 years or longer.
                                                     		This may be your only opportunity to present information to me and the Department
                                                        of Homeland Security to make a decision. It is very important that you tell me the
                                                        truth. If you lie or give misinformation, you may be subject to criminal or civil pen-
                                                        alties, or barred from receiving immigration benefits or relief now or in the future.
                                                     		         Except as I will explain to you, you are not entitled to a hearing or review.
                                                     			U.S. Law provides protection to certain persons who face persecution, harm or
                                                         torture upon return to their home country. If you fear or have a concern about
                                                         being removed from the United States or about being sent home, you should tell
                                                         me so during this interview because you may not have another chance. You will
                                                         have the opportunity to speak privately and confidentially to another officer
                                                         about your fear or concern. That officer will determine if you should remain in
                                                         the United States and not be removed because of that fear.
                                                     		Until a decision is reached in your case, you will remain in the custody of the
                                                        Department of Homeland Security.
                                                     	Any statement you make may be used against you in this or any subsequent adminis-
                                                       trative proceeding.
                                                     21
                                                          The four questions on Form I-867 Side B are:
                                                     		         Why did you leave your home country or country of last residence?
                                                     		Do you have any fear or concern about being returned to your home country or
                                                        being removed from the United States?
                                                     		Would you be harmed if you are returned to your home country or country of last
                                                        residence?
                                                     		         Do you have any questions or is there anything else you would like to add?




18    U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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     At the time of the research for the 2005 Study, Expedited Removal
applied at OFO ports of entry only. More than two dozen trained researchers
and several expert supervisors observed more than 400 secondary inspec-
tion interviews at seven ports of entry, spending from two to six weeks at
each site. They also reviewed case files and spoke with interviewees.
     Their findings were alarming. In more than half of the interviews
observed in the research for the 2005 Study, OFO officers failed to read the
required information advising the non-citizen to ask for protection without
delay if s/he feared return. At least one of the four required fear questions
was asked approximately 95 percent of the time, but in 86.5 percent of the
cases where a fear question was not asked, the record inaccurately indi-
cated that it had been asked, and answered. And in 72 percent of the cases,
asylum seekers were not allowed to review and correct the form before
signing, as required. Thus, USCIRF found that, although they resemble
verbatim transcripts, the I-867 sworn statements were neither verbatim
nor reliable, often indicating that information was conveyed when in fact
it was not and sometimes including answers to questions that never were
asked. Yet immigration judges often used these unreliable documents
against asylum seekers when adjudicating their cases.22
     Additionally, in nearly 15 percent of the cases observed in the research
for the 2005 Study, asylum seekers who expressed a fear of return were
removed without referral to a USCIS asylum officer for a credible fear deter-
mination. Moreover, in nearly half of those cases, the files indicated that
the asylum seeker had not expressed any fear. Some of these non-referrals
may have been because of problematic language in the CBP Field Manual
in use at the time stating that an officer may decline referral where the
fear claimed by the applicant “would clearly not qualify that individual
for asylum,” but several involved expressions of fear of political, religious,
or ethnic persecution. Finally, at one port of entry, the researchers found
a few instances when CBP officers improperly pressured asylum seekers
to retract their fear claims and withdraw their applications for admission.
     To address these interviewing and recordkeeping flaws, USCIRF
recommended that CBP: (1) videotape all Expedited Removal processing
interviews for quality assurance review purposes, and use undercover
“testers” to further verify that correct procedures are being followed;
(2) revise field guidance to make clear that any expression of fear must
result in a referral for a credible fear determination; and (3) amend Form


22
  As the 2005 Study noted, the records created by CBP during initial interviews or by USCIS
asylum officers during credible fear interviews are often used by ICE trial attorneys to
impeach asylum seekers’ credibility and/or cited by immigration judges in denying relief.
USCIS has since amended the Form I-870, on which it documents credible fear interviews,
to include a statement that “[t]he following notes are not a verbatim transcript of this inter-
view . . . There may be areas of the individual’s claim that were not explored or documented
for purposes of this threshold screening.” CBP has not similarly modified the I-867.




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                                                     I-867 to include a prominently displayed notation that it is not a verbatim
                                                     transcript and is not intended to document the applicant’s entire asylum
                                                     claim in detail.
                                                          For the current research, one or two USCIRF staff visited five OFO ports
                                                     of entry and four BP stations on a series of trips during 2014 and 2015, touring
                                                     the facilities, meeting with officers, and observing a few in-person inter-
                                                     views.23 At three ports of entry (Los Angeles International Airport, John F.
                                                     Kennedy International Airport, and Otay Mesa Port of Entry) and one BP
                                                     station (McAllen Station), USCIRF observed a total of five partial, in-person
                                                     interviews. During four of these interviews, USCIRF observed the taking of
                                                     the I-867 sworn statement but not the interviewee’s review and signing (see
                                                     Appendix C and Appendix D); for the fifth, the reverse was observed.24 At
                                                     McAllen and El Paso Border Patrol stations, USCIRF observed both sides of
                                                     the virtual processing that is now used for most Expedited Removal cases
                                                     involving border-crossers in the Rio Grande Valley CBP sector.

                                                     Interviewing and Record Keeping Practices
                                                     Despite the small sample of CBP interviews observed, USCIRF found
                                                     several examples of non-compliance with required procedures, includ-
                                                     ing: failure to read back the answers to the interviewee and allow him
                                                     to correct errors before signing, as required;25 interviewing individuals
                                                     together instead of separately and in private; failure to read the required
                                                     script from the I-867A; and failure to record an answer correctly. For
     Despite the small sample
                                                     example, in one case, a BP agent did not read the I-867A script until the
 of CBP interviews observed,                         end of the interview, after he had already asked and filled out answers to
      USCIRF found several                           the four fear questions on the I-867B. In another case, in response to the
 examples of non-compliance                          last of the four I-867B questions (“[d]o you have any questions or is there
                                                     anything else you would like to add?”), the interviewee asked how long
     with required procedures                        the process would take, and the agent answered that he did not know
                                                     and could not say. On the sworn statement, however, the interviewer
                                                     indicated “no” to question four.




                                                      The ports of entry were: John F. Kennedy International Airport, Los Angeles International
                                                     23

                                                     Airport, Hidalgo Port of Entry, Otay Mesa Port of Entry, and San Ysidro Port of Entry. The
                                                     Border Patrol sites were: Chula Vista Station, El Paso Station, McAllen Station (twice), and
                                                     Ramey Station. The time spent at each facility ranged from a half-day to two days.
                                                     24
                                                       The other OFO ports and BP stations were not conducting any Expedited Removal
                                                     interviews when USCIRF was there. All observations were done with the consent of the
                                                     interviewee. The observations were partial because the full interview process took longer
                                                     than the amount of time USCIRF was at the sites.
                                                     25
                                                       Asked why, the OFO officer told USCIRF that he only reads back the contents if the inter-
                                                     viewee requests it because it takes too long, and that the interviewee’s initialing each page
                                                     simply indicates that s/he received a copy of that page. A supervisor later confirmed that
                                                     reading back the form is required and initialing signifies approval of the contents, and said
                                                     he would remind all interviewing officers.




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     The credible fear interviews USCIRF observed at USCIS asylum
offices26 further raised concerns about CBP’s interviewing and record-
keeping practices. In three of the five observed credible fear interviews,
asylum seekers’ I-867 forms indicated “no” answers to the fear questions
in his or her BP interview, but the asylum seeker said that s/he had articu-
lated a fear or was not asked. These individuals were referred for credible
fear interviews when they raised a fear of return to ICE while detained
awaiting removal. For example, in one credible fear interview, the asylum
seeker’s form indicated he did not express a fear of return, but he told the
asylum officer that the agents had not asked him if he was afraid, they only
asked for his identifying information. He also said he had a letter from a
helpful police officer in El Salvador saying he had been threatened by gang
members, which he said the agent told him he would have to present to
the asylum officer but then took and kept. In another, a woman’s form also
showed no expression of fear, but said she was coming to the United States
to work; however, the asylum seeker stated in the credible fear interview
that she remembers saying to BP that she was afraid to return to Guate-
mala and that she did not say she was coming to the United States to seek
employment. She said “I had a good job in Guatemala but had to leave it
because I needed protection.”
     Asylum officers reported to USCIRF that this was a common occur-
rence. They also said that they were seeing many forms with identical
answers,27 and others with clearly erroneous ones (i.e. the form said that
the individual was asked, and answered, whether she was pregnant when
the person is a man).28
     While many asylum seekers in ICE detention centers reported that
CBP officers did ask them about fear of return, others reported that CBP
officers did not ask them the fear questions, asked them incorrectly,
recorded “no” when interviewees answered “yes,” inquired into their
fear claims in detail, and/or dismissed assertions of fear. Some said their
statement was not read back to them and/or that they were pressured
to sign documents. For example, a detained asylum seeker from Nepal,
apprehended at the southern border in Texas, reported that the BP agents
asked her questions and she gave answers, but they did not write down
what she said, they wrote down that she was coming to the United States to
work. Another detained Nepali asylum seeker who crossed the border told



26
  USCIRF visited the Los Angeles, Houston, New Jersey, New York, and Miami asylum
offices. The credible fear interviews were observed at the New Jersey and New York offices.
27
   This could be explained by the use of the interviewing templates discussed in the Intro-
duction of Virtual Processing section.

 Similarly, a pro bono attorney with whom USCIRF met on one of our trips told us of a case
28

where a 4-year-old child’s file indicated that he said that he came to the United States to work.




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                                                     USCIRF that the BP agents only asked him questions about his identity and
                                                     did not ask him about fear. A detained asylum seeker from Somalia, who
                                                     entered through an OFO port of entry and announced his intent to apply
                                                     for asylum on arrival, said that the interviewing officer asked him the fear
                                                     questions and told him that he would need proof of his story. However, at
                                                     the end of the interview, he was asked to sign his statement and did so, but
                                                     it was not translated back to him before signing.
                                                          Of particular concern are reports of CBP officials denying non-citi-
                                                     zens in Expedited Removal the opportunity to claim fear. For example,
                                                     a Guatemalan asylum seeker in ICE custody who had previously been
                                                     deported told USCIRF that on her first apprehension by BP, she “was not
                                                     given the opportunity to talk;” instead, she said that when she tried to
                                                     explain why she had fled to the United States, the agent forced her to sign
                                                     papers instead. One Central American man said he was told “whether you
                                                     sign or not, we are going to deport you.” Others said BP agents told them
                                                     that “it’s better if you just ask to be deported” or “we’re going to throw you
                                                     out.” USCIRF heard an especially troubling account from a detained Ban-
                                                     gladeshi asylum seeker. He recounted that he and two other Bangladeshis
                                                     arrived at an OFO land port of entry and immediately asked the first officer
                                                     they encountered for asylum. He said that officer turned them away, telling
         These reports are
                                                     them to seek asylum in Mexico. They returned an hour later and the same
 consistent with information                         officer again told them to go back to Mexico. However, he said that this
     from USCIS, which told                          time they refused and were taken inside, interviewed by a different officer,
       USCIRF anecdotally                            processed, and sent to ICE detention.
                                                          These reports are consistent with information from USCIS, which
     that the majority of their
                                                     told USCIRF anecdotally that the majority of their credible fear interview
      credible fear interview                        referrals come from ICE, not CBP. In the credible fear interviews USCIRF
     referrals come from ICE,                        observed, the asylum officers proactively asked each asylum seeker during
                                                     the interview if CBP asked him or her about fear of return. Under the cir-
                not CBP.
                                                     cumstances, USCIRF considers this to be a good practice.
                                                          In another troubling finding, USCIRF observed fear claims being
                                                     examined beyond the four required questions, such as OFO officers
                                                     and BP agents asking detailed questions about why the individual left
                                                     his or her country or asking what an individual knows about the asylum
                                                     process. When USCIRF asked one interviewing officer how he docu-
                                                     ments the raising of a fear claim, he responded that he asks “how it all
                                                     started” and then asks about each arrest or incident in order. He further
                                                     explained that he is “looking for the little details,” which he records on
                                                     the I-867.
                                                          Detainees in ICE custody reported similar experiences. For example,
                                                     an ICE detainee from Ethiopia, who came to a port of entry and said he
                                                     stated immediately that he was a refugee, told USCIRF that the interview-
                                                     ing officer asked him about the situation in his country and asked “a lot of
                                                     follow-up questions” about his problems. Another detained Somali, also a




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port of entry arrival, said that he was asked twice if he feared returning to
his country and then was asked in detail about why he could not go back.
     U.S. law requires that CBP simply document that a person in Expe-
dited Removal expressed fear and then notify and send that person’s file
to USCIS, which is responsible for examining and assessing the fear claim.
Positively, supervising OFO and BP officers interviewed by USCIRF stated,
correctly, that interviewing officers are not supposed to ask too many ques-
tions regarding the situation that the individual fled and fears.
     Additionally, a conversation with two interviewing BP agents revealed                               U.S. law requires that CBP
both a lack of knowledge of, and non-compliance with, DHS policy on
withdrawals of fear claims. One agent said that interviewees who claim
                                                                                                           simply document that a
fear often ask what will happen next, and he tells them that the process                               person in Expedited Removal
may take a long time and that, in his experience, many people get sent                                     expressed fear and then
back in the end, especially in gang-related cases. He said that after hear-
                                                                                                       notify and send that person’s
ing this some people say that they do have a fear of return but do not want
to wait and ask to be sent home. He felt, and the other agent agreed, that                                  file to USCIS, which is
this required him to adjust the answers on Form I-867 to reflect that the                                 responsible for examining
individual does not want to seek asylum and should not be referred for a                               and assessing the fear claim.
credible fear determination.

Quality Assurance
CBP has not implemented USCIRF’s 2005 recommendations to videotape
interviews for quality assurance purpose and use testers. CBP does subject
all secondary inspection decisions to two levels of supervisory review,
but this consists of reviews of the file and conversations with the officer,
not observing the interview. In addition, beginning four years ago, OFO
started a quarterly headquarters review of information submitted by its
field offices on all port of entry Expedited Removal cases, but this also
does not include interview observations.29 BP does not conduct such a
headquarters review.


29
  As described to USCIRF by OFO, every quarter each field office collects and reports to
headquarters information on five aspects of such cases: (1) was the question and answer
sufficient?; (2) was the narrative done correctly?; (3) was there supervisory concurrence?;
(4) were the fear questions addressed?; and (5) was the correct charge under INA section 212
used? OFO headquarters reviews the information and reports back to the field offices and
to the Assistant Commissioner. OFO stated that, in the year between April 2014 and April
2015, the ports of entry handled around 220,000 adverse actions, of which about 29,000
were Expedited Removals. Of those 29,000, the headquarters review found errors in only
15, according to OFO. Most of these were what OFO described as procedural errors, such
as using the wrong form, failing to use a translator, or interviewing a mother on behalf of
a child. Only one involved an error where a person who claimed fear was removed; OFO
stated that they worked with the State Department to bring the individual back to the United
States for a credible fear interview with USCIS. In addition, OFO officials told USCIRF that
they recently developed and started offering a new eight-hour refresher course on five core
categories of adverse actions, including Expedited Removal, based on information learned
through the headquarters review process. As of October 2015, this training reportedly had
been provided to supervisors and officers at 10 locations.




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                                                     The Introduction of Virtual Processing
                                                     Since 2013, BP’s central processing facility for non-citizens apprehended
                                                     in the Rio Grande Valley sector, McAllen Station, has used virtual pro-
                                                     cessing for interviews of most first-time apprehensions who speak
                                                     English or Spanish. 30 Agents in McAllen do the initial collection and
                                                     checks of identifying information, and then assign the cases to a BP agent
                                                     at the El Paso, Texas, or El Centro, California, stations, who complete
                                                     the Form I-867. The non-citizen sits at a bank of computers in McAllen,
                                                     in front of a monitor and, using a phone handset, is interviewed by an
                                                     El Paso or El Centro BP agent through Skype and an internet-based
                                                     communicator. As with in-person interviews, supervisory review is only
         In February 2015,
                                                     of the paper files. USCIRF visited the El Paso Station and observed the
      agents in McAllen told                         interviewing agents, work in a room that looks like a computer lab, with
 USCIRF that 100,000 people                          a dozen terminals. Supervisors at McAllen and El Paso stations said the
                                                     virtual processing improves processing efficiencies and allows agents in
      had been processed this
                                                     sectors other than the Rio Grande Valley, who otherwise do not do much
 way since virtual processing                        processing, to refresh and maintain their skills.
started in mid-2013. However,                             BP reports that virtual processing has allowed McAllen Station to
     USCIRF is concerned that                        double its processing output with half the manpower. In February 2015,
                                                     agents in McAllen told USCIRF that 100,000 people had been processed
      processing efficiency is
                                                     this way since virtual processing started in mid-2013.31 Indeed, USCIRF
     coming at the expense of                        observed the efficiencies of virtual processing – as an individual was being
 identifying and protecting                          video interviewed, USCIRF saw McAllen BP agents pulling together that
                                                     individual’s paper file while other agents prepared other individuals for
           asylum seekers.
                                                     their interviews.
                                                          However, USCIRF is concerned that processing efficiency is coming
                                                     at the expense of identifying and protecting asylum seekers. Agents are
                                                     given incentives for speedy processing. BP agents at Mc Allen told USCIRF
                                                     that fewer than 10 percent of the applicants processed there claim fear and
                                                     this low rate had been consistent over the past several years. This seems
                                                     inconsistent with the dramatic increase in fear claims assessed by USCIS,
                                                     especially from individuals apprehended in the Rio Grande Valley sector,
                                                     since FY2013.
                                                          USCIRF is particularly concerned by the use of interviewing “tem-
                                                     plates” observed during the virtual processing. As they conducted the
                                                     virtual interviews, the El Paso agents relied on Microsoft Word documents
                                                     with standardized questions and responses, from which they copied and
                                                     pasted text into the E3 software that BP uses for processing. In another



                                                      Virtual processing is not used for unaccompanied minors under the age of 14 or non-citi-
                                                     30

                                                     zens who may be referred to prosecution, even if they speak English or Spanish.
                                                     31
                                                       BP began the virtual processing then because their projections were predicting an increase
                                                     in arrivals, although the surge in 2014 exceeded even those projections.




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effort to improve efficiency, McAllen Station created the templates, which
are organized by county and case type (Expedited Removal, family Expe-
dited Removal, etc.) and cover the narrative and sworn statement sections
of the interview process. USCIRF observed that when a BP agent opened the
templates to begin the interview, answers were already included and would
require deletion by the agent. While using a standard list of questions on its
own could be a good practice, having prepared answers seemed to prompt                                 While using a standard list
the interviewers to use leading questions in important areas. This risks                             of questions on its own could
suggesting to the interviewee that what the agent said is the correct answer,
                                                                                                       be a good practice, having
as opposed to eliciting an independent response. For example, instead
of asking “why did you come to the United States?,” USCIRF observed an                                  prepared answers seemed
interviewer ask “why did you come to the United States – to live and work                              to prompt the interviewers
and provide a better life for your children?” USCIRF also observed one
                                                                                                       to use leading questions in
agent cutting and pasting the answers from the template into the sworn
statement even before the interviewee had finished giving his answers.                                        important areas.
     The impersonal nature of the virtual interviews also is problematic.
Facial expressions and other non-verbal cues are important ways for BP
agents to tell if an interviewee is uncomfortable articulating a fear claim
at the counter and needs a private interview. The director of virtual pro-
cessing in El Paso recognized this, and admitted that it is harder to read
these signals in a virtual interview. Furthermore, during USCIRF obser-
vations, the interviewing agents rarely looked into the camera to make eye
contact with the interviewees, focusing instead on their own computer
screen or keyboard. This makes it even less likely that they would detect
any non-verbal cues.
     Finally, occasional malfunctioning of technology presents concerns.
BP agents at both McAllen and El Paso said they feel that the virtual pro-
cessing generally runs smoothly, technology permitting. Unfortunately,
USCIRF observed several technical problems that interrupted interviews,
including Microsoft Word or computers crashing and cameras freezing.
One interviewer who experienced multiple crashes did not give any expla-
nation to the interviewee for the interruptions.

Privacy
At the various OFO and BP facilities USCIRF visited, interviews are con-
ducted in settings that range from private or semi-private offices to large
rooms where multiple interviews are done simultaneously. All four of the
partial, in-person interviews USCIRF observed at OFO ports of entry were
conducted in private rooms, but in one case, a mother was interviewed
with her young daughter present. Because telephonic interpretation was
required, the partial, in-person interview observed at a BP station was
conducted in a semi-private room set up for two officers but being used
at the time by one. However, three individuals from the same country
were interviewed together. They had been apprehended as a group and,




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                                                    according to the supervisor, interviewing them as a group “helps us get
                                                    through the process.”
                                                         At BP facilities, there typically is a counter with around eight agents
                                                    at computers processing different individuals or groups at the same time,
                                                    with other interviewees waiting nearby. At one such facility, USCIRF noted
                                                    that asylum seekers might be afraid to express fear with others around
                                                    them, but the agents said they did not view this as a problem and placed the
                                                    burden on the interviewee to ask for a private room. BP officials said that
                                                    most BP facilities do not have the space to permit private interview spaces.
                                                    A positive exception was BP’s Ramey Station, which, after a recent reno-
                                                    vation, has private interview rooms with acoustic padding to stop sound
                                                    from carrying. The supervisor reported that the renovation “has been a
                                                    big asset,” further stating that “Before, the people would be frightened
                                                    to express fear. The private rooms also help with intelligence gathering
                                                    because people are more forthcoming.”
                                                         The experience of a detained Somali asylum seeker with whom
                                                    USCIRF spoke at an ICE facility underlines the need for private interviews.
                                                    He arrived with a group of Somalis at an OFO port of entry and was inter-
                                                    viewed at the windows in the waiting room, where “everyone could hear
                                                    each other.” He said that when asked why he had come to the United States,
                                                    he whispered his answer because he feared the other Somalis would hear
                                                    him answer that he is from a persecuted minority tribe. When the officer
                                                    could not hear what he was saying, he had to write it down.
                                                         An open, counter set-up is used for the virtual interviews at McAl-
                                                    len Station. The agents there stated that they believe virtual processing
                                                    provides more privacy than speaking to an agent in-person at a counter,
                                                    since it is harder to overhear someone who is speaking into a telephone
                                                    handset. One agent said “the subjects open up more over videoconferenc-
                                                    ing because it’s more confidential.” USCIRF observed groups of people
                                                    clustered together to be interviewed virtually, with one person speaking
                                                    on the phone handset and others crowded around him or her, sitting on
                                                    the same fixed stool or immediately adjacent stools. BP agents said that
                                                    this seating arrangement was to keep the virtual processing moving along,
                                                    since groups that travel together have the same route information, and also
                                                    so that agents “don’t have to wait [between interviews] for the next body
                                                    to be brought out.” Asked what would happen if an interviewee who had
                                                    a fear felt uncomfortable talking about it in front of others, the agents said
                                                    that the interviewer would notice that and would ask the person if s/he
                                                    wanted a private interview. However, as discussed above, such non-verbal
                                                    cues may not be easy to detect in virtual interviews.
                                                         McAllen Station is planning to move its processing to a new facility
                                                    nearby, the Ursula facility. When USCIRF asked if the new facility would
                                                    have partitions between the computer stations to improve privacy, the
                                                    agents said CBP had deemed this impossible for security and staffing




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reasons. However, in an improvement, they did say that at the new facility,
groups will not have to sit clustered together in front of the screen; rather,
one person at a time will be at the computer station and the others will wait
on benches placed farther away from the counter.

Interpretation
OFO uses other officers as interpreters whenever possible, rather than
telephonic interpretation.32 In two of the interviews USCIRF observed
at ports of entry, the OFO officer who was supposed to be serving as the
interpreter instead acted as a second interviewer. In one of these cases, the
interpreting officer questioned the applicant more aggressively than the
interviewing officer did. In the other, in addition to asking questions, the
interpreting officer had difficulty translating and a supervisor who spoke
the language had to step in.
     OFO occasionally uses airline employees as interpreters at airport
ports of entry. Although supervisors said they do not use state airline
employees to interpret if they believe the individual is an asylum seeker
from that country, this still is potentially problematic. Airline employees
are not professional interpreters, and an airline can be fined if a passenger
is denied admission to the United States and returned. USCIRF observed
a preliminary interview, not an I-867 sworn statement interview, where
the airline employee clearly was answering the officer’s questions herself
instead of interpreting. Positively, the officer stopped the interview, dis-
missed the airline employee, and used a different interpreter.
     All BP agents are required to speak Spanish as a condition of their
employment. They conduct interviews in Spanish themselves, although
some lawyers and NGOs with whom USCIRF met expressed concerns
about their ability to do so adequately, particularly for interviewees who
speak local dialects. For languages other than Spanish, BP agents are
supposed to use professional telephonic interpretation, but this does not
always occur. A supervisory BP agent complained about the need to use
telephonic interpretation, because it slows down processing and the inter-
viewing agent cannot tell if the interpretation is accurate or not.
     USCIRF heard from BP, as well as USCIS, about ongoing difficulties in
finding telephonic interpreters for Central American indigenous languages.
BP agents at McAllen said that indigenous language speakers usually speak
some Spanish, but get to a point in the interview where their Spanish is
insufficient. The agent then switches from virtual processing to an in-per-
son interview, using another “subject” (meaning another non-citizen being
processed) to interpret. The agents also reported that sometimes they reach



32
  To serve as interpreters, OFO officers must be certified as proficient in the language by the
State Department and must renew that certification every year.




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                                                      out to the relevant consulate, which they said usually can provide interpret-
                                                      ers relatively quickly. Both of these approaches are inappropriate ways to
                                                      secure interpretation for a person who might be an asylum seeker.
                                                           Detainees at ICE facilities interviewed by USCIRF reported instances
                                                      where interpretation was not used for Expedited Removal processing
                                                      interviews. For example, a detained Ethiopian asylum seeker who arrived
                                                      at an OFO port of entry said that he was a Somali speaker but there was no
                                                      Somali interpretation available; instead, another Somali non-citizen in
                                                      custody interpreted. However, he stated that this person did not go over
                                                      with him in detail what was written down on the forms, he just told him
                                                      where to sign. Another detained Somali who arrived at a port of entry said
                                                      that no Somali interpreter was available for his interview so he spoke as
                                                      best he could in English.

                                                      Interviewer Training and Guidance
                                                      The interviewing problems USCIRF observed raise questions about the
                                                      adequacy of CBP’s training and guidance on Expedited Removal pro-
                                                      cessing. In response to USCIRF inquiries on these topics, OFO and BP
                                                      provided some general information about their training, but USCIRF
                                                      was not allowed to review the content and therefore cannot assess its
           The interviewing                           substance. The relevant training was described as follows: As part of
                                                      their 89-day basic training course, new OFO officers receive a two-hour
 problems USCIRF observed
                                                      lecture on Expedited Removal processing and two hours of practical
      raise questions about the                       exercises. After the academy, new officers are assigned to a port of entry,
     adequacy of CBP’s training                       where they observe processing for 11 weeks, then have three more weeks
           and guidance on                            of classroom training that includes a module on all adverse actions,
                                                      including Expedited Removal. After this, they begin conducting pro-
Expedited Removal processing
                                                      cessing themselves, initially with a more experienced officer observing.
                                                      BP agents’ 19 weeks of basic training includes a two-hour lecture on
                                                      Expedited Removal processing, plus 30 minutes of practical exercises.
                                                      Following this, they are assigned to a station, where they are paired with
                                                      mentors. After about three weeks at a station, the new agents receive a
                                                      one to one-and-a-half hour review lesson on Expedited Removal, which
                                                      reiterates what was covered in basic training. Despite the foregoing,
                                                      neither OFO nor BP agents in the field interviewed by USCIRF said they
                                                      received any specific training on interviewing or on working with victims
                                                      of persecution or torture.
                                                           USCIRF was, however, permitted to see the current internal guid-
                                                      ance on Expedited Removal fear claims. The OFO guidance accurately
                                                      describes the process, but the BP guidance does not. On a positive note,
                                                      as of 2012, OFO no longer uses the Field Manual with the problematic
                                                      language noted in the 2005 Study that suggested that CBP inspectors
                                                      can assess an applicant’s fear. The current OFO guidance on processing




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Expedited Removal cases, contained in an October 2014 memo/muster,33
is an improvement, and accurately describes the steps OFO officers are
required to follow to give a non-citizen in Expedited Removal the oppor-
tunity to express fear. Unfortunately, it is not clear what guidance was
used between 2012 and 2014.
     The October 2014 document consists of a one-page cover memo and a
                                                                                                           The [OFO] muster states
three-page muster.34 The cover memo cites a 1997 statement of the then-INS
Commissioner about the importance of protecting the rights of aliens in                                        that when an alien
Expedited Removal, particularly those who fear persecution. The muster                                   expresses fear, it is against
states that when an alien expresses fear, it is against DHS policy to encour-                              DHS policy to encourage
age withdrawal, fail to refer to USCIS, improperly remove, or detain in
                                                                                                         withdrawal, fail to refer to
inappropriate conditions; that OFO officers should not estimate the time
the alien will spend in detention; and that if an alien answers yes to a fear                           USCIS, improperly remove,
question or asks for asylum and then asks to be sent home, the OFO officer                               or detain in inappropriate
must consult with the USCIS asylum office. If a supervising asylum officer
                                                                                                            conditions. It reminds
cannot be reached, the case must be referred. It reminds OFO officers that
aliens who express fear cannot be removed until an asylum officer has                                      OFO officers that aliens
interviewed them to determine if they have credible fear. Finally, it states                             who express fear cannot be
that it is CBP’s responsibility to protect the alien’s identity and not reveal                            removed until an asylum
to any foreign national or government that the alien might have sought
                                                                                                       officer has interviewed them
refuge in the United States.
     By contrast, the BP guidance erroneously conflates the roles of                                      to determine if they have
BP agents and USCIS asylum officers. This guidance is contained in a                                      credible fear. By contrast,
“Muster Module about Credible Fear Determination,” (see Appendix E)
                                                                                                       the BP guidance erroneously
which consists of a one-page cover memo from BP headquarters dated
November 2014 and two one-page musters dated September 2014.35 Both                                           conflates the roles of
musters are titled “Credible Fear Determination,” with one addressing                                             BP agents and
Expedited Removal and the second on unaccompanied non-citizen                                               USCIS asylum officers.
children’s cases. Although the documents correctly state that BP agents
must ask the four required fear questions and record the responses, they
conflate this questioning with the credible fear process and instruct BP
agents on how to determine credible fear. The text provides the legal
standard for credible fear of persecution twice, and also includes the
legal standard for credible fear of torture. It includes a text box that


33
  According to OFO, memo/musters are sent to each field office, and, when circulated, are
read and distributed to officers at the muster at the beginning of each of that day’s shifts.
They also are available in OFO’s electronic library. OFO is working on a replacement to
the Field Manual, the Officer’s Reference Tool, but it is not yet complete. Chapter 11 was
made available on the OFO intranet in July 2015; it contains the existing memo/musters
on admissibility.
34
   OFO would not provide the 2014 document but permitted USCIRF to read it at their offices
and take notes.

 Border Patrol headquarters told USCIRF that the previous guidance was a March 2009
35

policy memo, which USCIRF did not review.




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                                                     reads as follows: “An individual will be found to have a credible fear of
                                                     persecution if he/she establishes that there is a ‘significant possibility’
                                                     that he/she could establish in a full hearing before an Immigration
                                                     Judge that he/she has been persecuted or has a well-founded fear of
                                                     persecution or harm on account of his/her race, religion, nationality,
                                                     membership in a particular social group, or political opinion if returned
                                                     to his/her country.” Further, the BP muster suggests agents should go
                                                     beyond the four required fear questions to have a “dialogue” with the
                                                     interviewee in order to assess if s/he has credible fear. For example, the
                                                     muster on UAC cases states that “agents are not limited to asking only
                                                     [the four required] questions. . . . The provided questions are intended
                                                     to establish a dialogue with the UAC that may allow agents to gather
                                                     additional information to assist in their determination.” This is not the
                                                     role of BP agents, but rather of USCIS asylum officers. USCIS, however,
                                                     is not mentioned anywhere in the documents.

                                                     Processing of Women and Children
                                                     CBP encounters large numbers of largely Central American women and
                                                     children, many of whom could have protection needs,36 but it does not have
                                                     enough female agents or officers to have women interviewing women and
                                                     children. This is particularly true at BP, which is only 4.5 to five percent
          CBP encounters                             female, although it has been trying to recruit more women. As a result, the
     large numbers of largely                        officers and agents who interview women and children to identify those
                                                     with fear claims are overwhelmingly men who receive no specific training
     Central American women
                                                     on working with children and families. Asked about their interactions with
      and children, many of                          children, BP agents at McAllen Station admitted that many children do not
whom could have protection                           want to talk to a male agent in uniform.
                                                          Another concern relates to CBP’s approach to processing family units
     needs,but it does not have
                                                     with children under the age of 14. The agency’s policy is to interview chil-
     enough female agents or                         dren over 14 individually. If a child is under that age, the mother or parent
      officers to have women                         answers the questions for the child, and this is indicated on the form. This
       interviewing women                            is potentially problematic, as a child could have a fear claim independent
                                                     of his or her parents, or because of them. Asked about these scenarios, BP
            and children.
                                                     agents responded to USCIRF that they had never seen that come up and
                                                     moreover, that they were confident that, since the child had made it to the
                                                     safety of the United States, s/he would voice any concerns s/he had.




                                                     36
                                                       See, e.g., UNHCR, Children on the Run (2014) (finding that, of 404 unaccompanied children
                                                     from El Salvador, Guatemala, Honduras, and Mexico who arrived in the United States in or
                                                     after October 2011, no less than 58 percent had actual or potential international protection
                                                     needs); UNHCR, Women on the Run (2015) (finding that, in El Salvador, Guatemala, Hon-
                                                     duras, and some parts of Mexico, women face a startling degree of violence in their daily
                                                     lives and receive no protection).




30    U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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Attitudes toward Asylum
CBP has two vital roles in Expedited Removal: first, to ensure that inad-
missible non-citizens are not permitted to enter the United States and
second, to ensure that non-citizens who fear persecution or torture have
the opportunity to seek asylum, even if they otherwise would be inadmis-
sible. These dual roles are not easy to balance, especially in the post-9/11                              CBP has two vital roles in
era and under the strain of large numbers of arrivals. OFO officers and BP                                    Expedited Removal:
agents must be able to alternate between examining non-citizens who                                            first, to ensure that
arrive without proper documents and identifying and providing protection
                                                                                                         inadmissible non-citizens
to those who need it. Given these requirements, USCIRF was concerned
by the skepticism some CBP officials openly expressed of asylum claims,                                are not permitted to enter the
either generally or from certain nationalities. Moreover, these officers and                                    United States and
agents appeared to have little recognition of the potential negative impli-
                                                                                                             second, to ensure that
cations their skepticism might have for case processing.
     For example, two different OFO officers told USCIRF that migrants,                                      non-citizens who fear
especially Mexicans, believe they will be let into the country if they say                               persecution or torture have
they are afraid or want political asylum, and then try to retract those                                     the opportunity to seek
claims when they learn they will be detained. One stated that “political
                                                                                                      asylum, even if they otherwise
asylum is putting the smugglers out of business.” Another OFO officer told
USCIRF that he believes that many individuals who claim fear on arrival                                     would be inadmissible.
are not really afraid, because “those with real fear can apply overseas and
bring their family.”37 However, he also said that if a person claims fear “I
would never try to talk anybody out of it.” USCIRF observed this officer
conduct a confrontational interview, where he and another officer (who
was supposed to be interpreting but instead acted as a second interviewer)
aggressively questioned a non-citizen and responded to his answers with
obvious distrust based on their skepticism of his intentions for entry and
his supposed fear claim. The individual in fact was not claiming fear of
return, but the officers assumed that he was going to because another
citizen of the same country who arrived on the same flight had sought
asylum earlier that day.38
     A BP agent at one station drew a distinction between “legitimate”
asylum seekers who present themselves at ports of entry, as opposed to
those apprehended along the border. USCIRF also heard this view from a
BP headquarters official, who said that asylum seekers show up at ports of
entry, they do not get apprehended by BP.
     Another BP agent stated that Mexican asylum seekers all tell the same
stories about fleeing the cartels, which he viewed as indicating coaching,


37
  This seems to be a reference to applying for resettlement as a refugee through the U.S.
Refugee Admissions Program, a different legal process than asylum. A person cannot apply
for asylum from overseas under U.S. law.
38
  USCIRF also observed part of the interview of the asylum seeker from the same country by
a different officer/interpreter team, and it was conducted respectfully and calmly.




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                                                    if not fraud. A second agent at the same station said that hearing the same
                                                    stories over and over made the agents “jaded” and that he believed the
                                                    vast majority of those claiming fear did not meet the definition for asylum,
                                                    although he did recognize that this was not BP’s job to determine.
                                                         One BP agent implied that all fear claims made to ICE are invalid,
                                                    stating that they result from individuals talking to other detainees and
                                                    receiving the Know Your Rights orientation.39 He also drew a distinction
                                                    between Central Americans and other asylum seekers, saying that Cen-
                                                    tral Americans almost always have family in the United States, “unlike
                                                    Somalis, for example, who are coming here because they really want to get
                                                    away” from their country. A supervisor at this station expressed skepticism
                                                    about Chinese claims of religious persecution, telling USCIRF that Chinese
                                                    individuals often say they are Christian but cannot even name the church
                                                    they attend; when USCIRF informed him that many Chinese Christians
                                                    worship in homes, not churches, he seemed surprised.
                                                         To be sure, not all claims of fear are credible or warrant asylum under
                                                    U.S. law, and persecution is more common in some countries than others.
                                                    Nevertheless, it is not CBP’s role to assess the credibility or merits of fear
                                                    claims, but rather to ask if a person is afraid of return, record the answer,
                                                    and, if it is yes, refer the person to USCIS. The agency must do so fairly and
                                                    accurately for all individuals it encounters. The comments described above
                                                    may indicate that this may not always be happening, especially when
                                                    considered in light of BP’s flawed internal guidance (discussed above) and
                                                    evidence of discrepancies between CBP’s referrals and USCIS’ credible and
                                                    reasonable fear caseloads for certain populations.40




                                                    39
                                                         See Information Provided in ICE Custody section.
                                                    40
                                                      Human Rights Watch, “You Don’t Have Rights Here:” U.S. Border Screening and Returns of
                                                    Central Americans to Risk of Serious Harm, pg. 21-24 (2014). Human Rights Watch analyzed
                                                    CBP data on apprehensions and dispositions between October 2010 and September 2012,
                                                    and found that only 0.1 of Mexicans, 0.8 percent of Guatemalans 1.9 percent of Hondurans,
                                                    and 5.5 percent of Salvadorans in Expedited Removal or Reinstatement of Removal were
                                                    referred to USCIS for credible or reasonable fear screening, as compared to 21 percent of
                                                    migrants from other countries in the same proceedings in the same years. Id. at 21-22.
                                                    Meanwhile, however, both the number and proportion of the three Central American
                                                    nationalities in USCIS’s caseload increased, with most referrals coming from other agencies,
                                                    like ICE, that are not required to ask systematically about fear. Id. at 24. For example, USCIS’
                                                    credible and reasonable fear caseload of Hondurans increased from 1,108 individuals in
                                                    2006 to 8,539 in 2013. Id. In 2012, USCIS did 2,405 credible fear interviews of Hondurans,
                                                    but CBP referred only 615 of these. Id.




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RECOMMENDATIONS
To CBP
 • As recommended in 2005, amend Form I-867 to include a prominently
   displayed notation that it is not a verbatim transcript of the interview
   and is not intended to document the individual’s entire asylum claim in
   detail.
 • As recommended in 2005, videorecord all Expedited Removal process-
   ing interviews at all OFO ports of entry and BP stations, including virtual
   processing interviews, and require supervisory and headquarters review
   of the recordings of a sampling of interviews for quality assurance pur-
   poses. Until videorecording is established, require supervisors to sit in
   on and observe a sampling of interviews, and use testers to further verify
   that proper interviewing procedures are being followed.
 • Retrain all OFO officers and BP agents on their role in the Expedited
   Removal process, the proper procedures for interviewing non-citizens,
   and the special needs and concerns of asylum seekers and other vulner-
   able populations.
 • Remove any and all language in internal guidance that suggests that
   OFO officers or BP agents have the authority to reject or assess claims of
   fear or eligibility for asylum.
 • Establish a dedicated corps of specially-trained, non-uniformed
   interviewers to interview women and children to identify fear claims,
   and ensure that female interviewers are included. Until such a corps is
   established, use female OFO officers and BP agents to interview women
   and children whenever possible, and continue to work to increase the
   number of women in these positions.
 • Track the results of interviews conducted by virtual processing against
   those conducted in person, to determine if the two methods are pro-
   ducing materially different outcomes.
 • Ensure that all interviewees have access to completely private interviews
   and that parents are not interviewed with their children present.
 • Use only professional interpreters, not officers, agents, or any other
   individual, during the I-867 interviews, and do not use airline employees
   as interpreters at any point in the inspection process.


To USCIS
 • Continue the good practice of asking asylum seekers during credible
   fear interviews about discrepancies in their fear claims documented in
   the I-867 forms and fear claims raised with ICE authorities in detention.
 • Track whether credible fear interview referrals are coming from CBP or
   ICE to better understand when in the Expedited Removal process most
   fear claims are being raised.


To EOIR
 • Retrain immigration judges about the fact that Form I-867 it is not a
   verbatim transcript of the interview and is not intended to document the
   individual’s entire asylum claim in detail, and instruct them that it should
   be weighed accordingly.




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                                                     CREDIBLE FEAR SCREENING
                                                     Within DHS, the USCIS Asylum Division is responsible for screening for
                                                     credible fear persons who express to CBP or ICE a fear of persecution or
                                                     torture if returned to their countries of origin. Under IIRIRA, the credible
                                                     fear screening is to determine if the person has “a significant possibility”
 The credible fear screening                         of establishing eligibility for asylum or eligibility for protection under the
 is to determine if the person                       Convention Against Torture through withholding of removal or deferral of
has “a significant possibility”                      removal and therefore is entitled to a full hearing before an immigration
                                                     judge. The credible fear screening is not a full adjudication; rather it is an
     of establishing eligibility
                                                     initial review meant to quickly identify potentially meritorious claims and
     for asylum or eligibility                       screen out frivolous ones.
     for protection under the                             Credible fear screenings are done by asylum officers, who have
                                                     received training on relevant U.S. and international legal standards and
 Convention Against Torture
                                                     non-adversarial interview techniques. Asylum officers are required by
     through withholding of                          law to have access to information about the conditions in asylum seekers’
      removal or deferral of                         countries of origin to make well-informed credible fear determinations.41
     removal and therefore is                             The 2005 Study found that USCIS had developed procedures and
                                                     protections to help ensure that bona fide asylum seekers in Expedited
     entitled to a full hearing
                                                     Removal were not returned to countries erroneously where they could
before an immigration judge.                         face persecution.
                                                          Since the release of the 2005 Study, the number of persons in Expe-
                                                     dited Removal claiming fear has grown from 9,465 in FY2005 to 51,001 in
                                                     FY2014.42 Wait times for credible fear interviews also increased. In order
                                                     to address increased workloads, USCIS increased its authorized staffing
                                                     levels by 100 asylum officers in FY2014 and began to hire and train new
                                                     officers; redeployed staff to conduct the increased volume of credible fear
                                                     interviews;43 and increased the use of telephonic interviews.
                                                          In addition, as fear claims in Expedited Removal increased, so too
                                                     did the rate of positive credible fear findings. To address what USCIS
                                                     headquarters felt were potentially inflated credible fear determination
                                                     rates, USCIS in 2014 issued a revised credible fear lesson plan for asylum
                                                     officer training to reinforce and remind officers of the legal require-
                                                     ments of the credible fear screening process and updated their quality
                                                     assurance procedures.




                                                     41
                                                          The use of country of origin information is required in the INA, section 208(b)(1)(B)(iii).
                                                     42
                                                          Referrals to USCIS for credible fear screenings in FY2015 fell to 48,052.
                                                     43
                                                       USCIS’ movement of asylum officers from the affirmative asylum process to address
                                                     credible fear and reasonable fear delays has led to a growing backlog of affirmative asylum
                                                     filings, which have also risen during this time period. As of the end of 2014, USCIS had over
                                                     73,000 affirmative asylum cases pending.




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New Lesson Plan
When the U.S. Congress considered the enactment of Expedited Removal,
Senator Orrin Hatch of the Senate Judiciary Committee affirmed that “[T]
he (credible fear) standard . . . is intended to be a low screening standard
for admission into the usual full asylum process.”44
      In February 2014, USCIS issued a revised lesson plan to train asylum
officers on evaluating asylum seekers’ fear (see Appendix F). USCIS head-                                      When the U.S. Congress
quarters told USCIRF that the purpose of the revised lesson plan was to                                     considered the enactment of
re-emphasize the requirement that asylum seekers must show a nexus                                                Expedited Removal,
between their personal fear claims and a protected ground.45 Namely,
                                                                                                                  Senator Orrin Hatch
each asylum seeker must demonstrate that s/he personally experienced,
or if returned would personally experience, persecution as a member of a                                        of the Senate Judiciary
group that is persecuted based on a protected ground; a positive credible                                     Committee affirmed that
fear determination cannot be made simply because an asylum seeker
                                                                                                                  “[T]he (credible fear)
belongs to such a group. DHS further reported to USCIRF that the change
in the lesson plan clarified the standard of proof and that the lesson plan                                    standard . . . is intended
makes it clear that “[e]ssentially, the asylum officer is applying a threshold                                    to be a low screening
screening standard . . .”46                                                                                    standard for admission
      Nevertheless, the lesson plan’s language raised concerns among some
                                                                                                                       into the usual
stakeholders that the credible fear standard had been raised to require an
in-depth assessment more like a full adjudication of asylum claims. For                                           full asylum process.”
example, the new lesson plan eliminated the above statement from Senator
Hatch about the low screening standard, but bolded language declaring
that a claim that has no possibility, or only a minimal or mere possibil-
ity, of success would not meet the “significant possibility” standard.47
Positively, the revised lesson plan does reiterate that the purpose of the
credible fear interview is to “quickly identify potentially meritorious claims
to protection and to resolve frivolous ones with dispatch”48 and to allow
immigration judges to further examine the former. It also reminds asylum
officers that asylum seekers are not required to show that the chances of
success are more likely than not.49
      To assist this determination, asylum officers now are required to use
a standard checklist for the credible fear interview. The checklist initially



44
   Senate, “Proceedings and Debates of the 104th Congress, Second Session,” Congressional
Record, Vol. 142 No. 136, September 27, 1996.
45
   International and U.S. refugee law recognize five protected grounds: race, religion, nation-
ality, membership in a particular social group and political opinion.
46
     U.S. Citizenship and Immigration Services, Lesson Plan Overview, February 28, 2014, pg. 12
47
     Id. pg. 14
48
     Id., pg. 11.
49
     Id., pg. 14.




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                                                     was piloted by the Houston Asylum Office in April 2013. USCIS found it
                                                     to be an efficient tool and with the surge of credible fear referrals in 2014,
                                                     began using it nationwide. The checklist replaced the previous format of
                                                     the written analysis for credible fear determinations. At the end of the
                                                     interview, asylum officers continue to be required to write a short sum-
                                                     mary of relevant facts (see Appendix G).
                                                          Asylum officers interviewed by USCIRF provided mixed assessments
                                                     of the revised lesson plan and checklist. They noted that they are helpful to
                                                     increase the specifics and knowledge of an asylum seeker’s claim. At the
                                                     same time, they said the credible fear interview is intended to be a screen-
     Following the deployment                        ing but the checklist leads them to develop a fuller analysis and record of
      of the new lesson plan,                        the claim, bringing it close to the point of a full adjudication on the merits.
                                                     They said interviews under the new lesson plan are more detailed and take
 credible fear grant rates fell
                                                     longer. Asylum officers estimated that most credible fear interviews are
       from 81.4 percent in                          now around 1 hour and 15 minutes.
February 2014 to 70.2 percent                             Following the deployment of the new lesson plan, credible fear grant
                                                     rates fell from 81.4 percent in February 2014 to 70.2 percent for FY2015 and
for FY2015 and 77.15 percent
                                                     77.15 percent for FY2016 through February 2016.
        for FY2016 through
           February 2016.                            Telephonic Interviews
                                                     USCIS also has expanded significantly its reliance on telephonic interviews
                                                     for credible fear screenings. Only two percent of all 5,369 credible fear
                                                     interviews were conducted by phone in 2009. By contrast, 59 percent of the
                                                     51,001 interviews were done that way in FY2014, according to the USCIS
                                                     Ombudsman.50 The greatest use of telephonic interviews is for asylum
                                                     seekers in Expedited Removal who crossed the southern border. This is
                                                     due to the high numbers of that population, the lack of space in detention
                                                     facilities for asylum officers to conduct in-person interviews, and the
                                                     remote locations of the detention facilities.
                                                          The move toward telephonic credible fear interviews has raised con-
                                                     cerns. Asylum seekers interviewed by telephone may find it more difficult
                                                     to recount fully to the asylum officer, through an interpreter, the details
                                                     of violent and traumatic events. Some legal service providers reported to
                                                     USCIRF that telephonic credible fear interviews are shorter, less accurate,
                                                     and more confusing than in-person interviews. Additionally, telephonic
                                                     interviews limit asylum officers’ ability to assess asylum seekers’ cred-
                                                     ibility. Indeed, the USCIS 2014 credible fear lesson plan recognizes this
                                                     limitation, stating that telephonic interviews “further limits the reliabil-
                                                     ity of and ability to evaluate [demeanor, candor, and responsiveness]




                                                      U.S. Citizenship and Immigration Services Ombudsman, Annual Report 2015, June 29,
                                                     50

                                                     2015, pg. 62.




36    U. S . C o m m i s s i o n o n I n t e r n a t i o n a l Re l i g i o u s Fr e e d o m
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in the credible fear context.”51 USCIS told USCIRF it has attempted to
use videoconferencing for credible fear interviews, but connectivity and
other technical issues prevented the expansion of this option. Despite
these concerns, USCIS headquarters reported to USCIRF that positive fear
determination rates are slightly higher for telephonic interviews than for
in-person interviews.
     When USCIS started using telephonic credible fear interviews, it
instituted quality assurance mechanisms to take into account some of the
concerns discussed above. Initially, asylum officers were required to con-
duct a follow-up interview with persons determined not to have a credible
fear either in person or by videoconference. However, that requirement
ended in June 2013; follow-up interviews are now left to the discretion of
asylum office directors.

Quality Assurance
In the 2005 Study, USCIRF drew attention to an imbalance in USCIS’ review
and quality assurance procedure: negative credible fear determinations
required 100 percent headquarters review and extra documentation,
whereas positive determinations did not. USCIRF cautioned that this
discrepancy could create a bias in favor of positive credible fear determi-
nations. In June 2014, USCIS headquarters implemented a new procedure
to review randomly 10 percent of all pre-decisional positive and negative
credible fear determinations. This was a return to a quality assurance pol-
icy that USCIS first implemented in 2006 following the release of USCIRF’s
2005 Study, but ceased for unknown reasons.



     RECOMMENDATIONS
     To USCIS
       • Reaffirm in the Asylum Officers’ Lesson Plan that the credible fear standard
         is a screening standard requiring a showing of a “significant possibility” of
         eligibility for asylum, not a full assessment of the merits of the case.
       • Continue to track the results of credible fear interviews conducted
         telephonically and those conducted in person to determine if the two
         methods are producing materially different outcomes, and in the mean-
         time reinstate in-person re-interviews, when requested by the non-citizen,
         of negative credible fear findings from telephonic interviews.
       • Continue the good practice of headquarters’ review of a statistical
         sampling of both positive and negative credible fear determinations for
         quality assurance purposes, as recommended in 2005.




51
     U.S. Citizenship and Immigration Services, Lesson Plan Overview, February 28, 2014, pg. 18.




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Barriers to Protection as of 2024
UPDATED RECOMMENDATIONS ON ASYLUM SEEKERS
IN EXPEDITED REMOVAL




                   UNITED STATES COMMISSION ON INTERNATIONAL RELIGIOUS FREEDOM
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                    USCIRF’S MISSION

         To advance international freedom of religion or belief, by
         independently assessing and unflinchingly confronting threats
         to this fundamental right.




                              chair    Stephen Schneck
                          vice chair   Meir Soloveichik
                commissioners Ariela Dubler
               		 Mohamed Elsanousi
               		 Maureen Ferguson
               		 Susie Gelman
               		 Vicky Hartzler
               		 Asif Mahmood
                  executive director   Erin D. Singshinsuk




              This report is based on research conducted in 2023–24 into policies and practices in
              place at that time. Policies and practices implemented in 2025 are not covered.




              February 2025




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ABOUT THE UNITED STATES COMMISSION ON
INTERNATIONAL RELIGIOUS FREEDOM

WHO WE ARE                                                  WHAT RELIGIOUS FREEDOM IS

The U.S. Commission on International Religious Freedom      Inherent in religious freedom is the right to believe or not
(USCIRF) is an independent, bipartisan U.S. federal         believe as one’s conscience leads and to live out one’s beliefs
government commission created by the 1998 International     openly, peacefully, and without fear. Freedom of religion
Religious Freedom Act (IRFA). USCIRF uses international     or belief is an expansive right that includes the freedoms of
standards to monitor violations of freedom of religion      thought, conscience, expression, association, and assembly.
or belief abroad and makes policy recommendations           While religious freedom is America’s first freedom, it also is a
to the president, the secretary of state, and Congress.     core human right that international law and treaty recognize;
USCIRF Commissioners are appointed by the president         a necessary component of U.S. foreign policy and America’s
and congressional leaders of both political parties.        commitment to defending democracy and freedom globally;
The Commission’s work is supported by a professional,       and a vital element of national security, critical to ensuring a
nonpartisan staff of regional and subject matter experts.   more peaceful, prosperous, and stable world.
USCIRF is separate from the U.S. Department of
State, although the department’s ambassador-at-large
for international religious freedom is a nonvoting,
ex officio Commissioner.




Updated Recommendations on Asylum Seekers in Expedited Removal 1
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EXECUTIVE SUMMARY
When Congress enacted the expedited removal process in          If CBP decides to subject a noncitizen to expedited removal,
1996 to establish stronger controls at the border and ports     they can be deported without an immigration court hearing
of entry (POEs), it included safeguards to protect bona fide    unless they express an intention to apply for asylum or a
asylum seekers. In 1998, Congress enacted the International     fear of persecution, torture, or return to their home country.
Religious Freedom Act (IRFA), which authorized the U.S.         If they express such intention or fear, they are typically
Commission on International Religious Freedom (USCIRF) to       referred to USCIS for a credible fear interview (CFI), which
conduct a study to examine the treatment of asylum seekers in   is a screening interview conducted while they are detained
expedited removal. This study aimed to ensure immigration       to determine whether there is a significant possibility that
officials implemented expedited removal in a manner             they would later be able to show that they qualify for asylum
consistent with the United States’ obligations to protect       or other protections in an immigration court. If a USCIS
noncitizens fleeing persecution.                                asylum officer determines they have a credible fear, an
                                                                EOIR immigration judge (IJ) then decides whether they are
In 2005, USCIRF released its study, which revealed serious
                                                                eligible for asylum or other protection and can remain in the
flaws in the processing and detention of asylum seekers in
                                                                United States. If the asylum officer determines they do not
expedited removal and made recommendations to address
                                                                have a credible fear, the noncitizen can either ask for an IJ
them. Since then, USCIRF has periodically assessed whether
                                                                to review the CFI decision or they are swiftly removed from
the 2005 study’s recommendations have been implemented
                                                                the country.
and, if not, whether they remain relevant or need to be
revised. Specifically, USCIRF released a 2007 report card,      The expedited removal process has changed significantly over
a 2013 assessment of the implications of detention reforms,     the past few years. At the time of the research, there had been
and a 2016 report on the effects of changes in the expedited    several recent policy changes that:
removal process overall. Since USCIRF’s last report in
                                                                • Fast-tracked the process further and allowed for
2016, there have been several significant policy changes
                                                                  processing, detention, and CFIs (as well as IJ reviews of CFI
that altered the legal and procedural standards for asylum
                                                                  decisions) to take place in CBP facilities;
seekers in expedited removal. Altogether, the passage of time
and these policy changes led USCIRF to commission this          • Changed the legal standard and procedure for deciding
report to reevaluate the status and relevance of USCIRF’s         these asylum claims;
2016 recommendations. The research took place in 2023 and       • Applied a different process to families in expedited removal
2024 and looked at policies and implementation practices in       allowing their conditional release from detention; and
effect during that period.                                      • Prevented certain noncitizens, whom an asylum officer
                                                                  determined to have a credible or reasonable fear of return,
THE EXPEDITED REMOVAL PROCESS                                     from being released from detention on bond while an IJ
                                                                  considers their asylum or protection claim.
Expedited removal is a streamlined process to screen and
swiftly remove certain noncitizens. Although quick, the
expedited removal process is complex, involving numerous        METHODOLOGY
agencies within both the Department of Homeland Security        The findings in this report are based on a literature review
(DHS) and the Department of Justice (DOJ). These include        conducted from December 2023 to February 2024 and
DHS’s Customs and Border Protection (CBP), Immigration          primary research conducted from May to August 2024. The
and Customs Enforcement (ICE), and U.S. Citizenship and         primary research consisted of interviews, survey responses,
Immigration Service (USCIS), and DOJ’s Executive Office         observations, site visits, and consultations with DHS officials.
for Immigration Review (EOIR) and Board of Immigration          The research was less extensive in time and scope than
Appeals (BIA). (A glossary of these and other relevant          USCIRF’s prior research on expedited removal but did allow for
acronyms can be found at the end of the report.)                an assessment, in light of conditions during the research period,
                                                                of the status and relevance of USCIRF’s 2016 recommendations
                                                                and the development of new recommendations.


2                                                                                      Barriers to Protection as of 2024
ExecutiveCase
          Summary
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KEY FINDINGS

Based on primary and secondary research, it was determined that some of USCIRF’s 2016 recommendations were implemented,
several were not and are still relevant, and several are no longer relevant due to recent policy changes. The research also revealed
several important new concerns raised by expedited removal policies in place in 2024. Most notably:

• The “shout test” that CBP is using under the Securing the         RECOMMENDATIONS
  Border policy to identify whether a noncitizen fears return
                                                                    Finally, this report includes reiterated and updated policy
  may prevent bona fide asylum seekers from receiving a
                                                                    recommendations from the 2016 report as well as new
  chance to access legal protection. Under policies in force
                                                                    ones reflecting changes in policies. Like USCIRF’s prior
  during periods of high encounters, noncitizens are not
                                                                    recommendations in this area, these recommendations
  asked about fear during CBP screenings, as they were in
                                                                    seek to further Congress’s intent that the expedited removal
  the past. Instead, noncitizens must express fear on their
                                                                    process both protect U.S. borders and ensure the fair and
  own volition to be referred for a CFI. Previously, CBP
                                                                    humane treatment of bona fide asylum seekers. USCIRF
  officers were required to ask four questions about fear
                                                                    is troubled that many of the problems it has repeatedly
  of return set forth on Forms I-867, although USCIRF’s
                                                                    documented since 2005 in the U.S. government’s treatment
  past research revealed inconsistent compliance with this
                                                                    of asylum seekers in expedited removal—including flawed
  requirement. The research for this report found that:
                                                                    screening and documentation practices, a lack of training and
  CBP and ICE officers did not receive additional training
                                                                    quality control, inadequate information for noncitizens in the
  on how to recognize a noncitizen’s manifestation of fear;
                                                                    process, inappropriate detention conditions, and insufficient
  CBP and ICE facilities did not provide adequate notice to
                                                                    coordination and oversight—remain unaddressed 20 years
  noncitizens about this new requirement; CBP officers may
                                                                    later. These flaws raise serious concerns that the United States
  be improperly assessing the credibility of fear claims (an
                                                                    is erroneously returning asylum seekers to countries where
  issue also identified in USCIRF’s previous research); and
                                                                    they could face persecution or torture in violation of both U.S.
  intake procedures using contractors, virtual processing,
                                                                    and international law.
  and artificial intelligence could hinder a noncitizen from
  manifesting fear while in CBP custody.                            For the full list of detailed recommendations to DHS, DOJ,
• Coupled with the fast-tracked processes, detention in CBP         and Congress, see pages 19 to 20. While the specific policies
  facilities makes it difficult for asylum seekers to prepare       in place at the time of the research for this report are Biden
  for and undergo their CFIs and for lawyers to advise and          administration policies, the first Trump administration put in
  represent them. Since 2023, many steps of the expedited           place a similar fast-tracked process for CFIs in CBP detention
  removal process have taken place in CBP processing                and used expedited removal to the fullest extent allowed
  facilities, including overnight multi-day holding, CFIs,          under the law. Given that the second Trump administration
  and IJ reviews. Previously, CBP handled intake and CFI            is also expected to vigorously implement expedited removal,
  referrals in its facilities and then transferred detainees to     the recommendations in this report on how to better protect
  ICE detention centers, which are better equipped for multi-       asylum seekers in this process while also securing U.S.
  day stays, access to counsel, and CFIs. The research found        borders remain relevant.
  that CBP facilities are designed for short-term processing;
  that legal representatives are not allowed inside and have
  difficulty contacting detained noncitizens and obtaining
  notice of appearance forms; that phone access for detainees
  is rushed and sporadic; that lawyers do not receive adequate
  notice of their clients’ CFIs and IJ reviews; and that CFIs,
  which are telephonic, are held at odd hours, including
  on weekends and holidays, and can be lengthy given the
  exceptions and additional issues that are now considered.




Updated Recommendations on Asylum Seekers in Expedited Removal 3
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INTRODUCTION
When Congress enacted the expedited removal process                                              implemented and, if not, whether they remain relevant or
in 1996 to establish stronger controls at the border and                                         need revision. Specifically, USCIRF released a 2007 report
POEs, it included safeguards to protect bona fide asylum                                         card, a 2013 assessment of the implications of detention
seekers.1 Congress purposely set a low screening standard to                                     reforms, and a 2016 report on the effects of changes in the
ensure that asylum seekers were not returned to countries                                        expedited removal process overall.5 The most recent report,
of persecution.2 In 1998, Congress enacted IRFA, which                                           which was titled Barriers to Protection, found that even
authorized USCIRF to conduct a study to determine                                                though some of the 2005 recommendations were implemented
whether U.S. immigration officials, in exercising expedited                                      by 2016, there were continuing and new concerns about
removal authority over noncitizens who may be eligible for                                       the processing and detention of asylum seekers. Between
asylum, were (1) improperly encouraging withdrawals of                                           2016 and 2023, the circumstances and policies surrounding
applications for admission; (2) incorrectly failing to refer such                                the expedited removal process had changed considerably
noncitizens for credible fear determinations; (3) incorrectly                                    and required reevaluation, which led USCIRF to commission
removing such noncitizens to countries where they may face                                       this report.
persecution; or (4) improperly detaining such noncitizens or
                                                                                                 This follow-up report is divided into four sections. First,
detaining them under inappropriate conditions.3
                                                                                                 it explains the expedited removal process as implemented
In 2005, USCIRF released a comprehensive study4 that                                             when the research was conducted. Second, it provides key
documented serious implementation flaws that placed asylum                                       findings from primary research gathered through a survey,
seekers at risk of being returned to countries where they                                        interviews, site visits to DHS facilities, observations of CFIs,
could face persecution and prison-like detention conditions.                                     and consultations with DHS HQ officials. Third, the report
USCIRF made a series of recommendations to various federal                                       reevaluates the recommendations made in the 2016 report
agencies to address these flaws, ensure fair and humane                                          to determine whether they were implemented and, if not,
treatment of asylum seekers in expedited removal, and help                                       whether they remain relevant. Finally, it provides reiterated,
protect U.S. borders. Since then, USCIRF has periodically                                        updated, and new recommendations that reflect this research
assessed whether the 2005 study’s recommendations were                                           and the expedited removal process as of 2024.




1
     Illegal Immigration Reform and Immigrant Responsibility Act, INA § 235(b)(1), 8 U.S.C. § 1252 (1996). https://www.govinfo.gov/content/pkg/COMPS-13677/pdf/COMPS-13677.pdf.
2
     See 142 Cong. Rec. S11491-92 (September 27, 1996). See statement of Senator Orrin Hatch, former Chair of the Senate Judiciary Committee: “The (credible fear) standard ... is
     intended to be a low screening standard for admission into the usual full asylum process.”
3
     International Religious Freedom Act of 1998, Pub. L. 105-292 § 605 (1998), 112 Stat. 2787 § 6474.
4
     U.S. Commission on International Religious Freedom (USCIRF). 2005. Asylum Seekers in Expedited Removal: A Study Authorized by Section 605 of the International Religious Freedom
     Act of 1998. Washington, DC: USCIRF. https://www.uscirf.gov/publications/report-asylum-seekers-expedited-removal.
5
      U.S. Commission on International Religious Freedom (USCIRF). 2007. “Expedited Removal Study Report Card: 2 Years Later.” https://www.uscirf.gov/sites/default/files/Reportcard%20
     Scorecard_0.pdf. See also U.S. Commission on International Religious Freedom (USCIRF). 2007. “Expedited Removal Study Recommendations Report Card.” https://www.uscirf.gov/
     sites/default/files/Score%20Card%20Grades_0.pdf; U.S. Commission on International Religious Freedom (USCIRF). February 8, 2007. “USCIRF Finds Disappointing Response from
     Departments of Justice and Homeland Security to Its Recommendations on Expedited Removal Process.” Press Release. https://www.uscirf.gov/news-room/releases-statements/uscirf-
     finds-disappointing-response-departments-justice-and-homeland; U.S. Commission on International Religious Freedom (USCIRF). 2013. Assessing the U.S. Government’s Detention
     of Asylum Seekers: Further Action Needed to Fully Implement Reforms. Special Report. Washington, DC: USCIRF. https://www.uscirf.gov/sites/default/files/resources/ERS-detention-
     reforms-report-April-2013.pdf; U.S. Commission on International Religious Freedom (USCIRF). 2016. Barriers to Protection: The Treatment of Asylum Seekers in Expedited Removal.
     Washington, DC: USCIRF. https://www.uscirf.gov/sites/default/files/Barriers%20To%20Protection.pdf.


4                                                                                                                                 Barriers to Protection as of 2024
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THE EXPEDITED REMOVAL PROCESS
Expedited removal is a streamlined removal process utilized                                        From 2023 to 2024, there were several significant policy
to screen and swiftly remove certain noncitizens.6 If DHS                                          changes that altered the way these agencies implement
decides to subject a noncitizen to expedited removal, they                                         expedited removal:
can be deported without an immigration court hearing
                                                                                                   • The Enhanced Expedited Removal (EER) policy fast-
unless they express an intention to apply for asylum or fear
                                                                                                     tracked the process, providing noncitizens 24 hours
of persecution, torture, or return to their home country.
                                                                                                     to speak to a legal representative and prepare for their
If they do, they are typically referred for a CFI, which is a
                                                                                                     CFIs.11 It also allowed noncitizens to be processed and
screening interview to determine whether there is a significant
                                                                                                     detained and to undergo their CFIs, as well as IJ reviews
possibility that they would later be able to show they qualify
                                                                                                     of CFI decisions, in CBP processing facilities. Previously,
for asylum or other protections in immigration court. If
                                                                                                     noncitizens were detained and had their CFIs in ICE
an asylum officer determines they have a credible fear,
                                                                                                     detention centers.
an IJ then decides whether they are eligible for asylum or
other protection.                                                                                  • The Circumvention of Lawful Pathways (CLP) rule
                                                                                                     presumes that noncitizens are ineligible for asylum if they
Noncitizens subject to expedited removal, who are not                                                do not enter the United States in specific ways and did
referred for a CFI, do not have a right to counsel7 or a                                             not seek protection or asylum in a country they traveled
hearing,8 and there is little opportunity for them to challenge                                      through, unless they meet certain exceptions.12 They can
an expedited removal order.9 Those who receive an expedited                                          still seek other forms of protection but are held to a higher
removal order are rapidly deported from the United States                                            legal standard (reasonable possibility) to receive them.
without a full hearing before an IJ and are typically barred                                         Whether a noncitizen meets the exceptions to this rule or
from reentering the country for five years.10                                                        the higher standard for protection is now considered during
Although quick, the expedited removal process is complex                                             their CFI.
and involves several steps and multiple federal agencies,                                          • The Securing the Border (STB) policy (including a
including DHS and its component agencies CBP, ICE, and                                               presidential proclamation and final rule) prevents
USCIS as well as DOJ’s EOIR and BIA.                                                                 noncitizens from entering the United States at the southern
                                                                                                     border during periods of high encounters, unless they meet




6
     8 U.S.C. § 1225, I.N.A. § 235. https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title8-section1225&num=0&edition=prelim.
7
     The statutory right to consult does not attach until a noncitizen is referred for a CFI, and the noncitizen must pay for representation or access pro bono services. INA 235(b)(1)(B)(iv),
     8 U.S.C. 1225(b)(1)(B)(iv). These consultations are also made available under the policies and procedures of the detention facility where they are detained. See 8 CFR 235.3(b)(4)(ii).
8
     8 U.S.C. § 1225, I.N.A. § 235. https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title8-section1225&num=0&edition=prelim. See also 8 C.F.R. § 235.3(b)(2)(ii).
9
     Id. See also U.S. Department of Homeland Security v. Thuraissigiam, 591 U.S. (2020). https://supreme.justia.com/cases/federal/us/591/19-161/. (The Supreme Court held that IIRIRA
     8 U.S.C. § 1252(e)(2) limits on judicial review of expedited removal orders (preventing habeas corpus challenges in federal court), and this does not violate the Suspension or Due
     Process clauses of the Constitution.)
10
     8 U.S.C. § 1182(a)(9)(A)(i), I.N.A. § 212(a)(9)(A)(i). https://uscode.house.gov/view.xhtml?req=granuleid%3AUSC-prelim-title8-section1182&num=0&edition=prelim.
11
     U.S. Department of Homeland Security. 2023. “Fact Sheet: U.S. Government Announces Sweeping New Actions to Manage Regional Migration.” https://www.dhs.gov/
     news/2023/04/27/fact-sheet-us-government-announces-sweeping-new-actions-manage-regional-migration. EER was not the first time the CFI process has been fast-tracked. In 2019,
     under the first Trump administration, DHS began implementing two pilot programs, the Prompt Asylum Claim Review (PACR) and Humanitarian Asylum Review Process (HARP).
     Noncitizens in the CFI process were given 24 to 72 hours to prepare for their CFI, and they were detained in CBP custody (instead of ICE custody) until they were either removed or
     their case was decided by an IJ. The programs were implemented until March 2020, when Title 42 blocked asylum seekers from entering the country for public health reasons, which
     remained in force until May 2023. In 2021, the Biden administration issued an executive order directing DHS to stop the PACR and HARP programs. Creating a Comprehensive
     Regional Framework to Address the Causes of Migration, to Manage Migration Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
     Seekers at the United States Border, E.O. 14010, 86 F.R. 8267 (February 2, 2021). https://www.federalregister.gov/documents/2021/02/05/2021-02561/creating-a-comprehensive-
     regional-framework-to-address-the-causes-of-migration-to-manage-migration.
12
     Under the CLP policy, noncitizens entering the United States at its borders are presumed ineligible for asylum if they (1) approach U.S. POEs without an appointment through
     the CBP One app (or without using other existing lawful pathways) or cross the border irregularly between POEs and (2) did not seek protection or asylum in a third country
     they traveled through on their way to the United States. If noncitizens cannot meet these requirements, they can only seek asylum if they can prove they meet one of the following
     exceptions: they are facing imminent threats to their lives; they are victims of severe forms of trafficking; they cannot access the CBP One app to make an appointment due to
     technical or other accessibility issues; they face an acute medical emergency; or they face other exceptionally compelling circumstances that immigration officers determine to
     be sufficient to provide an exception on a case-by-case basis. See Circumvention of Lawful Pathways 88 F.R. 11704, 8 C.F.R. 208 (May 11, 2023). https://www.federalregister.gov/
     documents/2023/05/16/2023-10146/circumvention-of-lawful-pathways; U.S. Department of Homeland Security. May 11, 2023. “Fact Sheet: Circumvention of Lawful Pathways Final
     Rule.” https://www.dhs.gov/news/2023/05/11/fact-sheet-circumvention-lawful-pathways-final-rule.


Updated Recommendations on Asylum Seekers in Expedited Removal 5
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                                                                                                                                                 Page   124 of Removal
                                                                                                                                                                 305 Process
     certain exceptions.13 While this policy is in effect, CBP                                   • DHS and DOJ created a dedicated Recent Arrivals docket
     officers are no longer required to ask noncitizens specific                                   for certain cases of those who crossed the southwest border,
     questions about whether they fear persecution or return as                                    without inspection, between POEs (which may arise from
     part of the initial screening process; instead, noncitizens                                   positive CFI determinations).15 This is intended for IJs to
     must express this fear on their own volition to be referred                                   decide these cases as fast as possible.
     for a CFI. The STB policy also further fast-tracked the                                     • The Family Expedited Removal Management
     process, providing noncitizens four hours to prepare for                                      (FERM) program allows certain families in expedited
     their CFIs, which are conducted in CBP custody. Like                                          removal to be conditionally released from detention while
     the CLP rule, the STB policy presumes noncitizens are                                         they go through their CFIs.16
     ineligible for asylum if they do not enter the country a
                                                                                                 • DHS policies, which are being challenged in the ongoing
     certain way or meet exceptions, and those not within
                                                                                                   Padilla v. ICE lawsuit, prevent certain noncitizens, whom an
     the exceptions must meet an even higher legal standard
                                                                                                   asylum officer determined to have a credible fear during a
     (reasonable probability) to receive other forms of protection.
                                                                                                   CFI, from being released from detention on bond while an
     This policy also allows families to be detained in CBP
                                                                                                   IJ considers and decides their asylum or protection claim.17
     facilities and undergo their CFIs there.
• DHS started requiring asylum officers to consider whether                                      Table 1 describes the roles of the various agencies in the
  noncitizens are subject to statutory bars to asylum during                                     process, as implemented during the research period.
  CFIs.14 These were previously considered later in the
  process by IJs.




13
     Under the STB policy, most noncitizens are barred from entering the United States at the southern border until daily encounters fall below a certain level. There are exceptions for
     certain noncitizens who approach POEs, including: unaccompanied minors; victims of severe forms of trafficking; those with CBP One appointments; those whom CBP officers
     permit to enter based on the totality of the circumstances, including consideration of law enforcement, officer and public safety, and urgent humanitarian and public health interests;
     and those permitted to enter due to operational consideration at the time of entry or encounter. While the STB policy is in force, noncitizens who approach a POE or are encountered
     at or near the border are deemed ineligible for asylum unless they meet one of the foregoing exceptions or show exceptionally compelling circumstances. This includes cases where
     the noncitizen or their family member: faced an acute medical emergency; faced an imminent and extreme threat to life or safety; or meet the definition of a victim of a severe form of
     trafficking under federal regulations. See Securing the Border Proclamation 10773, 89 F.R. 48487 (June 3, 2024). https://www.federalregister.gov/documents/2024/06/07/2024-12647/
     securing-the-border; Securing the Border Interim Final Rule (IFR) 89 F.R. 48710 (June 5, 2024). https://www.federalregister.gov/documents/2024/06/07/2024-12435/securing-
     the-border; A Proclamation Amending Proclamation 10773, 89 F.R. 80351 (September 27, 2024). https://www.federalregister.gov/documents/2024/10/02/2024-22942/amending-
     proclamation-10773; Securing the Border Final Rule, 89 F.R. 81156 (October 7, 2024). https://www.federalregister.gov/documents/2024/10/07/2024-22602/securing-the-border.
14
     Application of Certain Mandatory Bars in Fear Screenings, 89 F.R. 41347, 8 C.F.R. 208 (May 13, 2024). https://www.federalregister.gov/documents/2024/05/13/2024-10390/
     application-of-certain-mandatory-bars-in-fear-screenings.
15
     Efficient Case and Docket Management in Immigration Proceedings, 89 F.R. 46742 (May 29, 2024). https://www.federalregister.gov/documents/2024/05/29/2024-11121/efficient-case-
     and-docket-management-in-immigration-proceedings; U.S. Department of Homeland Security. May 16, 2024. “DHS and DOJ Announce ‘Recent Arrivals’ Docket Process for More
     Efficient Immigration Hearings.” https://www.dhs.gov/news/2024/05/16/dhs-and-doj-announce-recent-arrivals-docket-process-more-efficient-immigration.
16
     U.S. Immigration and Customs Enforcement. May 10, 2023. “ICE Announces New Process for Placing Family Units in Expedited Removal.” Press Release. https://www.ice.gov/news/
     releases/ice-announces-new-process-placing-family-units-expedited-removal.
17
     U.S. Department of Justice. March 20, 2019. Matter of M-S-, 27 I&N Dec. 509 (A.G. 2019); National Immigration Litigation Alliance (NILA), Northwest Immigrant Rights Project
     (NIRP), and American Immigration Council (AIC). 2024. “Padilla v. ICE and Delays in Credible Fear Interviews.” Practice Alert. https://www.americanimmigrationcouncil.org/sites/
     default/files/practice_advisory/padilla_practice_alert_-_032224.pdf.



6                                                                                                                                  Barriers to Protection as of 2024
The Expedited
       CaseRemoval Process
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Table 1: Roles of Federal Agencies in the Expedited Removal Process

 Federal Agency                 Sub-Agency                      Role

 U.S. Department                U.S. Customs                    CBP conducts initial screenings to determine whether certain noncitizens should be
 of Homeland                    and Border                      subject to expedited removal at POEs and along the border. Office of Field Operations
 Security (DHS)                 Protection (CBP)                (OFO) officers screen noncitizens at POEs, and Border Patrol agents screen those
                                                                apprehended at or near the border. If a noncitizen expresses an intention to apply for
                                                                asylum or a fear of persecution, torture, or return to their home country, CBP refers them
                                                                to USCIS for a CFI (or a reasonable fear interview [RFI] if they were previously ordered
                                                                removed or their deportation, exclusion, or removal order was reinstated). Since 2023, most
                                                                noncitizens stay in CBP custody until they receive an order of expedited removal or a USCIS
                                                                decision on their CFI.

                                U.S. Immigration                Previously, noncitizens referred for CFIs were transferred to ICE custody until their CFIs and
                                and Customs                     sometimes their immigration court hearings, but since 2023 most remain in CBP custody at
                                Enforcement (ICE)               least until their CFI is completed. Some are still transferred to ICE facilities under certain
                                                                circumstances, including a lack of space in CBP facilities. ICE Enforcement and Removal
                                                                Operations (ERO) works with CBP to facilitate removals. ICE also conducts check-ins
                                                                and provides ankle monitors and other alternatives to detention (ATD) aspects of the
                                                                FERM program.

                                U.S. Citizenship                USCIS conducts CFIs or RFIs for noncitizens who express to CBP or ICE officers an intent
                                and Immigration                 to apply for asylum or a fear of persecution, torture, or return to their home country. These
                                Services (USCIS)                interviews are done over the phone by a USCIS asylum officer (who could be anywhere in
                                                                the country) within 24 hours (under the EER process) or four hours (if the STB policy is in
                                                                effect) from the time the detained noncitizen is given an opportunity to consult with a legal
                                                                representative or other consultant. These timeframes usually begin when the noncitizen
                                                                is provided access to phones or given information about the expedited removal and CFI
                                                                process. During the interview, the asylum officer determines whether there is a significant
                                                                or reasonable possibility (or probability under the STB policy) that the noncitizen would later
                                                                show that they qualify for asylum, withholding of removal, or Convention Against Torture
                                                                (CAT) protection in immigration court.

 U.S. Department of             Executive Office                If an asylum officer determines that the noncitizen has a credible or reasonable fear, they
 Justice (DOJ)                  of Immigration                  are placed in removal proceedings before an EOIR IJ who determines whether to grant
                                Review (EOIR)                   them legal protection. If the asylum officer determines that the noncitizen does not have a
                                                                credible or reasonable fear, the noncitizen can request that an IJ review this determination.
                                                                If the IJ reverses the asylum officer’s determination, they will be placed in removal
                                                                proceedings before an IJ to seek asylum and other legal protections.

                                Board of Immigration            The BIA decides appeals of the decisions made by EOIR IJs.
                                Appeals (BIA)



SCOPE OF APPLICATION                                                                            within 100 miles of a U.S. land border within 14 days of their
                                                                                                unauthorized entry into the country.21
DHS is authorized, but not required, to apply expedited
removal to any noncitizen who enters the United States
without inspection or with fraudulent or misrepresented                                         INITIAL SCREENINGS BY CBP OFFICERS
documents who cannot demonstrate that they have been
                                                                                                CBP conducts initial screenings to determine whether certain
physically present in the country for at least two years.18
                                                                                                noncitizens should be subject to expedited removal and
It typically applies to noncitizens who do not have proper
                                                                                                referred for a CFI at POEs and the border. Typically, CBP OFO
documentation to enter the country at U.S. POEs,19 entered
                                                                                                officers screen these noncitizens at POEs, and Border Patrol
the United States by sea without inspection,20 or entered the
                                                                                                agents screen those who are apprehended at or near the border.
United States by land without inspection and are encountered




18
     8 U.S.C. § 1225(b)(1)(A)(iii)(II), I.N.A. § 235(b)(1)(A)(iii)(II). https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title8-section1225&num=0&edition=prelim.
19
     When expedited removal was first implemented in 1997, it only applied to these noncitizens. Illegal Immigration Reform and Immigrant Responsibility Act, I.N.A. § 235(b)(1),
     8 U.S.C. § 1252 (1996). https://www.govinfo.gov/content/pkg/COMPS-13677/pdf/COMPS-13677.pdf.
20
     In 2002, the Immigration and Naturalization Service (INS) expanded expedited removal to apply it to these noncitizens. Notice Designating Aliens Subject to Expedited Removal
     I.N.A. § 235(b)(1)(A)(iii), 67 F.R. 68924 (November 13, 2002). https://www.federalregister.gov/documents/2002/11/13/02-29038/notice-designating-aliens-subject-to-expedited-
     removal-under-section-235b1aiii-of-the-immigration.
21
     In 2004, DHS—which succeeded the INS—expanded its use of the expedited removal process again and began to also apply it to these noncitizens. Designating Aliens for Expedited
     Removal, 69 F.R. 48877 (August 11, 2004). https://www.federalregister.gov/documents/2004/08/11/04-18469/designating-aliens-for-expedited-removal. In 2019, the Trump
     administration expanded its use of expedited removal again to the fullest extent possible under the Illegal Immigration Reform and Immigrant Responsibility Act, applying it to
     these noncitizens encountered anywhere in the United States who have been in the country for less than two years, removing the 100-mile encounter location and 14-day limits.
     See Designating Aliens for Expedited Removal, 84 F.R. 35409 (July 23, 2019). https://www.federalregister.gov/documents/2019/07/23/2019-15710/designating-aliens-for-expedited-
     removal). In 2022, the Biden administration rescinded that rule, reverting to the above application of the expedited removal process. See Recission of the Notice of July 23, 2019,
     Designating Aliens for Expedited Removal, 87 F.R. 16022 (March 21, 2022). https://www.federalregister.gov/documents/2022/03/21/2022-05961/rescission-of-the-notice-of-july-23-
     2019-designating-aliens-for-expedited-removal.


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                                                                                                                                                                 305 Process
During these initial screenings, CBP officers were previously                                     custody while they await their CFI and before they receive an
required to ask mandatory questions and take a sworn                                              order of expedited removal or a hearing with an IJ.28
statement documenting the noncitizen’s fears and intentions
using Forms I-867A and B before issuing a notice and order
                                                                                                  CREDIBLE FEAR INTERVIEWS
of expedited removal (Form I-860).22 This included four
carefully designed questions about fear of persecution or                                         If a noncitizen expresses an intention to seek asylum or a
return to ensure that no refugee or asylee was returned to                                        fear of persecution, torture, or return to their home country
a country of persecution, as required by the Refugee Act of                                       during CBP’s initial screenings or while they are in CBP
1980 and the Refugee Protocol.23 However, under the STB                                           or ICE custody, they are typically referred to USCIS for
policy, this standard has changed since June 2024.24                                              a CFI. During this screening interview, a USCIS asylum
                                                                                                  officer determines whether there is a significant possibility
While the STB policy is in effect, CBP officers neither ask
                                                                                                  that they would later show they qualify for asylum or other
the required questions nor take a sworn statement using
                                                                                                  legal protection in immigration court.29 If a noncitizen was
I-867 forms. They will only refer noncitizens for CFIs if the
                                                                                                  previously ordered removed or their deportation, exclusion,
noncitizens manifest fear on their own volition. This fear can
                                                                                                  or removal order was reinstated, they are referred to USCIS
be expressed in several ways (i.e., verbally, in written form,
                                                                                                  for an RFI instead of a CFI.30 In this case they would not be
through bodily signals, etc.) during screenings or while they
                                                                                                  eligible for asylum and would only receive withholding of
are in CBP or ICE custody, but whether fear is manifested is
                                                                                                  removal or CAT protection if the asylum officer determines
open to interpretation and up to the discretion of the officer.
                                                                                                  there is a reasonable possibility (which is a higher legal
Under the STB policy, instead of using I-867 forms to record
                                                                                                  standard) that they can later show they qualify for these
how and whether a noncitizen manifested fear, DHS uses a
                                                                                                  protections in court. DHS cannot remove those who are
Form I-213 with a “credible fear” stamp to record the details
                                                                                                  referred for CFIs and RFIs until their claim is evaluated.
of the person’s apprehension and immigration history.
                                                                                                  When noncitizens are referred for CFIs, CBP (or ICE) officers
The overall number of southern border credible fear
                                                                                                  must provide them with a written explanation of the CFI
screening referrals and decisions over the past decade shows
                                                                                                  process (Form M-444 or a form titled “Information About the
that 2023 registered a peak with 148,480 referrals. This
                                                                                                  Credible Fear Interview Sheet,” which is a modified version
figure is 29.5 percent higher than the number recorded in
                                                                                                  of Form M-444) to explain the circumstances under the STB
2019, prior to the COVID-19 pandemic.25 However, after
                                                                                                  policy. This includes information about the purpose of the
the STB policy was implemented in June 2024, there was
                                                                                                  referral and a description of the CFI process; the right to
a drastic decrease in the number of credible fear referrals
                                                                                                  consult with an attorney or accredited representative (who
and decisions.26 Between May and August 2024, the total
                                                                                                  will not be provided or paid for by the U.S. government) prior
monthly CFI referrals plummeted from 20,010 to 1,382, an
                                                                                                  to and after their interview; what happens after they receive
approximately 93 percent drop. CFI decisions also decreased
                                                                                                  a positive or negative credible fear determination; and the
by approximately 87 percent (from a total of 18,515 decisions
                                                                                                  right to request a review by an IJ of the asylum officer’s
in May to 2,390 in August 2024).
                                                                                                  fear determination.31
Previously, CBP officers usually turned over noncitizens
                                                                                                  The CFI process was fast-tracked twice: in May 2023 by the
referred for CFIs to ICE custody, and CFIs were not done in
                                                                                                  EER policy and again in June 2024 by the STB policy. Under
CBP facilities.27 However, since 2023 many remain in CBP
                                                                                                  these policies, CFIs shall occur within 24 hours (under


22
     8 C.F.R. § 235.3(b)(2)(i). https://www.ecfr.gov/current/title-8/chapter-I/subchapter-B/part-235.
23
     Refugee Act of 1980, S. 643 P.L. 96-212 96th Cong. (March 17, 1980). https://www.congress.gov/bill/96th-congress/senate-bill/643/text; Protocol Relating to the Status of Refugees,
     G.A. Res. 2198 (XXI) (January 31, 1967).
24
     See Securing the Border, 89 C.F.R. 48710 supra note 13; and U.S. Department of Homeland Security, Immigration and Customs Enforcement. (June 4, 2024). “Memorandum for
     Daniel A. Bible, Executive Associate Director Enforcement and Removal Operations, ‘Implementation Guidance for Noncitizens Described in Presidential Proclamation of June 3,
     2024, Securing the Border,’ and ‘Interim Final Rule, Securing the Border.’” https://drive.google.com/file/d/1jedC-2TzM0wzDaKWy4F_y7niS1fFkbhj/view.
25
     U.S. Office of Homeland Security Statistics. March 2024. “Immigration Enforcement and Legal Processes Monthly Tables.” https://www.dhs.gov/ohss/topics/immigration/
     enforcement-and-legal-processes-monthly-tables.
26
     U.S. Office of Homeland Security Statistics. “Semi-Monthly Credible Fear and Reasonable Fear Receipts and Decisions. Data July 1, 2023–August 31, 2024.” https://www.uscis.gov/
     tools/reports-and-studies/semi-monthly-credible-fear-and-reasonable-fear-receipts-and-decisions.
27
     Hillel Smith. October 8, 2019. “Expedited Removal of Aliens: Legal Framework.” Congressional Research Service. https://crsreports.congress.gov/product/pdf/R/R45314.
28
     See DHS 2023 supra note 11 and Securing the Border 89 CFR 48710 supra note 13. This practice was also applied under previous programs the Trump administration implemented in
     2019 that were rescinded in 2021. These pilot programs were the Prompt Asylum Claim Review (PACR) and Humanitarian Asylum Review Process (HARP).
29
     8 C.F.R. § 235.3(b)(4). https://www.ecfr.gov/current/title-8/chapter-I/subchapter-B/part-235.
30
     8 C.F.R. 208.31. https://www.ecfr.gov/current/title-8/chapter-I/subchapter-B/part-208/subpart-B/section-208.31.
31
     Information about Credible Fear Interview Form M-444 (Rev. 5-31-2022).


8                                                                                                                                  Barriers to Protection as of 2024
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       CaseRemoval Process
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EER) or four hours (if apprehensions reach certain levels and                                     If the asylum officer determines through the CFI or RFI that
the STB policy is implemented) from the time the noncitizen                                       a noncitizen has a credible or reasonable fear, the noncitizen
is given information about the CFI process and phone access                                       receives a notice to appear (NTA) before an IJ, is placed
to consult with a legal representative or other consultant.                                       in removal proceedings, and can seek legal protection in
Previously, USCIS’s policy was to wait at least 48 hours from                                     immigration court. The noncitizen must file an application
the noncitizen’s arrival in ICE custody to conduct a CFI.                                         with the court, and an IJ eventually decides whether to grant
Asylum officers completed most CFIs in 20 days or less                                            them asylum, withholding, or CAT protection.
between 2014 and 2019.32
                                                                                                  If an asylum officer determines that the noncitizen does not
During CFIs, USCIS asylum officers typically determine                                            have a credible or reasonable fear, the noncitizen may request
whether noncitizens may qualify for asylum or other                                               that an IJ review this determination.34 If the noncitizen does
protections under the significant possibility legal standard,                                     not make this request, they may be swiftly deported. The IJ
explained above. However, under the CLP rule (since                                               review happens quickly, usually at most seven days after the
May 2023) and the STB policy (since June 2024), certain                                           noncitizen receives the negative determination. An IJ review
noncitizens who do not enter the country in certain ways                                          is not a full hearing on the merits of the case; it only reviews
are presumed ineligible for asylum. Unless they meet certain                                      the asylum officer’s CFI determination. If the IJ agrees with
exceptions, they can only seek withholding of removal and                                         that determination, the noncitizen will receive a removal
CAT protections and are subject to different legal standards.                                     order and be deported shortly thereafter. If the IJ does not
If they do not meet exceptions, an asylum officer determines                                      agree, the noncitizen receives an NTA and is placed in
whether there is a reasonable possibility (under the CLP                                          removal proceedings to apply for asylum or other protection
rule—a higher standard than significant possibility) or a                                         and have a full hearing.
reasonable probability (under the STB policy—an even higher
                                                                                                  Most noncitizens subject to expedited removal are detained
standard than reasonable possibility) that they can later show
                                                                                                  (whether they wind up receiving an order of expedited
they qualify for these legal protections in court. USCIS HQ
                                                                                                  removal or a referral for a CFI).35 If an asylum officer
confirmed that asylum officers received training on the new
                                                                                                  determines that a noncitizen has a credible fear, they are
legal standards under the CLP and STB policies.
                                                                                                  typically granted parole and released from CBP or ICE
Although noncitizens can still receive withholding of removal                                     custody, unless they pose certain security risks.36 Those who
or CAT protection if they do not meet an exception to the                                         do not qualify for parole are kept in detention until their
CLP and STB rules, these protections are not substitutes for                                      case is decided by an IJ and they are transferred from CBP to
asylum. Unlike asylum, withholding of removal and CAT                                             ICE custody.37
protection do not provide permanent residence or a pathway
to citizenship. In addition, the noncitizen can still be deported
to a third country, and spouses and unmarried children under
21 cannot receive derivative protection as family members of
the noncitizen.33




32
     Government Accountability Office (GAO). February 19, 2020. Immigration: Actions Needed to Strengthen USCIS’s Oversight and Data Quality of Credible and Reasonable Fear
     Screenings. GAO-20-250, Washington, DC: GAO. https://www.gao.gov/products/gao-20-250. USCIS did not require CFIs to be completed within a certain timeframe and used
     timeliness goals to monitor their CFI workload.
33
     See U.S. Department of Justice. 2021. “Model Hearing Program Substantive Law Lecture: Asylum, Withholding of Removal, and Protection under the U.N. Convention Against
     Torture.” https://icor.eoir.justice.gov/substantive_law_lecture_asylum_withholding_cat_accessible.pdf.
34
     8 U.S.C. § 1225(b)(1)(B)(iii)(III). https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title8-section1225&num=0&edition=prelim. See also 8 C.F.R. 280.30(g)(1).
35
     8 C.F.R. § 235.3(b)(4)(ii). https://www.ecfr.gov/current/title-8/chapter-I/subchapter-B/part-235.
36
     ICE HQ confirmed this during consultations. See “Parole of Arriving Aliens Found to Have a ‘Credible Fear’ of Persecution or Torture,” ICE Policy Directive No. 11002.1, December
     8, 2009. (In 2009, ICE issued a directive to automatically consider these noncitizens for parole if they entered at POEs.) https://www.ice.gov/doclib/dro/pdf/11002.1-hd-parole_
     of_arriving_aliens_found_credible_fear.pdf. See also ICE. 2023. “Parole of Arriving Aliens Found to Have Credible Fear of Persecution or Torture.” https://www.ice.gov/factsheets/
     credible-fear.
37
     8 U.S.C. § 1225(b)(1)(B)(ii), and (iii)(V). https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title8-section1225&num=0&edition=prelim. See also 8 C.F.R. § 212.5(b).
     https://www.ecfr.gov/current/title-8/chapter-I/subchapter-B/part-212/section-212.5.


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RESEARCH METHODOLOGY AND FINDINGS

METHODOLOGY                                                        Third, the research team observed six CFIs, randomly chosen
                                                                   by USCIS, at asylum offices in Newark, NJ, Arlington, VA,
The findings in this report are based on a literature review
                                                                   and Houston, TX, in August 2024. Four of the observed
conducted from December 2023 to February 2024 and
                                                                   interviews were conducted virtually (with asylum seekers
primary research conducted from May to August 2024. The
                                                                   who were in CBP and ICE custody) and two were in person
primary research consisted of interviews, survey responses,
                                                                   (with families enrolled in the FERM program). The observed
observations, site visits, and consultations with DHS
                                                                   CFIs involved noncitizens from several countries who
officials. The research was less extensive in time and scope
                                                                   spoke different languages, including one who identified as
than USCIRF’s prior research on expedited removal but did
                                                                   indigenous and another who spoke a rare language.
allow for an assessment—in light of conditions during the
research period—of the status and relevance of USCIRF’s            Finally, the research team consulted with officials from
2016 recommendations and the development of new                    DHS HQ, including its component agencies CBP, ICE, and
recommendations.                                                   USCIS, to gather information about their new protocols and
                                                                   procedures and understand whether some of the 2016 report’s
The primary research involved the following: First, the
                                                                   recommendations were implemented and still relevant.
research team conducted 14 interviews and circulated a
                                                                   The research team sent written questions to DHS HQ and
survey that received 18 responses from a total of 26 legal
                                                                   component agencies and received their responses in August
representatives from 15 different organizations and four
                                                                   2024. They also reached out to EOIR several times to do the
private law firms that work with asylum seekers in expedited
                                                                   same but did not receive a response.
removal. As of the research period, few legal representatives
and organizations represent asylum seekers in expedited
removal. When this research was conducted in the summer of         FINDINGS
2024, only five organizations provided pro bono legal services
                                                                   The research identified several barriers that bona fide
to noncitizens in CBP custody; five provided these services
                                                                   asylum seekers face in accessing asylum or other forms of
to those enrolled in the FERM program; 16 organizations
                                                                   legal protection under policies in place in 2024. As discussed
provided these services in the eight ICE detention centers that
                                                                   further in this section:
held asylum seekers in expedited removal; and few private
attorneys took on these noncitizens as clients. In addition, the   • Many asylum seekers may not be aware of the new “shout
research team interviewed policy experts about border and            test” requirement or may not be able to affirmatively
expedited removal policy as well as representatives of shelters      manifest fear to be referred for a CFI.
and other service providers near the southwest border.             • The conditions in CBP custody are not suitable for multi-
Second, the research team conducted several site visits to DHS       day stays, the detention of families, access to counsel, or
facilities in Texas and Arizona in July and August 2024. This        preparing for and undergoing CFIs.
included in-person site visits to four CBP processing facilities   • Legal representatives face so many obstacles representing
in Donna, McAllen, and El Paso, TX, and Tucson, AZ, and              noncitizens in CBP custody that many have decided to
a virtual visit and briefing at the Brownsville, TX, POE.            stop doing so. ICE facilities, by contrast, provide more
In-person site visits were also conducted in August 2024 to          appropriate detention conditions and better access to
the IAH Polk and Eloy ICE Detention Centers (two of the              counsel and other legal resources.
eight detention centers holding asylum seekers in expedited        • CFIs are lengthy, are conducted telephonically, and take
removal at that time) in Livingston, TX, and Eloy, AZ. These         place at odd hours and on short notice. Lack of availability
visits allowed the research team to observe the conditions of        of interpreters for CFIs, especially for rare languages, can
these facilities and speak with CBP and ICE officers. However,       be an issue.
the team was not able to observe screening and intake
                                                                   • Families enrolled in the FERM program and released from
procedures or to formally interview noncitizens in CBP and
                                                                     CBP custody experience unique challenges.
ICE custody.


10                                                                                        Barriers to Protection as of 2024
ResearchCase
        Methodology and Findings
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• Joint Processing Centers, where CBP, ICE, and USCIS                                            Because the fear questions are no longer asked during
  operate under the same roof, could help these agencies                                         screenings, the brief intake period presents the only
  better manage the expedited removal process.                                                   opportunity for a noncitizen to manifest fear before CBP
                                                                                                 takes the next step on their case (whether that is a CFI
The Shout Test                                                                                   referral, release, or deportation). In some CBP facilities that
As discussed above, under the STB policy, to be referred for                                     the research team visited, CBP officers or staff conducted
a CFI, noncitizens must manifest fear on their own volition                                      this intake. Others used contractors (who may not have the
either during CBP’s initial screenings or while they are in                                      training and experience to recognize manifestations of fear),39
CBP or ICE custody. This new requirement—coupled with                                            virtual processing (by video conference with CBP officers
issues identified by the research team, including a lack of                                      located elsewhere), and/or artificial intelligence software
training, signage, or opportunities to manifest fear during                                      (to pull data from biographical documents and fill in intake
intake—increases the risk that bona fide asylum seekers                                          forms). These forms of intake may prevent noncitizens from
are not receiving the opportunity to seek legal protection.                                      manifesting fear or affect whether it is recognized, potentially
This concern is heightened by DHS data showing that CFI                                          making it less likely that a bona fide asylum seeker will be
referrals and decisions plummeted after the STB policy was                                       referred for a CFI.
implemented in June 2024.
                                                                                                 Detention Conditions in CBP Facilities
During consultations with DHS HQ and site visits, the
                                                                                                 CBP facilities are designed for short-term processing.
research team confirmed that CBP and ICE officers did not
                                                                                                 However, since the EER policy was implemented in May 2023,
receive additional training on how to identify manifestations
                                                                                                 CBP is handling additional aspects of the expedited removal
of fear. They were only given guidance memorandums
                                                                                                 process, including longer-term stays, on top of their other
providing some examples of verbal, nonverbal, and physical
                                                                                                 preexisting duties. Detention conditions in CBP facilities are
ways noncitizens may show fear.38 During site visits, CBP
                                                                                                 inadequate for such stays, especially when they exceed their
officers told the researchers that if a detainee claims fear,
                                                                                                 capacity during periods of high apprehensions. For example,
officers follow up with questions to verify that fear and,
                                                                                                 CBP officers at the El Paso facility told the research team it
depending on their view of the adequacy of the response,
                                                                                                 has capacity to hold 2,500 individuals, but during surges in
do not necessarily refer the detainee for a CFI. This practice
                                                                                                 apprehensions it held up to 7,000 individuals. During site
exceeds CBP’s role in the process, which does not include
                                                                                                 visits, the research team observed that the pods where single
assessing the credibility of fear claims.
                                                                                                 adult detainees were held were crowded and uncomfortable,
The research team also observed a lack of visible, easily                                        and this was during periods of low apprehensions.40 The
understandable signs in the CBP and ICE facilities they visited                                  holding pods were empty rooms without beds or other basics
to inform detainees of the need to express fear on their own                                     for overnight stays. Officers indicated that they try to keep
and the significance of this requirement. Some CBP facilities                                    an average of about 15–16 people in each pod but exceed this
had posted standard-size pieces of paper that explained the                                      during times of high volume of encounters. In the pods, the
new requirements in dense paragraphs in four languages                                           research team observed detainees sleeping on the floor with
(English, Spanish, Chinese, and Hindi), but they were not                                        foil blankets, side by side, with the lights on when they arrived
easily noticeable and did not convey that they contained                                         early in the morning.
important information. The Eloy ICE Detention Center had
                                                                                                 When the researchers spoke to CBP officers about their
the same signs, but they were available in at least 10 additional
                                                                                                 experiences adapting to the fast-tracked approach and their
languages, and it also had videos about manifesting fear
                                                                                                 additional responsibilities under the EER and STB policies,
playing in the intake area. At the IAH Polk ICE Detention
                                                                                                 they said that initially, the new CFI process sometimes took
Center and El Paso CBP facility, the research team did not
                                                                                                 longer than intended but had become more efficient over
observe any signage or videos on manifestation of fear or the
                                                                                                 time. For example, they reported that at the Donna facility,
new requirements.


38
     U.S. Department of Homeland Security, Immigration and Customs Enforcement. June 4, 2024. “Memorandum for Daniel A. Bible, Executive Associate Director Enforcement and
     Removal Operations, ‘Implementation Guidance for Noncitizens Described in Presidential Proclamation of June 3, 2024,’ Securing the Border, and ‘Interim Final Rule, Securing the
     Border.’” https://drive.google.com/file/d/1jedC-2TzM0wzDaKWy4F_y7niS1fFkbhj/view.
39
     According to CBP HQ, CBP staff trains the contractors to assist with parts of the intake process, while CBP officers oversee and compete immigration processing, and if a contractor
     identifies something that seems to be a manifestation of fear, the contractor must bring that information to a CBP officer. However, CBP HQ did not confirm whether these
     contractors were trained or received memoranda or guidance to understand different ways fear could be manifested.
40
     For example, at the CBP facilities in Donna and McAllen, TX, CBP officers said they were receiving about 150–300 people per day when the team visited in July 2024, but in the
     past, they had experienced 2,000–4,000 people per day. This decrease was also reflected in CBP southwest border encounter statistics overall. Comparing the percentage change in
     total encounters at the southwest border from July 2023 to July 2024, encounters were down by 57.5 percent, from 132,642 to 56,399. See U.S. Customs and Border Protection. 2024.
     “Southwest Land Border Encounters (By Component).” https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters-by-component.


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noncitizens referred for CFIs were held for 15–16 days, and in                                  Chief Counsel (OCC) to facilitate contact with or call back
El Paso 11–20 days, when apprehensions were high. But CBP                                       detainees. DHS and DOJ do provide a list of points of contact
officers in El Paso indicated that the holding period was down                                  for CFIs in CBP custody with emails and phone numbers
to five days when the research team visited in July 2024.                                       for CBP, USCIS, and EOIR in various Border Patrol sectors
                                                                                                in Texas, Arizona, and California.41 DHS HQ said that these
The facilities holding women and children had separate
                                                                                                points of contact were established in 2023. However, legal
pods for unaccompanied children and families and a
                                                                                                representatives interviewed and surveyed reported that their
designated area for children under six years old. More space
                                                                                                calls and emails frequently go unanswered, and some only
was provided, and phones were available so these detainees
                                                                                                learned about this list in August 2024.
could call family members without limitations. Children
under six years old were held in separate areas that had toys,                                  When detainees and their counsel do manage to talk by
blankets, and televisions, with contractors who took care of                                    phone, the call is usually rushed, complicated information
the children. CBP officers told the research team that there                                    needs to be covered very quickly, and detainees do not have
were time limits on detaining children and families (72 hours                                   access to pens and paper. The four- and 24-hour consultation
for unaccompanied minors and 120 hours for families), but                                       periods under the STB and EER policies and limited phone
at least one legal representative interviewed was aware of                                      access mean that detainees in CBP custody typically are given
families and children being held in CBP custody for periods                                     one phone call before their CFIs, and if they manage to reach
of five to 15 days.                                                                             a lawyer, that call is their only opportunity to prepare for this
                                                                                                highly consequential interview.
Access to Counsel and CFI Preparation
in CBP Facilities                                                                               Legal representatives interviewed and surveyed also reported
                                                                                                that their clients in CBP custody, especially families, are not
CBP facilities are also not designed to facilitate access to
                                                                                                in any condition to prepare themselves for CFIs. Detainees are
counsel or CFI preparation. The research revealed that:
                                                                                                traumatized from their journey to the border, are sleeping on
phone access for detainees can be rushed, sporadic, and
                                                                                                the floor and sometimes sick from the cold conditions or the
granted at unusual hours; legal representatives are not allowed
                                                                                                food, do not have freedom of movement, and have difficulty
inside the facilities and have difficulty contacting detained
                                                                                                concentrating on their cases while taking care of their
noncitizens and obtaining signed notice of appearance
                                                                                                children. Family units are unable to prepare for their CFI
forms; detainees typically only have a few hours and at
                                                                                                together; they are typically detained separately, with women
most one phone call with counsel to prepare for their CFIs;
                                                                                                and young children placed in a different facility than their
and lawyers do not receive adequate notice of their clients’
                                                                                                male family members, and they only reunite for the CFI.
CFIs and IJ reviews, which may be held at odd hours, on
weekends, or on holidays, limiting their ability to attend.                                     Detention Conditions and Access to Counsel
Among the legal representatives surveyed, almost all of them                                    in ICE Facilities
(94.1 percent) indicated it was easier to work with clients
                                                                                                ICE facilities are better suited for multi-day stays, with beds
in ICE custody than in CBP custody. Seven out of 18 legal
                                                                                                and other basic necessities, and they provide better access to
representatives interviewed said that they have drastically
                                                                                                counsel and legal resources than CBP facilities. As of August
reduced, or entirely ceased, working with clients in CBP
                                                                                                2024, only eight ICE detention centers held asylum seekers
custody because it was too difficult to represent them in good
                                                                                                in expedited removal. The research team was able to visit
faith. Several more indicated in the survey that they, or their
                                                                                                two: the Eloy Center in Arizona and IAH Polk Center in
organization, only work with FERM or ICE custody clients.
                                                                                                Texas. Although only 16 organizations provided pro bono
During site visits to CBP facilities, the research team asked                                   legal services to these eight facilities, that is more than triple
about detainee phone access. The officers explained that it is                                  the amount that served CBP facilities nationwide at that
provided “when operationally feasible.” Legal representatives                                   time. The ICE detention centers the team visited provided
interviewed reported that CBP sometimes provides this access                                    multiple mechanisms to contact legal representatives. For
outside of normal business hours, such as during the night                                      example, at Eloy, detainees had access to tablets with an app
or very early in the morning, when they are not available to                                    to chat with and send messages to legal representatives42 and
answer these calls. They also indicated that they had trouble                                   to virtual attorney visitation (VAV)43 video conferencing
communicating with CBP officers and the DHS Office of                                           systems. In addition, representatives could visit the facilities


41
      American Immigration Lawyers Association. August 12, 2024. “Points of Contact for Credible Fear Interviews in CBP Custody.”
42
      U.S. Immigration and Customs Enforcement. 2024. “Tablet Legal Orientation Program Initiative.” https://www.ice.gov/doclib/detention/tabletLOPinitiative.pdf.
43
      U.S. Immigration and Customs Enforcement. 2024. “Virtual Attorney Visitation Program.” https://www.ice.gov/detain/detention-facilities/vav.


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in person and make appointments for calls to detained                                         asylum, a CFI must cover extensive ground. This is particularly
clients. Some ICE detainees also have access to law libraries,                                true for CFIs with FERM families, where each family member’s
Legal Orientation Program (LOP) group and individual                                          claim must be considered, including children.
orientations, pro se workshops, referrals to pro bono services,
                                                                                              Undergoing a lengthy telephone interview with a stranger
and Know Your Rights (KYR) materials and presentations.
                                                                                              about traumatic events can be difficult and exhausting,
ICE HQ confirmed during consultations that these resources                                    especially when done from a small phone booth while in
vary depending on location. For example, the research team                                    detention. A phone interview also does not allow the asylum
observed differences between Eloy and IAH Polk. IAH Polk                                      officer to see the interviewee’s face, expressions, and body
was also set up for VAV, but detainees there had less access                                  language. The phone booths used for CFIs at the IAH Polk
to tablets, the facility could accommodate fewer attorney                                     ICE Detention Center are small closets with all-black walls
visits, there was insufficient indoor space for in-person group                               and floor. The CBP facilities the research team visited had
LOP presentations, and detainees usually needed to contact                                    new phone booths for CFIs and IJ reviews that seemed to be
the LOP provider by phone if they wanted to talk to legal                                     more private and soundproof but are not large enough to fit
representatives.                                                                              a family of more than two people. Each had a landline phone
                                                                                              and a Teams phone to connect to Microsoft applications
CFIs and IJ Reviews                                                                           but no video conference capability. Incorporating video
Many legal representatives interviewed or surveyed said they                                  conferencing by adding webcams, computers, or tablets could
were unable to attend CFIs or IJ reviews for clients in CBP                                   help improve conditions for conducting CFIs and IJ reviews
custody because they were scheduled so rapidly and with                                       from CBP and ICE detention.
little or no notice. By contrast, those representing clients in
                                                                                              None of the noncitizens in the observed CFIs had legal
ICE custody indicated they received notice some or most of
                                                                                              representatives, which may also have contributed to the
the time. According to USCIS HQ, if a notice of appearance
                                                                                              length of the interview. Noncitizens who meet with counsel
is on file at the time of scheduling or received before the CFI,
                                                                                              beforehand or have representation during CFIs are more
the asylum officer must notify the legal representative—via
                                                                                              likely to understand the protection they are applying for
email, phone, or voicemail—of the date and time at least one
                                                                                              and to be better prepared to answer complicated questions,
business day beforehand, if operationally feasible. If this is
                                                                                              making interviews more efficient. The research team noted
not operationally feasible, the asylum officer must notify the
                                                                                              that the noncitizens in the observed interviews did not seem
legal representative at the time of the interview.44 Several legal
                                                                                              to understand how important some questions were to meet
representatives indicated they received notice this way, and if
                                                                                              the legal requirements to receive asylum or other protection.
they did not answer the phone or were unavailable at the time,
                                                                                              The research team also observed that some asylum officers
they could not attend.
                                                                                              were sensitive and accommodating to the noncitizens
CFIs may be scheduled at odd hours, on weekends, or on                                        and their children and spent time making sure they were
holidays, and are done telephonically. The asylum officer,                                    comfortable and understood certain requirements, while one
noncitizen, and legal representative may be in different time                                 was impatient, cut off the noncitizens’ answers, and may have
zones. According to USCIS HQ, they schedule CFIs based                                        intimidated them from sharing critical details.
on the length of time the case has been pending and the
                                                                                              Some legal representatives interviewed or surveyed noted
number of asylum officers available in a variety of locations
                                                                                              that IJ reviews, which are usually a noncitizen’s one chance
nationwide. CFIs are conducted by telephone seven days a
                                                                                              to appeal a negative CFI decision, are cursory and short.
week and on federal holidays, beginning at 7:30 a.m. until
                                                                                              They also explained that IJs often treat CFI transcripts as
about 8:00 p.m. local time at the CBP or ICE detention facility
                                                                                              verbatim records and afford them significant weight, when
where the noncitizen is held.
                                                                                              in fact these documents are only the asylum officer’s notes
The CFIs observed by the research team took about two to                                      from the interview and not a comprehensive recounting of the
five hours to complete. Asylum officers confirmed that these                                  interviewee’s entire claim.
interviews take longer than they did before the 2023–24 policies
were implemented. During site visits, ICE officers told the team
that CFIs can even take up to eight hours. With additional
factors to adjudicate, including exceptions and statutory bars to


44
     See also U.S. Citizenship and Immigration Service. 2023. “Credible Fear Procedures Manual.” Last updated October 5, 2023.
     https://www.uscis.gov/sites/default/files/document/guides/CredibleFearProceduresManual.pdf (which highlights similar protocols).


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Interpretation Issues                                                                             but an interpreter cannot be scheduled or secured within
Due to the rapid nature of the expedited removal process,                                         three business days, then USCIS also may issue them an NTA.
noncitizens who speak rare or indigenous languages do
                                                                                                  FERM Program
not always receive adequate interpretation. According
to legal representatives interviewed and surveyed, these                                          DHS has been applying a different CFI process to certain
noncitizens may receive interpreters who speak a different                                        families in expedited removal through the FERM program
dialect of their language that they cannot understand, or                                         since May 2023.45 This program seeks to keep some families
they feel pressured to go forward with the CFI or IJ review                                       in expedited removal out of CBP custody and move them
in more common languages like English, Spanish, or                                                through the CFI process quickly. The program aims to issue
French to get out of detention faster. In these situations, the                                   decisions on their cases within 30 days of their CFI referral.
noncitizen may be unable to provide a clear story or may                                          Initially, it was implemented in four cities but expanded to
get confused, potentially leading to misinterpretations or                                        45 during its first year.46
misunderstandings that negatively impact their ability to                                         At the time of the research, only certain FERM families that
receive legal protection.                                                                         reside near nine cities can receive an asylum merits interview
The research team observed one CFI with a rare language                                           after a positive CFI determination, instead of an NTA.47 In
speaker. The asylum officer tried but was unable to find a                                        these cases, an asylum officer would later decide whether to
USCIS-certified interpreter in the noncitizen’s language. The                                     grant them asylum, withholding, or CAT protection instead
asylum officer asked the noncitizen if he wanted to proceed in                                    of an IJ. These families are subject to a different CFI process
another language or reschedule; the noncitizen agreed to go                                       that was previously applied to noncitizens in expedited
forward but mentioned he may not be able to express himself                                       removal from June 2022 to April 2023.48 Under this process,
well. The officer told the research team that the asylum office                                   their positive CFI determination is treated as a full application
he worked in was seeing rare language speakers every other                                        for asylum, withholding, or CAT protection, and they do not
day. During consultations with DHS HQ, the research team                                          need to file a separate one.49 If the asylum officer decides to
asked USCIS about the procedure for providing interpreters to                                     grant them protection, they do not need to go to immigration
rare or indigenous language speakers. USCIS explained that if                                     court afterward. If the asylum officer decides not to
a noncitizen’s preferred language is not serviced and they do                                     grant them asylum, they would then be placed in removal
not agree to proceed with their CFI in another language, they                                     proceedings before an IJ where they would need to file a new
will be issued an NTA. If their preferred language is serviced                                    application with the court.




45
      U.S. Immigration and Customs Enforcement. May 10, 2023. “ICE Announces New Process for Placing Family Units in Expedited Removal.” Press Release. https://www.ice.gov/news/
      releases/ice-announces-new-process-placing-family-units-expedited-removal. See also U.S. Citizenship and Immigration Service. 2023. “Implementation of the Credible Fear and
      Asylum Processing Interim Final Rule.” Fact Sheet. https://www.uscis.gov/humanitarian/refugees-and-asylum/asylum/fact-sheet-implementation-of-the-credible-fear-and-asylum-
      processing-interim-final-rule; and Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by Asylum Officers, 87
      F.R. 18078 (2023). https://www.federalregister.gov/documents/2022/03/29/2022-06148/procedures-for-credible-fear-screening-and-consideration-of-asylum-withholding-of-removal-
      and-cat. Families are selected for enrollment based on factors including whether they are nationals of countries to which ICE has regular removal flights, whether they intend to live
      within 75 miles of one of the designated cities, and whether the head of household is eligible for ICE’s Alternatives to Detention (ATD) program.
46
      These cities are in the following states: Indiana, Ohio, Maryland, District of Columbia, Massachusetts, New Jersey, Rhode Island, Florida, Georgia, Kentucky, Louisiana, North
      Carolina, Tennessee, Virginia, Missouri, Minnesota, Colorado, California, Nevada, Oregon, Utah, Washington, Arizona, and Texas. See ICE 2023 supra note 16.
47
      See U.S. Immigration and Customs Enforcement. 2023. “Implementation of the Credible Fear and Asylum Processing Interim Final Rule.” Fact Sheet. https://www.uscis.gov/
      humanitarian/refugees-and-asylum/asylum/fact-sheet-implementation-of-the-credible-fear-and-asylum-processing-interim-final-rule.
48
      Even though the CFI process is different for families enrolled in the FERM program, they are still subject to the CLP rule and the STB policy and are held to the legal standards
      described above. See Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by Asylum Officers, 87 F.R. 18078
      (2023). https://www.federalregister.gov/documents/2022/03/29/2022-06148/procedures-for-credible-fear-screening-and-consideration-of-asylum-withholding-of-removal-and-cat.
49
      Id.


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The research found that families enrolled in the FERM                                      Joint Processing Centers
program face unique difficulties, even though they are                                     CBP officers at the facilities that the research team visited
released from detention. All five legal representatives                                    expressed interest in and support for more Joint Processing
interviewed who worked with FERM families reported that                                    Centers (JPCs). These centers are a new concept and allow
the required check-ins with ICE or the program’s contractor,                               all component agencies involved in the expedited removal
which are weekly and in person, were so frequent and time-                                 process (including CBP, ICE, and USCIS) to operate under
consuming they did not have sufficient time to prepare their                               one roof. CBP HQ confirmed that construction of the first
clients for their CFIs and IJ reviews. They also reported that                             JPC in Laredo, TX, started in 2024, and Congress set aside
the use of ankle monitors, GPS tracking, and curfews feels                                 $200 million to build two JPCs along the border in FY 2022.50
punitive to the families. In addition, the legal representatives                           CBP officers explained that JPCs would make it easier for
interviewed noted the length of the CFIs of FERM families.                                 them to coordinate with USCIS (to schedule CFIs and handle
One recounted a CFI that lasted for six hours (three hours                                 issues during and after the interview) and ICE (to handle
for CLP exceptions and three hours for asylum screening                                    deportation, ATD aspects of the FERM program, and release
standards). Another said they tell FERM families to be                                     of detainees), making the expedited removal process more
prepared to be at the USCIS asylum office all day.                                         efficient. These JPCs are also designed to provide healthcare,
The research team observed two CFIs of FERM families.                                      childcare, legal support, adjudication of cases, and border
Both took between three and four hours. It can be difficult                                security. DHS HQ did not provide the research team with
for a parent to talk about trauma, persecution, or torture                                 much detail on how JPCs would be managed, but if they
they faced in front of their children during a CFI, as well as                             incorporate better conditions for multi-day stays and better
for an asylum officer to ask children similar questions about                              coordination throughout the process, they could improve
their experiences. Some asylum officers may be sensitive to                                circumstances both for DHS and for asylum seekers in
these difficulties, and some may not. For example, during                                  expedited removal.
one observed CFI, the asylum officer asked a nonverbal baby
about their asylum claim, expecting answers, and did not let
the parent testify on the baby’s behalf.




50
     Consolidated Appropriations Act, 2022, H.R. 2471 P.L. 117–103 117th Cong. (March 15, 2022). https://www.congress.gov/117/plaws/publ103/PLAW-117publ103.pdf.


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ANALYSIS OF USCIRF’S 2016
RECOMMENDATIONS
This section analyzes the recommendations made in                                               TO CBP
USCIRF’s 2016 expedited removal report.51 It lists the
                                                                                                The 2016 report made five recommendations to CBP, none of
2016 recommendations, organized by agency, and provides
                                                                                                which were implemented:
an assessment of whether they have been implemented and, if
not, whether they remain relevant.                                                              1. Videorecord all expedited removal processing interviews and
                                                                                                   require supervisory and headquarters review of the recordings
                                                                                                   of a sampling of interviews for quality assurance purposes.
TO THE SECRETARY OF HOMELAND SECURITY
                                                                                                   Finding: Not Implemented. CBP HQ confirmed that it does
In 2016, USCIRF made three recommendations to the                                                  not videorecord all expedited removal processing because it
Secretary of Homeland Security:                                                                    is not operationally feasible, but it noted that portions of the
                                                                                                   process may be captured via CCTVs in CBP facilities and
1. Appoint a high-ranking official with authority to make
                                                                                                   body cameras worn by Border Patrol officers. CBP did not
   reforms and oversee implementation to ensure protection of
                                                                                                   comment on whether any of this video is reviewed in the
   asylum seekers going through the expedited removal process.
                                                                                                   manner recommended in 2016.
   Finding: Not Implemented.
                                                                                                2. Retrain officers and agents on their role in the expedited
2. Request that the DHS Office of Inspector General (OIG) audit
                                                                                                   removal process, procedures for screening noncitizens,
   the expedited removal process for compliance with laws and
                                                                                                   and special needs of asylum seekers and other vulnerable
   policies regarding the protection of asylum seekers. Finding:
                                                                                                   populations. Finding: Not Implemented. CBP provides
   Partially Implemented. There have been several DHS OIG
                                                                                                   officers in the field with policy guidance and memorandums
   audits of specific operations along the U.S. southern border
                                                                                                   when there are changes in the process but does not
   that incorporate evaluation of the treatment of asylum seekers
                                                                                                   retrain them.
   in expedited removal.52 But there have been no broad audits of
   the expedited removal process, and DHS HQ confirmed that                                     3. Establish a dedicated corps of specially trained,
   it has not made a specific request to OIG for this type of audit.                               nonuniformed officers, including female interviewers,
                                                                                                   to interview women and children to identify fear claims.
3. Reiterate to all agencies and officers implementing expedited
                                                                                                   Finding: Not Implemented. CBP HQ confirmed that it did not
   removal that their law enforcement mandate includes fully
                                                                                                   establish a dedicated corps of this sort.
   implementing U.S. laws and regulations governing the
   protection of individuals seeking refuge from return to                                      4. Track the results of interviews conducted by virtual
   persecution or torture. Finding: Fully Implemented and is                                       processing against those conducted in person to determine if
   part of training for all component agencies.                                                    the two methods are producing materially different outcomes.
                                                                                                   Finding: Not Implemented. CBP HQ confirmed that the
                                                                                                   fourth recommendation was not implemented and that it
                                                                                                   does not track the results of virtual vs. in-person processing
                                                                                                   interviews.

                                                                                                5. Develop a document that briefly and clearly explains the
                                                                                                   expedited removal process, its consequences, the right to


51
      U.S. Commission on International Religious Freedom (USCIRF). 2016. Barriers to Protection: The Treatment of Asylum Seekers in Expedited Removal. Washington, DC: USCIRF.
      https://www.uscirf.gov/sites/default/files/Barriers%20To%20Protection.pdf.
52
      See, e.g., OIG. September 25, 2023. CBP Needs to Improve Its Video and Audio Coverage at Land Ports of Entry. Report OIG-23-54. Washington, DC: OIG. https://www.oig.dhs.gov/
      sites/default/files/assets/2023-09/OIG-23-54-Sep23.pdf; OIG. 2023. Results of Unannounced Inspections of CBP Holding Facilities in the San Diego Area. OIG-24-07. Washington, DC:
      OIG. https://www.oig.dhs.gov/sites/default/files/assets/2023-11/OIG-24-07-Nov23.pdf; OIG. January 25, 2021. Prompt Asylum Claim Review: DHS Has Not Effectively Implemented
      the Prompt Asylum Pilot Programs. OIG-21-16. Washington, DC: OIG. https://www.oig.dhs.gov/taxonomy/term/2622; OIG. 2020. CBP Has Taken Steps to Limit Processing of
      Undocumented Aliens at Ports of Entry. OIG-21-02. Washington, DC: OIG. https://www.oig.dhs.gov/sites/default/files/assets/2020-10/OIG-21-02-Oct20.pdf; and OIG. 2020. CBP
      Separated More Asylum-Seeking Families at Ports of Entry than Reported and for Reasons Other than Those Outlined in Public Statements. OIG-20-35. Washington, DC: OIG. https://
      www.oig.dhs.gov/sites/default/files/assets/2020-06/OIG-20-35-May20.pdf.


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         of USCIRF’s 2016 Recommendations
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     seek protection for those who fear return, and the right to                                   positive CFI determinations. However, this is being done in
     request a private interview, and provide this document to                                     a limited fashion and does not apply to anyone outside the
     all individuals, in a language they understand, as soon as                                    FERM program.
     possible when they come into CBP custody. Finding: Not
     Implemented. Such a document was not developed. The
                                                                                                TO ICE
     2016 report recommended the creation of this document to
     incorporate information present in I-867 forms to provide                                  In the 2016 report, USCIRF made six recommendations to ICE:
     noncitizens with an overview of the expedited removal
                                                                                                1. Require an individualized reassessment of the need for
     process. This was originally recommended to ensure that
                                                                                                   custody for all detainees with a positive credible fear finding
     bona fide asylum seekers were not summarily removed
                                                                                                   and apply a presumption of bond for detainees with credible
     because they did not understand the information provided
                                                                                                   fear who do not fall under the 2009 parole directive. Finding:
     by CBP officers from this form during initial screenings, or
                                                                                                   No Longer Relevant because noncitizens who receive positive
     because the officer did not provide it. Now that I-867 forms
                                                                                                   CFI determinations do not have access to bond hearings
     are no longer being used during initial screenings under the
                                                                                                   under DHS policy at the time of the research.
     STB policy, this recommendation is even more relevant.
                                                                                                2. Ensure that programs that detain nationals of particular
                                                                                                   countries separately do not have the effect of preventing
TO USCIS
                                                                                                   them from learning about the right to seek asylum. Finding:
In the 2016 report, USCIRF made four                                                               No Longer Relevant. ICE HQ confirmed that they are not
recommendations to USCIS:                                                                          detaining nationals of particular countries separately.

1. Track whether CFI referrals are coming from CBP or ICE to                                    3. Increase the use of Alternatives to Detention, such as
   better understand when in the process most fear claims are                                      monitored release, for asylum seekers, beyond bond and
   being raised. Finding: Not Implemented. USCIS confirmed                                         parole opportunities. Finding: Partially Implemented. The
   that it does not track when in the process most fear claims are                                 recommendation was implemented for families in the FERM
   being raised.                                                                                   program but not for other noncitizens in expedited removal.

2. Reaffirm in the asylum officers’ lesson plan that the credible                               4. If families are placed in expedited removal and detained,
   fear standard is a screening standard that requires showing                                     detain them only in facilities that meet the standards of the
   a significant possibility of eligibility for asylum, not a full                                 Flores Agreement and individually reassess the need for
   assessment of the merits of the case. Finding: No Longer                                        custody after credible fear is found, with a presumption of
   Relevant as the Biden administration changed the standards                                      release. Finding: Partially Implemented. ICE HQ confirmed
   applied during credible fear interviews.                                                        that it stopped holding families in ICE detention centers by
                                                                                                   FY 2022 and only holds single adults there as of the time of
3. Continue to track the results of CFIs conducted telephonically
                                                                                                   the research. Families are also being released from detention
   and those conducted in person to determine if the two
                                                                                                   through the FERM program. However, some families are
   methods are producing materially different outcomes.
                                                                                                   still being held in CBP facilities under the STB policy while
   Finding: No Longer Relevant. Nearly all CFIs are now
                                                                                                   they wait to undergo their CFI. It is unclear how long and
   performed telephonically, aside from those done under the
                                                                                                   under what conditions they are being held and whether their
   FERM program. USCIS HQ also indicated that when it
                                                                                                   detention complies with the Flores Agreement.53
   tracked and compared the results of telephonic and in-person
   CFIs, there were no significant differences in outcomes.                                     5. Detain all adult asylum seekers who must be detained,
   However, the researchers did not receive or analyze this data.                                  whether before or after a credible fear determination, in civil
                                                                                                   facilities only. Finding: Unclear. From a review of the eight
4. Allow asylum officers to convert and adjudicate appropriate
                                                                                                   ICE facilities that held asylum seekers in expedited removal
   expedited removal cases in which credible fear is found
                                                                                                   at the time of the research, most seem to be civil facilities.
   as affirmative asylum cases (decided by an asylum officer
                                                                                                   However, at least two, the Torrance County Detention Facility
   instead of an IJ). Finding: Partially Implemented. Through
                                                                                                   in New Mexico and IAH Polk, hold other prisoners charged
   the FERM program, in some cities, asylum officers are
                                                                                                   with crimes, in addition to ICE detainees.54 ICE HQ also
   conducting asylum merits interviews to adjudicate cases with


53
     Santamaria, Kelsey Y. 2021. “Child Migrants at the Border: The Flores Settlement Agreement and Other Legal Developments.” Congressional Research Service.
     https://crsreports.congress.gov/product/pdf/IF/IF11799.
54
     TRAC Immigration. “Detention Facilities Average Daily Population.” https://tracreports.org/immigration/detentionstats/facilities.html.


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     did not confirm whether penal facilities held asylum seekers                                 TO CONGRESS
     in the past, and it is unclear whether this will be done in
                                                                                                  In the 2016 report, USCIRF made four recommendations
     the future.
                                                                                                  to Congress:
6. Expand the KYR presentations that provide detainees with
                                                                                                  1. Authorize and fund another independent, comprehensive
   basic legal information to all facilities that house asylum
                                                                                                     study of the treatment of asylum seekers in expedited removal
   seekers. Finding: Unclear. ICE HQ confirmed that the
                                                                                                     at all stages of the process. Finding: Not Implemented.
   location of KYR presentations is dependent on capacity and
   EOIR and other local funding and can change at any time.                                       2. Request the Government Accountability Office (GAO) to
                                                                                                     conduct a study to assess whether noncitizens removed to
                                                                                                     their home countries under expedited removal have faced
TO EOIR
                                                                                                     persecution or torture after their return. Finding: Not
In the 2016 report, USCIRF made two recommendations to EOIR:                                         Implemented.

1. Retrain IJs that the interview record created by CBP is                                        3. Increase funding for the adjudicatory aspects of expedited
   not a verbatim transcript of the interview and does not                                           removal to enable USCIS and EOIR to address backlogs,
   document the individual’s entire asylum claim in detail                                           conduct timely adjudications, and provide due process.
   and should be weighed accordingly. Finding: Unclear. The                                          Finding: Partially Implemented. EOIR and USCIS received
   research team asked EOIR about the implementation of these                                        more funding since 2016, and some of it was specific to
   recommendations and did not receive any response. They                                            addressing the backlogs, increasing legal representation, and
   were also unable to confirm the information independently.                                        adding staff.58 Despite these efforts and modest increases in
   Training materials for IJs are not publicly available.                                            budgets, the immigration court backlog has continued to
                                                                                                     grow tenfold and USCIS still struggles with an overwhelming
2. Expand the LOP available in some facilities to all detention
                                                                                                     number of asylum and credible and reasonable fear cases.59
   facilities housing asylum seekers and provide it to detainees
   before their CFIs. Finding: Partially Implemented. As of fall                                  4. Increase funding to EOIR to expand the LOP to all facilities
   2024, the LOP was available in all ICE detention centers that                                     housing asylum seekers and to enable it to be provided to
   house asylum seekers in expedited removal, except for the                                         detained asylum seekers before their CFIs. Finding: Unclear.
   Torrance County Detention Facility.55 However, LOP services                                       Although recent EOIR congressional budgets included efforts
   vary between ICE detention centers and are not available to                                       to increase access to LOP resources, these efforts are grouped
   all detainees before their CFIs. The LOP also has not been                                        with Legal Access initiatives in the most recent budget, which
   expanded overall. Historically, EOIR has managed the LOP                                          was allotted a small portion of the budget and included
   through contracts with nonprofit organizations. Until 2022,                                       multiple programs.60
   EOIR’s contracting partner was the Vera Institute of Justice.
   According to the Vera Institute of Justice’s website,56 the
   program was operational in 40 facilities. As of 2024, the LOP
   is managed by another organization, Acacia Center for Justice.
   According to Acacia’s website, LOP services are available in
   35 ICE facilities.57



55
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UPDATED POLICY RECOMMENDATIONS
Considering recent policy changes, the research findings,      • Provide CBP officers with regular training to understand
and the analysis of the 2016 recommendations, updated            new and updated policies, their role in the expedited
policy recommendations are necessary to address new and          removal process, procedures for screening noncitizens, and
evolving concerns and circumstances. Below are reiterated        the special needs of asylum seekers and other vulnerable
and updated policy recommendations from the 2016 report          populations.
and new ones that reflect the expedited removal process as     • Establish a dedicated corps of specially trained,
implemented during the research period.                          nonuniformed officers, including female interviewers, to
                                                                 interview women and children to identify fear claims.
TO THE SECRETARY OF HOMELAND SECURITY                          • If families are placed in expedited removal and detained,
                                                                 detain them only in facilities that meet the standards of
Reiterated and Updated 2016 Recommendations:                     the Flores Agreement (which governs the duration and
• Appoint a high-ranking official with authority to              conditions of family detention) and individually reassess
  make reforms and oversee implementation to ensure              the need for custody after credible fear is found, with a
  protection of asylum seekers going through the expedited       presumption of release. (This recommendation was made
  removal process.                                               to ICE in 2016 but is now more appropriate for CBP because
• Request that the DHS OIG audit the expedited removal           ICE HQ confirmed it stopped detaining families in its
  process and all relevant recent policy changes for             facilities in 2022.)
  compliance with laws and policies regarding the protection
                                                               New Recommendations:
  of asylum seekers and their due process rights.
                                                               • Display prominent signage and informational videos on
New Recommendation:                                              manifestation of fear requirements under the new “shout
• Expand the use of JPCs to improve coordination among           test” in CBP facilities and train CBP officers on how to
  the component agencies involved in expedited removal,          identify manifestation of fear.
  enhance the efficiency of the process, and provide           • Make conditions in CBP facilities more hospitable for
  better conditions for multi-day detention and access to        overnight stays and access to counsel, including by allowing
  legal support.                                                 detainees to meet with legal representatives (in person or
                                                                 via tele- or videoconferencing), making available KYR
                                                                 presentations, and creating a central email and phone
TO CBP
                                                                 number that lawyers can use to reach their clients.
Reiterated and Updated 2016 Recommendations:
• Develop a document that provides information that was        TO USCIS
  previously read to noncitizens from the I-867 forms during
  the screening process. The document should explain the       Reiterated and Updated 2016 Recommendations:
  expedited removal process, its consequences, the right to    • Track whether CFI referrals are coming from CBP or ICE to
  seek protection for those who fear return, and the right       better understand when in the process most fear claims are
  to request a private interview. It should be provided to       being raised.
  all individuals, in a language they understand, as soon as   • Allow asylum officers to convert and adjudicate appropriate
  possible when they come into CBP custody.                      expedited removal cases, in which credible fear is found, as
• Videorecord all expedited removal screening and intake         affirmative asylum cases through asylum merits interviews
  procedures (conducted by CBP OFO and Border Patrol) and        instead of having them adjudicated by an IJ. (As of the
  require supervisory and headquarters review (overseen by       research period, this is only done for some cases in the
  the high-ranking official referenced above) of a sampling      FERM program.)
  of recordings of these procedures for quality assurance
  purposes.


Updated Recommendations on Asylum Seekers in Expedited Removal 19
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New Recommendations:                                             New Recommendation:
• Video and/or audiorecord CFIs so that there is an accurate     • If there is a notice of appearance (Form EOIR-28) on file
  record and transcript of the interview for IJ reviews and        for a noncitizen, provide the legal representative with
  hearings in case any details need to be further evaluated.       timely notice of the date, time, and location (in person or
• Conduct CFIs with noncitizens in CBP and ICE custody             virtual) of the IJ review. If a noncitizen indicates they have
  via video conferencing instead of voice calls to allow the       or want a legal representative during an IJ review, provide a
  asylum officer to observe the noncitizen’s body language,        continuance and reschedule the IJ review to make sure their
  physical features, and emotional reactions and make the          representative can prepare for and attend it.
  noncitizen more comfortable to express necessary details
  about their case.                                              TO CONGRESS
• If there is a notice of appearance (Form G-28) on file
  for a noncitizen, provide the legal representative with        Reiterated and Updated 2016 Recommendations:
  timely notice of the date, time, and location (in person       • Authorize and fund another independent, comprehensive
  or virtual) of the CFI. If a noncitizen indicates they have      study of the treatment of asylum seekers in expedited
  or want a legal representative during a CFI, provide a           removal at all stages of the process.
  continuance and reschedule the interview to make sure the      • Request the GAO to conduct a study to assess whether
  representative can prepare for and attend it.                    noncitizens removed to their home countries under
                                                                   expedited removal faced persecution or torture after
TO ICE                                                             their return.
                                                                 • Increase funding for the adjudicatory aspects of expedited
Reiterated and Updated 2016 Recommendations:                       removal to enable USCIS and EOIR to address backlogs,
• Require an individualized reassessment of the need for           conduct timely adjudications, and provide due process.
  custody for all detainees with a positive CFI determination.   • Increase funding to EOIR to expand the LOP to all CBP
• Increase the use of Alternatives to Detention, such as           and ICE facilities housing asylum seekers and enable it to be
  monitored release, for asylum seekers (aside from those in       provided to detained asylum seekers before their CFIs.
  the FERM program) beyond parole opportunities.
                                                                 New Recommendation:
• Detain all adult asylum seekers who must be detained,
  whether before or after a credible fear determination, in      • Appropriate resources and direct DHS and EOIR to develop
  civil facilities only.                                           and activate a “reserve corps” of officers and IJs to provide
                                                                   surge capacity to support expedited removal proceedings
• Expand the KYR presentations that provide detainees
                                                                   when there are significant increases in arrivals at or
  with basic legal information to all facilities that house
                                                                   between POEs.
  asylum seekers.


TO EOIR

Reiterated and Updated 2016 Recommendations:
• Retrain IJs that the record created by CBP during
  screenings and CFI transcripts (consisting of notes
  written by asylum officers during CFIs) are not verbatim
  transcripts, do not document the noncitizen’s entire asylum
  claim in detail, and should be weighed accordingly.
• Expand LOP resources at all CBP and ICE facilities housing
  asylum seekers and provide these resources to detainees
  before their CFIs and IJ reviews.




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GLOSSARY OF ACRONYMS

GOVERNMENT AGENCIES                                          LEGAL AND PRACTICAL TERMS

USCIRF: U.S. Commission on International Religious Freedom   CFI: Credible Fear Interview
DHS: Department of Homeland Security                         RFI: Reasonable Fear Interview
CBP: Customs and Border Protection                           IJ: Immigration Judge
OFO: CBP Office of Field Operations                          IRFA: International Religious Freedom Act
ICE: Immigration and Customs Enforcement                     NTA: Notice to Appear
ERO: ICE Enforcement and Removal Operations                  CAT: Convention Against Torture
USCIS: U.S. Citizenship and Immigration Services             LOP: Legal Orientation Program
OCC: DHS Office of Chief Counsel                             KYR: Know Your Rights
OIG: DHS Office of Inspector General                         ATD: Alternatives to Detention
GAO: Government Accountability Office                        POE: Port of Entry
DOJ: Department of Justice
EOIR: Executive Office for Immigration Review                POLICY ACRONYMS

BIA: Board of Immigration Appeals                            CLP: Circumvention of Lawful Pathways Rule
                                                             EER: Enhanced Expedited Removal
                                                             FERM: Family Expedited Removal Management Program
                                                             STB: Securing the Border Policy




Updated Recommendations on Asylum Seekers in Expedited Removal 21
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ABOUT THE AUTHORS
This research was conducted by HIAS. The report was made            Guillermo Cantor led the conceptualization and development
possible by the contributions of several authors, contributors,     of the research plan, directed the first phase of this project
technical advisors, and reviewers. Melissa Katsoris authored        (secondary research) and coauthored the interim report,
the report and directed phase two (primary research                 which provided the conceptual foundation for this report.
component) of this project. She also conducted secondary            Ingrid Eagly provided technical guidance and review during
and primary research by providing legal and policy analysis,        the first phase of the project.
collecting data, and leading outreach, interviews, site visits,
                                                                    The authors and contributors would like to thank all the legal
observations, information gathering, and consultations.
                                                                    representatives, shelters, service providers, policy experts,
Vanessa Dojaquez-Torres and Yael Schacher contributed
                                                                    congressional staff, and current and former government
to this report by conducting and facilitating outreach,
                                                                    officials who participated in this research and provided their
interviews, site visits, observations, and real-time analysis of
                                                                    knowledge, interviews, and survey responses. They would
the evolving laws and policies governing expedited removal
                                                                    like to thank the government officials from the Department
(which were changing as this project was underway). Bonnie
                                                                    of Homeland Security who facilitated site visits, observations,
Ip guided the conceptualization of the survey and interview
                                                                    consultations, and information sharing. This was crucial to
structure, conducted qualitative analysis to derive findings
                                                                    the research team’s understanding of the expedited removal
from the research team’s interviews and survey, and analyzed
                                                                    process and the development of primary research findings
publicly available data for this report.
                                                                    and policy recommendations.
Mark Hetfield provided technical guidance throughout the
project to develop an overall research plan, facilitate outreach,
and provide his expertise and in-depth review based on his
experience directing and authoring USCIRF’s 2005 expedited
removal study. Andy Schoenholtz provided research guidance
and legal expertise and conducted an in-depth review of the
report to ensure quality and accuracy of the legal analysis and
research. Rachel Levitan reviewed the report and provided
practical support to the authors and contributors throughout
the project.




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                                 PROFESSIONAL STAFF

                    senior strategic advisor     Elizabeth K. Cassidy
            director of research and policy      Guillermo Cantor
      deputy director of research and policy     Kurt Werthmuller


                  supervisory policy advisor     Mingzhi Chen
                 chief administrative officer    Thomas Kraemer
                  supervisory policy analyst     Scott Weiner
                      chief of public affairs    Nathan Wineinger


                              policy analyst     Michael Ardovino
                       senior policy analyst     Susan Bishai
                              policy analyst     Mollie Blum
                       senior policy analyst     Sema Hasan
                     public affairs specialist   Veronica McCarthy
                              policy analyst     Hilary Miller
                        operations specialist    Nora Morton
                              policy analyst     Dylan Schexnaydre
                              policy analyst     Katie Todd
                              policy analyst     Jean Wu




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AMERICAN EXILE
Rapid Deportations That Bypass the Courtroom




December 2014
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AMERICAN EXILE
At America’s Expense:

Rapid Deportations That Bypass the Courtroom
The Mass Incarceration of the Elderly


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125 Broad Street
New York, NY 10004
www.aclu.org


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Cover and interior images: Tijuana, Mexico, March 2014. Men standing on the beach look across the border to
California as U.S. Border Patrol officers arrest two migrants.
Back cover image: The U.S. fence separating California and Mexico, expanded and fortified in 2011 and
jutting 30 feet into the Pacific Ocean.
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II. WHO IS GETTING
                                                                in years or decades, separated from young U.S. citizen
                                                                children or other relatives they were supporting in the


DEPORTED WITHOUT A
                                                                United States, and deported without the chance to say
                                                                goodbye, without money or the opportunity to plan their
                                                                next steps, and now face years of separation from loved


HEARING?                                                        ones. Young children arriving alone and fleeing violence or
                                                                trafficking have been quickly removed without any inquiry
                                                                into their situation or concern for what will happen to
                                                                them. And these are only the stories of people who survived


O   r rather, who isn’t? The overwhelming majority—83           deportation to share their ordeal or eventually returned to
    percent—of people deported from the United States           the United States and found help.
today never saw a judge, did not get a hearing, and never
had the chance to be heard. But that does not mean that 83      Immigration law is notoriously complex, and a system
percent of the people deported had no rights to enter and       that requires immigration enforcement officers to make
remain in the United States; rather, the summary removal        complicated legal determinations about an individual’s
infrastructure rapidly and reflexively deported hundreds of     rights within minutes or hours and without legal training
                                                                will inevitably allow the deportation of people with rights
thousands of people, including people who are eligible for
                                                                to enter and remain in the United States. Indeed, we
relief from deportation or who were already in or entering
                                                                know that it already has, and that U.S. citizens have been
the United States lawfully.
                                                                deported through these summary processes. Not every
                                                                case is complicated, however; and in some cases, people
In the 136 cases documented by the ACLU through
                                                                are unjustly deported not because of a misunderstanding
interviews and case file review, the majority were not simply
                                                                about the law but due to coercion, intimidation, and
economic migrants coming to the United States for the first
                                                                misinformation from immigration officers whose focus
time with no connection to the country. Those deported
                                                                on accelerating and multiplying deportations comes at the
(sometimes repeatedly) without a hearing include longtime
                                                                expense of basic fairness and people’s lives.
residents of the United States with U.S. citizen children,
asylum seekers escaping—and being returned to—violence,
and people who were lawfully in the United States on
visas or working with valid authorization. U.S. citizens
have been deported when misidentified as undocumented
individuals and quickly removed without the opportunity
to get assistance and prove their citizenship. Families are
torn apart when parents or their children are coerced into
signing a deportation order despite having claims to be in
the United States or when they are automatically expelled
at the border after a short trip abroad. Asylum seekers,
fleeing immediate persecution and often unable to procure
travel documents (not that they would necessarily help
them), arrive at the U.S. border seeking sanctuary but
instead find a detention cell, an expedited removal order,
and deportation back to danger.

Several individuals interviewed by the ACLU, including but
not limited to asylum seekers, were attacked, kidnapped,
raped, or robbed after their deportation from the United
States. Many were returned to countries they had not seen



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A. ASYLUM SEEKERS RETURNED                                        States ratified both the Convention Against Torture and the
                                                                  Convention Relating to the Status of Refugees (“Refugee
TO DANGER                                                         Convention”) and adopted them into domestic law, so
                                                                  that both federal and international human rights law
      “I think it ennobles us as a country, and it also           prohibit the expulsion of asylum seekers to places where
      speaks volumes to the rest of the world, when we            they face persecution.181 The Refugee Convention further
      open our country up to help those in the worst              provides that a non-citizen should not be penalized for
      of circumstances. … [O]ur Nation has a long and             attempting to enter, without authorization, in order
      noble tradition of being a country of refuge. We
                                                                  to seek protection,182 and when expedited removal was
      are the world’s leader in the protection of refugees
                                                                  introduced, in recognition of the U.S. obligation to protect
      and asylum seekers, and I am pleased that we are
                                                                  asylum seekers, the statute included a carve-out for asylum
      and I want us to continue to be that.”
                                                                  seekers who would be referred to an asylum officer to be
      —Former Senator Samuel Brownback178
                                                                  interviewed instead of deported if they claimed fear.
The United States has a long tradition of providing
protection to individuals fleeing persecution and violence.       Of the 136 cases in this report (which include 11
Even contemporary critics of the U.S. asylum system               unaccompanied children), 89 of the individuals
accept this narrative as a valuable American tradition to         interviewed by the ACLU received a summary removal
be preserved.179 Under human rights law, every person has         order (expedited removal or reinstatement or voluntary
the right to seek asylum from persecution.180 Moreover,           return in the case of unaccompanied minors) within the
international law recognizes the obligation of receiving          broad U.S. border zone (i.e., at a port of entry or within
countries not to return an asylum seeker to a place where         100 miles of the U.S. border).183 Of those individuals, 49
they are likely to be persecuted or tortured. The United          (55 percent) said they were never asked about their fear


New York, NY. The Statue of Liberty has traditionally been a symbol of hope and freedom for individuals fleeing persecution and
seeking sanctuary in the United States. Today, many asylum seekers are returned to danger before they have had the opportunity
to ask for protection.

                                                                                                                  Spencer Platt/Getty




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                                                                    get review and a second chance. Rather, often they must

Fifty-five percent said they
                                                                    put themselves in danger and at risk of prosecution and
                                                                    imprisonment by seeking to reenter the United States.

were not asked about fear or                                        This danger is more than theoretical. While some of the
                                                                    individuals interviewed by the ACLU did eventually return

persecution of torture. Forty                                       and win withholding of removal or CAT (mandatory
                                                                    relief that is more limited than asylum), often they first

percent who were asked and                                          had to experience additional violence in their home
                                                                    country, followed by detention and, in some circumstances,

said they were afraid were                                          prosecution when they returned to the United States.


ordered deported without                                            1. Expedited Removal and the Impediments
seeing an asylum officer.                                           for Asylum Seekers
                                                                    Expedited removal requires that DHS officers refer a non-
of persecution, or that they were not asked anything in a
                                                                    citizen who claims to be afraid of persecution in his or her
language they understood.                                           country of origin for an interview by an asylum officer.184
                                                                    To ensure that individuals are aware of their right to seek
Only 25 (or 28 percent) said they were asked about fear
                                                                    asylum, federal regulations require that interviewing
of returning to their country of origin by a border officer
                                                                    officers read the following script, in full, at the outset of
or agent, and 10 of those individuals (40 percent) said             the interview, and state that interpreters shall be used if
they told the officer they were afraid of returning to their        necessary185:
country but were nevertheless not referred to an asylum
officer. Of the 25 individuals who said they were asked                 Except as I will explain to you, you are not
about fear, four said they had not been asked on other                  entitled to a hearing or review. U.S. law
attempts to come to the United States.                                  provides protection to certain persons who face
                                                                        persecution, harm or torture upon return to
Only one of the 11 unaccompanied children (all Mexican)                 their home country. If you fear or have a concern
interviewed by the ACLU was asked about fear of returning               about being removed from the United States or
to his country of origin, and all were quickly returned to              about being sent home, you should tell me so
Mexico.                                                                 during this interview because you may not have
                                                                        another chance. You will have the opportunity
The remaining 15 individuals (17 percent of the 89                      to speak privately and confidentially to another
individuals) did not recall specifically being asked or not             officer about your fear or concern. That officer
asked; in the majority of these cases, their primary reason             will determine if you should remain in the United
for coming to the United States was not to seek protection              States and not be removed because of that fear.186
but because of family ties, claims to U.S. citizenship, to visit
friends or work on valid visas, or in search of economic            This rights recital, significantly, says nothing about
opportunities. Two individuals said they did tell border            the source of the fear—i.e., whether it comes from a
officials, of their own initiative, of their fear of returning to   governmental or non-governmental actor—nor does it ask
their countries. One was referred to an asylum officer; the         DHS officers to screen for specific facts that would trigger
other was not.                                                      an asylum claim. What triggers a referral is intentionally
                                                                    broad and was intended to ensure that asylum seekers
There is no formal mechanism for an individual unjustly             could claim and explain their fear to a trained asylum
denied a credible fear interview (CFI) and deported to              officer with specialized knowledge of asylum law.187



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                                                                  2. Language and Information Barriers
Yazan S., a 19-year-old                                           Most of the individuals interviewed by the ACLU stated

from Syria with a congenital                                      that they were given forms to sign in English, which most
                                                                  did not speak or read, and often were not interviewed by

heart defect, tried to request                                    an immigration officer who fluently spoke their language
                                                                  or through an interpreter. The asylum protections in

asylum but was deported at                                        place can be activated only when a person is informed of
                                                                  those rights, and the consequences if they waive them, in
the airport instead.                                              a language they understand. Because many officers may
                                                                  not speak languages other than English fluently, there is a
                                                                  fundamental breakdown in their ability to communicate
It is essential that this language is read to all arriving        with individuals about their rights and ask the critical
immigrants because most asylum seekers arriving in                questions about fear of returning.
the United States are unlikely to have a sophisticated
or even rudimentary understanding of U.S. asylum law              Yazan S., a 19-year-old Syrian with a congenital      heart defect
                                                                                                               Spencer Platt/Getty Images

and procedures, and may not even know they exist. As              and attention deficit hyperactivity disorder, speaks Arabic
attorney Kaveena Singh observes, “A lot of our clients            and very little English. He came to the United States alone
don’t know they are eligible for asylum when they arrive;         in October 2013 after shelling devastated his neighborhood
they are just trying to escape danger. Some—probably the          in Damascus. Shortly after the conflict started, his family
most deserving—are so traumatized they are reluctant              says, Yazan—who is Christian—was stabbed on the street
to share their stories, even with us. They aren’t getting an      by Islamic extremists, severing his pacemaker; he came to
orientation at the border about their rights.”188                 the United States to seek both medical care and protection
                                                                  from the violence. En route to his uncle in California,
Asylum seekers are dependent upon the border officials            Yazan transferred through Detroit, where CBP officers
who arrest, detain, and interrogate them to also explain          interrogated him for hours and detained him at a local
their rights and refer them to an asylum officer. In many         police department overnight. Although Yazan’s uncle
cases documented by the ACLU and others, border officers          Manaf hired a lawyer, DHS officials refused to let either the
are not providing necessary information in the language           attorney or Manaf speak with Yazan. A CBP officer did call
spoken by the asylum seeker—if at all—and sometimes fail          Manaf to confirm Yazan’s identity: “I repeatedly asked to
                                                                  speak to my nephew. Finally the agent just hung up on me.
to refer individuals for a CFI even when those individuals
                                                                  I called back [and] I told them, this guy has been through
are able to articulate a fear of returning to danger.189 For
                                                                  a lot of trauma. . . . The officer said to me, ‘You guys come
asylum seekers who may be traumatized from the harm
                                                                  here and take advantage of our system.’” Yazan told his
they fled, their dangerous journey, and finally, arrival into a
                                                                  uncle that six officers were standing around him, telling
detention center, claiming and adequately communicating
                                                                  him to sign a form and that they would not provide him
that fear of being removed may be extremely challenging.
                                                                  with an interpreter or the chance to call his uncle until he
But it is not only reticence or post-traumatic stress
                                                                  signed. In his limited English, Yazan tried to tell officers
that prevents individuals who risked their lives to seek
                                                                  that he was afraid to return to Syria but was nevertheless
protection from asking for asylum: systemic failures and, in
                                                                  deported through expedited removal.190
some instances, abuse and coercion by the screening border
officer prevent some asylum seekers from ever requesting          Hilda, a 35-year-old from Honduras, fled death threats
assistance when they reach the United States.                     from gangs and domestic violence perpetrated by her
                                                                  husband. In 2013, after a severe beating, Hilda miscarried
                                                                  the twins she was pregnant with and fled to the United
                                                                  States, still bleeding daily. “We never want to return,” says



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                                                                                              Hilda and both her children were
                                                                                              given expedited removal orders, and
                                                                                              Hilda says they were never asked about
                                                                                              fear of returning to Honduras.192

                                                                                              Ana N. R., a 47-year-old from El
                                                                                              Salvador with two U.S. citizen kids,
                                                                                              had gone back to El Salvador to see
                                                                                              family when a gang burned down
                                                                                              her family’s beauty salon and raped
                                                                                              an employee. Her children were
                                                                                              going to petition for her to join them
                                                                                              in the United States, but given the
                                                                                              danger, she could not wait. Arriving
                                                                                              in McAllen, Texas, in March 2014,
                                                                        Spencer Platt/Getty
                                                                                              Ana said the officers asked about her
A woman and her child walk past gang graffiti in a neighborhood with heavy gang               fear of being returned but said if she
violence on July 20, 2012, in Tegucigalpa, Honduras. Honduras now has the highest             claimed fear, she would be detained
per capita murder rate in the world and its capital city, Tegucigalpa, is plagued by
violence, poverty, homelessness, and sexual assaults.                                         for a year:

                                                                                             I said I would prefer one year
Hilda. “All you’re going to find in Honduras is death.” She              in jail alive to death. They wanted me to sign
took her two-year-old and 14-year-old children with her,                 papers after I told them about my fear. But I
arriving in Texas in November 2013. “I was caught crossing               wouldn’t sign. The officer said “Sign or I’m going
the river,” recalls Hilda:                                               to sign for you.” They slammed the door in my
                                                                         face because I wouldn’t sign. The papers were
    It was 8 p.m. at night. They took me and my kids                     in English. I asked what they were for and said I
    to a cell. . . . They started to ask us to sign a lot                would sign if they were in Spanish. I saw people
    of papers. The problem was I didn’t understand                       saying no, they wouldn’t sign, and the officers just
                                                                         signed for them. They called us pigs and said we
    anything he was asking me. Since he saw that I
                                                                         smelled like fish. There were 10 kids lying on the
    didn’t understand, [the officer] would just write
                                                                         floor. They would insult us all the time. I thought,
    and write and just tell me, “Sign.” … He would
                                                                         maybe this isn’t the U.S. Maybe this is Cuba. After
    just put [the form] in front of me and say “Sign,                    all the years I spent in the U.S., I had such a good
    next one, sign.” . . . I was bleeding when I arrived.                impression of it. I was really shocked.193
    I was afraid [to ask for help]. Everyone there was
    afraid. [The officers] don’t let you even talk to                Carlos C. Z., an asylum seeker from El Salvador, was moved
    them. . . . The fear they instill in you doesn’t let             from hielera (“icebox,” a term commonly used to refer to
    you ask for help. . . . I needed help and it just felt           CBP holding cells) to hielera when he first arrived in the
    horrible to be rejected like that.191                            United States. He came to the United States fleeing violence
                                                                     from the Mara Salvatrucha gang (“MS-13”), which left
                                                                     him with scarring and deformed fingers. Although he told

“All you’re going to find in
                                                                     a Spanish-speaking officer by phone at the first holding
                                                                     facility that he was afraid to go back to El Salvador, Carlos

Honduras is death.”
                                                                     says that another officer who spoke very little Spanish then
                                                                     came into the room and gave him forms to sign. Carlos does



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                                                                  For individuals who do not know about the asylum

   Hieleras—“Ice Boxes”                                           process, it may not occur to them to raise their fear if they
                                                                  are never asked. Ponchita, a 33-year-old woman from


  I
                                                                  Mexico, said she was not asked and did not mention the
     n many cases, individuals are afraid to talk to CBP
                                                                  domestic violence she was fleeing because “in Mexico we
     officers because of the conditions in which they are
                                                                  are just used to no one asking about it.”199
   held. An investigation by Americans for Immigrant
   Justice found that individuals apprehended by CBP
                                                                  Many asylum seekers interviewed for this report said they
   were held for up to 13 days in freezing cells with no
                                                                  were unaware of the existence of asylum; generally, the only
   blankets, little food, no showers, no privacy for using
                                                                  individuals who were aware of the right to apply for asylum
   the restroom, and little space.197 Almost everyone
                                                                  were persons who, after receiving an expedited removal
   interviewed by the ACLU described inhumane
   detention conditions while in CBP custody, citing              order from CBP, were taken to an ICE facility to await a
   verbal abuse, freezing conditions, inadequate food, lack       plane to take them back to their country of origin. While in
   of adequate medical care, and overcrowding. For some           detention, they learned for the first time from ICE officers,
   individuals fleeing violence, the experience of being          legal services organizations, and sometimes other detainees
   detained and in inhumane conditions is traumatizing,           about the existence of the asylum process.
   and as a result, some individuals with strong asylum
   claims nevertheless decide to abandon them and accept          Many individuals told the ACLU that the only information
   deportation rather than remain in detention.                   CBP officers gave them was that they would be detained a
                                                                  long time—and probably deported anyway—unless they
                                                                  immediately signed a removal order. Moreover, many said
not read or speak English and refused to sign the forms.194       the environment in which they were detained suggested
At that point, as detailed in Carlos’s declaration, the officer   that they had no rights.
became angry and “slapped [Carlos] across the face with the
                                                                  Few people recalled CBP ever telling them of the existence
forms. At that point, [Carlos] asked to speak to a judge, to
                                                                  of asylum, but several were given misinformation by CBP
which he recalls the officer replied, ‘Here, I’m the judge, the   officials. Nydia R., a transgender woman from Mexico,
attorney, and the one who is going to deport you.’ A different    said she told border officials that she had been attacked
officer then wrote on every page of the forms that [Carlos]       in Mexico and wanted help, but she was not referred for a
refused to sign. [Carlos] did not learn what the form stated      CFI; she later successfully entered the United States without
until another immigrant translated it for him at a different      being apprehended, applied for and was granted asylum.
detention facility in Pennsylvania weeks later.”195               “I didn’t know the immigration agents could have helped
                                                                  me,” Nydia said, recalling her previous attempts to enter the
At seven years old, Karen R. L., now a 21-year-old from El        United States. “They had known all the reasons I was trying
Salvador, was coerced into joining the gang that murdered         to come back to the U.S. and even knowing them, they sent
her mother; the gang members, Karen said, “told me I had          me back.”200
to finish paying the accounts of my mom.”196 When she
                                                                  Cesar, who had been in the United States for 14 years when
tried to leave the gang, she says, she was sexually assaulted
                                                                  he was arrested by CBP, says he was not asked anything
by gang members and threatened with death. Arriving in
                                                                  about his fear of returning to Mexico: “They didn’t ask me
South Texas, Karen recalls, the officers initially gave her
                                                                  anything. They were just mocking me. They asked why
forms to sign in English: “I started asking what they were        would I come into their land. I was trying to explain that
but [the officers] just said, ‘Sign here, sign here,’ really      there is a lot of violence in Mexico, and I don’t want to die.
loudly. When I found out what I was signing, I said, ‘But         . . . I asked to call my family, my sister or my wife, but they
I’m afraid and I can’t go back to my country.’”198 Karen was      said they only give Central Americans, the elderly and kids
finally given a CFI, which she passed.                            that privilege.” Cesar was deported to Reynosa, where he



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still has some family: “I didn’t last long because there were     the United States, was issued an expedited removal order
a lot of shootings.”201                                           when she arrived at the U.S. border after being attacked
                                                                  and raped by a gang; the gang had also tried to cut out
Felipe R., a 32-year-old Mexican, left the United States and      her breast implants, and the wounds were fresh when she
his two U.S. citizen children to attend his father’s funeral      explained her story to CBP. CBP nevertheless deported
in Michoacán, Mexico, where he was kidnapped and held             her. Nydia returned, and although DHS records available
for ransom. He escaped and was caught by border officers          to and in fact procured by the officers showed she had
when he attempted to reenter the United States in Laredo,         asylum status, DHS officers reinstated her removal order
Texas. Although he told the officers what had happened,           and deported her once again. In Mexico, she was raped,
Felipe said, “Border Patrol said I didn’t have the right          kidnapped by Los Zetas, and repeatedly attacked by gangs
to claim asylum because the U.S. doesn’t give asylum to           and other men because of her transgender status until she
Mexicans.” He has tried multiple times to return to his           could return, without inspection, to the United States.205
children but says he has never been asked about fear of
returning to Mexico.202                                           Roberto Lopez-Gutierrez, a Mexican national, was
                                                                  kidnapped in Mexico and held for ransom in caves on the
                                                                  U.S.-Mexico border; when he escaped, he was arrested by
3. Failure to Refer Asylum Seekers to an                          CBP and referred for illegal entry prosecution. Although
Asylum Officer                                                    the CBP agent did ask if he was afraid of returning to
                                                                  Mexico and he said yes, the agent wrote that he said no,
While the majority of individuals interviewed by the              explaining in subsequent testimony that she wrote he
ACLU said they were never asked about their fear of being         had no fear because “he was afraid of kidnappers, not of
deported, some did attempt to tell border officials that they     government persecution.”206 The agent later admitted in
were in danger and needed assistance, but they were still         court testimony that she was not trained in asylum law
not referred to an asylum officer.                                and that the regulation was silent on whether the violence
                                                                  needed to come from the government for a person to
The regulation requiring border
officers to refer a person to an asylum
officer if they fear persecution or
torture if returned to their country
says nothing about the identity of the
perpetrator; however, our interviews
and a recently leaked UNHCR
report indicate some border officers
incorrectly think that violence from
non-state actors, such as gangs or
a family member, can never be the
basis of an asylum claim and refuse
to refer these asylum seekers for an
interview.203 In fact, if a government
is unable or unwilling to protect an
individual who otherwise satisfies the
eligibility requirements for asylum, a
perpetrator’s non-state identity does
not foreclose asylum.204
                                            After being attacked by a gang in Mexico, Nydia returned to the United States, where
Nydia R., a transgender woman who           she had asylum status. Immigration officers ordered her deported.
had already been granted asylum in



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be referred for an asylum interview;207 nevertheless, she

                                                                 “The officer filled out a form
excluded all of Mr. Lopez-Gutierrez’s statements about the
kidnapping from his sworn statement.208

Similarly, Telma M. did explain her fear of being deported,      and asked me to sign, but I
which was recorded by CBP officers in her sworn
statement, but the question she recalls being asked was,         refused. … They grabbed
“Are you afraid of your government?” to which she says
she responded, “No, not the government, but I am afraid
                                                                 my fingers and pushed them
of my husband back in El Salvador.”209 Although she may
be eligible for asylum based on domestic violence,210 Telma
                                                                 on the paper.”
was issued an expedited removal order and transferred
from Texas to the Broward Transitional Center in Florida to      detention facility in Taylor, Texas, Bessy says she felt she
be deported.                                                     had made a mistake.213

In other circumstances, CBP officers simply reject               Lucila O. fled domestic violence in Nicaragua and was
individuals’ statements regarding fear, perhaps because          arrested by Border Patrol agents in Texas: “I told them I
they do not believe the individuals, but CBP officers are        was afraid. . . . [The agent] just told me, ‘You are getting
not trained to determine credibility or to assess whether a      deported. . . . Even if you are afraid you are going to get
specific experience meets international protection standards.    deported.”214 Ericka E. F., a 33-year-old woman from
                                                                 Honduras, fled gang violence and sexual and physical
Juan Manuel C., from El Salvador, says he told CBP officers      violence from her partner and was arrested in Texas: “I
he was afraid to return to El Salvador, where he had been        crossed in Laredo and I told them I needed asylum. I
a victim of gang extortion, but they did not refer him for a     needed to stay here to protect myself. . . . I told him I was
CFI: “They didn’t care; they said it was my country, I had       fleeing for protection because of the violence. They said
to go.” Instead, they told him he had to sign an expedited       women always come here with lies. I told them it was true.
removal order even though he wanted to see a judge: “I           [The officer] just laughed and laughed.”215
didn’t want to sign. But then they told me I would be in
jail from 18 months to 5 years.” After his deportation to El     Braulia A., a Guatemalan national and mother of four U.S.
Salvador, gangs began to demand money from him: “The             citizen children, was arrested by CBP officers at San Ysidro
Mara Salvatrucha were charging me $500 a month; they             after she briefly left the United States. She told officers that
took $7,000. They send you three notes and on the third          she was afraid to be deported to Guatemala, where her
time they kill you or your family. People have been killed       father had been murdered and her mother was the target
right in front of my house.”211                                  of extortion by gangs. According to Braulia, “The officers
                                                                 said, ‘We don’t care if you are killed there. Don’t even think
Bessy M., a 34-year-old woman from Honduras, came                about coming back or we will put you in jail for a long time.’
to the United States after her husband was murdered by           They just said, ‘You don’t have a right to anything, you are
her brother-in-law. She tried repeatedly to tell the border      a criminal, you are worthless.’” Although Braulia told them
officers she was afraid to return to Honduras, but she was       she was illiterate, they forced her to initial that she had read
issued an expedited removal order. By the time she was           the interview, which incorrectly stated that Braulia did not
transferred to Port Isabel, a detention center in South          claim fear. She refused to sign the expedited removal order
Texas, Bessy said, she retracted her statements, even though     but was deported to Guatemala, where she was subsequently
she was finally referred for a CFI: “I said I wasn’t afraid      raped and shot by a gang; her son, who joined her in
because I was scared of saying yes. Everyone said I would be     Guatemala, was murdered by the same gang.216
in jail for a long time.”212 But while waiting for deportation
at the T. Don Hutto Residential Center, an immigration           The experience of being interrogated can be intimidating,



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and the environment in which these interviews are
conducted suggests to the asylum seeker that he or she has
no rights. In its recent report, Human Rights First observed
that CBP interviews with asylum seekers were sometimes
conducted in crowded and loud rooms with no privacy.217
Wendy, a 26-year-old woman from Honduras who had
lived in the United States for almost a decade, recalled,
“There were a lot of officers in a big line with all the officers
around you. They did ask about fear but when I said yes,
they said, ‘You all say the same thing. I don’t know why you
guys say you are afraid. That is your country. This is not
your home.’”218

Rosa, a 22-year-old woman, fled domestic violence in El
Salvador and was arrested by border officials when crossing
into Texas. Although she was asked about fear, she was
never referred to an asylum officer:

    ICE said I had no reason to complain because I
    was already being deported. I was asked to sign                 Maria, Marian, Rosemarie, and their brother.
    forms my first day. I found out later it was my
    deportation order. The form was in English. … At
    that time, they didn’t give us the opportunity to               by Border Patrol agents. Although all three were caught
    ask any questions.219                                           the same day and came with the same claim, they had very
                                                                    different experiences. Maria was the only one asked about
After her deportation, Rosa’s ex-boyfriend found her, and           her fear of being deported and referred for a credible fear
the harassment and abuse continued. She returned to the             interview: “I said yes [I was afraid], and he was just writing.
United States and says she was not asked about fear when            He asked me to sign if I wanted to sign. I said no. The
she was caught by CBP again in South Texas. “They just gave         form was in English but I think it was to throw me back to
me some forms to sign, but I refused.”220 She was eventually        El Salvador.”221 Her sisters had very different experiences.
allowed to get a credible fear interview, which she passed.         Marian recalls, “They did not ask me any questions. They
                                                                    just took my ID. The officer filled out a form and asked me
Too often, whether an asylum seeker is given a credible             to sign, but I refused. He was very angry because I wouldn’t
fear interview or, instead, deported with an expedited              sign. He stood up, pulled me up, and they grabbed my
removal order is a matter of chance that depends on the             fingers and pushed them on the paper.”222 Rosemarie spoke
particular officer. Because expedited removal orders are            with a Border Patrol agent who spoke Spanish, and she
often issued quickly, with limited internal review and with         tried to ask for help, but when she explained why she was
little supporting evidence required, an asylum seeker can           afraid, she was told “those are old stories”:
be erroneously deported without any opportunity—in the
moment or later on—to challenge this deportation order.                 They didn’t ask me any questions, just my name
                                                                        and where I was from. I said to the official, “What
Maria, Marian, and Rosemarie, three sisters from El                     are the possibilities for us to stay if we hire an
Salvador, fled extortion and threats by gangs in El Salvador            attorney because I was afraid of going back.” He
and came to the United States to join their brother (who                said that’s what everyone says and there is no
has Temporary Protected Status) in May 2013. After                      possibility for us because there are already too
crossing the Rio Grande into Texas, the sisters were caught             many people inside the U.S. He said they don’t



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     give permits anymore—they used to but no
     longer… I asked to make a call to my brother
     because I was afraid of going back and he said no
     because we were going to be deported. . . . They
     said if I didn’t sign [the expedited removal order]
     they would grab me and make me sign. I just put
     one fingerprint down then.223

Even Maria was not told at first that she would be allowed
to seek asylum, so all three spent days in detention, sleeping   Reynosa, Mexico, April 2014. A migrant shelter providing
on the floor in a crowded cell and certain they would            services primarily to Central American migrants heading
be deported. Ultimately, Maria was issued a Notice to            toward or being deported from the United States. Migrants and
                                                                 recent deportees are targets for kidnapping and theft by local
Appear and released on an order of supervision to report         drug cartels and gangs.
to ICE near her brothers’ home in Florida. Maria has
since won her immigration case before a judge. Marian
and Rosemarie were also given orders of supervision              would be deported.226 Through advocacy with DHS, his
and allowed to join their brother. However, Marian and           attorney, Jacqueline Bradley Chacon, was finally able to get
Rosemarie currently have no way of affirmatively applying        him referred for a credible fear interview, which he passed.
for asylum, as they were issued deportation orders and not       Had he been deported to Honduras, Ms. Bradley Chacon
referred for an asylum interview. For now, they are hoping       says, “He [would] be killed, I have no doubt.”227
they will not be deported back to danger and can stay
together. If deported back to El Salvador, Rosemarie said,
they would be in even more danger than when they left and        4. Asylum Seekers with Prior Removal Orders
would try to return to safety in the United States: “Since
they made us pay that ‘rent,’ if we were to go back, we          For asylum seekers whom the system fails, and who receive
would have a bill. Since we left, they don’t like it. Whoever    an expedited removal order instead of a credible fear
doesn’t pay, they kill them. We know people who’ve been          interview, the consequences are immense: these individuals
killed. One girl said [to the police] that the gangs were        can be deported to danger,228 and if they try again to get
threatening her, and 10 minutes after telling the police she     protection in the United States, they can be prosecuted for
was dead.”224                                                    illegal reentry and placed in reinstatement proceedings.
                                                                 Several of the individuals interviewed by the ACLU
Milton, a government electrician in Honduras, came to the        experienced all three.
United States after gang members repeatedly threatened
to kill him and his family in revenge for a motor accident       For individuals who are able to eventually get before
he was in that left the other individual, who was associated     an immigration judge, the impact of the prior removal
with the gang, disabled. Although he moved repeatedly            order and CBP’s written recording that they had no fear
within Honduras, nevertheless the gang repeatedly found          continues to have consequences. Although the concern
him. Milton was not referred for a CFI by border officials       over border officials not asking about fear or misrecording
but was issued an expedited removal order and released           the answer is not new and was documented in the
into the United States on an order of supervision; his           2005 USCIRF report, some judges and asylum officers
attorney believes this is because he was with his young          nevertheless assume that these officers are asking the
daughter.225 When he checked in with ICE, he once again          required questions in a way the asylum seeker understands.
expressed his fear of returning to Honduras; the ICE             As one attorney noted, when an asylum seeker’s sworn
officer, instead of referring him to an asylum officer,          statement records that he or she has no fear, it can be used
incorrectly told him that it was his responsibility to get       against him or her in court: “In one such case, I had a client
proof that he had had a credible fear interview or else he       with a strong gender-based claim for relief. Both the DHS



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trial attorney and the immigration judge raised insistent       Moreover, immigrants seeking protection while in
concerns over my client’s credibility, largely based on her     reinstatement proceedings (i.e., because they have a prior
alleged statements in her border interview that she was not     removal order) are likely to be detained for a long period
afraid of returning to her home country. She stated that        of time. For years, advocates have been concerned about
she had never been asked by authorities if she had a fear of    the delays immigrants face in getting an interview with an
return. These comments seemed to have been added into           asylum officer and then getting their decision, and in April
her file without her knowledge or consent, yet they plagued     2014, the ACLU and partners filed a lawsuit challenging the
her for the rest of her case.”229                               extensive delays in receiving a “reasonable fear” interview,
                                                                delays resulting in many months of detention for asylum
Before winning relief under the Convention Against              seekers with a prior removal order or a particular criminal
Torture, Braulia A. struggled to explain to the judge why       conviction.232 Under federal regulations, individuals with
she would sign a statement claiming she had no fear if          a “reasonable fear” of persecution or torture must be
that was incorrect, and the court was resistant to finding      referred to an asylum officer to be interviewed and receive
that the Border Patrol agent had lied. Eventually, given        a decision within 10 days.233 In fact, however, individuals
the weight of the evidence that Braulia had experienced         subject to reinstatement awaiting a reasonable fear
extreme violence in Guatemala, the judge found in her           interview will wait in detention an average of 111 days.234
favor without opining on whether she or the border
official was more credible. Similarly, Ana D. eventually        Alejandro first came to the United States in 1995, when he
got an interview with an asylum officer while waiting for       was a teenager, fleeing gang violence in El Salvador. He was
her removal—after CBP had already issued an expedited           twice summarily deported without the chance to apply for
removal order and written that she had no fear. The asylum      asylum. Once back in El Salvador, he says he was threatened
officer questioned her as to why CBP would say that:            by gang members constantly, despite moving to different
                                                                locations. Finally, the threats to his wife and daughter
    Q: “Did you ever tell an immigration officer                became too much: “They said, ‘We are going to hit you
    anything different?”                                        where it hurts and take what you value.’”235 The family fled
                                                                and settled in New Jersey. Eight years later, he was arrested
    A: “I told him the same thing I am telling you now.”        by police when having an argument with his wife; ICE
                                                                arrived and picked him up from jail. While in immigration
    Q: “Why did you think he wrote that you had no              detention, Alejandro asked to see a judge: “The officer
    fear?”                                                      tried to force me to sign a deportation order but because I
                                                                understood English, I refused to sign it. When I refused to
    A: “I don’t know.”230                                       sign it, the officer tried to force me to put my fingerprint.
                                                                He said, ‘You have no chance, you’re getting deported.’”236
At a substantive level, the same benefits and protections       Fortunately, he was referred to an asylum officer prior
are simply not available for an asylum seeker with a prior      to being deported, but he then spent four months in
deportation order who has been removed. This is true            detention before he was able to see a judge and be released
even if the only reason they have a deportation order           on bond; his case is ongoing.237
is the failure of CBP to inquire into fear or to refer an
individual who claims fear for an asylum interview. As          Luis B. R., a 28-year-old gay man from Guatemala,
acknowledged by the Asylum Office of USCIS, the standard        experienced sexual and physical violence throughout his
for “reasonable fear” is higher than the standard of proof      childhood, including from a police officer, because of his
required to establish a “credible fear” of persecution,231      sexual orientation. He eventually fled to the United States
so individuals who might have met the lower threshold           but was arrested, detained for three months, and given
showing in a credible fear interview may have more              some papers to sign (which appear to be an expedited
difficulty passing a reasonable fear interview—even when        removal order) before being deported back to Guatemala;
the facts (on which the claim is based) are identical.          he does not recall ever being asked about his fear of



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                                                                 because Hermalinda’s mother was ill. Thinking the

The distinction between who
                                                                 security situation had improved, Hermalinda decided
                                                                 to stay in Guatemala, and she and her husband had a

can and cannot access the                                        second daughter. Hermalinda and her husband were both
                                                                 politically active in the opposition party and, in particular,

full range of protections and                                    in challenging mining companies’ extraction activities.
                                                                 Their activism put them in danger, however. Hermalinda

benefits of asylum is not                                        recalls, “On the 5th of March, 2011, about four men came
                                                                 to our house and beat us. Two were police officers and two
supported by international or                                    were dressed in civilian clothes. They beat us and took us


domestic law.
                                                                 30 minutes by car. Then they made us get out of the car
                                                                 and they beat us more. They took off my clothes and they
                                                                 raped me.”241 Hermalinda and her husband again fled to
returning to Guatemala. After his deportation, the fear,         the United States, but were caught by Border Patrol at
threats, and attacks continued, so he returned to the United     San Ysidro. The officers did not ask if she was afraid of
States and was able to enter without inspection. A few years     returning to Guatemala: “They didn’t give me any papers
later, however, after being assaulted by his then-boyfriend,     [to sign]. They just put my finger down like this,” said
Luis was arrested by the police, even though he was not          Hermalinda, motioning to show her thumb being pushed
the perpetrator. The police then turned Luis over to ICE.        on a table.242 Hermalinda did not know that the papers
Luis then spent six months in detention before eventually        were an expedited removal order; she found out what they
winning his case with the assistance of pro bono counsel.        were years later, when she applied for asylum in the United
                                                                 States and went to her interview, where she was met by ICE.
Finally, a person who wins withholding of removal or CAT         Fortunately, she was not detained, but because she is in
relief will not receive the same benefits as a person who        reinstatement proceedings, even if she wins her case when
wins asylum, such as the right to petition to bring his or her   the time comes (her hearing is set for 2017), she will not be
family to the United States, to travel internationally, and to   able to bring her daughters to the United States.
eventually become a lawful permanent resident and a U.S.
citizen.238 Moreover, that individual may still be removed                                  * * *
to a third country, even if he or she cannot be deported to
his or her country of origin.239 For asylum seekers who are      The failure to refer asylum seekers for an interview during
in reinstatement only because U.S. immigration officers          which they can explain their fears is not new. Even before
incorrectly deported them when they first sought refuge,         expedited removal was expanded geographically, the U.S.
this distinction feels particularly undeserved and punitive.     government was aware that the expedited removal process
But for all asylum seekers, the distinction between who can      was resulting in the deportation of asylum seekers before
and cannot access the full range of protections and benefits     they had the opportunity to be heard and seek protection.
of asylum is not supported by international or domestic
law. While advocates are challenging this unjustified and        In 2004, Congress commissioned the United States
damaging distinction, for most people who can currently          Commission on International Religious Freedom
only access safeguards through reinstatement proceedings,        (USCIRF) to conduct a study on asylum seekers in
many critical protections are foreclosed.240                     expedited removal.243 The study, which included first-hand
                                                                 monitoring of CBP interviews at ports of entry, evaluated
Hermalinda L. and her husband, both indigenous                   whether asylum seekers at ports of entry were in fact able
Guatemalans, fled political violence and sought protection       to claim the protections intended for asylum seekers. The
in the United States in 2006, leaving their daughter with        report found “serious implementing flaws which place
family. They were able to enter the United States without        asylum seekers at risk of being returned from the U.S. to
inspection, but in 2008, they returned to Guatemala              countries where they may face persecution.”244



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In particular, the study found the following:                    and for its failure to ensure the recommendations were
                                                                 implemented before expedited removal was expanded.248
1. In 50 percent of expedited removal interviews observed
   by USCIRF researchers, arriving non-citizens were not         Almost a decade later, none of these systemic failures have
   informed they could ask for protection if they feared         been corrected, nor have USCIRF’s recommendations been
   being returned to their home country;                         adopted. Indeed, it is likely that problems with the process
                                                                 have only increased with the expansion of expedited
2. In 72 percent of cases observed, individuals signed the
                                                                 removal across the entire border, as today even more people
   sworn statement drafted by the immigration officer,
                                                                 are arrested, detained, interviewed, and removed through
   which they were supposed to review and correct,
                                                                 this process without the opportunity for independent
   without being given any opportunity to review it;
                                                                 review. Non-governmental organizations continue to
3. These sworn statements were not verbatim                      document problems with the credible fear process,
   and sometimes included incorrect or made-up                   including failure by border officers to ask about fear and
   information; and,                                             refer individuals to credible fear interviews.249 And yet, in
                                                                 2013 and 2014, congressional hearings—in their titles if not
4. In 15 percent of observed interviews, a person who            in the testimony—have suggested that the asylum process is
   expressed a fear of returning was nonetheless deported        too lax and ripe for manipulation by non-citizens.250
   without a referral to an asylum officer; in 50 percent of
   those interviews, the files even stated that the person had   The allegation that this system is easily manipulated is
   claimed fear and yet the referral did not take place.245      not supported by fact, and indeed, agency officials are
                                                                 confident that their tools for detecting fraud are effective.251
Notably, these are findings based on interviews between
                                                                 As a recent Human Rights First report detailed at length,
immigration officers and non-citizens that took place in
                                                                 there are already numerous investigative and prosecutorial
the physical presence of a USCIRF researcher, with the
                                                                 resources that can be used to punish and deter fraud in
full knowledge of the interviewing immigration officer.
And yet, this monitoring was not sufficient to ensure            the asylum system,252 and CBP and ICE officers are not
that immigration officers followed the regulations. In           concerned that their existing tools are insufficient or could
2007, USCIRF issued a report card on DHS’s progress in           be manipulated.253 Moreover, any individual who is found
addressing the failures identified by the report, noting that    to have made a fraudulent claim for asylum is not only
                                                                 barred from receiving asylum but can also be prosecuted
    [T]wo years later, most of the Study’s                       and imprisoned and is permanently barred from receiving
    recommendations have not been implemented.                   any immigration relief in the future.254
    The Commission’s overarching recommendation
    was that Expedited Removal not be expanded                   Finally, even if some individuals may be fraudulently or just
    until the serious problems identified by                     incorrectly applying for asylum, it does not appear that the
    the Study—which place vulnerable asylum                      majority of people attempting to enter the United States
    seekers at risk—were resolved. Despite this                  are trying to manipulate the asylum system. The actual
    recommendation, and the failure to resolve the
                                                                 number of individuals referred for a CFI at the border
    problems cited in the study, DHS has in fact
                                                                 remains relatively small, with estimates that between 5
    expanded Expedited Removal from a port-of-
                                                                 and 15 percent of individuals subject to expedited removal
    entry program to one that covers the entire land
    and sea border of the United States.246                      in FY 2013 expressed a fear of return and were placed in
                                                                 the credible fear screening process.255 The journey to the
The Commission gave CBP a score of “F” for its failure           United States is fraught with incredible dangers;256 given
to apply the study’s recommendations on protections              how well-known these dangers are, it is not a journey
for asylum seekers to ensure procedures were followed247         someone would undertake lightly.



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B. PEOPLE LAWFULLY IN THE                                       work or study visas, lawful permanent residence, or other
                                                                nonimmigrant visas have been deported without a hearing,
UNITED STATES WHO ARE                                           sometimes in a matter of minutes, resulting in separation

DEPORTED WITHOUT
                                                                from family, unemployment, and significant difficulties in
                                                                ever returning.
A HEARING
Summary removal procedures are not supposed to apply            1. U.S. Citizens Deported Through Summary
to people with the right to be in the United States—for
example, U.S. citizens, lawful permanent residents (LPRs),
                                                                Procedures
or individuals with asylum status. Despite the expansion            “To deport one who so claims to be a citizen
of these processes geographically and numerically, the              obviously deprives him of liberty ... [and may]
U.S. government maintains that these processes are meant            result also in loss of both property and life, or
to speed the deportations of people who are unlawfully              of all that makes life worth living. Against the
entering the United States. For example, Congressional              danger of such deprivation without the sanction
and Administration statements in support of deportations            afforded by judicial proceedings, the Fifth
without a hearing (as well as the new “expedited hearings”          Amendment affords protection in its guarantee of
taking place along the southern U.S. border) take for               due process of law.”
granted that they are applied to newcomers who are                  —Justice Louis D. Brandeis,
unlawfully entering the United States and have no right to          Ng Fung Ho v. White, 259 U.S. 276, 284 (1922).
enter or remain here.257 However, due to coercion at the
border, the absence of rigorous screening, and, in some         Given the intimidating and militarized environment
cases, governmental misconduct, individuals lawfully            at ports of entry and along the border, combined with
residing in the United States have been deported without        the apparent lack of training for CBP officers and the
seeing a judge or even the chance to call an attorney. As       complexity of immigration law, it is inevitable that people
a result of these rapid and hazardous processes, several        who have status, including U.S. citizens, will be illegally
U.S. citizens have been deported and able to return to the      deported by border officers and agents. Attorney Jaime
United States only after advocacy and legal representation.     Díez, who practices immigration law in Brownsville, Texas,
                                                                says he routinely sees individuals who are U.S. citizens,
A U.S. citizen, LPR, or asylee may at least seek judicial       or eligible for U.S. citizenship, who are deported by CBP.
review of his or her deportation, although sometimes with       Some officers, he observes, “have stereotypes of who a U.S.
considerable expense and difficulty, and perhaps have only      citizen is. They assume people who don’t speak English
a period of banishment from the United States. That U.S.        can’t be a U.S. citizen. These officers don’t understand the
citizens can be—and have been—deported from the United
States by an immigration officer should not be surprising:
while some U.S. citizens have been deported despite
having verifiable evidence of their status, other citizenship   Some people are
                                                                automatically U.S. citizens
cases involve complicated legal analysis and factual
investigation. Summary removal procedures like expedited
removal are not equipped for this intensive analysis, and
given their speed, the absence of legal assistance, and the     even when they were not born
relative secrecy of these proceedings, are likely to result
in erroneous deportations. But U.S. citizens are not the        in the United States. As of
only individuals who can lawfully work and live in the
United States and who have been erroneously subjected           2010, around 2.5 million U.S.
to summary removal proceedings. People with valid
                                                                citizens were born abroad.
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                                                                                                                    John Moore/Getty


Dominican immigrant Roberto Mercer holds his daughter Gianela, 10 months, at a special Valentine’s Day naturalization
ceremony for married couples on February 14, 2013, in Tampa, Florida.


reality of the border. . . . What I see all the time is people       observes that in both these cases, citizenship is conferred
who shouldn’t be removed getting removed.”258                        to the child upon birth “by operation of law, even if the
                                                                     individual is unaware of their U.S. citizenship status or
Identifying citizens is, at once, a simple and a complex             lacks documentary proof of it.”263 For these individuals,
issue. Legal scholar Jennifer Koh Lee explains that while            proving their citizenship when stopped by immigration
the citizen/non-citizen distinction appears straightforward,         enforcement officers can be very challenging both in
in fact, that fundamental line is sometimes “unclear and             the absence of documentary evidence on hand and also
unresolved.”259 Similarly, legal scholar Rachel Rosenbloom           because law enforcement officers may not be trained on the
observes, “Although most citizenship claims are easily               various ways in which a person can be a U.S. citizen.
documented, there remain many U.S. citizens who have a
                                                                     The danger that more U.S. citizens will be erroneously
tenuous evidentiary hold on their status.”260 U.S. citizens
                                                                     arrested and deported through a summary removal
are not required to “register” in a national database, and
                                                                     procedure has increased as reliance on these processes
most of us do not carry our birth certificates or other proof
                                                                     swells and with the general expansion of immigration
of U.S. citizenship on our person. Moreover, some people
                                                                     enforcement in border communities. As Rosenbloom
are automatically U.S. citizens by law under “acquired               notes, while a person with U.S. citizenship presenting
citizenship” without being born in the United States.                him or herself at a port of entry is likely to be prepared
                                                                     for inspection and have his or her passport on hand,
As of 2010, there are approximately 2.5 million U.S.                 “the exponential expansion of immigration enforcement
residents who appear to have acquired citizenship when               over the past few decades has increased the potential for
born abroad.261 Similarly, under derivative citizenship,             individuals with a variety of statuses—from undocumented
a foreign-born child can obtain citizenship if at least              immigrants to those in lawful immigrant or non-immigrant
one parent naturalizes before the child turns eighteen               status to those who are U.S. citizens—to interact with such
and meets other statutory criteria.262 Jennifer Koh Lee              enforcement in one form or another.”264 The possibility



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of being misidentified and funneled into the immigration

                                                                    “For three years, I’ve been
system is compounded by incorrect assumptions about the
“identifiability” of a U.S. citizen and, as several advocates
along the southern border note, a lack of understanding
about border communities and their fluidity.                        waiting to have my day in
Oscar Olivas is a U.S. citizen with a U.S. citizen daughter         court. We are stranded in
with disabilities. He was born in Los Angeles County in
1969. His mother, who was undocumented at the time (but             Mexico and desperate to
is now a U.S. citizen), was afraid to go to a hospital given
her undocumented status and so she gave birth with the
                                                                    return to the United States.”
assistance of a midwife in a private home. He was issued
a delayed birth certificate when five months old. In 2009,          daughter to school in the United States where she would
Mr. Olivas began the process of applying for an immigrant           receive the treatment and therapy she requires for her
visa for his wife and stepson, both Mexican nationals; the          speech and language impairment.
couple already had a U.S. citizen daughter but decided to
move to Mexicali, Mexico (near the Californian border),             As part of Mr. Olivas’s wife’s application process, the U.S.
while the application process went forward. The family              Consulate in Juárez, Mexico, interviewed Mr. Olivas’s
planned that Mr. Olivas would work in the United States,            mother, interrogating her for hours and coercing her to
crossing the border each day and taking his U.S. citizen            sign a “confession” that her son had been born in Mexico.




Oscar Olivas, a U.S. citizen, with his wife, stepson, and U.S. citizen daughter in Mexicali, Mexico. The U.S. government refuses to
recognize Oscar as a U.S. citizen, so he and his family are in limbo in Mexico, which does not recognize Oscar as a Mexican citizen.




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In 2011, while attempting to return to the United States,        delaying or obstructing an officer or emergency medical
Mr. Olivas was told by CBP officers that he could not            technician,” he was questioned by prison staff about his
enter but would see an immigration judge to verify his           citizenship: “I said I don’t know where I was born but I
citizenship claim. That hearing never came, but on one of        think I was born here, in the U.S. . . . I told them I grew
Mr. Olivas’s attempts to speak with CBP about his hearing,       up in part in Mexico. Then they just took me out and
he was informed by a CBP officer that a removal order had        deported me.”268 Several days later, he walked to the port
been issued against him. “For three years, all I’ve wanted is    of entry and asked to speak with a border official: “I said
my day in court so that I can prove that I am a U.S. citizen     I needed help. I said, ‘I think I’m a U.S. citizen.’ They just
and that my family and I should be allowed to return to          put me in handcuffs and took me to CCA [a detention
the United States. But the government has denied me any          facility].”269 Peter was given the chance to see a judge, but
opportunity to prove my case. As a result, my family and I       the immigration judge incorrectly placed the burden on
have been stranded in Mexico. We are desperate to return         Peter to provide proof of citizenship and ordered him
to the country we call home.” After the ACLU filed a lawsuit     removed, suggesting he try to apply for a passport.270 Once
on Mr. Olivas’s behalf in June 2014, the U.S. government         again, Peter tried to return to his family in the United States
revealed that it had never filed the removal order—but it        but was turned back: “I just signed the papers without
also had never served Mr. Olivas with an Notice to Appear        knowing what they were. I asked if this was going to get
in immigration court, leaving him in limbo these last three      me in trouble and they said, ‘No, it’s just for your release.’
years. Mr. Olivas’s attorney, Gabriela Rivera, observed that     They would ask where I was born and I would say, ‘I don’t
her client’s case, while complicated, was not exceptional        know, I thought I was born here in the U.S.’”271 Peter was
given the procedural and structural deficiencies in the          finally able to enter without inspection, restart his life in
expedited removal system: “Mr. Olivas’s unlawful expulsion       California, and became engaged to a U.S. citizen. Three
was not an innocent mistake by immigration enforcement           years later, CBP showed up at the gym where he worked,
officers,” says Ms. Rivera. “It was the predictable              arrested him, and referred him for federal prosecution for
consequence of a system that relies on racial and ethnic         illegal reentry. Peter then spent 13 months in federal prison
stereotypes, empowers officers to act as judge, jury and         for reentering; with the help of his federal public defender,
executioner, and all but prohibits affected individuals          Peter is appealing and hopes to win recognition as a U.S.
from seeking judicial review.”265 Mr. Olivas and his family      citizen. In the meantime, with no Mexican birth certificate
continue to live in Mexico, in limbo, where Mr. Olivas           and no ID, he is constantly harassed by Mexican police in
cannot work to support his family and where his daughter         Tijuana and feels lost: “What am I doing here?” he asked.272
is unable to access the necessary care and treatment she
needs for her disabilities.266 Ms. Rivera observes that the      Maria de la Paz is a 30-year-old U.S. citizen who, like her
U.S. government’s continued refusal to allow Mr. Olivas          two sisters, was born in Houston, Texas; her mother is an
to return to his homeland is more than a symbolic injury         LPR. When Maria was 18, she was issued an expedited
for Mr. Olivas and others in his situation: “The benefits        removal order at a port of entry in Texas by a CBP officer
of citizenship—including stability, mobility, political          who refused to believe she was a U.S. citizen. As detailed
rights, and protection against arbitrary expulsion—are not       in her habeas petition, the officer who inspected her at the
theoretical. They have real-life implications for people like    border said that someone who did not speak English could
Mr. Olivas and his family.”267                                   not be a U.S. citizen and ordered her removed.273 Although

Peter V. has always believed that he was a U.S. citizen
like his siblings, even though part of his childhood was
spent in Mexico, a not-uncommon experience along the             “I said I needed help, [that] I
                                                                 think I’m a U.S. citizen. They
southern U.S. border. His mother died when he was two,
and his father, whom Peter and his family believe to be a

                                                                 just put me in handcuffs...”
U.S. citizen, was not a part of his life. But while serving
a criminal sentence in California in 2003 for “resisting,



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                                                                  Laura and Yuliana were traveling to the United States with

“It was as if we had been
                                                                  their mother, who had a valid tourist visa, and Yuliana’s
                                                                  infant daughter. Laura had her U.S. passport and Yuliana,

kidnapped.”                                                       who had applied for a passport but had not yet received
                                                                  it, showed her Texas ID, the receipt for her application for
                                                                  a U.S. passport, and the Texas birth certificate.278 When
                                                                  the CBP officer in Brownsville, Texas, noted that Yuliana
her birth was properly recorded in Texas, there were errors
                                                                  had had a midwife birth, he detained and interrogated the
in the spelling of her name and her mother’s name (not
                                                                  women for over ten hours.279 Speaking later to a journalist,
picked up by her mother, who did not read or write), and
                                                                  Trinidad said, “It was as if we had been kidnapped.”280 After
her birth was also registered in Mexico. In Mexico, Ms. de
la Paz tried to apply for a U.S. passport, but over several       hours of threats, the officer extracted a “confession” from
months, the U.S. Consulate asked for successive pieces of         Trinidad that the daughters had been born in Mexico; he
evidence of her U.S. birth, including school records that         then seized all their documents, treated Laura and Yuliana
included photos (which did not exist). Finally, in January        as having “withdrawn” their applications, and issued an
2014 and apparently “thinking that there was no other way         expedited removal order for Trinidad, also charging her as
to come to the United States to be with her family,” Ms. de       inadmissible for fraud.281 Although the U.S. government
la Paz attempted to cross into the United States but was          later recognized that Yuliana and Laura were U.S. citizens
caught, arrested, and detained by CBP.274 While in custody,       after their lawsuit in federal court, Trinidad is, to this
she again explained that she was born in Texas; according         day, banned from entering the United States given the
to the petition, the CBP officer did not attempt to verify        erroneous fraud finding.
her claim before reinstating her prior expedited removal
order and banning her from returning to the United States         Another plaintiff in the case, U.S. citizen Jessica Garcia,
for 20 years.275 After her attorney, Jaime Díez, filed a habeas   lived in Mexico with her husband but worked in Texas.
petition on her behalf, the U.S. Consulate in Mexico finally      In 2009, she was trying to cross through the Brownsville,
agreed to issue her a passport and allow her to return to the     Texas, port of entry on her way to work when she was taken
United States. She returned in July 2014.276                      to secondary inspection, locked in a room, and accused by
                                                                  CBP officers of making false representations. When Ms.
Some cases, like that of Ms. de la Paz, may be complicated        Garcia refused to sign any paperwork or “confess” to using
by factual inconsistencies, even when they can be clarified       a false birth certificate, the officer confiscated all of her
and resolved. But as Ms. de la Paz’s case also suggests,          documents, including her Texas birth certificate. Although
some immigration officers may assume that citizenship             a Notice to Appear (NTA) was issued and she should have
is straightforward and always looks the same—and some             been given the chance to see a judge, DHS never filed the
may be resistant to the idea that a person who does not           NTA, so a hearing was not scheduled; instead, Ms. Garcia
speak English or was not born in a hospital could be a            was stuck in limbo and lost her job.282
U.S. citizen. In 2010, several U.S. citizens who were born
in Texas with the assistance of midwives filed a federal
lawsuit challenging the effective denial of their citizenship     a. U.S. Citizens with Mental Disabilities
without a fair opportunity to defend their rights. The
plaintiffs’ cases highlighted the coercion, intimidation,         As the ACLU and Human Rights Watch previously
denial of counsel, and misconduct by border officials at          documented in a joint 2010 report, Deportation by Default,
ports of entry who abused their authority with ongoing            individuals with mental disabilities may be at particular
consequences for both the U.S. citizens and their families.277    risk of erroneous deportation given the complexity of
                                                                  immigration law, the continued absence of appointed
Two of those women, sisters Laura and Yuliana Castro, were        counsel in all immigration proceedings, and (in the absence
born in Brownsville, Texas, in 1980 and 1984 but raised in        of a lawyer) the reliance on a person’s own statements and
Mexico by their Mexican-citizen mother, Trinidad. In 2009,        admissions as the primary evidence.283 As that investigation



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                                                                                               returning to New York after visiting
                                                                                               family in Jamaica; CBP believed her
                                                                                               passport was fraudulent.286 In 2007,
                                                                                               Pedro Guzman, a 29-year-old U.S.
                                                                                               citizen with developmental disabilities,
                                                                                               was serving a sentence for trespassing
                                                                                               in a jail in California when ICE
                                                                                               misidentified him as a non-citizen
                                                                                               and coerced him to sign a voluntary
                                                                                               departure order. He was deported to
                                                                                               Mexico, where he was lost for almost
                                                                        ACLU of North Carolina
                                                                                               three months before he was found by
U.S. officials deported Mark Lyttle, a U.S. citizen with mental disabilities, through          family and able to return to his family
expedited removal after a prior unlawful deportation.
                                                                                               in California.287 In 2008, U.S. citizen
                                                                                               Mark Lyttle, diagnosed with bipolar
demonstrated, a person with a severe mental disability                 disorder and developmental disabilities, was misidentified by
facing deportation must rely upon an immigration judge                 jail and ICE personnel as a Mexican citizen and deported to
who is able to recognize that a person facing removal has a            Mexico (and from there to Honduras and then Guatemala).
disability and does not understand the proceeding to try to            Mr. Lyttle quickly attempted to return to the United States
help them—but sometimes this occurs quite late in the case             but was removed with an expedited removal order. It took
and any assistance is limited in the absence of appointed              four months for Mr. Lyttle to return home to the United
counsel. However limited courtroom proceedings have
          284                                                          States and even when he did, with a U.S. passport sent to the
proven to be, they at least provide some statutory and                 U.S. Consulate in Guatemala, his prior deportation raised a
regulatory safeguards for people with mental disabilities.    285      red flag with CBP at the airport.288 Fortunately, his attorney
Individuals ordered deported through summary removal                   was present and able to ensure his release and return to his
proceedings, which can be very quick and are handled by                family.289
immigration enforcement officers, do not even have the
                                                                      In 2003, U.S. citizen Michael C. was interviewed by ICE
limited safeguards available to individuals with disabilities
                                                                      while serving a sentence for assault in a Texas state prison
in court. As a result, there have been several cases of U.S.
                                                                      and deported through 238b as a non-citizen convicted of
citizens with mental disabilities deported from the United
                                                                      an aggravated felony. Although ICE contends he admitted
States.
                                                                      to being a Mexican citizen, Michael’s birth certificate from
                                                                      Texas demonstrates he was born in the United States,290 and
In 2000, Sharon McKnight, a U.S. citizen with cognitive
                                                                      on the notice of intent to issue a final administrative order,
disabilities, was deported through expedited removal when
                                                                      he contested his deportability and told ICE that he was a
                                                                      U.S. citizen.291 Before the end of his sentence, he wrote to
                                                                      ICE wishing to know if they still intended to deport him

U.S. citizen Mark Lyttle was                                          even though he was a U.S. citizen; in response, DHS wrote
                                                                      that he had not produced any evidence of his citizenship
misidentified as Mexican and                                          while in prison.292 He was removed to Mexico but managed
                                                                      to return to the United States; his case is ongoing.293
deported; he was deported
again through expedited re-                                                                        * * *


moval when he tried to return.
                                                                      If there are any bright-line rules in U.S. immigration
                                                                      law, one of them is certainly that U.S. citizens cannot



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be deported from the United States. Thus, an individual             citizen children, he is pursuing his claim that he is a U.S.
who claims to be a U.S. citizen when subject to expedited           citizen so he can at least visit his family.298
removal is entitled to a formal removal hearing before
an immigration judge with the required safeguards,
including the right to counsel (at one’s own expense) and           b. U.S. Residents with Valid Status
the right to appeal the immigration judge’s order.294 After
Pedro Guzman was erroneously deported and a lawsuit                 While the deportation of a U.S. citizen is the epitome of
brought on his behalf by the ACLU, ICE issued guidance              an unlawful deportation, other individuals such as lawful
on citizenship claims by detainees; under this guidance,            permanent residents (LPRs), refugees, asylees, and others
ICE officers must consult with the Office of Chief Counsel          on valid work or tourist visas are not supposed to be
in cases with “some probative evidence” of citizenship              deported without seeing a judge. In some circumstances,
and must “fully investigate the merits” of such claim.295           these individuals may nonetheless lose their immigration
It is unclear whether CBP has similar guidance and what             status and be deported, for example, if convicted of certain
training, if any, exists to verify and investigate claims to U.S.   criminal conduct; however, even in these circumstances,
citizenship.                                                        they are entitled to a hearing in immigration court to
                                                                    determine whether they are, in fact, removable and whether
The number of known cases of U.S. citizens deported from
                                                                    they are nonetheless eligible for relief from deportation.
the United States remains low, and according to DHS data
provided to The New York Times in response to a FOIA                As previously noted, sometimes removability is a complex
request and analyzed by the ACLU, in FY 2013, only 97               determination, and it may not be obvious to an arresting
individuals were referred to an immigration judge for
                                                                    immigration enforcement officer that a person has status
a claimed status review hearing, where individuals who
                                                                    that makes them non-deportable. The speed with which
claim U.S. citizenship can seek review of their expedited
                                                                    these removal procedures occur, combined with the
removal order.296 Individuals are supposed to be referred to
                                                                    lack of supervision and legal assistance, make errors in
an immigration judge if they claim “under oath or under
                                                                    identification of a non-citizen inevitable.
penalty of perjury” to be a U.S. citizen, LPR, asylee, or
refugee.297 There could certainly be many more U.S. citizens
                                                                    In some cases, the individual’s status is not so difficult to
who were not referred for review. And there could be others
                                                                    determine and can be easily verified; even in these cases,
who did not know about their U.S. citizenship because they
                                                                    however, immigration officers have quickly deported
have derivative or acquired status. Timothy D., a Canadian
                                                                    individuals with lawful status in the United States—
interviewed by the ACLU, believes he has a derivative
                                                                    sometimes sending them to life-threatening situations. For
citizenship claim; he did not raise that claim when issued
                                                                    example, Nydia R. is a 36-year-old transgender woman
an expedited removal order because he believed he was
                                                                    from Mexico with asylum in the United States who, since
already lawfully in the United States on his business visa
                                                                    securing asylum, has twice been illegally deported through
and the U.S. citizenship was not his foremost reason for
                                                                    summary removal procedures. After years of threats and
being in the United States. Now that he has been deported
                                                                    harassment for being transgender, Nydia fled to the United
and is separated from his U.S. citizen wife and two U.S.
                                                                    States in 2003. Three years later, her nephew in Mexico was
                                                                    dying of cancer, so she returned to see him; the danger and
                                                                    threats persisted, so she attempted to return to the United

“I showed the officers the                                          States. At the border, she told the immigration officers
                                                                    about the violence she experienced in Mexico but was
markings on my body from                                            nonetheless deported to Mexico without being referred

being beaten and they didn’t
                                                                    for a credible fear interview. “I showed the officers the
                                                                    markings on my body from being beaten and they didn’t

seem to care.”
                                                                    seem to care,” Nydia told the ACLU.299 She eventually
                                                                    managed to enter the United States without inspection



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Nydia had asylum in the
U.S. when she was illegally
deported—twice—at the
border. Deported to Mexico,
Nydia was kidnapped and
raped.
and, in 2008, she applied for and received asylum. Nydia
told the ACLU that she planned to apply to adjust her
                                                                                                                            GETTY
status and become a lawful permanent resident but did not
have the money.

In 2010, Nydia’s mother died, and Nydia returned to                Nydia, a transgender Mexican immigrant, already had asylum
Mexico for the funeral. “I was afraid [to go back], but in the     when U.S. border officials deported her back to danger in
moment, I just blocked out everything that had happened            Mexico.

to me; when I got there, I thought ‘Oh my God, why am I
here?’ . . . All I could think about was how much I wanted
                                                                   Despite this terrifying treatment, Nydia did tell the officer,
to see my mother for the last time, but once I got there, I
                                                                   as documented in her interview, that she had asylum status
was terrified.”300 In Mexico, Nydia says her family rejected
                                                                   and that she was afraid to go back to Mexico. According
her, and she was attacked by groups of men who tried to
                                                                   to the sworn statement, recorded during her interview
remove her breast implants, and then beat and raped her.
                                                                   with CBP, Nydia said she left Mexico because she was
Nydia was robbed of her money and all her documents
                                                                   “discriminated against by my family and by people in the
and spent almost a year trying to find help in Mexico so
                                                                   city. About a week and a half ago … some gang members
she could return to the United States. Finally, on March
                                                                   grabbed me in the street. They tried to stab me and take
18, 2011, she tried to enter the United States through San
Ysidro. Nydia recalls:                                             out my implants. . . . They hit, beat, and raped me.”302 Close
                                                                   to 3 a.m., after hours of questioning, her statement was
    I was so desperate; all I wanted was to be here [in            read back to her in Spanish, and she signed it. Minutes
    the United States]. In Tijuana I met someone who               later, Nydia says, the officer told her that seeing a judge
    sold me an ID. I tried to enter and that’s when                would be useless; still, Nydia recalls, “I said I would rather
    they detained me. I explained my situation and                 see a judge and stay in detention.”303 At that point, she was
    asked to see a judge. …The officials were trying               brought more papers to sign—in English, which she could
    to find out if I was actually a woman “naturally.”             not read—and she signed them, assuming they were the
    They were saying, “You look her over!” “No, you                same papers she just signed in Spanish. In fact, it was an
    look her over!” Finally, they told me to take off my           expedited removal order. According to the form, the officer
    pants in front of two men. . . . Just imagine, you             wrote, “At approximately 0445 hours, [ ] admitted to not
    try so hard to be the person you want to be, you               having a fear and concern and requested to be returned
    undergo surgery, which is incredibly painful. And              to Mexico.” Nydia, who was still bruised from her recent
    then they don’t even treat you like a person.301               attack and rape, was placed in a van and dropped in



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                                                                 deportations were not authorized by law, there was no

Even with a U visa and 15
                                                                 immediate legal recourse to ensure their safe return.


years in the United States,                                      Francisco N. G., a 21-year-old from Mexico, came to the
                                                                 United States with his family in 1999. He was six years

Francisco was deported                                           old when his family settled in Texas, where he attended
                                                                 elementary, middle, and high school. When he was a senior

and then given an expedited                                      in high school, his father attacked him and his mother.
                                                                 Francisco, who was trying to protect his mother, called
removal order when he                                            the police and testified against his father in court; because

asked for help at the border.
                                                                 of their cooperation, both he and his mother were able
                                                                 to apply for a U visa (a nonimmigrant visa for victims of
                                                                 crimes). Recalls Francisco, “A few months later, we attended
                                                                 court and won the case that put us on a path away from my
Mexico, where she slept on the streets, afraid to go back to
her hometown.                                                    dad.”306 In early 2014, Francisco was driving himself and
                                                                 coworkers to work at a construction site near San Antonio,
On April 26, 2011, Nydia again tried to return to the United     Texas, when he was pulled over by police for having an
States; when she was arrested by immigration officers, she       expired registration sticker. The police called ICE, who
tried to explain that she already had asylum in the United       arrested everyone in the car. Francisco was also arrested
States. The officers ran a Central Index System check, which     and handcuffed by an officer who, Francisco recalls, told
showed that Nydia was in fact an asylee.304 Nonetheless, she     him he was going “back to where I came from.”307 Francisco
was processed through reinstatement and given a removal          was detained and questioned by several officers about what
order prohibiting her from reentering the United States          he was doing in the United States. After approximately 12
for 20 years. Deported again to Mexico, and immediately          hours, he was moved from San Antonio to Laredo, where
in danger on the streets, Nydia
looked for work along with another
transgender woman but faced abuse
wherever she went. Says Nydia, “That
is when the other transgender woman
and I were kidnapped and forced
to work for Los Zetas [cartel]. They
made us prostitute our bodies for
them.” Nydia was able to escape after
several months and returned to the
United States without being arrested.
“I really like living here in the U.S.
The thing I like the most is that I feel
free. Obviously, I’m still afraid but the
truth is that I feel protected.”305

Other individuals interviewed
by the ACLU were also deported
without a hearing when they were
misidentified as having no status in
                                            On the bridge between El Paso, Texas, and Ciudad Juárez, Mexico.
the United States, and although their




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he says officers threw away his U visa ID and accused him         to Mexico. Although his attorneys and family are in Texas,
of lying about his status:                                        he was transferred to a detention center in Washington
                                                                  State to await his credible fear interview. After several
    The officer who had the forms told me that it                 days, Francisco was released from detention, his expedited
    didn’t matter, that even if I was telling the truth           removal order was terminated, and he returned to his
    the judge could overturn the decision and send                family in Texas.
    me back to Mexico. …I had three or four officers
    telling me, watching, and waiting for me to give              Guadeloupe was also deported despite having been
    up and sign that sheet. . . . When I explained                approved for a U visa and after showing the approval
    about my status and asked if I could call [my                 paperwork to CBP officers.311 Guadeloupe, a 36-year-old
    attorney at] American Gateways, they said no.                 mother of five U.S. citizen children, came to the United
    When I asked to call my family, they said no. I               States when she was 15 after the death of her mother to
    kept asking but finally one of the officers told me           join her U.S. citizen and LPR brothers, who were living in
    to understand that I would get no call until they             Texas. In Texas, where she has lived for almost 21 years, she
    were finished with me. The only call I got to make            raised five U.S. citizen children but was physically abused
    was (as I was leaving) to my mother to let her                by both her partners; the first was a U.S. citizen and the
    know what had happened.308                                    second an LPR. Guadeloupe was twice deported at the
                                                                  port of entry in El Paso, Texas; both times, the forms were
The officers, Francisco says, told him he was being charged       in English and she says she did not understand what was
with smuggling, and the other men in the car wanted to be         happening. On the second occasion, in 2011, Guadeloupe
deported, so if he went to court there would be no one to         was prosecuted for illegal reentry and served 11 months
testify in his defense and he would go to prison for many         in federal prison, but while in prison she was able to apply
years. The next day, he was deported to Piedras Negras,           and receive approval for a U visa, based on the domestic
Mexico, where he knew no one.                                     violence she experienced. In 2013, during a routine check-
                                                                  in with her probation officer in El Paso, the probation
At the time of his deportation, Francisco was saving up for       officer called CBP to come and interview Guadeloupe.
dentistry school and working to support his mother and            Guadeloupe explained that she had an approved U visa and
brother. His deportation was incredibly difficult for his         presented the papers, but the CBP officer proceeded with
family in Texas. Recalls Francisco, “I was a really big help      her deportation. “He took [the visa paperwork] away and
to my Mom in raising my younger brother and helping out           said it was no good,” recalls Guadeloupe. “He then handed
with the bills. So financially and emotionally, they [were]       over my deportation order that had my signature already
going through some difficult times.”309 After Francisco’s
deportation to Mexico, Francisco’s father was also deported

                                                                  Javier Pelayo, an LPR with
and started threatening to harm his son. Although he has
valid U status, Francisco still needed authorization to
reenter the United States after his removal; however, the
normal route, consular processing (which includes fees            mental disabilities, was
and an interview with a U.S. consulate), would have been
very lengthy and expensive, as he would also have had             deported by an officer
to apply and wait for a waiver. Because of the threats he
was facing from his father, Francisco presented himself at
                                                                  who assumed he was
the U.S. border, accompanied by an attorney, and asked            undocumented. He died
                                                                  apparently trying to return
to be paroled into the United States because he had U
status.310 CBP, however, refused to admit him and appears

                                                                  to his family.
to have issued an expedited removal order. Fortunately,
Francisco was able to explain his fear of being deported



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signed.”312 Guadeloupe was deported to Ciudad Juárez,          to the CBP officers that her mother was very ill and that
Mexico, where she was homeless for over two months:            her parents do not speak English. Gabriela recalls that
“In Mexico, I had no ID, no money, no connections to           the officer told her that her parents could either abandon
start my life again, no way to get a job. I was legitimately   their LPR status or go before an immigration judge. “[The
afraid of dying there.”313 Advocacy from her attorney and      officer] let me talk to my mom, and my mom said, ‘I don’t
the American Immigration Council eventually secured            know what they are talking about, I don’t understand.’”319
her return to her children in Texas, but she remains afraid    Gabriela and her mother decided she should ask to see a
that at any moment, she could again be picked up and           judge who could verify their right to return home to the
deported.314                                                   United States, and Gabriela communicated this to the CBP
                                                               officer. Gabriela says several hours went by before the CBP
Javier Pelayo was an LPR with mental disabilities who          officer called her back and stated her parents were being
came to the United States as a young child and grew up in      processed for abandonment of LPR status.320 Although
Texas. Given his disabilities, his family encouraged him not   CBP did not ultimately issue a summary removal order
to carry his LPR card with him so that he would not lose       while also stripping the couple of their LPR status, this
it. In April 2000, Mr. Pelayo went to a fast food restaurant   couple is now in legal limbo and without a formal means to
and was arrested by Border Patrol agents who apparently        challenge this deprivation of their rights and status.
assumed he was undocumented and deported him, after
almost 20 years in the United States. His mother, also                                   * * *
an LPR and a farm worker, searched for him at jails and
hospitals to no avail. “At first when he disappeared I tried   In all of these cases, while the person’s status might not
to find him, asking everybody for information,” she said.      have been obvious to the arresting and interviewing DHS
“That was for weeks. Then they told me he was dead.”315        officer, the claim should have triggered more serious review
A month later, his body turned up in the river; he had         and at least an opportunity for the individual to speak to a
apparently tried to swim back to his family in Texas.316       lawyer and see a judge before more penalizing action was
                                                               taken. Even for those deported who were eventually able
Rocio and Nicolas L., a retired LPR couple originally from     to return to the United States, the emotional and financial
Argentina, had been LPRs for over 20 years; they lived         costs to them and their families have sometimes been
in California near their daughter and her family. The          significant and yet have no redress.
couple was returning to the United States after seeking
less expensive medical treatment abroad when a CBP
officer pressured them to “abandon” their LPR status at        2. Expedited Removal of Tourists and
the Atlanta, Georgia, airport. Under federal law, a lawful
permanent resident (LPR) is not treated as an arriving non-
                                                               Business Visitors
citizen seeking admission when they return to the United       Expedited removal allows immigration officers to remove
States.317 However, there are some exceptions, notably         non-citizens who are “inadmissible,” meaning they are
(1) if the individual “has abandoned or relinquished that      attempting to enter the United States without valid travel
status” or (2) if he or she “has been absent from the United   documents or through fraud and misrepresentation. In
States for a continuous period in excess of 180 days.”318 In   practice, immigration officers at ports of entry sometimes
these circumstances, an immigration officer can treat the      remove individuals with seemingly valid entry documents
individual as having abandoned their status as an LPR.         whom an officer suspects of not complying with their visa.
                                                               For example, if a border officer believes that someone on a
Rocio, accompanied by her husband, who has some mental         valid tourist or business visa actually intends to immigrate,
health difficulties, had been receiving cancer treatment in    he or she might accuse the individual of fraud or
Argentina and was returning after four months abroad.          misrepresentation. Or, according to advocates interviewed
After hours of detention and interrogation, they were          and cases documented for this report, if an officer suspects
allowed to call their daughter, Gabriela H., who explained     the individual is doing work not authorized by that specific



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visa, the officer might cancel the visa and also immediately

                                                                   For Mexicans and Canadians
issue an expedited removal order.



                                                                   who lawfully work in the
Officers have enormous discretion to make these
determinations, and there are no regulations specifying
what facts and evidence an officer must consider and
produce when deciding to cancel a visa and issue an                United States each day,
expedited removal order. Courts have recognized the
incredible power this gives to line officers at a port of entry
                                                                   expedited removal—or
(and beyond). In Khan v. Holder, the U.S. Court of Appeals
for the Seventh Circuit, while recognizing limits on its
                                                                   seizure of their visa—is a
authority to dissect an expedited removal order, observed:         looming threat.
    The troubling reality of the expedited removal
    procedure is that a CBP officer can create the                     person’s status to removal—can happen without
    [] charge by deciding to convert the person’s                      any check on whether the person understood
    status from a non-immigrant with valid papers                      the proceedings, had an interpreter, or enjoyed
    to an intending immigrant without the proper                       any other safeguards. To say that this procedure
    papers, and then that same officer, free from                      is fraught with risk of arbitrary, mistaken, or
    the risk of judicial oversight, can confirm his                    discriminatory behavior (suppose a particular
    or her suspicions of the person’s intentions and                   CBP officer decides that enough visitors from
    find the person guilty of that charge. The entire                  Africa have already entered the United States)
    process—from the initial decision to convert the                   is not, however, to say that courts are free
                                                                                         to disregard jurisdictional
                                                                                         limitations.321

                                                                                        As with most expedited removal
                                                                                        orders, there is no meaningful
                                                                                        opportunity to challenge these
                                                                                        orders or have them rescinded. In
                                                                                        a recent decision, however, the U.S.
                                                                                        Court of Appeals for the Ninth
                                                                                        Circuit determined that despite
                                                                                        limitations on reviewing whether
                                                                                        a CBP officer correctly identified
                                                                                        someone as inadmissible,322 courts
                                                                                        do have the ability to review the
                                                                                        threshold question of whether CBP
                                                                                        had legal authority under the statute
                                                                                        to place a non-citizen in expedited
                                                                                        removal proceedings.323 For example,
                                                                                        if a person was, as a legal matter,
                                                                                        incorrectly identified as inadmissible
                                                                                        (and thus, given an expedited removal
Thousands of people enter and leave the United States each day. Many lawfully enter
the United States to work or study while living in Mexico or Canada.                    order), he or she should still have the
                                                                                        opportunity to bring this to a court



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and dispute that CBP had the legal authority to place him        where products under warranty could be inspected. Scott
or her into the expedited removal process in the first place.    L., one of Yolo Medical’s employees trained in highly
This is a new decision, however, and for most people,            specialized technical repair work, lives in British Columbia
challenging an expedited removal order and its factual           and would periodically drive to Washington State to
basis—however tenuous—will continue to be difficult.             perform routine repair work on Yolo products at the
                                                                 distribution center. Yolo Medical prepared a B-1 (business)
Along the southern and northern U.S. land borders,               visa application, which Scott brought to CBP, but it was
where people from Mexico and Canada routinely and                rejected and he was told he could perform only warranty
lawfully work or study in the United States and cross            inspection work in the United States. Yolo Medical engaged
the international border as part of their daily commute,         a lawyer, adjusted the application, and brought it to CBP,
expedited removal remains a threat. Officers have enormous       which then said that Scott would need to pick up any
power to issue orders or take away a person’s visa based on      products for repair and bring them to Canada for repair.
subjective assumptions and with limited evidence. Human          One day, visiting the Washington distribution center, Scott
rights advocate Crystal Massey, working in New Mexico at         picked up products for repair; before returning to Canada,
the Southwest Asylum & Migration Institute, has observed         he noticed that one customer’s product needed only a small
that people with valid visas who cross into the United States
                                                                 adjustment to be fixed, which he did at the distribution
to visit family, go shopping, or attend church services can
                                                                 center. Scott says he did not think anything of it, but when
suddenly have their border crossing cards taken with no
                                                                 he got to the border, he was questioned by an immigration
explanation and little recourse: “There is no investigation;
                                                                 officer: “CBP asked me if I did any work in the U.S., and I
the government doesn’t have to share anything at all. And
                                                                 said no because I didn’t consider that actual work; but they
it’s too late when they’ve taken your visa.”324
                                                                 called the warehouse and asked if I had any tools, and [the]
                                                                 receptionist said yes, I had a screwdriver. Then they said I
Rosalba, a 56-year-old Mexican woman, has regularly
                                                                 had intentionally lied to the border agent.”327
traveled to the United States, always on a valid tourist visa
that she has never overstayed. In 2010, she married a U.S.
                                                                 Scott was detained for approximately 8 hours until he
citizen who lives in Texas; they kept separate residences,
                                                                 signed an expedited removal order. The result, says Scott’s
Rosalba in Mexico and her husband Raoul in Texas,
                                                                 supervisor Lorenzo Lepore, is that Yolo Medical has closed
visiting each other every couple of weeks. Raoul is ill with
throat cancer; he requires surgery every two months and          its branch in the United States, laying off U.S. citizen
his disability checks are his only source of income. On          employees, and added significant costs and time to its
September 24, 2010, Rosalba was driving to Texas to see          operations: “Customers pay a lot more to get their warranty
her husband and his sister, who was in the hospital. She         work. . . . No one crosses the border anymore to do this
recalls that the border officials stated they wanted proof her   work. It’s really complicated the process, made it longer and
sister-in-law was in the hospital and took her into an office,   much more expensive.” For Mr. Lepore, it does not make
searched her, and then pressured her to sign an expedited        sense to try again to get permission for an employee to
removal order: “The official was insisting and insisting, and    cross the border, after their last experience, even though the
telling me I lived in San Antonio, and that if I didn’t admit    company previously planned to expand operations in the
[it], he could put me in jail. . . . I was scared, so I signed   United States:
it.”325 According to Rosalba’s attorneys, even though staff at
the U.S. Consulate in Mexico agree that Rosalba should not           We tried to comply with whatever we were told to
have been issued an expedited removal order, she must still          do. . . . [E]ven after we did everything [CBP] told
apply for a waiver and remain outside of the United States           us to do, [Scott] still ended up with an expedited
for now.326                                                          removal order. The biggest thing we take from
                                                                     this is that you, as an individual or a company,
For years, Yolo Medical, a Canadian medical distribution             have no rights. We did everything by the books
company, had a distribution branch in Washington State,              and we still lost. . . . It’s just been one bad thing



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                                                                  no right to judicial review of the circumstances), some

“We did everything by the
                                                                  advocates report that once a person has been issued an
                                                                  expedited removal order, getting another visa to reenter the

books and we still lost. . . .
                                                                  United States—even after the five years have passed—can
                                                                  be difficult. In cases where a person appears to be making

It’s just been one bad thing                                      a mistake and not willfully attempting to commit fraud
                                                                  or immigrate or work without authorization, allowing

after another when we are                                         the individual to withdraw their application would be a
                                                                  more rights-protective and less punitive approach that also

just following the rules.”                                        recognizes the realities of the interviews at ports of entry
                                                                  and the complexity of immigration law.

    after another when we are just following the rules.           Roland J., a 41-year-old Indian national, works in the
    The ever-changing rules.328                                   computer software field. He first came to the United
                                                                  States in 2003 on an H-1B visa (a work permit) and later
For Scott, the expedited removal order has been                   converted to a different nonimmigrant work visa in 2013.
particularly problematic because his siblings live in the         Roland regularly traveled to Canada for his work and in
United States and he has had to miss family reunions while        September 2013, while his new visa was pending, he says
waiting for the five years to pass so he can lawfully return.     he called several CBP offices to see if he could travel while
                                                                  his visa was being converted. Unable to get an answer by
Zayyed is a professional chef in Mexico; friends in               phone, Roland went to a port of entry and asked a CBP
California invited him to visit and asked if he would cook,       officer who, Roland recalls, told him that he could travel
for free, for a party during his stay. Zayyed, who always         while the visa was pending. Roland went to Canada but on
traveled to the United States on a valid tourist visa, which      his return was told he could not reenter. “The supervisor
he claims never to have overstayed, was stopped at the            came and he started laughing. He asked me to prove that I
airport upon his arrival in the United States. According to       spoke to the [other] officer yesterday,” says Roland. “I went
his brother Antonio, an LPR living in California, Zayyed          to another border crossing because I thought these officers
was handcuffed, detained for two days, and repeatedly told        were making a mistake.”331 But the officers at the next
to admit that he was working without authorization in the         border crossing said they could not help him either. He
United States. Antonio says that Zayyed’s friends confirmed       tried yet another port of entry where an officer approached
by phone to CBP that Zayyed was not being paid but was            his car. According to Roland,
just going to help them out; nevertheless, he was forced
to sign an expedited removal order and is banned from                 I explained I didn’t want to gain entry but I
visiting the United States, where his siblings live, for five         wanted to find the solution to the problem. He
years.329                                                             said I had to turn over to the booth so he could
                                                                      talk to me. . . . I was there 3 hours and they
Misguided and unsupported assumptions by DHS officers                 started to fill out a lot of paperwork. They asked
can lead to unfair deportation orders that cannot be                  me to sign a paper—I asked if it was good or bad
effectively rectified. To be sure, in some cases immigration          and, they said, “neither good or bad,” so I signed.
officers may correctly identify a person attempting to                But then he told me it was a removal order.332
enter the United States without authorization or by
misrepresenting the purpose of their visit.330 Even in those      Desperate and confused, Roland tried to get into the
situations, however, it is possible that some of the alleged      United States one more time, where his house, his job, and
“misuse” was not willful. In such cases, expedited removal        all his life savings were located. But immigration officers
is a blunt and drastic response; in addition to barring the       reinstated his prior expedited removal order. “The officer
individual from reentering for five years or more (with           had checked with his own pen where I was supposed to



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                                                                                          * * *


“From my experience, I’ve                                      In some instances, it is difficult for an immigration officer
                                                               not trained in highly complex immigration law and
learned you can be a law-                                      with dozens of cases to process to determine whether an

abiding person and this can
                                                               individual lacks lawful status in the United States and
                                                               is removable. Summary removal procedures, in which

happen for no reason.”
                                                               immigration officers are the adjudicator and deporter,
                                                               place enormous responsibility on a single officer to
                                                               investigate and determine the facts and law in a short
                                                               period of time. In cases where the facts and legal rights
sign saying I didn’t want legal help. He said I could change
                                                               at issue are complicated, referring the individual to an
my mind at any time. I didn’t know what I was signing.”333
                                                               immigration judge to have his or her case evaluated with
CBP then referred him for prosecution for illegal reentry.     a full hearing, and allowing him or her the opportunity
Because he was able to show that he had not committed          to secure counsel and evidence to support his or her case,
any fraud, his sentence was reduced from illegal reentry       can make all the difference—and does not jeopardize an
to illegal entry, and he was given time served. But with his   immigration enforcement officer’s ability to perform his or
reinstatement order, he is banned from the United States       her duties. Unwinding and correcting an unfair and illegal
for 20 years. “From my experience, I’ve learned you can be     deportation order—even in the limited cases where that is
a law-abiding person and this can happen for no reason.”334    possible—is a long and difficult road.

Timothy D., a Canadian national, first came to the
United States in 2001 on a TN (business) visa335 to teach
at a university in Detroit, Michigan. He bought a home,
married a U.S. citizen, and has a six-year-old U.S. citizen
child; he and his first wife divorced, and Timothy remarried
another U.S. citizen with whom he is expecting a child.
In 2012, after spending the day in Canada, Timothy was
crossing back into the United States when CBP officers
at the port of entry in Detroit pulled him into secondary
inspection and started inquiring into his work. Timothy
explained that in addition to being a professor, he did some
graphic design contract work (for which he had registered
with the State of Michigan and was paying taxes). Timothy
says the CBP officer told him he needed a different visa for
that work, which Timothy says he did not realize.336 Getting
a removal order was a shock: “The longer you’re present
in the U.S., the less you think they are going to kick you
out,” says Timothy.337 Timothy recognizes that despite his
deportation and separation from his family, he is one of the
fortunate ones; he has been twice allowed into the United
States on parole to see his son, and his son has been able
to spend summers with him in Canada: “I know plenty
of people who don’t get parole. . . . For people who don’t
have resources or education, this must be disastrous. I’m
lucky.”338



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C. LONGTIME RESIDENTS                                               being that we owe more to non-citizens who are part of
                                                                    our community and have built ties and claims here. On the
REMOVED WITHOUT A HEARING                                           other hand, courts have held that non-citizens arriving at
                                                                    the U.S. border are not entitled to all the protections of U.S.
The summary removal procedures created by IIRIRA                    constitutional law and, consequently, may have fewer claims
have diverted hundreds of thousands of people away from             that can be made when entry is denied. As the Supreme
court and funneled them through quick administrative                Court explained in one of the first U.S. cases on the rights of
processes. While expedited removal in particular was                immigrants seeking admission explained:
largely a political response to the large numbers of Cuban
and Haitian migrants arriving in the United States in the                It is not within the province of the judiciary
early 1990s,339 expedited removal and related summary                    to order that foreigners who have never been
deportation procedures are not used only against “arriving”              naturalized, nor acquired any domicil[e] or
migrants with no ties to the United States. People who have              residence within the United States, nor even
lived in the United States for most of their lives and have              been admitted into the country pursuant to
U.S. citizen family are also swept up into these procedures              law, shall be permitted to enter, in opposition
that bypass not only the courtroom but also critical                     to the constitutional and lawful measures of the
constitutional and statutory protections.                                legislative and executive branches of the national
                                                                         government. As to such persons, the decisions of
In the past, while recognizing that non-citizens have rights             executive or administrative officers, acting within
in the United States, federal law has drawn a distinction                powers expressly conferred by Congress, are due
between the rights of immigrants who have entered the                    process of law.340
United States and those who are seeking entry at the border.
Immigrants within the United States have due process rights         In subsequent years, courts have reaffirmed the position
under the U.S. Constitution to a fair hearing, the assumption       that non-citizens at the border, seeking admission, have



Tijuana, Mexico. U.S. Border Patrol officers at the U.S. border near San Diego, California, look for migrants attempting to enter the
United States without authorization.

                                                                                                                             Sam Frost




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more limited due process rights.341 Yet under the drastic       for relief, defending their rights and winning relief is a
changes brought about by the 1996 IIRIRA summary                matter of chance.
removal procedures, certain people who have entered the
United States are nonetheless denied a removal hearing.
Today, the people diverted from the courtroom and               1. Deportations at the Border
deported without a hearing are not all strangers without
ties to the United States, and some might also win the right    At the border, most people arriving without authorization,
to remain here if given a fair hearing.                         including undocumented immigrants returning to their
                                                                families in the United States, are processed through
Almost a decade ago, when expedited removal was                 expedited removal and quickly repatriated. The one thing
expanded beyond ports of entry, advocates warned that           the expedited removal form requires border officers to
individuals who are eligible for discretionary relief (such     ask when processing an individual for expedited removal
                                                                is whether he or she is afraid of returning to his or her
as cancellation of removal) but were picked up within the
                                                                country of origin. As documented in previous chapters,
United States could lose the opportunity to apply for relief
                                                                this questioning is not always done and even when it does
if immigration officers treated any absence from the United
                                                                occur, is often superficial.
States as invalidating that opportunity.342 Unfortunately,
these concerns have been corroborated. Many people
                                                                Although DHS’s notice expanding expedited removal
interviewed by the ACLU were longtime residents with U.S.
                                                                in 2005 stated that DHS does not have to place a person
citizen children but were deported without a hearing and
                                                                in “interior” expedited removal proceedings where the
without any inquiry into whether or not they had family
                                                                equities weigh against it, no guidance has been publicly
in the United States or how long they had been outside          issued that indicates how a DHS officer would make such
of the country. Indeed, it is not only individuals who left     a decision. Indeed, expedited removal does not require any
the United States and are returning whose lives in the          further questioning by border officials or screening for
United States are arbitrarily ignored; individuals arrested     possible claims to enter and remain in the United States;
by immigration officials anywhere in the United States and      whatever equities a person may have—U.S. citizen children,
coerced into accepting voluntary departure or removed           long residence in the United States, etc.—often remain
because of a criminal conviction are also deported without      invisible throughout this process. The ACLU interviewed
seeing a judge.                                                 several people in migrant shelters in Mexico and others
                                                                now in immigration proceedings who had been issued
In all these situations, DHS retains discretion to place        an expedited removal order at the border but had never
individuals in formal removal proceedings before a              been asked about their ties to the United States or referred
judge; instead, DHS sometimes treats these individuals as       for formal removal proceedings at the border. In some
outsiders with no claims, essentially erasing all their years   circumstances documented by the ACLU, individuals
in and ties in and to the United States. For undocumented       who had lived in the United States for many years left the
longtime residents of the United States who may be eligible     country only briefly to see their families, attend funerals,
                                                                or for other compelling reasons, and yet, upon their return,
                                                                they were subjected to expedited removal. Not only has this
                                                                practice separated families, but it has also returned some

“I was told I would be taken                                    people, and their U.S.-based family, to very dangerous
                                                                conditions in violation of U.S. and international law.
to see a judge the next day,                                    Wendy D. G., a 26-year-old woman from Honduras, came
but instead I was taken to                                      to the United States when she was 15. She attended high

the border and told to go.”
                                                                school in California and has two U.S. citizen children. In
                                                                2012, Wendy decided to return to Honduras to see her



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family: “I decided after so many years, I wanted to see my

                                                                  “I said I don’t know how
family. . . . I never thought my country would be worse
than when I left. But it was. . . . There was so much violence
in the streets. I was thinking, ‘Why did I come here?’”343
Wendy soon attempted to return to the United States,              to read or write and so
leaving her daughter with family in Honduras until she
could safely be sent for. When Wendy crossed into Texas,
                                                                  he shouldn’t give me any
CBP arrested and detained her, and issued an expedited            papers, but he just said,
                                                                  ‘Sign here on each page.’”
removal order. “I regret that I went back [to Honduras].
I’ve been living here [so long].”344 Wendy was moved
through several different detention facilities before being
released on an order of supervision. She is now living in
                                                                  Inocencia C. came to the United States from Mexico when
Miami with her two U.S. citizen children, working with            she was 12 years old and is the mother of three U.S. citizen
a temporary permit, and reporting to ICE. But at any              children. After living in California for approximately 15
moment, she could be deported. Says Wendy, “I’m a mom             years, she left the United States under coercion from her
that wants to work for my kids. I want to succeed.”345            abusive partner, the father of her children. The abuse only
                                                                  intensified when the family returned to Mexico, so after a
                                                                  few months, Inocencia sent her children back to the United
                                                                  States and then tried to cross herself. At the port of entry
                                                                  in San Ysidro, border officers told her she would lose her
                                                                  children and forced her to sign an expedited removal order.
                                                                  Inocencia recalls,

                                                                      I said I don’t know how to read or write and so
                                                                      he shouldn’t give me any papers, but he just said,
                                                                      “Sign here on each page”. . . . The officer spoke
                                                                      Spanish and he yelled at me, “The government
                                                                      can keep your kids because you are illegal. It is
                                                                      a crime, what you did.” I didn’t know anything
                                                                      about the law. Here I know if you abandon your
                                                                      kids they will take them away from you.346

                                                                  She made three attempts to return to the United States
                                                                  and escape her violent ex-partner; eventually, she was
                                                                  not referred to an asylum officer or for a hearing but was
                                                                  instead referred for prosecution for illegal reentry.347 After
                                                                  a federal judge gave her “time served” for illegal reentry
                                                                  and released her, and with intervention and advocacy from
                                                                  her federal public defenders, ICE agreed to place her in
                                                                  immigration proceedings, which are ongoing.

                                                                  In January 2014, Maria D., who had lived in the United
Wendy, holding the passport of her U.S. citizen daughter, was     States for 23 years, left the United States to attend her
ordered deported after she visited family in Honduras—her
first time there in almost a decade.                              father’s funeral in Mexico. According to her attorney,
                                                                  Maria’s U visa, based on an assault and attempted rape



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she suffered in Los Angeles, was pending when she left.

                                                                After almost 15 years in the
Returning home to California, she presented herself at
the San Ysidro Port of Entry and was issued an expedited
removal order, even though the interviewing officer noted
that she had a pending U visa.348 Maria’s daughter, Claudia,    United States, Braulia was
who lives in California, went to visit her in Tijuana after
Maria was released from U.S. custody. Claudia recalls,          deported without a hearing
“[Maria] was depressed and crying. Only she knows
how she felt when she was in there. . . . They were being
                                                                to Guatemala, where her son
pressured to sign, and people were saying, ‘If you say you
are afraid, you will stay here for 3 months and not be able
                                                                was killed. Then his murderers
to talk to your family.’ So she got afraid. All she wanted
at that moment was to be released.”349 Maria remains in
                                                                raped and shot her.
Mexico, separated from her family in the United States.
                                                                    Spanish. The officer said well you’ve got to sign
Braulia A. is a mother of five (including four U.S. citizens)       and I said no. The officer said I don’t care if you
from Guatemala who entered the United States without                sign….look, I already signed for you.352
inspection in 1991. She left Guatemala with her son, fleeing
violence from both police and gangs: her father had been        Braulia was detained at CCA Otay Mesa Detention Facility
murdered and she had been raped by police officers as a         (an ICE detention center) and then deported with an
teenager. Braulia moved to California, married, started         expedited removal order. Almost immediately upon her
a family, and sent money to her mother in Guatemala.            arrival in Guatemala, Braulia says, she began to receive
Starting in 1999, the money attracted the attention of gangs    threats from gangs. Braulia’s U.S. citizen children joined
that demanded money from Braulia’s mother. In 2005, a           her in Guatemala when she was first deported, but it
friend of Braulia’s recommended that she visit a dentist        quickly became too dangerous, so she sent them home
in Tijuana. Not realizing that she could not travel on her      to California: “They were being followed. People were
Employment Authorization Document (“EAD card”),                 calling and threatening the children, saying offensive
Braulia, who is not literate in Spanish or English, went to     things about my 12-year-old girl. Gangs were shooting at
Tijuana for the day. When she called her husband before         our front porch.”353 Her nephew, who was the head of a
returning to California, and he explained that she could        gang and was in prison for the murder of a family, started
not travel on her EAD card, Braulia says she panicked and       demanding conjugal visits from Braulia (his aunt) and
attempted to reenter by hiding in a truck.350 Arrested at the   sending her threats. Finally, she fled to Mexico; but around
San Ysidro Port of Entry, Braulia told immigration officers     that time in 2006, her oldest son, Wilmer, who was living
that she lived in the United States and was afraid to return    undocumented in California, missed her too much and
to Guatemala, given the threats against her family. The         attempted to rejoin her in Guatemala.
officers wrote on her record of sworn statement that she
had no fear and that she had gone to Tijuana for a party,       Recalls Braulia, “I said just come to Mexico and we will
both of which Braulia denies:351                                figure it out. He was going to come, but a week before his
                                                                birthday he was killed [in Guatemala].” Devastated, Braulia
     The officers said, “We don’t care if you are killed        returned to Guatemala for her son’s funeral and begged the
     there. Don’t even think about coming back or               Guatemalan police to investigate his murder. Braulia says
     we will put you in jail for a long time.” They just        that the officers told her it was a police bullet that killed
     said, “You don’t have a right to anything, you             her son and demanded money to investigate further. Days
     are a criminal, you are worthless.” The officer            later, Braulia herself was kidnapped, shown photos of her
     was reading some papers and wanted me to sign              murdered son, gang-raped, her eyes and mouth taped, shot
     them. I said I can’t read or write in English or           nine times, and left for dead. It has since been confirmed



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by police and media sources that her nephew, who was             which his attorney believes to be an expedited removal
released from prison, was behind the murder of her son           order. Cesar remembers, “When I was taken to the facility, I
and the rape and attempted murder of Braulia.354                 was given documents to sign and was told I would be taken
                                                                 to see a judge the next day, but instead I was taken to the
With help from her family, Braulia eventually returned to        border and told to go.” Cesar had not been back to Mexico
the United States in October 2007 after a difficult journey      in 14 years.356
through the mountains in Guatemala and then across
Mexico. Even after returning to the United States, she says      Cesar’s inclusion in expedited removal is not exceptional
she continued to be harassed and threatened by gangs in          even though it was unlawful given his long residence in the
Guatemala: “They called me at my home here in San Diego          United States, but it may not be unique. A report published
and they asked for money. They told me that if I did not         by the ACLU of New Mexico showed that many longtime
give them money they would cut off my sister’s or my             undocumented residents are swept into these deportation
nephew’s head.”355 Several years later, in September 2011,       processes, which deny them a hearing, not when they
immigration officers came to Braulia’s home looking for          attempt to enter the United States but when arrested
someone else and took her into custody when they realized        by Border Patrol in their “border” communities.357 For
she had a prior order of removal. After a few weeks, she         example, 16-year-old Sergio was picked up by Border Patrol
was referred for a reasonable fear interview and remained        on his way to harvest lettuce 70 miles from the border; he
in detention until January 2012, when she was released on        had lived in the United States for eight years (since he was
bond. She finally won relief under the Convention Against        eight) but was deported that same day and separated from
Torture in March 2014.                                           his widowed mother and two younger siblings.358

As discussed above, since the expedited removal procedure
was expanded horizontally and vertically across the entire       2. Apprehended and Deported in the
border (within 100 miles of the U.S. international border),
even individuals who are not at a port of entry and may not
                                                                 Interior of the United States
have left the country can be swept up by expedited removal.      Even beyond the border area, however, immigration
Under the regulations, individuals who have been in the          officials have deported longtime residents of the United
United States for 14 days or more should be referred to an       States without giving them the opportunity to see a judge
immigration judge, but our investigation suggests that in        through administrative voluntary departure (or “voluntary
many cases, Border Patrol officers are not asking individuals    return”), stipulated orders of removal, or administrative
when they first came to the United States. As a result, some     orders of removal (“238b”). While 238b is supposed to be
individuals who have been in the United States for many          used exclusively against individuals convicted of certain
years without leaving are also deported without a hearing.       enumerated offenses, voluntary departure can be—and
                                                                 is—applied to anyone, including individuals who would
For example, Cesar came to the United States in 2000             otherwise be eligible for discretionary relief such as non-
and has a U.S. citizen stepdaughter whom he has raised           LPR cancellation of removal.
since she was five. In early 2014, Cesar, who worked as a
landscaper and had lived continuously in the United States
for 14 years, was stopped by local police in Weslaco, Texas,     a. Voluntary Return
while driving with a colleague to a waste management
facility. Weslaco is considered part of the border zone          While voluntary return is not considered a “formal”
because it is within 100 miles of the U.S.-Mexico border.        removal order like an expedited order of removal or a
The police officers who stopped Cesar did not charge him         238b order, it comes with consequences that may be just
or his colleague with any traffic violation; rather, they        as severe, particularly for individuals who have been living
called CBP to arrest the two men. After many hours of            in the United States without authorization for over six
interrogation and threats by CBP, Cesar signed a form,           months and who are subject to bars on reentry. It may,



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however, have benefits for some individuals, as it preserves     attorney or her husband. Instead, she was presented with a
the ability to apply for relief in the future.359                voluntary departure order:

Voluntary return is supposed to be given only at the                 I told [the ICE officer] I wasn’t going to sign
request of the non-citizen after he or she has been made             because I wanted to see the judge. But he was
aware of all its consequences—notably, that a person                 really mean, and he kept insisting and insisting.
who accepts voluntary return cannot make any claims for              When 3 hours had passed, I told them I wasn’t
relief.360 For individuals who would be eligible to apply            going to sign anything until my husband arrived
for relief from removal and might be able to formalize               so he could show the papers [that showed] we
their status in a hearing, voluntary return is often not to          were applying for my status. And then the officer
their benefit, and it appears that this information is not           came back and said your husband came and
communicated to individuals by immigration enforcement               showed me the papers, and the papers he showed
officers.361 Moreover, although voluntary return is not              me are useless to me. I told him I wanted to talk
a formal removal order, in practice it has many of the               to my husband. He said, “You are not going to
same consequences. In particular, individuals who have               talk to your husband. What you are going to do
lived in the United States for more than one year without            is sign this salida voluntaria or you are going to
authorization are subject to a 10-year inadmissibility ban           jail.” That is when I signed because they said there
on reentry;362 individuals who have lived in the United              were bad people in jail who could do something
                                                                     to hurt me.365
States for over 180 days but less than one year are subject
to a 3-year ban.363 For parents of U.S. citizen children, the
                                                                 Although the voluntary return statute allows up to 120 days
separation is often longer because a person applying for a
                                                                 for the individual to leave the United States, 24 hours later,
waiver and to adjust status must wait until the “qualifying
                                                                 without the chance to speak to her children or husband
relative” is 21 years of age.
                                                                 or attorney, Veronica was taken to Nuevo Laredo, Mexico.
                                                                 She is trying to apply for a waiver so she can return to her
Veronica V. came to the United States when she was 19. She
                                                                 children sooner, but for now, Veronica remains in Mexico,
married a U.S. citizen and has three U.S. citizen kids, all of
                                                                 separated from her young daughters. Says Veronica, “Every
whom live in Texas; she had lived in the United States for
                                                                 day I remember the day that they stopped me. It’s been a
20 years. In 2013, Veronica and her husband were driving
                                                                 year and it hurts a lot. My family, my husband, we have
to a hardware store near San Antonio when they were
                                                                 always been very close. It hurts me so much to be separated
pulled over by local police who asked her for identification.
                                                                 from them.”366
Veronica, who was the passenger, did not have any
documentation with her, and the police officer asked if          Emmanuel M., a 25-year-old from Mexico, came to the
she was undocumented. She explained that she was in the          United States as a young child and lived in California
process of applying to adjust her status, but the officer        continuously for approximately two decades. In 2012,
called ICE, which came to the scene two or three hours           as he was leaving his house in San Diego for work, he
later. “I asked the immigration officer if this was correct,     was stopped by ICE officers. “I kept on asking what was
what the police officer had done. He said, ‘No, because you      happening and they said they could not tell me.”367 The
weren’t driving, you have no criminal history, and he has        officers gave him several forms to sign, which turned out
no reason to have done this,’” Veronica recalls, “but since      to be voluntary return, and said he would be released.
the police officer had called, [the immigration officer said]    Emmanuel says, “I was happy because I thought I was going
he had to take me in.”364 Veronica’s husband immediately         to leave. I signed, they put me back in the cell, and then a
called an immigration attorney and went home to collect          few hours later they took me to Tijuana.”368 Emmanuel had
the paperwork showing that Veronica was applying for             not been back to Mexico since leaving as a small child. After
immigration status. Although the attorney immediately            two years, Emmanuel says he missed his family too much
contacted ICE, Veronica was not allowed to speak to the          (“I’d never been this far away from them,” he says) and




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tried to cross back to the United States for Thanksgiving            if deported to Mexico, and because she had three young
but was arrested, detained, and driven to Arizona to be              children in the United States, one of whom was scheduled
summarily deported. He now works for a call center in                for surgery at a U.S. hospital. Instead, the complaint alleges,
Tijuana, Mexico, and is applying for a U visa from Mexico            DHS officers coerced her to sign a voluntary departure
(he was the victim of a violent hate crime prior to his              form and dropped her at the bridge to Reynosa, Mexico.
deportation). “I would love to go back,” he said. “My whole          Her ex-partner murdered her soon after her return to
family is there.”369                                                 Mexico.370

Laura S. came to the United States from Mexico as a                  Immigration attorney Marisol Pérez says she and her
teenager with her young son and was murdered soon                    colleagues routinely see cases where the individual was
after her deportation to Mexico. According to a complaint            coerced into signing a voluntary departure order without
filed on behalf of her mother and children, Laura had two            understanding its consequences. Immigration officers, she
children with an increasingly violent and abusive man                says, tell people “either you sign or you are going to jail.”
while living in Texas. Laura was able to get a protection            Even individuals who already have attorneys are vulnerable
order against him from local police in Texas, but he                 when threatened, in the absence of a lawyer, with jail: “We
continued to threaten her until he returned to his native            don’t have control over what happens when we are not
town in Mexico, according to Laura’s family’s attorney, and          there, in the back room. The officers should be giving rights
joined a drug cartel. In June 2009, several years after Laura        advisals . . . Instead, they tell them, you want your rights,
first came to the United States, Laura and her cousin were           you are going to go to jail.”371
stopped by police for an alleged traffic violation; Laura
                                                                     In June 2013, the ACLU filed a lawsuit in Southern
was turned over to DHS. Laura begged the officers not to
                                                                     California challenging the coercive use of voluntary
deport her, as she feared being attacked by her ex-partner
                                                                                          departure and immigration officials’
                                                                                          failure to apply the necessary
                                                                                          procedural safeguards.372 For example,
                                                                                          the lawsuit alleges that officers gave
                                                                                          false information to non-citizens
                                                                                          about their ability to stay in the
                                                                                          United States and their ability to
                                                                                          apply to return once they were in
                                                                                          Mexico, and also used a misleading
                                                                                          form that failed to notify individuals
                                                                                          that taking voluntary departure
                                                                                          meant they cannot apply for relief
                                                                                          and lose the procedural protections
                                                                                          that apply in court. Named plaintiffs
                                                                                          in this lawsuit include:

                                                                                           ■■   Isidora Lopez-Venegas, the
                                                                                           mother of an autistic U.S. citizen
                                                                                           son, who was arrested by CBP and
                                                                                           told that if she refused to sign for
                                                                                           voluntary departure, she could be
Yadira Felix, with her grandmother Candelaria Felix, at their home in San Diego,
                                                                                           detained for several months, thereby
California. Yadira, who has mental disabilities, was effectively kidnapped by CBP and
left in Mexico.                                                                            separating her from her autistic son.
                                                                                           The agents further misinformed Ms.



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          Lopez-Venegas that it would be easier for her to         b. Administrative Removal Under 238b
          obtain legal status through her son once in Mexico;
          in fact, her son’s age made this impossible for years    Individuals all over the United States can also be deported
          to come. She and her U.S. citizen son had to leave       without a hearing if they have particular criminal
          the United States after she was coerced into signing     convictions. Under the INA, undocumented individuals
          the form.                                                who are convicted of an aggravated felony373 or a crime
                                                                   involving moral turpitude374 are subject to administrative
     ■■   Yadira Felix, appearing in the case through her          removal, a summary removal procedure that bypasses the
          grandmother, Candelaria Felix, has significant           courtroom and allows immigration officers to determine
          cognitive disabilities. Yadira Felix had lived in the    that a person has been convicted of a qualifying offense
          United States for over 20 years when Border Patrol       and is removable. The determination that a particular
          agents approached her at a bus stop, drove her to        conviction actually is an aggravated felony can require
          the U.S.-Mexico border, and pushed her, crying,          complex legal analysis and attention to the changing state
          across to Mexico.                                        of the law; it is a determination that can be erroneously
                                                                   made even by immigration judges but is exponentially
     ■■   Marta Mendoza, appearing in the case through one         more prone to error when undertaken by someone without
          of her six U.S. citizen daughters, Patricia Armenta,     legal training. Despite the limitations of a 238b proceeding,
          has bipolar disorder, as does her 16-year-old son,       there are still some required safeguards that advocates
          who depends on Ms. Mendoza for support. She had          report are too often ignored.
          lived in the United States for over 30 years when
          police arrested her on suspicion of shoplifting and      In 1990, when he was eight months old, Ricardo S. A. came
          took her to a jail where ICE officers coerced her into   to the United States from Mexico with his family. The next
                                                                   time he left the United States was at his deportation at age
          signing the voluntary departure form.
                                                                   20, in 2009. Growing up in Nevada, Ricardo completed the
     ■■   Ana Maria Dueñas, a mother and grandmother               eleventh grade, played soccer for his high school, worked at
          of U.S. citizens, who was arrested by CBP while          night, and had planned to marry his U.S. citizen girlfriend.
          waiting for a bus in California. A Border Patrol         But when he was 19, Ricardo pleaded guilty to conspiracy
          agent, knowing she spoke only Spanish, provided          to commit burglary, a misdemeanor for which he spent two
          her with a voluntary departure form in English;          days in jail and was originally sentenced to probation and a
                                                                   suspended sentence of one year.
          incorrectly told her that she could not obtain relief
          from an immigration judge in the United States, but
                                                                   On September 16, 2009, a few months after his conviction,
          could easily and quickly obtain legal status once in
                                                                   Ricardo checked in with his probation officer and was
          Mexico; said she would be detained for months if
                                                                   arrested by immigration officials. “I explained to them right
          she did not sign the form; and failed to allow her to    away about my case. I said, ‘Let me see an immigration
          speak with an attorney or the Mexican Consulate.         judge,’” Ricardo recalls.375 In fact, Ricardo did have the
                                                                   right to see an immigration judge and to have a regular
In August 2014, the ACLU reached a settlement with
                                                                   immigration hearing, which would have allowed him to
DHS, which allowed the named plaintiffs to return to
                                                                   make claims to remain in the United States or at least to
the United States and their families and required DHS to
                                                                   avoid a formal removal order. Instead, ICE issued a Notice
make changes to its practices in using voluntary return            of Intent to Issue a Final Administrative Removal Order and
in Southern California. However, the CBP practices and             claimed that Ricardo was convicted of an aggravated felony.
misconduct documented in Southern California are similar
to those reported by immigration attorneys and non-                At the time of his deportation, Ricardo’s misdemeanor
citizens coerced to accept voluntary return in other parts of      conviction was clearly not an aggravated felony under
the country.                                                       Ninth Circuit law, which governed his proceedings.



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However, alone in detention, without an attorney’s              family while they are unable to leave the United States
assistance, 20-year-old Ricardo did not know what his           while they apply for status.378
rights were or that he had not been convicted of an
“aggravated felony.” Initially, Ricardo insisted that he        Jose Gonzalez-Segundo came to the United States from
wanted to see a judge and checked off the box on the            Mexico in the 1960s as a young child; he has five U.S.
notice issued by ICE, indicating that he wanted to contest      citizen children, all born in Texas. From the third grade,
the removal order. “I explained I wanted to fight [my           Jose worked as a fruit picker alongside his mother and
case],” recalls Ricardo. “The [ICE] officer said, ‘You have     never learned to write in English or Spanish. In 2001,
no chance.’ It was my first real time incarcerated and I        Mr. Gonzalez-Segundo was convicted of possession of a
was scared. I signed because she told me you don’t have a       controlled substance, which, at the time, was considered an
                                                                aggravated felony in the Fifth Circuit.379 While in prison,
chance to win because of your crime. …. She made it seem
                                                                Mr. Gonzalez-Segundo was interviewed by an immigration
like I was wasting my time, and I would be incarcerated for
                                                                officer in a mixture of Spanish and English, as the officer
no reason.”376 Having been convinced by the ICE officer—
                                                                spoke limited Spanish. Mr. Gonzalez-Segundo later testified
who was not a lawyer or a judge—that his crime was an
                                                                that the officer gave him only one of the two required pages
aggravated felony and appeal was futile, Ricardo withdrew
                                                                and told him to sign it in order to be released. He could not
his request for review on September 21, 2009.
                                                                read or understand the pages, nor did the officer translate
                                                                them for him. He was deported to Mexico, which he had
However, after learning that Ricardo had been ordered
                                                                not returned to in more than 35 years.380
deported because of his conviction, on September 29, 2009,
Ricardo’s defense attorney filed a motion for resentencing      In both these cases, individuals in criminal custody relied
to lessen Ricardo’s sentence so that it would indisputably be   upon ICE officers to make a complex legal determination
recognized that his crime was not an aggravated felony.377      and also to educate them on their rights. The threshold
But on September 30, 2009, Ricardo was deported back to         question as to whether a person was convicted of an
Mexico, where he had no immediate family and which he           aggravated felony and can even be processed through
had no memory of, having left as a baby. The Nevada state       administrative removal (238b) is complex, and given the
court subsequently reduced Ricardo’s sentence to less than      complexity and the volatility of the law on what constitutes
a year and noted that it might even have recommended            an aggravated felony, this high-stakes question should
diversion, if the immigration consequences had been             not be delegated to an immigration enforcement officer.
presented at that time. All this came too late for Ricardo,     But the procedure is also problematic because it denies
who had been deported and remains separated from his            individuals the opportunity to apply for most forms of
                                                                relief, and takes place while the individual is in criminal
                                                                custody and without information on his or her rights in the

Ricardo came to the
                                                                immigration system.


United States as a baby                                         Placement in 238b is not mandatory; a DHS officer
                                                                can choose to place the individual in regular court

but was deported back to                                        proceedings where an immigration judge can undertake
                                                                the more complex analysis as to whether a person has a

Mexico when an ICE officer                                      conviction for an aggravated felony and whether he or she
                                                                is nonetheless eligible for relief. For many non-citizens in
incorrectly determined                                          238b proceedings, the only available relief they will hear

he had committed an
                                                                about is withholding of removal or CAT if the individual
                                                                fears being removed to his or her country of origin. But

“aggravated felony.”
                                                                that is not the only form of relief the individual may be
                                                                eligible for: he or she may be eligible for a U or T visa or



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may not even be removable. But while immigration officers      important procedural rights and many more opportunities
in 238b are required to refer a person who claims fear         to apply for relief from removal. It is unclear how often
of removal for a reasonable fear interview, they are not       immigration officers use this authority, but there are
required to inform the individual of what other forms of       certainly many cases where officers do not use their
relief he or she is entitled to.                               discretion to refer someone to a full hearing and instead
                                                               condemn them to immediate deportation, which can have
In 1989, Ofelia H. came to the United States, where she        irreparable consequences for the individual and his or her
raised her children and later adopted a U.S. citizen whose     family in the United States.
parents had been murdered (while also raising two of her
grandchildren.) For years she worked at a factory using
what she believed was a fake Social Security number so she
could work and support her family. In 2007, it emerged
that the Social Security number was real; she served eight
months for identity theft. At the end of her sentence, she
was transferred to immigration custody. “I was right at
the exit of the jail and my daughter was waiting for me—I
could see her,” she recalls. “Immigration handcuffed me
without telling me why.” Ofelia was taken to a different
immigration detention facility, where she was processed
through administrative removal (238b) as an “aggravated
felon” and deported. The forms were in English and Ofelia
does not recall being given any information about her
rights. After her deportation, her adopted daughter, then
four years old, joined her in Mexico but could not adjust
to life there; Ofelia and her adopted daughter therefore
returned to the United States in 2008. Even at the time
of her deportation, Ofelia was in fact eligible for a U visa
after being attacked with a deadly weapon while working
at an apartment complex, but without a lawyer and any
assistance she was unable to apply and attempt to stop her
removal. She is now working with an attorney and in the
process of applying for a visa.

Although reliance on these summary removal tools
has become routine—even the default, in many
circumstances—immigration officers still have discretion
to place a person in formal removal proceedings before a
judge. In cases where the person has obvious equities—
long residence and/or family in the United States, for
example, or where it may be difficult to determine whether
the individual has a claim (e.g., an individual with a
severe mental disability, someone with a minor conviction
that may or may not be an aggravated felony, etc.)—it
makes sense to allow them to present their case in court
where a judge can make those critical determinations.
Placing a person in formal removal proceedings triggers



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D. CHILDREN ARRIVING ALONE                                         and may have strong claims to protection under human
                                                                   rights law.382

    “We are talking about large numbers of children,
                                                                   In the past few years, the number of children arriving in
    without their parents, who have arrived at our
                                                                   the United States to seek protection (and, in some cases, to
    border—hungry, thirsty, exhausted, scared                      be taken care of by family) has risen dramatically, with an
    and vulnerable. How we treat the children, in                  estimated 90,000 arriving in the United States in FY 2014.383
    particular, is a reflection of our laws and our                Recognizing the swelling numbers of children arriving
    values.”                                                       alone and the violence they are fleeing, President Barack
    —Secretary Jeh C. Johnson, U.S. Department of                  Obama declared the unfolding crisis to be a humanitarian
    Homeland Security381                                           situation; 384 but at the same time, the response from the
                                                                   Obama administration and many in Congress has been to
Being arrested, detained, interrogated, and deported by            seek to dismantle, rather than reinforce, protections for
an immigration officer can be a harrowing experience.              non-citizen children seeking help in the United States.
For children who come to the United States alone after
a dangerous journey during which many are victimized,              Arrival at the U.S. border is not the end of the story. While
the need for additional protections when they arrive               Central American children are supposed to be brought
is acute. In recent years, the disastrous human rights             before a judge, in some circumstances they are instead
                                                                   removed without a hearing, in violation of federal law,385
situation in Central America—in Honduras, Guatemala,
                                                                   and seemingly without consideration for the humanitarian
and El Salvador, in particular—has been reflected in the
                                                                   catastrophe into which they are being returned. For
escalating number of children arriving in the United States.
                                                                   Mexican children, this is the status quo: unless (and even
As recently documented by the United Nations High
                                                                   if) they meet additional screening criteria, the majority of
Commissioner for Refugees, the majority of these children
                                                                   Mexican children are quickly returned to Mexico without
are escaping violence, lawlessness, threats, and extortion,                              the opportunity to see a judge. As
                                                                                         such, these children are often treated
                                                                                         not as kids in need of protection, but
                                                                                         as a problem to be removed.



                                                                                             1. Legal Background
                                                                                             For years, unaccompanied children386
                                                                                             were regularly turned away at the U.S.
                                                                                             border; if they did make it inside the
                                                                                             United States and were apprehended
                                                                                             by immigration officers, they were
                                                                                             detained by the Immigration and
                                                                                             Naturalization Service387 in adult
                                                                                             detention facilities.388 In 1997, after
                                                                                             over a decade of litigation, the Flores
                                                                                             v. Reno settlement agreement (“the
                                                                                             Flores settlement”) created nationwide
                                                                       Spencer Platt/Getty   standards on the treatment,
A child and her family in their gang-plagued neighborhood in Tegucigalpa, Honduras.          detention, and release of children.389
                                                                                             The agreement requires the federal



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government to provide unaccompanied children with basic         agreement,397 by taking kids out of adult detention facilities
necessities such as drinking water and medical assistance;      and providing them with necessary social services, this
to keep children separated from non-related adults; and         system is significantly more rights-protective than the
to release children from immigration detention as soon          previous system and the existing adult system.
as possible. If no release option is immediately available,
children must be placed promptly in the “least restrictive      These humanitarian protections for children are necessary
setting” that is “appropriate to the minor’s age and special    in and of themselves, given children’s inherent vulnerability
needs.”390                                                      and susceptibility to abuse and coercion.398 But these
                                                                protections have also proved instrumental in safeguarding
The Flores settlement marked the beginning of the U.S.          children’s legal rights in court. Detention has a strong
government’s recognition (now unfortunately in decline)         coercive effect, so removing children from detention as
that unaccompanied children are entitled to due process         soon as possible is important, not just to avoid unnecessary
rights. In particular, all unaccompanied children must          harm and trauma, but also to protect their rights to seek
be given (1) Form I-770, Notice of Rights and Final             relief.
Disposition, which informs children of their rights
and options; (2) a list of free legal services; and (3) an      The experiences of Kevin G. and his brother Javier
explanation of the right to judicial review in court.391 A      illustrate the negative impact of detention on a young
subsequent lawsuit, Perez-Funez v. INS, also established that   non-citizen’s ability to pursue asylum, even when they
unaccompanied children must be advised by DHS of their          have a bona fide claim. Kevin G. fled gang violence in
right to a hearing before they are presented with a voluntary   Honduras, leaving home for the United States at age 16
departure form.392 Children from Mexico and Canada must         and traveling by himself for most of the journey. “I would
be given the opportunity to consult with an adult friend        not want my brothers to travel like that; I don’t want them
or relative, or a legal services provider, before accepting     to go through what I did,” he told the ACLU.399 He was
voluntary departure; this consultation is a mandatory           arrested crossing into the United States and, as a minor
                                                                from Central America, placed in removal proceedings
prerequisite for children from countries other than Mexico
                                                                and housed in a shelter in Los Angeles. His brother Javier,
and Canada.393 Once in immigration court, children can
                                                                who had been attacked with a machete by a gang—the
apply for several forms of relief from removal, including
                                                                same gang that threatened Kevin—when he refused to
asylum and Special Immigrant Juvenile (SIJ) Status.394
                                                                join them and participate in murders, followed Kevin in
                                                                2012; Javier was 23. As an adult, Javier was placed in a
In the years following Flores and Perez-Funez, Congress
                                                                detention center where he spent several months waiting
developed additional safeguards for unaccompanied
                                                                for an interview with an asylum officer. Finally, Kevin says,
children apprehended and detained in the United States.
                                                                his brother decided to accept deportation rather than wait
Notably, the William Wilberforce Trafficking Victims
Protection Reauthorization Act of 2008 codified that
children arriving alone in the United States cannot be
expelled through expedited removal,395 and the Homeland
Security Act of 2002 transferred responsibility for             Sixty-four percent of
unaccompanied children from the INS to the Office of
Refugee Resettlement (“ORR”) within the U.S. Department         Mexican children coming
of Health & Human Services (and thus outside of the
newly formed Department of Homeland Security).396 This
                                                                alone to the United States
move provided additional protections for children awaiting      have international protection
                                                                claims according to the
an immigration hearing. Although human rights advocates
have continuously found that the agencies that apprehend

                                                                UNHCR.
kids (DHS) and hold them during their hearings (ORR)
have failed to fully implement the Flores settlement



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in detention; Kevin says that soon after Javier returned to

                                                                  Somers found 56 percent
Honduras, he was murdered by the gang he had originally
fled.400

The safeguards that the Flores settlement, Perez-Funez, and       of repatriated Guatemalan
the Homeland Security Act initiated for unaccompanied
children—diversion from detention and the right to a              children were misidentified
hearing—are essential to ensure that children like Kevin are
able to present their cases and defend their rights. But these
                                                                  as adults, detained in adult
protections are triggered only when (1) a child is correctly      U.S. facilities, and deported
                                                                  without a hearing.
identified as an unaccompanied minor and (2) the border
officers who apprehend and question the child follow
the law and ensure he or she is referred to the alternate
ORR system and placed in formal removal proceedings.
                                                                  either due to their appearance or their own misstatements.
Unfortunately, this is not always the case.
                                                                  For example, Maria, a 15-year-old Mexican girl deported
                                                                  to Agua Prieta, Mexico, was trying to reunite with her

2. Accessing the Protections of the System                        father in the United States when she was apprehended by
                                                                  Border Patrol; she told the officers that she was 19 years old
While the ORR system is designed to be child-centered,            “because I thought they would deport me easier and quicker
the Border Patrol stations are not.401 Even as decades of         [as an adult].”404 Mexican immigration staff in Nogales,
litigation eventually removed children from long-term             Sonora, Mexico, reported that they had frequently seen kids
detention in adult facilities, children continue to face          who were presumed to be adults while in CBP custody.405
abuse and threats while in short-term adult detention. In
June 2014, a complaint to the DHS Office for Civil Rights         In 2012, attorney Aryah Somers interviewed
and Civil Liberties and the Office of Inspector General           unaccompanied children who had been repatriated to
(“CRCL/OIG complaint”), filed by several organizations            Guatemala. In one three-week observation period alone,
including the ACLU, documented 116 cases of abuse                 Somers found that 34 of the 61 unaccompanied children
by CBP against children, ages 5 through 17, including             who were repatriated had been classified as adults and,
shackling, rape, death threats, and denial of medical care.402    consequently, had been detained in adult detention
The investigation is ongoing, but the complaints raised           facilities in the United States; two of those children, Ms.
are not new.403 It should come as no surprise, then, that         Somers said, “were immediately identified as potentially
some children, like adults, may forfeit their rights while in     eligible for Special Immigrant Juvenile Status.”406 Some
CBP custody—for example, by saying they are adults, have          children claimed to be 18 or older out of “fear, pressure
no fear of being deported, or want to be returned to their        from immigration officers, misinformation from the coyote
country of origin. In such an environment, it is unlikely         or pollero that children are treated worse than adults in the
that children would feel comfortable disclosing sensitive         U.S., and a belief that they would be detained until their
information about their lives, their families, or the violence    18th birthdays.”407 Misidentified as adults, these children
they have fled.                                                   were not only detained in adult facilities, in violation of
                                                                  federal law, but were also deprived of the opportunity to
The protections for children traveling alone are not              apply for humanitarian protections and other forms of
automatically activated; often, children must claim those         relief from deportation, or even to see a judge or consult
protections by volunteering personal information about            with a lawyer.408
themselves—starting with their age—without knowing
what the benefits or consequences are of providing that           It is unclear to what extent CBP officers are trained in
information. Some children will be misidentified as adults,       the significance of the procedural protections in place



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                                                                                                  Jennifer Whitney/The New York Times/Redux


A Border Patrol agent with Alejandro, 8, who traveled by himself across the Rio Grande.



for children or why a valid waiver of those rights is so           in the United States for three weeks when he was arrested
significant. But in some cases, it appears that border             by Border Patrol officers while walking near a checkpoint
officials are deliberately interfering with those rights.          in Brownsville, Texas.411 He says he repeatedly asked if he
For example, according to the CRCL/OIG complaint,                  could speak to a lawyer and that he wanted to see a judge.
CBP accused a 16-year-old of lying about his age, then             Deyvin says the officers told him “it was impossible that a
strip-searched him and threatened that he would be made            judge or lawyer could do anything for me.”412
“the wife” of a male detainee for lying about his age.409 In
another case documented in the same complaint, CBP                 While legal developments since the 1980s ensure that
officials confiscated a 16-year-old’s birth certificate, and       many children will be referred for a hearing, regardless
instead of immediately referring him to ORR, attempted             of what happens in their interview with border officials,
to force him to sign a form that he believes was for his           for Mexican children this initial interaction with Border
deportation; when the child attempted to read the form,            Patrol is the most consequential. Unlike children from
“officials tore up the document, offered a new one, and            “noncontiguous countries,”413 Mexican children are not
again told him to sign.”410                                        automatically referred to an immigration judge and can be
                                                                   returned “voluntarily” upon apprehension in the border
Even when children are properly identified as minors               area. For Mexican children, then, this first interaction with
and specifically request to see a judge, they are not always       border officials can make a decisive difference, leading
referred into ORR care and to the immigration court for            to either the chance to be heard in court or immediate
a hearing. Deyvin S., a teenager from Honduras, had been           repatriation.



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3. Mexican Children and the TVPRA                                   met, and the CBP officer is convinced the child has no
                                                                    potential asylum or trafficking claim and also has the
Mexican children are not exempt from the violence and               capacity to consent to his or her return to Mexico, may
other international protection concerns that plague                 the unaccompanied Mexican child be repatriated without
children in Central America; a recent UNHCR study, which            a hearing.417 This places considerable authority in the
included interviews with 102 unaccompanied Mexican                  hands of the CBP officer, who must screen the child and
children, found that 64 percent had potential international         determine whether or not he or she can be removed. To
protection needs, particularly from violence and coercion           ensure that eligible Mexican children are able to benefit
to assist smugglers.414 Similarly, Refugees International           from the TVPRA’s protections, the statute requires that
recently recorded that in Mexico, violent activities such as        “[a]ll Federal personnel . . . who have substantive contact
kidnappings and extortions are at “their highest levels in          with unaccompanied alien children” must receive
more than 15 years,” and found that children in particular          “specialized training,” including training in “identifying
have been victims of kidnapping, assassination, extortion,          children who are victims of severe forms of trafficking
and disappearances.415                                              in persons, and children for whom asylum or special
                                                                    immigrant relief may be appropriate.”418 But fundamentally,
In the years after the Flores settlement and the Homeland           the TVPRA as written presumes that an unaccompanied
Security Act of 2002, despite heightened safeguards for             Mexican child cannot be immediately returned to Mexico
unaccompanied kids, Mexican children continued to be                and is in a vulnerable position; the required screening
routinely turned around at the border, just like most adults,       places the burden on the examining officer to determine
without any evaluation of the risks they face if repatriated.       that a child can safely be repatriated and is able to
Partly in response to this ongoing problem, Congress                understand that decision. In practice, however, the burden
passed the William Wilberforce Trafficking Victims                  is on the child to speak up and be heard while in detention
Protection Reauthorization Act of 2008 (TVPRA), which               and while being interviewed by a law enforcement officer.
strengthened some of the Flores and HSA provisions on               For Mexican children, removal has become the default.
children’s rights in custody while also adding additional
screening requirements for Mexican children.

The TVPRA requires that any border officer who
                                                                    4. The TVPRA in Practice
apprehends an unaccompanied Mexican child must                      When the TVPRA was introduced, advocates expected a
interview the child and confirm that he or she (i) is not a         deluge of unaccompanied Mexican kids into temporary
potential victim or at risk of trafficking, (ii) has no possible    shelters within the United States; in fact, this never
claim to asylum, and (iii) can (and does) voluntarily               happened. According to CBP statistics on FY 2013
agree to go back home.416 Only if all three criteria are            apprehensions, 17,240 Mexican unaccompanied children
                                                                    were apprehended at the border;419 similarly, figures
                                                                    from official Mexican immigration sources estimate that

UNHCR found that most                                               in 2013, 14,078 Mexican unaccompanied children were
                                                                    repatriated from the United States.420 And yet, during

interviews involved “merely                                         the same time period, ORR reported only 740 Mexican
                                                                    unaccompanied kids in its custody.421 This figure reflects

perfunctory questioning of                                          all Mexican children in ORR custody, including those
                                                                    apprehended far from the border anywhere in the United
potentially extremely painful                                       States, and so likely significantly overestimates the number

and sensitive experiences
                                                                    of Mexican unaccompanied children in ORR custody. Even
                                                                    so, these figures suggest that the overwhelming majority of

for children.”
                                                                    Mexican children arriving alone—around 96 percent—are
                                                                    turned around when CBP apprehends them at the border.



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UNHCR has similarly estimated that
95.5 percent of Mexican children are
returned without seeing a judge.422

Thus, despite the additional
protections the TVPRA was supposed
to enable, Mexican unaccompanied
children continue to be turned away
from the United States. The additional
screening requirements operate
like a sieve, creating procedural and
substantive hurdles for Mexican
children to overcome before they can
get before an immigration judge and
win relief. At the substantive level,
                                                                                                                              Sam Frost
under the TVPRA, a Mexican child’s
right to a hearing is triggered only           Tijuana, Mexico. Stenciled on the Mexico side of the fence between the United States
if he or she presents an asylum- or            and Mexico are families being lifted to freedom by balloons.

trafficking-based claim, or if the
government chooses to pursue a                                        screening. Of the 11 Mexican unaccompanied children the
formal removal order (as opposed to voluntary return).                ACLU interviewed in Sonora, Mexico, ranging in age from
Other valid claims for relief will not get a Mexican child            11 to 17, only one, Hector, said that he had been asked any
arrested in the border zone into court. For example, Arturo,          questions about his fear of returning to Mexico. Hector
a 15-year-old from Tabasco, Mexico, was attempting to                 recalls: “I asked if there was any benefit and the migra said,
come to the United States and reunite with his mother                 ‘No, there is probably no benefit. You just crossed through
and two U.S. citizen siblings when he was caught by DHS               the desert so you’re going to be deported.’”425 Brian, an
officers in Arizona. His father had abandoned him in                  unaccompanied child from Nogales, Mexico, whose father
Mexico: “There is no reason for me to stay [in Mexico]                is in Tucson, said he had been trying to enter the United
if my dad doesn’t want me here.”423 Because he had been               States since age 14 but in his three attempts, he had never
abandoned by at least one parent, Arturo might have                   been asked about his fear of returning to Mexico or if he
qualified for Special Immigrant Juvenile status (SIJ) and,            wanted to see a judge.426
if successful in court, been able to remain in the United
States and one day adjust his status. But even if Arturo              Even when Mexican children attempt to explain their need
were eligible for SIJ, he would not have the opportunity to           for protection, in at least some instances border officials
present that claim because it does not trigger a right to go          apparently refuse to believe them. For example, 16-year-old
to court and be heard under the TVPRA. By contrast,
                                            424
                                                                      M. E. is a Mexican girl who sought asylum in the United
non-Mexican children arrested at the border with the exact            States after her family received multiple death threats and
same claims are not pre-screened by CBP and will have the             demands for money from a gang, which she believes led
opportunity to raise any claim for relief in their removal            to her brother’s disappearance in early 2014. M. E. recalls,
proceeding. As such, the TVPRA screening effectively                  “Then they said that if we could not negotiate with money
narrows the grounds of eligibility for unaccompanied                  we may as well buy bulletproof vests for the whole family
Mexican children to enter and remain in the United States.            because they were going to kill us.”427 According to what
                                                                      M. E. related to her attorney, and as explained in the CRCL/
Yet even children who are eligible under the TVPRA to                 OIG complaint, an immigration official asked M. E.,
enter the country and see a judge are routinely denied that           “What right do you have to come to our country?” When
opportunity when CBP officers fail to conduct the TVPRA               M. E. tried to explain the danger she fled, according to her



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statement and the CRCL/OIG complaint, “the official told         afraid or hesitant to volunteer information to an armed
her she would not get through with her pinche mentira            U.S. law enforcement officer, while in detention and
[fucking lie] because he knew how to detect a liar like          without any assistance (and often without an interpreter), is
her.”428 M. E. continually returned to the U.S. border to seek   unsurprising. And yet, this is the context in which children,
asylum and was returned to Mexico multiple times before          arriving alone, are required to vindicate their rights or else,
she was ultimately allowed into the United States and            if Mexican, be quickly deported. Responding to proposals to
transferred to an ORR shelter.429                                put Central American children through the same screening
                                                                 and summary removal system as Mexican children are,
Beyond requiring affirmative screening for asylum and            Lawrence Downes of The New York Times wrote,
trafficking claims, the TVPRA requires that immigration
officials ensure that children voluntarily choose to go              There are several reasons why this is a terrible
back to the Mexico, but children interviewed by the                  idea. It starts with handing the responsibility for
ACLU did not appear to have been subject to this inquiry.            humanitarian interviews to a law-enforcement
Jesús, a 16-year-old unaccompanied Mexican child, said,              agent with a badge and a gun, whose main job is to
“They just put [the form] in our face and said sign. They            catch and deport illegal border crossers, and who
wouldn’t give us any information. . . . They didn’t give us          may not even speak Spanish. This is not the person
[the] opportunity to ask anything; they just called us up to         you want interviewing a traumatized 15-year-old
sign.”430 Hiram, 11 years old, and his brother Pepe, 16 years        Honduran girl to find out whether the abuse
old, said they had not been asked anything except their              she endured at home or the rape she suffered en
age when Border Patrol agents detained them.431 Federal              route qualifies her for protection in the United
regulations and the Flores settlement further require that           States. . . . It would be criminal to subject Central
any child under the age of 14 be read the I-770 form in a            American refugees to the same system. They need
language that he or she understands.432 This did not appear          lawyers and victim advocates, clean, safe shelter
to take place for Hiram.                                             and the chance to be heard in court.436

In interviews conducted by the ACLU, it was clear that the       In addition to ACLU interviews with unaccompanied children
children had no idea what rights—if any—they had, or             conducted in Sonora, Mexico, two thorough investigations by
what was happening in the process. Similarly, in interviews      the UNHCR and Appleseed into TVPRA compliance across
by the Center for Public Policy Priorities (CPPP) with           the entire southern U.S. border demonstrated that screening
children who had been turned away at the U.S. border, some       failures are widespread and routine.
children did not even understand that they had been in
the United States when arrested and removed.433 Mexican          The 2013 UNHCR investigation included in-person
immigration staff told the ACLU that in some cases, Central      observation of TVPRA interviews at four locations and
American children claim to be Mexican, not knowing               was conducted at the request of the federal government.
that there are additional protections in place for Central       According to this report, 95.5 percent of unaccompanied
American children at the moment.434 In its study, CPPP           Mexican children apprehended by CBP are returned across
regularly encountered such children in Mexican shelters;         the border—not because they did not have claims but
one child, Daniel, had fled gang violence in Honduras only       because “CBP’s practices strongly suggest the presumption
to be quickly turned around and sent to Mexico by CBP            of an absence of protection needs for Mexican UAC
without being asked about his fear of returning.435              [unaccompanied children].”437 This is the exact opposite of
                                                                 what the TVPRA was designed to do—namely, to put the
In the absence of a designated professional advocating for       burden on U.S. immigration officials to show that a child
the child in CBP custody or providing any meaningful             would not be in danger if removed from the United States.
information to the child about their rights, the burden is
on the child, who has just made a difficult and dangerous        CBP is unable to complete this mandate, however, as
journey, to volunteer information. That children would be        most agents appear unfamiliar with many of the issues



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they are screening for—risk of trafficking, asylum claims,        said they had ever identified a child trafficking victim or
and ability or inability to consent to voluntary return.          one at risk of trafficking.”440 Rather, the UNHCR found,
The mandatory screening forms, the UNHCR found,                   some officers expressed concern that they could not refer
were not only inscrutable to the children, but also to the        these children, who may have been coerced by gangs to
officers doing the questioning, often in public settings and      participate as guides in the human trafficking industry, for
sometimes without an interpreter. Overall, the investigation      criminal prosecution.441
concluded, “The majority of the interviews observed
by UNHCR involved what was merely perfunctory                     From 2009 to 2011, Appleseed interviewed children on
questioning of potentially extremely painful and sensitive        both sides of the U.S.-Mexico border, as well as U.S.
experiences for the children. And in the remainder, the           and Mexican government officers, and found similarly
questioning, or lack of questioning, was poorly executed.”438     that the majority of Mexican children arriving alone are
                                                                  quickly returned due to significant failures in the TVPRA
The “virtual automatic voluntary return” of Mexican               screening.442 Appleseed found that the few unaccompanied
unaccompanied children, the UNHCR found, was not                  Mexican children who do make it into the ORR system are
due to officer callousness but a lack
of education and systematic failures
to understand and implement the           Mexican immigration office on the Mexican side of the border with Nogales, Arizona.
TVPRA screening. According to the         Mexicans deported from the United States to Nogales, Mexico, are interviewed
                                          by Mexican immigration officers who assist them in their journey on to their hometown.
UNHCR report, CBP officers failed         Unaccompanied Mexican children are briefly held here before being transferred to
to ask several (or sometimes any)         shelters, which contact their parents or guardians to come and pick them up.
of the required screening questions;
sometimes conducted an interview
without an interpreter; by default,
interviewed children in public places
about sensitive issues; had no training
in child-sensitive interviewing
techniques; and did not understand
the legal background and rationale for
the screening activities. In some cases,
children were told to sign forms that
had already been filled out.439

Perhaps most disturbingly, the
investigation found that CBP
officers do not understand what
human trafficking means and are
unable to identify child victims of
human trafficking—which includes
recruitment and coerced participation
in the human trafficking industry.
Although the U.S. Department of
State recognized Mexico as one of the
top countries of origin for victims
of human trafficking in FY 2012,
according to the UNHCR, “None
of the agents or officers interviewed



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                                                                   system, Mexican children face the same risks as Central

“A lot of [these children]
                                                                   American children but are quickly deported: “A lot of
                                                                   unaccompanied minors from Mexico share the same

should be asking for asylum                                        conditions of risk, of already being victims. They should be
                                                                   given a chance to prove that.”447

in the United States; they’ve                                      It is unclear what questions CBP officials are asking kids

been abused before.”                                               apprehended at the border—and what questions are actually
                                                                   required, under the TVPRA or by CBP policy, to effectuate
                                                                   the screening. Indeed, DHS has not promulgated regulations
children caught in the interior of the United States who           on the types of questions that should be included to screen
cannot automatically be repatriated.443 Mexican children           for a trafficking or asylum claim, and it does not appear
at the border, however, are inconsistently and inadequately        that DHS has developed any specific guidelines on the
screened under the TVPRA:                                          issue either.448 The UNHCR and Appleseed both found,
                                                                   however, that even the minimal forms that exist to screen
    Roughly half of the children we interviewed                    for trafficking or asylum claims are either not used or are so
    […] were not asked any questions that might                    formulaic and incomprehensible to a child that their utility
    elicit information about whether they have                     is marginal at best.449
    a credible fear of persecution upon return.
    Likewise, approximately half of the children                   In addition to these predictable inconsistencies in
    stated that they were not asked any questions                  screenings and referrals, DHS lacks regulations on how
    that would touch upon the trafficking indicators               to assess whether a decision to return to Mexico and
    set out in the form. … Even though Form I-770                  withdraw the application for admission is “independent” or
    explicitly states that “no [minor] can be offered or           voluntary—or whether the child, who may be as young as
    permitted to depart voluntarily from the United                four years old, has the capacity to make that decision alone.
    States except after having been given the notice               Explaining this prong of the TVPRA, one reporter noted
    [of their rights],” approximately three-quarters               that the question has been reduced to this: “[C]an they
    of the children we interviewed […] stated that                 decide on their own to turn around and go back home after
    they were not informed of their rights. Notably,               making a long, scary journey by themselves? If the Border
    many children stated that they were never asked                Patrol agent thinks the answer is yes, off they go.”450 Wendy
    whether they wanted voluntary departure; they                  Cervantes, Vice President of Immigration and Child Rights
    were simply told that they would be returning to               Policy at First Focus, observes, “[M]ost people would argue
    Mexico.444                                                     that no child should make that decision.”451

Mexican immigration officials in Sonora, Mexico,                   The existing regulations do require that all unaccompanied
told the ACLU that while they see approximately 20                 children, including Mexican children, be explained
unaccompanied children deported to Nogales every day,              their rights and provided with a Notice of Rights and
it is extremely rare to find a child who has been before a         Disposition (Form I-770).452 Mexican children are
judge.445 That Mexican children are rarely referred for a          supposed to be given the opportunity to consult with
formal hearing does not mean that these children have no           a relative or free legal services provider prior to even
claims to relief. One Mexican immigration official who sees        being given the voluntary departure form453; in practice,
unaccompanied kids every day observed, “A lot of [these            this opportunity is often illusory. None of the children
children] should be asking for asylum in the United States;        interviewed by the ACLU recalled being asked if they
they’ve been abused before.”446 Dr. Alejandra Castañeda,           wanted to use the phone to call their families or to seek
an investigator at the Mexican think tank El Colegio de la         help from a lawyer; none said the I-770 form was read or
Frontera Norte, similarly observed that under the current          explained to them; and while one was told he might be able



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to see a judge, none were told that there were options for        “Informed consent” in this context has been reduced to
them except to return to Mexico.                                  a set of mechanical questions on a form that children
                                                                  interviewed were not given the chance to review, and which
CBP officers are supposed to use Form 93, a screening             Appleseed found to be anyway facially inadequate.455 The
form to determine if the child is a potential trafficking         whole rationale behind the TVPRA was to interrupt the
victim or has an asylum claim. Appleseed notes this form          practice of immediately returning Mexican children and
is rarely used by CBP officers, but even when it is used,         to provide procedures that would ensure these children
the form questions are formulaic and are not designed to          were screened for and made aware of their rights; instead, it
help the agent draw out the details and history necessary         appears that the TVPRA, as implemented by CBP, has done
to determine whether the child has a claim.454 The form           neither. Since the TVPRA went into effect in March 2009,
includes no guidance or test for whether the child has the        Appleseed observes, Form 93 and the short accompanying
capacity to accept voluntary return, as required under the        memo constitute, to date, “the only significant change in
TVPRA. Only one child interviewed by the ACLU recalled            practice adopted by the CBP in response to the TVPRA.”456
being asked anything except for their name and, in some           Nonetheless, in Appleseed’s assessment, “[n]either the
cases, their age, and while part of this may be attributable to   memo nor the form itself could be characterized as
the language barriers, it is also likely that the nature of the   ‘specialized training’ that would equip CBP officers to deal
questioning—when and if conducted—did not suggest to              with and screen detained Mexican minors. Senior CBP
the child that this was an opportunity to share their story.      officials do not contend otherwise.”457


An undocumented immigrant apprehended in the desert near the U.S.-Mexico border is processed before being transported to a
detention center on June 1, 2010, near Sasabe, Arizona.
                                                                                                                   Scott Olson/Getty




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The inadequacies of the forms and formal procedures                     environment would divulge sensitive information
place additional responsibility on the individual border                that would indicate that they had been trafficked or
officer to adequately and sensitively question each child.              otherwise feared abuse. Indeed, one CBP agent we
Although the statute requires specialized training for                  spoke with told us that he does not expect Mexican
officers interviewing unaccompanied children, it is unclear             minors to trust him or his colleagues in this “police
what that training entails or how regularly it is provided.             station” environment.460
The training materials and any related guidance is not
publicly available, and although ACLU FOIAs requesting              This interrogation is the only chance a Mexican child has
this information have not yet been answered, responses to           to get into the immigration court system and be heard. But
similar requests by Appleseed demonstrated “no indication           for many children, this experience is too intimidating to
of any specialized training.”458                                    help them. While CBP questioning appears too short and
                                                                    automated to elicit or provide any meaningful information,
Even where officers are attempting to conduct the                   the children interviewed by the ACLU all said they just
screening, many do not speak Spanish despite working                wanted to get out of detention. Once returned to Mexico,
with a largely Spanish-speaking population. Most children           they talked about being yelled at, kept in freezing and dirty
interviewed by the ACLU said the CBP officers spoke                 cells that they were forced to clean, and then, right before
only English and did not use an interpreter. None of the            their removal, told to sign a form (in English) they did
unaccompanied children interviewed by the ACLU for this             not understand before being bussed back to Mexico. They
                                                                    described brief interviews during which most were asked
report spoke any English at the time of their apprehension.
                                                                    only their names and age, with no real questions that could
Two of the unaccompanied minors interviewed in Agua
                                                                    determine whether they had claims that the TVPRA was
Prieta, Mexico, spoke an indigenous language and knew
                                                                    designed to screen for, or that would suggest the decision to
very little Spanish.459
                                                                    return to Mexico was voluntary. The escalating number of
                                                                    children arriving alone and passing through CBP detention
                            * * *
                                                                    may exacerbate the current systemic failures, given the
                                                                    strain on resources and focus on non-Mexican arrivals. But
For most Mexican children traveling alone, the closest they
                                                                    the result is that an increasing number of children who do
get to the U.S. justice system is an interview with a CBP
                                                                    have claims to enter the United States have been and will be
officer and a night in a detention facility. It is unlikely that
                                                                    turned away and returned to danger.
children arriving alone and seeking protection have any
idea what their rights are, and their experience with CBP,
in many cases, is unlikely to encourage them to volunteer
traumatic or difficult facts about their experiences—even
when that information is the only key to getting into court.

After examining where CBP interrogates children,
Appleseed found that while the interview/interrogation
setup varied, in every location the environment was
uniformly distressing and antithetical to providing children
with security:

    Everything about this experience tells these unac-
    companied children that they are in a detention
    center run by a powerful U.S. law enforcement
    agency and that the alternative to repatriation
    is to be “locked up” in the United States. It is
    unreasonable to expect that most children in this



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Wrongly Deported, American Citizen Sues INS for $8 Million
By IAN JAMES

SEP. 3, 2000
12 AM

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AMITYVILLE, N.Y. — When Sharon McKnight arrived home this summer after a year of visiting relatives in Jamaica, she
anticipated warm embraces from her mother and sister.


Instead, immigration agents at John F. Kennedy International Airport accused her of using a fake passport, shackled her hand and
foot, detained her overnight and deported her to Jamaica the next day.


McKnight, who is 35 and mentally handicapped, unable to read or write, could not persuade the agent at the window that the
passport picture was hers and that she was a U.S. citizen.


“He said, ‘Lady, this not you,’ ” McKnight recalls, “and I said, ‘It’s me.’ ”




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More agents questioned her, but none believed her pleas.


McKnight’s deportation was like that of thousands who are nabbed by immigration agents at U.S. airports each month. But in this
case, she was right and the U.S. Immigration and Naturalization Service was wrong.
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Now she and her family are suing federal officials for $8 million. Their attorney, Mitchell Zwaik, says the 1996 law that allowed her
deportation ended up splitting a family and humiliating a U.S. citizen who only wanted to go home.


A provision of the law, known as “expedited removal,” allows agents to quickly deport people whom they determine are trying to
enter the country fraudulently, without allowing them an appeal before judges.




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                                       By San Diego Tourism




“The law has to be changed,” Zwaik says. “You have immigration people making snap decisions at local airports.”


With the help of Zwaik and U.S. Rep. Michael Forbes (D-N.Y.), the woman’s family eventually convinced immigration authorities
that McKnight was a citizen, and she returned home to Amityville, in New York’s suburban Long Island, on June 18, seven days
after she was deported.


INS spokesman Russ Bergeron said the quick deportation process is used only when there is “clear evidence” someone is trying to
enter the country fraudulently. He declined to speak specifically about McKnight’s case because of the pending lawsuit.


Previously, however, INS officials have asserted that McKnight told agents the passport was not hers, said she had been born in
Jamaica and that she gave the name of a cousin from Jamaica rather than her own.


McKnight disagrees with their account but acknowledges she was confused by the rapid questioning. Born on Long Island but
reared much of her childhood in Jamaica, her mother’s homeland, McKnight speaks with a Jamaican accent.


Led into an airport room for further questioning, McKnight recalls the agent asking her, “Where did you get this passport?”


“And I said, ‘My cousin. My mother left it with my cousin to give to me when I’m coming up.’ And they said I’m lying.”


McKnight’s mother, Eunice Benloss-Harris, confirmed later that she had given the passport to her niece, Hilda Brown, for
safekeeping until McKnight’s return to New York.


McKnight says the agents repeatedly asked her name, and she told them she was Sharon Rose McKnight.


“They said, ‘That’s not your name,”’ McKnight recalls. “I said, ‘How are you telling me it’s not my name? And I know my own name.’
”


The agents were convinced she wasn’t the person pictured in the passport, so they took her to a room full of other detainees. She
was shackled at her ankles and wrists, with both sets of restraints chained to a leather belt. She sat hunched over for hours,
shivering in the over-air-conditioned room.
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“I spent the night there, nothing to eat,” she says. She said she was refused permission to use a restroom. “I peed right on myself,”
she says.


Elsewhere in the airport, meanwhile, family members who had come to meet McKnight were frantically calling the INS from a pay
phone, trying to convince officials the woman they were holding was indeed Sharon McKnight.


Her mother and sister arrived around midnight with a birth certificate, but agents deemed it a fake. The family was not allowed to
see McKnight.


The following morning, June 11, two agents led McKnight, still handcuffed, to a plane. She landed in Kingston without money or
food.


An airport skycap who recognized McKnight gave her the equivalent of $12 and put her on a bus to downtown Kingston, where she
could catch another bus to Manchester, the small town where her cousin lives. She arrived that night minus her two bags,
apparently stolen along the way.


Five days later, McKnight’s mother and sister arrived in Kingston. McKnight was waiting for them.


“When I saw her, I was in tears,” her mother says. A photographer from the Long Island newspaper Newsday, alerted by Zwaik to
the woman’s plight, captured their embrace. Forbes contacted U.S. authorities in Jamaica to help clear up the misunderstanding
and got Air Jamaica to cover return airfare.


When McKnight got off the plane in New York and spotted two uniformed immigration officers at the doorway, she turned to her
mother and said, “Don’t let them take me again.”


An immigration official apologized to the family, but they decided to sue. They are seeking compensatory damages of $7.5 million
and $500,000 in punitive damages, which are limited against federal agencies. Among other criticisms, the lawsuit alleges
inadequate training of immigration agents.


McKnight says she has nightmares of being handcuffed again.


“It was mean and nasty. They treated me like an animal,” she says. “I won’t forget about this. It’s still in me.”


*


On the Net:


INS: https://www.ins.usdoj.gov




Around the Web                                                                                                            Ads by Revcontent
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1

2

3                                 UNITED STATES DISTRICT COURT

4                                       DISTRICT OF NEVADA

5                                                   ***

6        UNITED STATES OF AMERICA,                    Case No. 3:19-cr-00025-MMD-WGC

7                                      Plaintiff,                      ORDER
               v.
8
         JUAN CARLOS SANCHEZ-FIGUEROA,
9
                                    Defendant.
10

11      I.    SUMMARY

12            Defendant Juan Carlos Sanchez-Figueroa is indicted on one count of unlawful

13      reentry under 8 U.S.C. § 1326(a). (ECF No. 11 at 1.) The charge is predicated on Sanchez-

14      Figueroa’s sole prior removal on or about March 31, 2013. (See id.) Sanchez-Figueroa

15      has moved to dismiss the indictment, arguing that his prior removal was invalid. (ECF No.

16      20 (“the Motion”).1) In addition, the Court held an evidentiary hearing (“the Hearing”) on

17      the Motion on July 19, 2019, where Border Patrol Agent Joseph Acree and Sanchez-

18      Figueroa both testified.2 (ECF No. 35.) The Court will grant the Motion because Sanchez-

19      Figueroa’s sole prior removal was fundamentally unfair and thus invalid.

20      II.   BACKGROUND

21            The following factual information comes from the Hearing. (ECF No. 35.) The

22      parties offered competing testimony as to what transpired with respect to the removal

23      process as noted below.

24      ///

25            1The Court has reviewed the Government’s response and supplement (ECF Nos.

26      25, 32) as well as Sanchez-Figueroa’s reply (ECF No. 36).
              2The Court also admitted Defendant’s exhibits 501 through 505 pursuant to the
27
        parties’ stipulations. These exhibits are the same as the documents attached to
28      Defendant’s brief. For ease of reference, the Court cites to the exhibits attached to
        Defendant’s brief.
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1              Sanchez-Figueroa—a 30-year-old citizen of Mexico—entered the United States

2       when he was 15 years old. He completed the third grade of middle school. He described

3       his life in Mexico as “poor and violent.” He could only afford to eat once a day, and he

4       started work at age seven, taking care of cattle and selling vegetables. A cartel near his

5       home killed 15 to 20 people he knew of, but violence also pervaded his household. He

6       testified that his father hit him daily and also hit his siblings and mother.

7              In the U.S., Sanchez-Figueroa worked in construction. He also met a life partner

8       with whom he has had two children.

9              Sanchez-Figueroa returned to Mexico in 2012 to take care of his mother, who was

10      dying of cancer. He moved her from Michoacan to Mexico City, where he took her to

11      medical appointments and shared a room with her until she died in early 2013. He then

12      set out to return to the U.S.

13             Sanchez-Figueroa traveled back to the U.S. by foot, a trip that took approximately

14      two weeks. When Sanchez-Figueroa was stopped by immigration officials, he had been

15      walking without sleep for 36 hours. He had no water, food, or money. On March 30, 2013,

16      Sanchez-Figueroa was handcuffed with hard plastic cuffs and taken to a detention center.

17      He was placed into a cell with six or seven people. The events that followed are primarily

18      disputed.

19             Sanchez-Figueroa testified that after about 4 hours (during which he did not sleep),

20      he was taken to an office at the detention center to speak with Agent Acree. Sanchez-

21      Figueroa testified that Agent Acree only spoke to him in English and only asked Sanchez-

22      Figueroa what his name was, where he was born, whether he was a citizen of Mexico,

23      and whether his parents were citizens of Mexico. Agent Acree gave him a form and

24      essentially told him where to sign without providing any Spanish translation.

25             Agent Acree did not provide testimony about his interaction with Sanchez-Figueroa

26      because he could not remember it. Instead, Agent Acree testified about his typical

27      practices during expedited removal proceedings. He testified that he developed a

28      methodical approach to ensure that he does not skip steps and “gets the best product for

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1       his time.” He testified that he is proficient in Spanish and would have communicated with

2       Sanchez-Figueroa in Spanish. The Court discusses the weight of the evidence infra.

3              Sanchez-Figueroa was removed as the result of an expedited removal proceeding

4       under 8 U.S.C. § 1225(b)(1). (ECF No. 20-2 at 2; ECF No. 20-1 at 4.) Sanchez-Figueroa

5       was charged with a violation of 8 U.S.C. § 1182(a)(7)(A)(i)(I) as an immigrant who is not

6       in possession of a valid visa or entry document. (ECF No. 20-2 at 2; see also ECF No. 20-

7       1 at 4.) Sanchez-Figueroa did not challenge the notice and was removed to Mexico on

8       March 31, 2013, within a day of his detention and charge. (See ECF No. 20-3 at 2.)

9       III.   LEGAL STANDARD

10             To obtain a conviction for unlawful reentry under 8 U.S.C. § 1326(a), the

11      government must establish that the defendant was previously, validly removed from the

12      United States before the alleged reentry. See United States v. Cisneros-Rodriguez, 813

13      F.3d 748, 755 (9th Cir. 2015). A defendant charged with unlawful reentry under § 1326(a)

14      “has a Fifth Amendment right to collaterally attack his removal order because the removal

15      order serves as a predicate element of his conviction.” United States v. Ubaldo-Figueroa,

16      364 F.3d 1042, 1047 (9th Cir. 2004). A defendant may successfully challenge a predicate

17      removal order by showing: (1) he exhausted all administrative remedies available to him

18      to appeal his removal order; (2) the underlying removal proceedings where the order was

19      issued improperly deprived him of the opportunity for judicial review; and (3) the entry of

20      the removal order is fundamentally unfair. See 8 U.S.C. § 1326(d); see also Ubaldo-

21      Figueroa, 364 F.3d at 1047 (noting that “the Due Process Clause of the Fifth Amendment

22      requires a meaningful opportunity for judicial review of the underlying deportation” in a §

23      1326 prosecution). The entry of a removal order is fundamentally unfair if the deportation

24      proceedings violated the defendant’s due process rights, and that violation prejudices the

25      defendant. United States v. Ortiz-Lopez, 385 F.3d 1202, 1204 (9th Cir. 2004).

26      IV.    DISCUSSION

27             The parties only dispute whether Sanchez-Figueroa’s prior removal was

28      fundamentally unfair. The Court finds that Sanchez-Figueroa’s prior removal as the result

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1       of an expedited removal proceeding was fundamentally unfair. The Court explains how

2       expedited removal proceedings typically work before evaluating whether Sanchez-

3       Figueroa’s due process rights were violated and whether he suffered prejudice as a result.

4              A.     Expedited Removal Proceeding

5              “An expedited removal proceeding under 8 U.S.C. § 1225 allows immigration

6       officers to (1) determine whether certain [individuals] are inadmissible, and (2) enter

7       removal orders, generally without hearing or further review.” United States v. Raya-Vaca,

8       771 F.3d 1195, 1199 (9th Cir. 2014). During the proceeding, an immigration officer must

9       conduct an inspection and determine whether the individual is inadmissible. Id. Individuals

10      may be found inadmissible because they do not possess a valid entry document. Id.

11      Sanchez-Figueroa was found inadmissible for this reason. (ECF No. 20-2 at 2.)

12             “When making a finding of inadmissibility, the examining immigration officer must

13      ‘create a record of the facts of the case and statements made by the [individual].’” Raya-

14      Vaca, 771 F.3d at 1199-1200 (quoting 8 C.F.R. § 235.3(b)(2)(i)). The officer must “have

15      the [individual] read (or have read to him or her) the statement.” Id. (quoting 8 C.F.R. §

16      235.3(b)(2)(i)). “Moreover, the officer ‘[must] advise the [individual] of the charges against

17      him or her on Form I–860, Notice and Order of Expedited Removal, and the [individual]

18      shall be given an opportunity to respond to those charges in the sworn statement.’” Id.

19      (quoting 8 C.F.R. § 235.3(b)(2)(i)). “Then, if the officer determines the [individual] to be

20      inadmissible, ‘the officer [must] order the [individual] removed from the United States

21      without further hearing or review unless the [individual] indicates either an intention to

22      apply for asylum . . . or a fear of persecution.’” Id. (quoting 8 U.S.C. § 1225(b)(1)(A)(i)).

23             At the time of the expedited removal proceeding, Sanchez-Figueroa was

24      considered an applicant for admission. (See id. at 1199; see also ECF No. 20-4 at 2 (“I

25      want to take your sworn statement regarding your application for admission to the United

26      States.”).) “[T]he Attorney General has the discretion to provide a type of statutory relief to

27      certain [individuals]: withdrawal of application for admission.” Raya-Vaca, 771 F.3d at

28      1200 (citing 8 U.S.C. § 1225(a)(4)). “When an individual is permitted to ‘withdraw’ his

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1       application for admission, he may leave voluntarily and without a removal order, and thus

2       without facing formal immigration consequences.” Id. (citing 8 C.F.R. § 1235.4).

3              B.     Due Process

4              Due process requires that individuals subject to expedited removal proceedings be

5       informed of the charges against them and be provided an opportunity to review their sworn

6       statements. See Raya-Vaca, 771 F.3d at 1204. In Raya-Vaca, the Ninth Circuit found that

7       the defendant-appellant’s due process rights were violated during an expedited removal

8       proceeding when “no immigration officer explained to [Raya-Vaca] either the nature of the

9       removal proceedings or that he could be ordered removed from the United States.” Id. at

10      1205. The Ninth Circuit also based its decision on the immigration officer’s failure to read

11      the information in the sworn statement to Raya-Vaca or to allow Raya-Vaca to review the

12      sworn statement. Id.

13             Like Raya-Vaca, Sanchez-Figueroa argues that the immigration officer who

14      conducted his expedited removal proceeding—Agent Acree—never informed him of the

15      charges against him or provided him a meaningful opportunity to review the sworn

16      statement. (ECF No. 20 at 5-9.) The Court finds Sanchez-Figueroa’s argument persuasive

17      in light of the evidence presented at the Hearing.

18             Sanchez-Figueroa testified at the Hearing that he spent a total of 3 to 5 minutes

19      with Agent Acree, during which time Agent Acree asked Sanchez-Figueroa—in English—

20      what his name was, where he was born, whether he was a citizen of Mexico, and whether

21      his parents were citizens of Mexico. Sanchez-Figueroa testified that Agent Acree never

22      explained that he was being deported3 or the legal consequences of deportation, e.g., that

23      he could not enter the country for 5 years or return to the U.S. without permission.

24      Sanchez-Figueroa also testified that he did not have an opportunity to review the sworn

25      ///
               3While the government appeared to suggest at the Hearing that Sanchez-Figueroa
26
        could have determined he was facing deportation by talking to others in his cell, the
27      government cannot rely on private individuals to provide information that would ensure
        adequate due process. Moreover, there is no evidence in the record to show that Sanchez-
28      Figueroa would have known of the legal consequences of deportation, particularly given
        that this was his first removal.
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1       statement. Rather, Agent Acree told Sanchez-Figueroa to initial and sign pages of the

2       sworn statement—which is entirely in English—without ensuring that Sanchez-Figueroa

3       actually understood what he was signing.

4              The government offered the testimony of Agent Acree to support its contention that

5       Sanchez-Figueroa was informed of the charges against him and that the expedited

6       removal process was followed. Agent Acree testified about his methodical approach to

7       deportation proceedings rather than any specific recollection of his interaction with

8       Sanchez-Figueroa. In fact, Agent Acree testified that he did not remember Sanchez-

9       Figueroa.4 In a nutshell, Agent Acree’s testimony relies on the documents in the record

10      and his methodical process in how he typically handles deportation proceedings because

11      he has no independent recollection of his interactions with Sanchez-Figueora.

12             But portions of the documents in the record support instead of undermine Sanchez-

13      Figueroa’s specific recollection. Sanchez-Figueroa’s testimony cast significant doubt on

14      the quality of the purported attestation (the jurat) in the sworn statement. The jurat

15      indicates the following:

16             “I have read (or have had read to me) this statement, consisting of 1 [the
               numeral 1 is superimposed in typeface above a blank space] pages
17             (including this page). I state that my answers are true and correct to the best
               of my knowledge and that this statement is a full, true and correct record of
18             my interrogation on the date indicated by the above named officer of the
               Department of Homeland Security. I have initialed each page of this
19             statement (and the corrections noted on page(s) 0 [the numeral 0 is
               superimposed in handwriting above a blank space]).”
20

21      (ECF No. 20-4 at 5.) Sanchez-Figueroa’s signature appears below this attestation.

22      ///

23     ///
               4This is understandable in light of Agent Acree’s testimony that he has handled at
24
        least 1,000 deportations and possibly as many as 2,000 or 3,000. And just as it is
25      understandable that Agent Acree would not specifically recall one individual among the
        thousands with whom he has interacted, it is understandable that Sanchez-Figueroa
26      would remember his interaction with Agent Acree given that it was his sole prior removal
        from the U.S. And while the government suggests that Sanchez-Figueroa’s testimony is
27      unreliable because it is based on an aged recollection (ECF No. 25 at 9), the Court finds
        that the traumatic nature of the deportation experience would cause Defendant’s
28      recollection to be stronger than a typical recollection from the same time period.

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1              There are numerous inconsistencies in the sworn statement and jurat that suggest

2       Sanchez-Figueroa did not actually read or have read to him the sworn statement as

3       required under 8 C.F.R. § 235.3(b)(2)(i). These inconsistencies also suggest that Agent

4       Acree never asked Sanchez-Figueroa most of the questions in the sworn statement. First,

5       the filled-in numeral 1 in the attestation indicates that Sanchez-Figueroa only read or had

6       read to him the page containing the jurat—not the three additional pages making up the

7       sworn statement.5 Second, the sworn statement indicates that Sanchez-Figueroa came to

8       the U.S. to find work and only intended to stay for two years. (ECF No. 20-4 at 4.) This is

9       inconsistent with Sanchez-Figueroa’s testimony that he leads an established life in the

10      U.S. with a life partner and small children. It is implausible that Sanchez-Figueroa intended

11      to come to the U.S. for only two years to find work. Indeed, he testified at the Hearing that

12      he intended to stay for life. Third, the sworn statement indicates that Sanchez-Figueroa

13      did not have an address in the U.S. even though he testified that he had an address in

14      Sun Valley, Nevada. (Id. at 3.) Fourth, the sworn statement indicates that Sanchez-

15      Figueroa entered the U.S. near Naco, Arizona on March 24, 2013, around 4:00 pm, but

16      Sanchez-Figueroa testified that he entered near Nogales on March 27, 2013. (Id.) Fifth,

17      the sworn statement indicates that Sanchez-Figueroa estimated he was ten miles from

18      the border when he was arrested, but Sanchez-Figueroa testified that he estimates

19      distances in kilometers—not miles. (Id.) Sixth, the jurat indicates that Sanchez-Figueroa

20      had no fear of staying in Mexico, but Sanchez-Figueroa testified that he was in fact afraid

21      to stay in Mexico. (Id. at 5.) Seventh, Sanchez-Figueroa did not sign each page of the

22      sworn statement as required by the governing regulation. (See id. at 2-5; see also 8 C.F.R.

23      § 253.3(b)(2)(i).) There is no evidence in the record to suggest that Sanchez-Figueroa

24      ///
25
               5The same inconsistency supported the Ninth Circuit’s finding of a due process

26      violation in Raya-Vaca. See 771 F.3d at 1205 (“Further, Raya-Vaca acknowledged on the
        Jurat that he had ‘read (or . . . had read to [him] ) this statement, consisting of 1 pages
27      (including this page).’ However, the Record of Sworn Statement and Jurat together totaled
        four pages, and the Jurat—the sole page Raya-Vaca acknowledged having read—
28      include[ed] only four questions he was asked and answered, none of which spoke to his
        admissibility.”).
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1       fabricated any of his responses. Rather, the evidence—consisting of Sanchez-Figueroa’s

2       testimony to this effect—suggests that Agent Acree never actually asked Sanchez-

3       Figueroa for responses to these questions.

4              Additionally, Agent Acree testified at the Hearing that he does not typically review

5       in Spanish the completed sworn statement (Form I-867) with individuals subject to

6       expedited removal proceedings. He testified that he would have communicated the

7       questions in Spanish and translated the answers to English when he typed them, but he

8       would not have read the answers back to the individual involved. This is not fully consistent

9       with the first sentence in the jurat indicating that the individual has “read” or has “had read

10      to [him]” the sworn statement. (ECF No. 20-4 at 5.) Moreover, while Agent Acree testified

11      that he would have communicated and translated all documents to Sanchez-Figueroa in

12      Spanish as part of his methodical approach, the removal records show that Agent Acree

13      only identified Form I-867 as having been “read and explained to [Sanchez-Figueroa] in

14      the Spanish language.” (ECF No. 20-1 at 4.) This testimony and evidence supports the

15      finding that the Notice to Alien Ordered Removed/Departure Verification informing

16      Sanchez-Figueroa of the consequence of removal—he was prohibited from entering or

17      attempting to enter the United States for a period of 5 years (ECF No. 20-3 at 2)—was not

18      translated for him, which is consistent with Sanchez-Figueroa’s testimony. Thus, the Court

19      cannot find that Agent Acree reviewed the completed sworn statement with Sanchez-

20      Figueroa in Spanish or that Agent Acree even informed Sanchez-Figueroa of the charges

21      against him or the legal consequences of deportation.

22             Finally, Agent Acree’s own testimony undercut the government’s assertion that he

23      rigidly follows a methodical approach to deportation proceedings. Agent Acree

24      acknowledged on cross-examination that his typical practices—such as requiring

25      individuals to sign the back of the sworn statement—have changed over time, but he did

26      not know when he made that change or whether it was tied to a change in the governing

27      law.

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1              Consequently, this case appears to be very similar to Raya-Vaca. Like the

2       defendant-appellant in Raya-Vaca, Sanchez-Figueroa was not informed of the charge

3       against him and never received a meaningful opportunity to review the sworn statement.

4       The government argues that Raya-Vaca is distinguishable because Agent Acree informed

5       Sanchez-Figueroa in Spanish of the charges against him and read and explained the

6       sworn statement to Sanchez-Figueroa. (ECF No. 25 at 6-7.) But the government did not

7       produce direct evidence that Agent Acree did any of this. Rather, the government relied

8       upon circumstantial evidence of Agent Acree’s typical practices that cannot be squared

9       with either Sanchez-Figueroa’s specific recollection of what occurred or portions of the

10      record.

11             Accordingly, the Court finds that Sanchez-Figueroa’s due process rights were

12      violated.

13             C.     Prejudice

14             Individuals challenging an expedited removal order as fundamentally unfair must

15      also establish that they suffered prejudice as a result of the order’s entry. Raya-Vaca, 771

16      F.3d at 1206. To do so, individuals must show that they had “plausible grounds for relief”

17      from the removal order. Id. (quoting United States v. Jimenez–Marmolejo, 104 F.3d 1083,

18      1086 (9th Cir. 1996)).

19             Even though Sanchez-Figueroa did not formally apply for admission to the United

20      States, he is considered to have been an applicant for admission and as such was eligible

21      for withdrawal of application for admission. See id. As discussed supra, an individual

22      granted leave to withdraw his application for admission may exit the United States

23      voluntarily and without a removal order. Id. Sanchez-Figueroa contends that he had

24      plausible grounds for relief from removal in the form of withdrawal of his application for

25      admission. (ECF No. 20 at 9.)

26             Courts follow a two-step process to determine whether a defendant has shown that

27      she plausibly would have been granted a discretionary form of relief from removal. Id.

28      (citing United States v. Rojas–Pedroza, 716 F.3d 1253, 1263 (9th Cir. 2013)). First, courts

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1       identify the factors relevant to the agency’s exercise of discretion for the relief sought. Id.

2       (citing Rojas–Pedroza, 716 F.3d at 1263). Then, courts determine whether it was plausible

3       that the agency official considering the defendant’s case would have granted relief from

4       removal in light of the factors relevant to the form of relief sought and based on the unique

5       circumstances of the defendant’s own case. Id. (citing Rojas–Pedroza, 716 F.3d at 1263).

6              Immigration officers are instructed “to consider all facts and circumstances related

7       to the case to determine whether permitting withdrawal would be in the best interest of

8       justice.” Id. Immigration officers also are instructed to consider six enumerated factors:

9       “(1) the seriousness of the immigration violation; (2) previous findings of inadmissibility

10      against the [individual]; (3) intent on the part of the [individual] to violate the law; (4) ability

11      to easily overcome the ground of inadmissibility; (5) age or poor health of the [individual];

12      and (6) other humanitarian or public interest considerations.”6 Id. The list of considerations

13      is non-exhaustive. Id.

14             Sanchez-Figueroa need only prove the plausibility of relief. Id. He must show more

15      than a theoretical possibility of relief, but he is not required to prove that relief was

16      probable. Id. Sanchez-Figueroa need only establish “some evidentiary basis on which

17      relief could have been granted.” Id. (quoting United States v. Reyes–Bonilla, 671 F.3d

18      1036, 1049-50 (9th Cir. 2012)).

19             Sanchez-Figueroa has carried his burden of showing the plausibility of relief.

20      Sanchez-Figueroa did not commit fraud, which is an overriding consideration in assessing

21      whether to grant withdrawal relief. See United States v. Barajas-Alvarado, 655 F.3d 1077,

22      1091 (9th Cir. 2011) (noting that the Field Manual emphasizes the disqualifying effect of

23      “obvious, deliberate fraud on the part of the applicant”). Sanchez-Figueroa also had no

24      prior findings of inadmissibility as this was Sanchez-Figueroa’s first encounter with

25      immigration officials. (ECF No. 20 at 10-11.) Sanchez-Figueroa also never had been

26      sentenced to a day in jail before his removal and had never received a conviction more

27      ///
               6These factors are listed in the Immigration and Naturalization Service’s Inspector’s
28
        Field Manual (“Field Manual”). Raya-Vaca, 771 F.3d at 1201, 1207.
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1       serious than a misdemeanor. (Id. at 11.) Some of the convictions Sanchez-Figueroa

2       received might be expected of those living without legal status—such as driving without a

3       valid driver’s license.7 (Id.) Finally, Sanchez-Figueroa presented significant humanitarian

4       considerations. Sanchez-Figueroa’s closest family—his partner and small children—

5       resided in the United States. His family ties weigh significantly in his favor because “there

6       is a compelling humanitarian interest in keeping families united.” See Raya-Vaca, 771

7       F.3d at 1208 (quoting United States v. Haro–Munoz, 552 F. App’x 689, 690 (9th Cir. 2014))

8       (additional citations omitted).

9              The government argues that withdrawal is not plausible because Sanchez-

10      Figueroa demonstrated intent to violate law; he could not easily overcome the ground of

11      inadmissibility; and he was young and in good health. (ECF No. 25 at 8-9.) But beyond its

12      ipse dixit, the government offers no argument to support its points. (See id.) Moreover, the

13      government’s focus on just three of the six factors further suggests that Sanchez-Figueroa

14      has shown “some evidentiary basis on which relief could be granted,” as discussed supra.

15      The government implicitly concedes that several of the factors weigh in favor of granting

16      withdrawal relief. Finally, the government draws the Court’s attention to Sanchez-

17      Figueroa’s misdemeanor conviction of conspiracy to utter forged instruments (ECF No. 25

18      at 8) but provides no additional details about the crime. Given that the defendant-

19      appellant’s multiple misdemeanor convictions in Raya-Vaca did not preclude withdrawal

20      relief, see 771 F.3d at 1198-99, 1209, the Court finds that Sanchez-Figueroa’s

21      misdemeanor conviction is inconsequential here.

22             Accordingly, because Sanchez-Figueroa has demonstrated that his prior removal—

23      the predicate offense for the charge in the indictment—violated his due process rights and

24      caused him prejudice, the Court will dismiss the indictment.

25      ///

26     ///
27
               7The Government’s description of Sanchez-Figueroa’s alleged criminal activity in

28      2017 (ECF No. 25 at 4) is irrelevant because it would not have been a factor in exercising
        discretion over withdrawal in 2013.
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1       V.      CONCLUSION

2               The Court notes that the parties made several arguments and cited to several cases

3       not discussed above. The Court has reviewed these arguments and cases and determines

4       that they do not warrant discussion as they do not affect the outcome of the motion before

5       the Court.

6               It is therefore ordered that Sanchez-Figueroa’s motion to dismiss (ECF No. 20) is

7       granted. The indictment charging Sanchez-Figueroa with unlawful reentry is dismissed.

8               The Clerk of the Court is instructed to enter judgment accordingly and close this

9       case.

10              DATED THIS 25th day of July 2019.

11
                                                         MIRANDA M. DU
12                                                       UNITED STATES DISTRICT JUDGE

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               EXHIBIT 11
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NEWS                                                          Illegal immigrants     Add Topic



Trump's quick deportation plan may be
illegal, past immigration chiefs say
Alan Gomez USA TODAY
Feb. 24, 2017    ​Updated Feb. 26, 2017, 1:00 p.m. ET

Former immigration enforcement chiefs are questioning the legality of President
Trump's plan to ramp up a program that allows federal agents to quickly deport
suspected undocumented immigrants without appearing before a judge.

"Expedited removals" have been in force for 20 years but have only been used
against people caught within 100 miles of the U.S.-Mexican border and who are
alleged to have entered the country within the previous two weeks.

Now, Homeland Security Secretary John Kelly has ordered an expansion of the
program to apply nationwide and for anyone who entered the country within the
previous two years.

That expansion threatens the constitutional rights of undocumented immigrants
who may get mistakenly deported, warned John Sandweg, who headed Immigration
and Customs Enforcement (ICE) under President Obama.

"The Supreme Court has consistently held that even undocumented immigrants are
entitled to due process," he said.

Sandweg added that expedited removals have been a valuable tool for immigration
agents working near the border when they are dealing with clear-cut cases of illegal
entry.
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Julie Myers Wood, who headed ICE under President George W. Bush, agreed. She
said her team considered expanding expedited removals, but decided against it
because of legal concerns. She said other aspects of Trump's tougher immigration
enforcement plan also may run afoul of the law.

"Many of these authorities have never been used that way," Wood said. "The
administration is really testing the parameters of what's acceptable. There is some
litigation risk there."

Read more:

Homeland Security unveils sweeping plan to deport undocumented immigrants

5 ways Trump will increase deportations

Trump immigration raids show greater focus on non-criminals

Trump laid out his planon Jan. 25, and Kelly issued orders for implementing it
Tuesday.

Congress created "expedited removals" in 1996. It allows federal agents to interview
each subject to determine if the person should be deported. The agent reviews
any documents the person has to establish how long they've been in the country.

If the undocumented immigrant claims fear of persecution or torture if returned to
their home country, the agent is supposed to turn them over to U.S. Citizenship and
Immigration Services to determine if the detainee has a "credible fear" and should
be allowed to apply for political asylum.

The law allows for removal of undocumented immigrants who entered the
country within the previous two years. But the Clinton administration limited its
use to people caught at ports of entry who had arrived in the previous 14 days. The
Bush administration expanded that to people caught within 100 miles of the border,
and President Obama maintained that guideline.
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Kelly's order said an expansion is necessary because immigration courts are so
backlogged it can take up to five years to deport people brought before a judge,
creating a "national security vulnerability."

Critics say that approach will rush undocumented immigrants through a process
they barely understand without the right to an attorney and few options to appeal
their deportation.

The U.S. Commission on International Religious Freedom, an independent
commission created by Congress, concluded in a 2016 report that those fears are
well grounded. Researchers observed expedited removal proceedings in several
states and found that immigration officers frequently skipped legally required steps,
which it called an "alarming" trend.

In some cases, agents failed to fully advise detainees of their rights and did not let
them review documents they were forced to sign. The commission also found that
some agents disregarded immigrants' political asylum claims.

In one case, a man from El Salvador showed an immigration agent a letter from a
police officer in his hometown saying he had been threatened by gang members.
But the report found that the agent simply kept the letter, which was not used to
determine if he should be allowed to seek asylum.

That's why Sandweg and Wood both said it's important for ICE to provide updated
training to provide clear guidance on the kinds of documents agents can use to
establish how long a person has been in the country. In a statement, ICE said all
new deportation officers already undergo a 20-week training course that includes
training on expedited removals.

It's unclear how many people could be deported immediately under Trump's plan.
The Pew Research Center estimates that 1.5 million undocumented immigrants
have been in the U.S. for fewer than five years, but it does not have data on those in
the country fewer than two years.
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Homeland Security has not yet formally expanded the expedited removal process. It
must first publish its new plan in the Federal Register.
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                             Statement for the Record of Eleanor Acer


                                   Director, Refugee Protection


                                       Human Rights First


        Hearing before the House Judiciary Subcommittee on Immigration and Border Security


                          “Interior Immigration Enforcement Legislation”


                                        February 11, 2015




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Human Rights First is a non-profit, nonpartisan human rights advocacy organization that
challenges America to live up to its ideals. For over 30 years, we’ve built bipartisan coalitions
and teamed up with frontline activists and lawyers to tackle issues that demand American
leadership, including the protection of the rights of refugees. With offices in Houston, New
York, and Washington D.C., Human Rights First oversees one of the largest pro bono legal
representation programs for refugees in the country, working in partnership with volunteer
attorneys at many of the nation’s leading law firms.
Human Rights First appreciates the opportunity to submit its views for this hearing. For the
reasons outlined below, Human Rights First strongly opposes the “Asylum Reform and Border
Protection Act” (HR 5137), as well as the "Protection of Children Act" (HR 5143) and the
"Strengthen and Fortify Enforcement Act" - commonly known as the "SAFE Act" (HR 2278).
American Values and Refugee Protection Commitments
Protecting the persecuted is a core American value. Reflecting this country’s deep-seated
commitment to liberty and human dignity, as well as its pledge under the Refugee Convention’s
Protocol, the United States has long led efforts to protect those who flee from political, religious,
and other persecution. The U.S. asylum system has protected thousands of refugees from being
returned to places where they would face political, religious, or other persecution. Through our
pro bono legal representation initiatives, we see these people day in and day out: they are victims
of religious persecution from China; women targeted for honor killings, trafficking and horrific
domestic violence; gay men attacked in countries where they face constant threats; human rights
advocates who stand up against oppression in Syria or against the perpetrators of brutal violence
in Central America; and ordinary people who are persecuted for who they are or what they
believe.
A Strong System is Staffed Adequately to be Timely, Fair, and Effective
A strong asylum and immigration system that adjudicates cases in a fair and timely manner and
includes effective tools for fighting abuse is essential both for ensuring the integrity of the U.S.
immigration process as well as protecting refugees from return to places of persecution.
However, in order to effectively secure the integrity of the system, the agencies responsible for
asylum adjudication – the Department of Justice’s Executive Office of Immigration Review
(EOIR) and the Department of Homeland Security’s United States Citizenship and Immigration
Services (USCIS) – must be properly staffed and resourced to adjudicate cases in a fair and
timely manner, and to eliminate backlogs that can leave the system vulnerable to abuse.
According to the most recent data, about 430,000 immigration removal cases have now been
pending for an average of 585 days in the U.S. immigration courts. While immigration
enforcement and related funding have increased significantly in recent years, funding and
staffing for the immigration courts has lagged well behind. Over the years, resources for
immigration enforcement, including Customs and Border Protection (CBP) and Immigration and



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Customs Enforcement (ICE) have quadrupled – rising from $4.5 billion in 2002 to $18 billon in
FY 2013. This funding imbalance needs to be righted as outlined in our recommendations below.
Not only can delays increase the vulnerability of our immigration system to abuse and prevent
refugees from having their cases adjudicated in a timely manner, but they often leave refugee
families stranded in difficult and dangerous situations abroad. For example:
§     Wife and Children of Christian Missionary Stranded, Hiding from Boko Haram.
       “Joshua” is a Christian missionary and social outreach worker from Nigeria, married and the
       father of young children. He was targeted by Boko Haram militants because of his religious
       activities and his assistance in providing information about Boko Haram crimes to the police.
       Boko Haram militants are believed to have shot Joshua’s brother along with another guest at
       Joshua’s home in Joshua’s absence. Boko Haram militants later kidnapped Joshua himself.
       Released by security forces who stopped his captors’ vehicle, but unable to find protection in
       Nigeria, Joshua fled to the United States after a period in hiding. At his first hearing in
       immigration court, in late 2013, Joshua was scheduled for a hearing on the merits of his case
       in 2016. Joshua’s wife and children are currently in hiding. Joshua, who already blames
       himself for the death of his brother, fears for their safety but cannot petition to reunite with
       them until his asylum case is heard.
§     Family of Syrian torture survivor, stranded and threatened in Syria. “Hisham”* was
       detained and tortured repeatedly by both governmental and non-governmental armed forces
       in Syria, each of which wrongly believed him to be supporting the other side. All factions
       also abused him very severely for challenging what they were doing. His hands were
       permanently damaged by the torture. Hisham finally fled Syria. Since arriving in the United
       States, his sole priority has been to secure the protection of asylum so that he can get his wife
       and adolescent son out of Syria. He applied for asylum without the assistance of counsel and
       was referred to an immigration court that is severely backlogged. When he first appeared in
       court without counsel, his case was adjourned for nearly a year. Meanwhile, there have been
       threats against his family back home, and his son, who has been unable to attend school for
       months because of these threats, will be called up for military service in a little over a year,
       and his Syrian passport will expire, meaning that the boy must be gotten out of Syria before
       then. If Hisham cannot get his case heard in immigration court in time to petition for his
       family, all his efforts to gain protection will be meaningless to him.
§     Separation from Family Prolonged for Tibetan Persecuted for Religious Activity. S.T.
       is Tibetan and a lay monk in a sect of Buddhism. He was beaten and imprisoned for over
       two years by the Chinese government for performing religious ceremonies at which he
       praised the Dalai Lama and some attendees expressed a desire for a free Tibet. He fled to the
       United States and applied for asylum. His case has been pending before the immigration
       court since 2009. During this time, S.T. has been living here alone, with no legal status and
       no friends or family. His family is still in Tibet, and he is afraid to contact them for fear of
       jeopardizing their safety. He wants to contact them once he has asylum so that he can try to
       arrange for a safe exit for them to join him in the United States, but they have now been
       separated for years, S.T. has been completely cut off from those he cares about, and at this
       point the family does not even know if he is dead or alive.

                                                                                                       3	  
	  
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*The names of these asylum seekers have been changed for security reasons.
The Proposals in H.R. 5137 Would Send Legitimate Refugees and Children Back to Danger
The provisions included in H.R. 5137, the Asylum Reform and Border Protection Act of 2014,
would severely undermine access to asylum and protection in the United States. The bill would
lead to the deportation of legitimate refugees with well-founded fears of persecution, leave others
in immigration detention for months and put children at risk of return to trafficking, death, and
persecution in their home countries. The bill is inconsistent with American ideals and would
erode the United States’ legacy as a global leader in protecting refugees and victims of
trafficking.
The bill seeks to make it harder for those fleeing persecution and torture to file for asylum in the
United States, a process already fraught with obstacles. The bill appears to eliminate the statutory
basis for release on parole for detained asylum seekers, including children, which would leave
asylum seekers in jails and facilities with conditions similar to jails despite the existence of more
cost-effective and humane alternative measures that result in compliance and appearance at
hearings. The bill would also eviscerate the limited procedural protections available to
unaccompanied children in the immigration system. It would overturn provisions that protect
children from return to traffickers and would subject them to expedited removal proceedings
entirely unsuited to their age, making it difficult for them to access the asylum and immigration
process.
Among many changes to law, the bill would:
•      Raise the expedited removal screening standard for those seeking this country’s
       protection at the border to an unduly high standard. The bill would require that an
       asylum seeker – in order to even be allowed to apply for asylum – not only show a
       “significant possibility of establishing eligibility for asylum,” but also prove that it is more
       likely than not that his or her statements are true. This standard is inappropriate for what is
       intended to be a screening, and the conditions under which these interviews are conducted –
       in immigration detention facilities and jails, sometimes over the phone, with traumatized
       applicants speaking to government officials they sometimes cannot see, communicating
       through interpreters of variable quality, at times with young children present in the same
       room – would lead to the deportation of many asylum seekers with legitimate claims to
       protection.
•      Appear to prevent arriving asylum seekers who have passed the credible fear screening
       process from being paroled from immigration detention, instead leaving them in jails and
       facilities with conditions that resemble jails for months or longer, even though there are more
       fiscally-prudent and humane alternatives that have been proven effective. Although other
       provisions of the bill assume the release on parole of some applicants, the changes to the
       parole statute itself are so significant that they would not only impact asylum seekers but
       would prevent the United States from quickly bringing prominent political dissidents or
       human rights advocates at risk abroad to safety here.


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•      Overturn provisions in the Trafficking Victims Protection Reauthorization Act
       (TVPRA) that protect children from return to traffickers or persecution by putting all
       unaccompanied children into expedited removal proceedings. The bipartisan U.S.
       Commission on International Religious Freedom has documented substantial flaws in the
       implementation of expedited removal and other studies have detailed deficiencies in the
       screenings of children at the border, all of which leave vulnerable individuals – adults and
       children – at risk of return to persecution and harm.
•      Drastically narrow the definition of an “unaccompanied child,” and allow
       unaccompanied children to be held in the custody of Immigration & Customs Enforcement
       (ICE) for as long as a month rather than being transferred to the more appropriate care of the
       Department of Health and Human Services.
•      Subject unaccompanied children to the arbitrary one-year asylum filing deadline
       bar. The flawed asylum filing deadline has already led the United States to deny asylum to
       refugees with well-founded fears of persecution and has created inefficiencies by
       unnecessarily putting the cases of legitimate refugees into the overstretched immigration
       court system. To apply this legal technicality to children subjects the most vulnerable of the
       vulnerable to an already arbitrary bar from protection.
•      State that the Government not bear expense for counsel. The bill also states that in no
       instance will the government bear expense for counsel for anyone in removal or appeal
       proceedings. Studies have confirmed that representation encourages appearance for court
       and saves the government money. Children – including babies and toddlers - the mentally
       disabled, and other vulnerable people cannot represent themselves in our complex
       immigration system.
•      Allow asylum applicants, including unaccompanied children, to be bounced to third
       countries in the absence of any agreement between the United States and the countries
       in question for the reception of asylum seekers.
A Note on Expedited Removal
As outlined above, the bill seeks to further heighten the credible fear screening standard – which
is used to determine whether an asylum seeker who has been put into expedited removal will be
allowed to apply for asylum. (It is not the standard for asylum itself, but simply a screening
process to weed out cases that should not even be allowed to submit an application for asylum.)
However, even under the current statutory screening standard, we regularly learn of reports of
legitimate asylum seekers who are denied “credible fear” – and the chance to even file an
application for asylum - even though they should meet the standard and may be eligible for
asylum. In some cases, interviews are sometimes rushed, essential information is not identified
due to lack of follow up questions, and/or other mistakes are made that block genuine asylum
seekers from even applying for asylum and having a real chance to submit evidence and have
their case fully considered. The bipartisan U.S. Commission on International Religious Freedom
has documented the prison-like conditions used to detain asylum seekers during this process, and

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found that safeguards put in the system to protect asylum seekers from mistaken deportation
under expedited removal were often not implemented. Here are just a few examples of the
mistakes that occur under the current credible fear screening process.
§     LGBT Human Rights Activist Nearly Deported Under Expedited Removal: “Toni” is a
       gay man with a female gender identity from El Salvador who suffered severe physical and
       mental harm at the hands of the Salvadoran government and others. Toni worked to improve
       the plight of the LGBT community in El Salvador through work with a human rights
       organization. During the course of that work, police beat Toni. Eventually, Toni was forced
       to flee El Salvador due to threats against his life. After seeking protection at the U.S.
       southern border in 2014, Toni was put into immigration detention. Toni was nearly deported
       back to danger under expedited removal without even being allowed to apply for asylum.
       The Asylum Office initially denied Toni’s credible fear interview, without examining any of
       the country conditions evidence documenting the extreme violence perpetrated against the
       LGBT community in El Salvador. An immigration court failed to vacate this decision despite
       letters from LGBT human rights organizations explaining the risks Toni would face if
       returned. After the intervention of pro bono counsel and a reconsideration request, Toni was
       finally allowed to apply for asylum.
§     Woman Persecuted Due to Ethnicity Deported Under Expedited Removal. A
       Guatemalan woman and indigenous language speaker detained at the Karnes family
       detention center in Texas was deported under expedited removal based on a credible fear
       interview conducted in Spanish, a language in which she was not fluent. It was clear to a
       Human Rights First staff attorney who met with her that she did not have the vocabulary to
       express her thoughts. For example, the notes from her credible fear worksheet showed that
       the asylum officer understood an event to have happened ten times, while in fact she was
       referring to the number of perpetrators. The Human Rights First attorney who met with her
       was unable to complete a full interview due to the language difficulties, but based on the
       information communicated, there appeared to be sufficient basis to pass the credible fear
       screening, as the woman was persecuted on account of her indigenous ethnicity. This woman
       was deported from the United States under expedited removal before she could secure legal
       counsel.
The System Already has Many Strong Measures for Identifying, Prosecuting Fraud
Some have pointed to the increase in the numbers of individuals from three Central American
countries who requested U.S. protection as evidence of “fraud” in the system. However,
multiple studies and media reports have documented the devastating escalation of violence and
persecution in the three Central American countries – El Salvador, Guatemala, and Honduras. A
study conducted by the U.N. Refugee Agency concluded that about 60% of children it
interviewed from these countries had potential claims to asylum or other international protection.
Certainly, if individuals or groups are defrauding the asylum system, it hurts everyone, and steps
should be taken to counter those abuses and punish the perpetrators. U.S. authorities have a range
of effective tools to address abuses. As outlined in Appendix A to this statement, U.S. agencies
conduct multiple identity and background checks, have personnel in multiple agencies charged

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with detecting and investigating fraud, and have the ability to refer for prosecution individuals
who perpetrate and orchestrate fraud. Many of these tools have been enhanced over the years,
and the prosecution of criminal charges is critical for sending a message that efforts to defraud
the immigration systems will not be tolerated.
The use of these tools, tailored to identifying and addressing abuse, are the answer – rather than
sweeping proposals – like those included in H.R. 5137 – that would cause the United States to
turn away, and send back to danger, legitimate refugees with credible asylum claims. The
bottom line is that U.S. immigration authorities have the legal and policy mechanisms necessary
to detect and address abuse, including referring for prosecution individuals who attempt to
orchestrate fraud on the system. While additional staffing and resources are needed for the
asylum, credible fear, and immigration court removal systems, additional changes to laws – to
make it even more difficult for refugees to access the asylum system – are inconsistent with our
values and make the system more inefficient by leading to mistaken decisions to deport
legitimate refugees.
Strengthen Rather than Weaken Protections
As we seek to strengthen the system, we should address the many ways in which our current
asylum system fails to provide protection in a manner consistent with this country’s
commitments and legal obligations to protect refugees fleeing persecution. Over the years, so
many barriers and hurdles have been added to the asylum system through multiple rounds of
legislation that refugees who seek the protection of the United States often find themselves
denied asylum, delayed in receiving protection, or lingering for months in jails and jail-like
immigration detention facilities. In addition to supporting a fair and timely decision-making
process for those seeking this country’s protection, Congress should eliminate unjust barriers that
deny or delay U.S. protection to refugees and implement the recommendations of the U.S.
Commission on International Religious Freedom relating to expedited removal and detention.
Changes in law that would further prolong detention for many asylum seekers or risk turning
refugees back to persecution are not necessary, and are inconsistent with this country’s
commitments and values. America should stand firm as a beacon of hope that will not turn its
back on those seeking protection from persecution.
As the Council on Foreign Relations Independent Task Force on Immigration Policy, co-chaired
by former Florida Gov. Jeb Bush and former Clinton White House chief of staff Thomas “Mack”
McLarty, pointed out: “The treatment of refugees and asylum seekers is [a] dimension of
immigration policy that reflects important American values.” That task force’s report also
stressed the example that the United States sets for the world: the U.S. commitment to protect
refugees from persecution is “enshrined in international treaties and domestic U.S. laws that set
the standard for the rest of the world; when American standards erode, refugee face greater risks
everywhere.”




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Recommendations
Congress should not pass proposals, like those included in H.R. 5137, that would prevent
refugees from accessing or receiving asylum from persecution. Instead, Congress should take
the steps outlined below. These recommendations are informed by Human Rights First’s
multiple visits to key border points, border patrol stations, and immigration detention facilities in
Arizona, California, and Texas as well as our first-hand experience assisting and providing pro
bono representation to asylum seekers including some who have come to this country through
the southern border. Human Rights First released a detailed Blueprint of its recommendations in
June 2014, and a subsequent set of recommendations focused on families seeking asylum.
In addition to supporting efforts to address the human rights conditions in Central America
prompting many to flee their homes, Congress should take steps to strengthen the asylum system,
including:
§     Increase Immigration Court Staffing to Address Removal Hearing Delays and
       Eliminate Hearing Backlog. To address the incoming removal caseload and the backlog, the
       immigration courts will need at least 300 additional immigration judge teams – significantly
       more than the administration’s fiscal 2016 request for 55 additional immigration judge teams.
       Both the American Bar Association and the Administrative Conference of the United States
       (ACUS) have expressed concern that the immigration courts do not have the resources
       necessary to deal with their caseloads. The Wall Street Journal and other media have recently
       reported on immigration court delays, which have led non-priority non-border cases to be
       calendared for their hearings in late November 2019 – nearly five years from now. The
       delays and backlogs resulting from insufficient staffing and resources undermine the integrity
       of the system by exposing it to potential abuse and by leaving individuals who are
       desperately awaiting their asylum hearings in limbo for years.
§     Increase Asylum Office Staffing to Address Backlogs, Provide Timely Referrals into
       Removal Proceedings. As asylum officers have been redeployed to conduct credible fear
       interviews, delays and backlogs for affirmative asylum interviews have grown. A timely and
       effective asylum office interview process is essential for maintaining the integrity of the U.S.
       asylum system and will ensure that those who are not eligible for asylum are promptly
       referred into immigration court removal proceedings. Delays also undermine the ability of
       refugees to rebuild their lives and bring stranded spouses and children to safety in this
       country. The USCIS asylum office should also have sufficient resources to conduct prompt
       and effective credible fear and reasonable fear interviews, and to conduct its interviews in
       person. These interviews are integral components of the enforcement tools of expedited
       removal and reinstatement of removal, and should be funded commensurately with the
       funding provided to CBP to conduct these summary removal processes.
§     Utilize Multiple Existing Anti-Fraud Tools. ICE and USCIS should continue and increase
       where needed their use of the many available tools for combatting fraud and abuse in the
       immigration and asylum systems. As detailed in Appendix A, these include training,
       enhanced background biographical and biometric checks, fraud detection and investigation


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       capacities, and referral of cases for criminal prosecution. If additional resources are needed,
       the Administration should request and Congress should appropriate funding to ensure that
       DHS and DOJ have the resources required to adequately combat fraud. Prosecutors should
       also prioritize prosecutions of individuals who orchestrate schemes that defraud the
       immigration and asylum systems. Prosecuting the perpetrators of fraudulent schemes will
       reduce fraud and abuse and enhance the integrity of the asylum and immigration systems, as
       well as protect the immigrants who are often victims of these schemes. The American Bar
       Association, the New York Immigrant Representation Study Group, and others have
       recommended strict penalties for those who engage in unauthorized practice of law.

§     Implement U.S. Commission on International Religious Freedom (USCIRF)
       Recommendations on those fleeing religious and other forms of persecution and
       Request Updated USCIRF Study. Department of Homeland Security and Immigration and
       Customs Enforcement should implement U.S. Commission on International Religious
       Freedom recommendations, including: using detention facilities that do not have jail-like
       conditions when asylum seekers are detained; maintaining, effectively implementing, and
       codifying the existing parole guidance into regulations; and expanding legal orientation
       presentations. Congress should request and support an updated USCIRF study on the conduct
       of expanded removal and its impact on asylum seekers.

§     End the Detention of Children and their Families, Effectively Implement Parole and
       Release Procedures. Immigration and Customs Enforcement should end the detention of
       families, a policy that runs contrary to American values and sets a poor example for the rest
       of the world. ICE should end its submission of materials and arguments relying on the flawed
       reasoning of former Attorney General John Ashcroft in Matter of D-J-, and should instead
       base bond positions on true assessments of the circumstances of the individual in question.
       ICE should also effectively implement the existing asylum parole guidance, ensuring that
       eligible arriving asylum seekers are assessed for parole under the specified criteria, and
       released when they meet those criteria; and – in accordance with that guidance – not
       releasing any individual who presents a danger to the community or flight risk. Human
       Rights First has assisted many individuals who fled persecution and arbitrary detention for
       their prodemocracy or human rights advocacy only to languish in jail-like facilities in the
       United States while awaiting adjudication of their asylum requests. The traumatizing effects
       of detention on a torture survivor are immense and have been well documented.

§     Use Cost-Effective Alternatives to Detention rather than more detention. Where
       individual asylum seekers are in need, based on an assessment of their individual
       circumstances, of supervision and/or case management to assure their appearance,
       Immigration and Customs Enforcement should utilize cost-effective alternatives to detention.
       Alternatives have been demonstrated to produce high appearance rates – with ICE’s current
       contracted supervision program reporting a 97.4 percent appearance rate at final hearings and
       an 85 percent compliance rate with final orders where case management is utilized. As Alex
       Nowrasteh of the Cato Institute has pointed out, the family detention facility in Dilley, Texas

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       will cost the U.S. government about $300 a day per person to operate—amounting to roughly
       $260 million each year. By contrast, community-based support programs and other
       alternative measures, proven to uphold appearance for immigration hearings and deportation,
       are much more fiscally prudent, costing only 17 cents to $17 a person a day. The U.S.
       Conference of Catholic Bishops and Lutheran Immigration and Refugee Services have also
       piloted and are willing to run community-based appearance support programs that can help
       make sure immigrants show up for hearings. Groups from across the political spectrum,
       including the Council on Foreign Relations’ Independent Task Force on U.S. Immigration
       Policy, the International Association of Chiefs of Police, and the Texas Public Policy
       Foundation (home to Right on Crime), have recommended alternatives to detention for their
       cost-savings. Many states are increasingly turning to the use of alternatives in the criminal
       justice system, prompted by Right on Crime and other reform experts. Congress should shift
       funding from detention to alternatives, or at least support flexibility in funding, so that
       Immigration and Customs Enforcement can utilize these alternatives to save costs in cases
       where detention is not necessary to meet the government’s need for appearance, where
       additional supervision would assure appearance, and the individual poses no danger.

§     Support Legal Orientation Programs and Access to Counsel Measures that Improve
       Fairness and Efficiency of the Immigration System. Legal Orientation Programs (LOP),
       which have been praised for their cost-effectiveness and for increasing immigration court
       efficiency, currently provide legal information and, in some cases, referrals to counsel, to
       some but not all immigration detainees. Approximately 80 percent of detained individuals do
       not have representation in their immigration proceedings. LOPs – and quality legal counsel -
       can help non-represented individuals understand their eligibility, and in some cases lack of
       eligibility, for asylum and other potential forms of immigration relief. Congress should
       sufficiently fund DOJ to ensure that LOPs are funded and in place at all facilities used for
       immigration detention. According to a 2012 DOJ report, LOP reduced the amount of time to
       complete immigration proceedings by an average of 12 days. Factoring in the savings –
       primarily to DHS through reduced length of time spent in detention – LOP has been shown to
       have a net savings of approximately $18 million. Rather than seeking to restrict funding for
       legal representation, Congress should support increased funding for counsel. Recent studies
       have confirmed that counsel in immigration proceedings encourages appearance for hearings,
       and saves government money.


Remove Unnecessary Impediments that Delay Cases and Block Refugees from this
Country’s Protection. This includes elimination of the asylum filing deadline which bars
legitimate refugees from asylum, and needlessly adds to the number of cases in the immigration
courts. As Dr. Richard Land, President of Southern Evangelical Seminary, has described, “When
people escape horror and come to the United States in desperate need of freedom and safety, we
shouldn’t turn them away because of a bureaucratic technicality.” Under no circumstances
should this flawed deadline be applied to the asylum requests of children.



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                                                                                                                                                                                                                                                        APPENDIX A
Mechanisms in the System for Addressing Fraud
The U.S. asylum system and U.S. law contain many measures that are specifically aimed at, and
closely tailored to, identifying fraud and protecting the integrity of the system. The Illegal
Immigration Reform and Immigrant Responsibility Act of 1996 (IIRIRA) contained strict
security provisions, including a requirement that identity checks be conducted against federal
government databases and records for all individuals applying for asylum. Section 208
(d)(5)(a)(i) of the INA requires that “asylum cannot be granted until the identity of the applicant
has been checked against all appropriate records or databases maintained by the Attorney
General and by the Secretary of State … to determine any grounds on which the alien may be
inadmissible to or deportable from the United States, or ineligible to apply for or be granted
asylum.” These checks can help identify fraudulent cases as well as any individual who might
present a security risk. Anti-fraud and security check measures continue to be strengthened, as
well new ones initiated, and many additional steps have been added since both 1996 as well as in
the years since the study on fraud, based on a sample of cases from 2005, reported on in the
Washington Times on February 6, 2014. Outlined below are just some of the mechanisms that are
designed to protect the immigration and asylum systems from abuse.
In December 2013 written testimony, DHS stated that: “Before individuals are granted asylum,
they must all establish identity and pass all requisite national security and law enforcement
background security checks. Each asylum applicant is subject to extensive biometric and
biographic security checks. Both law enforcement and intelligence community checks are
required – including checks against the FBI, the Department of Defense, the Department of
State, and other agency systems.” Some of the key measures that the USCIS Asylum Division
uses to prevent abuse of the asylum system include: 1
Mandatory Biographical Checks (Checks Using the Applicant’s Name, Date of Birth, and
Aliases): These include checks in USCIS Central Index System; CBP TECS; ICE ENFORCE
Alien Removal Module; FBI Name Checks; and DOS Consular Consolidated Database.
Mandatory biographical checks are conducted in multiple databases, using the applicant’s name,
date of birth, and aliases.
§                           USCIS Central Index System: In conducting background screenings, asylum applicants are
                             first checked against the USCIS Central Index System to determine if they have previously
                             been issued an alien number.
§                           TECS: They are also screened against TECS, CBP’s primary law enforcement and national
                             security database, which contains enforcement, inspection, and intelligence records. TECS
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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            See Department of Homeland Security (DHS), Combined Testimony of DHS before the House Judiciary
           Homeland Security Committee for a hearing on “Asylum Abuse: Is it Overwhelming Our Borders” (December
           12,2013) available at http://judiciary.house.gov/_cache/files/e9043d83-e429-4d21-9621-c681c6499251/combined-
           dhs-testimony.pdf; fact sheet from U.S. Citizenship and Immigration Services (USCIS) on file with Human Rights
           First; USCIS, Affirmative Asylum Procedures Manual (November 2013) available at
           http://www.uscis.gov/sites/default/files/files/nativedocuments/Asylum_Procedures_Manual_2013.pdf.

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       contains various types of information from a variety of Federal, state, local, and foreign
       sources, and the database contains records pertaining to known or suspected terrorists,
       wanted persons, and persons of interest for law enforcement and counterterrorism purposes.
§     EARM – ENFORCE Alien Removal Module: This ICE database contains records of aliens
       in detention, exclusion, and removal processes.
§     FBI name check: The FBI searches for the applicant’s name(s) and date(s) of birth in their
       records.
§     CCD – Consular Consolidated Database: Asylum office personnel access the Department
       of State’s web-based CCD to obtain information about the identity, previous travel history,
       method of entry into the U.S. and/or background of an asylum applicant.
Mandatory Biometric Checks (Checks Using the Applicant’s Fingerprints and
Photograph): These checks include FBI fingerprint check, US-VISIT/IDENT, and DOD/ABIS
vetting for certain applicants.
§     FBI Fingerprint Checks: With respect to affirmative asylum applications, as described in
       DHS’s testimony from December 2013: “A USCIS Application Support Center takes a
       complete set of fingerprints and biometrics (signature, photograph and index print) of asylum
       applicants between the ages of 12 years 9 months and 79 years. The FBI electronically
       searches the fingerprints within the Integrated Automated Fingerprint Identification System.”
       Asylum officers and immigration judges are not authorized to grant asylum until the
       applicant’s fingerprints have been run through the FBI database and the results are received
       and reviewed.
§     US-VISIT/IDENT: US-VISIT/IDENT is a DHS system managed by the National Protection
       and Programs Directorate’s (NPPD) Office of Biometric Identity Management (OBIM), and
       includes biometric information related to the travel history of foreign nationals and Watchlist
       information. It also contains visa application information owned by the Department of State.
       This system is used to confirm identity, determine previous interactions with government
       officials and detect imposters. The 10 fingerprints – referenced above in connection with the
       FBI fingerprint check - are also electronically submitted to the US-VISIT/IDENT database,
       where they are stored and matched to existing fingerprint records. This system is used to
       confirm identity and determine previous interactions with government officials. Through the
       US-VISIT SIT tool, asylum officers have the ability to verify that the person who went to the
       Application Support Center (ASC) for fingerprinting is the same person appearing at the
       asylum office for interview.
§     DOD Automated Biometric Identification System: A biometric check against the
       Department of Defense (DOD) Automated Biometric Identification System (ABIS) is
       conducted for certain cases.
§     National Counterterrorism Center: The Asylum Division also screens the biographic
       information of new asylum applicants against the National Counterterrorism Center’s
       terrorism holdings.

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For protection requests that enter the system through the credible fear process, the DHS
testimony explains that USCIS Asylum Officers conduct a mandatory check of both TECS
(described above) and US-VISIT/IDENT (referenced above) during the credible fear process.
These checks help to confirm identity and inform lines of questioning. In addition, with respect
to cases that enter the system through the credible fear process, asylum officers – at the credible
fear stage - also ensure that the Federal Bureau of Investigation (FBI) name check and
fingerprint checks have been initiated. DHS, in its December testimony, stated that “The USCIS
asylum officer’s determination as well as information on the individual’s identity, including how
he or she established it, results of the security checks, and any adverse information is recorded
and placed in the alien’s file upon completion of the credible fear process. This information is
then provided to ICE.” As a result, ICE will have this information with respect to individuals
who pass the credible fear screening process and are put into immigration court removal
proceedings and to consider in detention determinations.
Fraud Detection and National Security Teams
USCIS’s Office of Fraud Detection and National Security aids in identifying fraudulent asylum
claims by training asylum officers and providing technical support. Through this office, asylum
officers may refer suspected fraudulent applications to ICE for criminal investigation and
prosecution. These specially trained officers review asylum files to monitor the asylum caseload
for fraud and they liaise with various law enforcement entities. These officers also help train
asylum officers on detecting and addressing fraud. The FDNS officers also conduct in-depth
vetting on cases with national security concerns. This includes liaising with local Joint
Terrorism Task Forces regarding these cases. Asylum Offices also have on their staff trained
document experts, Forensic Document Laboratory Certified Document Instructors (FDLCDIs),
who have been trained by the Department of Homeland Security’s Forensic Document
Laboratory. FDLCDIs examine for fraud documents submitted to the Asylum Office by asylum
applicants and train Asylum Office staff on how to recognize certain documents for irregularities
and fraud indicators.
Asylum Officer Training and Mandatory Supervisory Review of all Asylum Decisions
Affirmative asylum interviews and credible fear interviews are conducted by specially trained
USCIS asylum officers who are trained and dedicated full-time to the adjudication or screening
of protection claims. They are, as DHS has explained in recent testimony, extensively trained in
national security issues, the security and law enforcement background check process, eligibility
criteria, country conditions, interview techniques, making proper credibility determinations, and
fraud detection. During an asylum interview, “The asylum officer fully explores the applicant’s
persecution claim, considers country of origin information and other relevant evidence, assesses
the applicant’s credibility and completes required security and background checks. The asylum
officer then determines whether the individual is eligible for asylum and drafts a decision.”
Supervisors review 100 percent of asylum officers’ determinations prior to issuance of a final
decision, and they also review 100 percent of credible fear determinations.



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Government-Funded Interpreter Monitors
Current regulations require that asylum applicants provide interpreters at their own expense
when they cannot proceed effectively in English at the asylum interview. The Asylum Division
uses neutral, government-funded interpreters to monitor the interpretation of asylum interviews
at all Asylum Offices, in order to ensure that interpreters brought by applicants are correctly
interpreting interview questions and answers. Procedures for securing an interpreter monitor
apply in all affirmative asylum cases where the applicant does not speak English.
When cases are referred from the USCIS Asylum office into the immigration courts, the
information used by the asylum office to make a determination on the individual’s claim,
including the interview notes, biographic information, completed security checks and decisional
documents, is placed into the individual’s file and is available for use by ICE attorneys during
immigration court removal proceedings.
Applicants Who Knowingly Make a Frivolous Application Permanently Barred
INA 208(d)(6) provides that “If the Attorney General determines that an alien has knowingly
made a frivolous application for asylum, the alien shall be permanently ineligible for any
benefits under the Act.”
Asylum Applications Signed Under Penalty of Perjury
When the legacy Immigration and Naturalization Service (INS) overhauled the asylum system in
1995, it revised the asylum application form to require both the asylum applicant and the
individual preparing the application to sign the application “under penalty of perjury” that the
application and the evidence submitted with it are true and correct. In addition, the asylum
applicant is put under oath at the Asylum Office interview, and must execute a record of that
oath. The interpreter must also be placed under oath and execute a record of oath as well.
Fraudulent Filers, Preparers, and Attorneys Can Be Prosecuted
Individuals who seek to defraud the immigration and asylum system can be and have been
prosecuted. Unscrupulous “notarios” and attorneys take advantage of immigrants by untruthfully
telling them they are eligible for certain benefits and then preparing fraudulent applications –
including asylum applications – for large fees. To facilitate prosecution of fraudulent filers,
USCIS is a member of the Immigration and Customs Enforcement’s (ICE) Document and
Benefit Fraud Task Force, which coordinates with U.S. Attorney’s Offices to identify and
prosecute fraudulent immigration benefit claims. Charges have been brought against such
preparers in many states, including California, New York, Texas, Florida, and Arizona. On June
9, 2011 the Federal Trade Commission with the Departments of Justice and Homeland Security
announced a multi-agency, nationwide initiative to combat immigration services scams.
Identification and Response to Fraud and Abuse in the Immigration Court System
As noted above, asylum applicants can only be granted asylum if the identity of the applicant has
been checked against all appropriate records or databases. EOIR also has a Fraud Program
designed to assist court judges and staff with identifying fraudulent cases and systemic evidence

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of schemes to defraud the system. In addition, ICE trial attorneys are charged with identifying
potential fraud. In cases before the immigration court, where ICE trial attorneys may present
evidence if the government suspects fraud, Immigration Judges have the authority to find a case
fraudulent or frivolous, a finding that comes with severe consequences for the applicant.
In addition, as described by EOIR Director Juan Osuna in November 2013 testimony before the
House Committee on Oversight & Government Reform Subcommittee on National Security:
“EOIR has a robust and active program for identifying and referring claims of fraud encountered
by immigration judges and the BIA. ….The complaints and requests for assistance the Fraud and
Abuse Program receives each year are almost evenly divided between unauthorized practice of
immigration law (UPIL) complaints and fraudulent claims perpetrated against the government.”
That testimony also stated that: “Because EOIR has no authority to conduct investigations or
prosecute, UPIL complaints are referred to federal, state and local law enforcement, and bar
associations for investigation and prosecution. EOIR also files complaints of UPIL fraud with the
Federal Trade Commission’s Consumer Sentinel Network (Sentinel) and collaborates with
USCIS’s Fraud Detection and National Security Directorate and other government agencies in
combating fraudulent immigration activity. EOIR consistently is among the top-ranked
government agencies in referring UPIL fraud to Sentinel.” EOIR also regulates the professional
conduct of immigration attorneys and representatives, EOIR’s Disciplinary Counsel investigates
complaints involving alleged misconduct associated and can initiate formal disciplinary
proceedings. Since the program’s inception in 2000, EOIR reports that it has disciplined more
than 1,100 attorneys.
Wrongdoers and Security Threats Excluded from Protection
In addition, the Refugee Convention’s “exclusion clauses” require host countries to exclude from
the Convention’s protections any person who has committed heinous acts or grave crimes that
make him undeserving of international protection as a refugee, even if that individual has a well-
founded fear of persecution. A separate provision of the Convention allows the return of a
refugee who poses a danger to the security of the host country. The United States incorporated
into its law the Refugee Convention’s promise to provide protection to refugees, but also
codified bars to asylum and withholding of removal intended to reflect the Convention’s
exceptions.
U.S. immigration laws prohibit granting asylum and any form of refugee protection to: people
who engaged in or assisted in or incited the persecution of others; people who have been
convicted of a particularly serious crime in the United States; people who have committed a
serious non-political crime abroad; people who have engaged in terrorist activity; people who are
representatives of foreign terrorist organizations; or people who otherwise pose a threat to the
security of the United States.2
The recent exemptions to immigration law inadmissibility provisions issued by the Department
of Homeland Security in February 2014 – pursuant to authority provided by Congress –
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 INA § 208(b)(2) (8 U.S.C. § 1158(b)(2)) (bars to asylum); INA § 241(b)(3)(B) (8 U.S.C. § 1231(b)(3)(B)) (bars to
withholding of removal).

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specifically exclude a long list of individuals including anyone who poses a danger to the safety
and security of the United States or has not passed all relevant security and background checks.
These exemptions do not apply to situations involving groups that are actually listed or
designated as “terrorist organizations” by the United States government. These inadmissibility
provisions have ensnared refugees with no real connection to terrorism, such as a refugee from
Burundi who had a rebel group rob him of four dollars and his lunch and an Iraqi former
interpreter for the U.S. Marine Corps was informed that his past connection to a Kurdish group
allied with the United States and opposed to Saddam Hussein made him inadmissible. These
exemptions do not address the situation of individuals who had innocent interactions with
designated or listed groups – like for instance, an Iraqi widow who had a member of a designated
terrorist organization buy flowers in her flower shop (incidentally while the group was under
U.S. military protection).3
The Importance of a Timely and Effective Process in Deterring Abuse
The integrity of any system is protected by its ability to operate fairly and in a timely manner. In
the 1990s, the asylum system was under-resourced and under-staffed. Faced with a large number
of asylum filings prompted by a wave of brutal civil wars and human rights abuses in Central
America, the asylum system developed a substantial backlog. This multi-year backlog and lack
of adequate staffing left the U.S. asylum system vulnerable to abuse. Some individuals sought to
exploit the system. Some people were told by unscrupulous lawyers or others that they could
sign a form and would then be allowed to remain in the United States for years with work
authorization. This backlog had a devastating impact on the cases of many bona fide asylum
seekers. Their lives were in limbo for years, and the delays in their asylum grants left many
separated from their children and spouses for years.
The U.S. Immigration and Naturalization Service (INS) launched a major reform effort and took
a number of steps to address these challenges. These steps included quicker adjudications,
quicker referrals to deportation proceedings for those not granted asylum after an asylum
interview, and increased staffing to ensure timely adjudication. The INS also terminated the
automatic grant of work authorization to asylum applicants at the time they apply – a step that
has left many legitimate asylum seekers without the means to support themselves while they
await adjudication of their asylum requests.4
As a result of the asylum processing improvements that were put in place at the time, and
continued for many years after, individuals who applied for asylum would generally have their
asylum interviews within a month or two of filing. Individuals who applied for asylum saw their
cases promptly put into removal proceedings if they were not found eligible for asylum by the
asylum office. However, in recent years, due to inadequate funding and increased demand,
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 For more background, see Human Rights First, Refuge at Risk: The Syria Crisis and U.S. Leadership, November
2013; Human Rights First, Denial and Delay: The Impact of the U.S. Immigration Law’s “Terrorism Bars” on
Asylum Seekers and Refugees in the United States, 2009.
4
 Human Rights Watch and the Seton Hall University School of Law’s Center for Social Justice “At Least Let Them
Work: The Denial of Work Authorization and Assistance for Asylum Seekers in the United States,” November
2013.

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backlogs and delays have been allowed to grow in both the asylum and immigration court
systems.
At USCIS, the asylum division has redeployed its asylum officers to address the escalating
number of credible fear interviews at the border. Backlogs in the asylum office have risen over
the last two years and some asylum seekers are now waiting many months and sometimes longer
for their interviews. While prompt conduct of credible fear interviews should be a top priority,
USCIS needs the resources and staffing to conduct prompt in-person credible fear interviews as
well as to conduct affirmative asylum interviews in a timely manner. Adequate staffing and
resources are essential for maintaining the integrity of the asylum system.
The immigration court system, which is within the Department of Justice’s Executive Office for
Immigration Review (EOIR), has for a number of years been widely acknowledged to be
overstretched, backlogged, and underfunded.5 In recent years, resources for immigration
enforcement have escalated or remained high, leading many more cases to be place into
immigration court removal proceedings. At the same time, the resources for the immigration
court system have lagged behind leaving the immigration courts under-staffed. Over 350,000
immigration removal cases, including those involving claims for asylum, have now been pending
for an average of 570 days.6
The Administrative Conference of the United States (ACUS), based on its study of the
immigration court system, concluded in June 2012 that the immigration court backlog and “the
limited resources to deal with the caseload” present significant challenges. In 2010, the
American Bar Association’s Commission on Immigration, in its comprehensive report on the
immigration courts, concluded that “the EOIR is underfunded and this resource deficiency has
resulted in too few judges and insufficient support staff to competently handle the caseload of the
immigration courts.”
The delays and burden on the immigration courts can be exacerbated when cases that could or
should be granted at the asylum office level are put into the immigration court system. As
documented by a comprehensive statistical study on the asylum filing deadline, thousands of
asylum cases have been placed into the immigration court system unnecessarily due to the
asylum filing deadline.7 Other categories of asylum cases could also be more efficiently resolved
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 American Bar Association, Reforming the Immigration Detention System (2010), pp. 2-16 available at
http://www.americanbar.org/content/dam/aba/migrated/Immigration/PublicDocuments/aba_complete_full_report.aut
hcheckdam.pdf; Administrative Conference of the United States (ACUS), “Immigration Removal Adjudication,
Committee on Adjudication, Proposed Recommendation, June 14-15, 2012,” available at http://www.acus.gov/wp-
content/uploads/downloads/2012/05/Proposed-Immigration-Rem.-Adj.-Recommendation-for-Plenary-5-22-12.pdf
6
 Immigration Court Backlog Tool. Backlog as of December 2013. Transactional Records Clearing House available
at http://trac.syr.edu/phptools/immigration/court_backlog/.
7
 Philip G. Schrag, Andrew I. Schoenholtz, Jaya Ramji-Nogales, and James P. Dombach. “Rejecting Refugees:
Homeland Security’s Administration of the One-year Filing Deadline.” William and Mary Law Review. 52, No. 3
(2010); Human Rights First. The Asylum Filing Deadline: Denying Protection to the Persecuted and Undermining
Government Efficiency (November 2010).

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if they were referred initially to the USCIS asylum office.8 The lack of legal counsel for asylum
seekers and other immigrants, in part exacerbated through detention practices that inhibit access
to counsel, also impacts the efficiency and fairness of the immigration court system. EOIR itself
has explained that: “Non-represented cases are more difficult to conduct. They require far more
effort on the part of the judge.”9
Court backlogs and extended asylum processing times also have a grave impact on asylum
seekers themselves. While they wait – sometimes two to three years - to have their claims heard,
many remain separated from spouses and children who may be in significant danger in their
home countries. Without access to work authorization for months or longer while awaiting their
immigration court hearings, many asylum seekers are unable to support themselves and their
families. Some become homeless or destitute. As the pro bono leaders at some of the nation’s
leading law firms wrote in June 2013, the backlog in the immigration courts is resulting in years-
long delays and making it increasingly difficult to recruit pro bono counsel.10




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 Charles H. Kuck, Legal Assistance for Asylum Seekers in Expedited Removal: A Survey of Alternative Practices
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               EXHIBIT 13
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IMMIGRATION



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The Biden Administration Has
Suspended A Trump-Era Policy That Put
Immigrants At Risk Of Being Deported
Without Due Process
The decision comes after BuzzFeed News inquired about data detailing how the little-
known policy was used for several immigrants this year.


           Hamed Aleaziz
           BuzzFeed News Reporter


Updated on October 14, 2021, 10:26 pm
Posted on October 14, 2021, 8:28 pm
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Immigrants from Honduras are escorted back across the border in Hildalgo, Texas.
David J. Phillip / AP
A Trump-era policy that allows ICE officers to arrest and rapidly deport certain undocumented
immigrants without access to a judge was suspended by the Biden administration Thursday after
BuzzFeed News obtained government data that showed it had been used several times this year.


“DHS’s review of expanded expedited removal is ongoing. This particular application of
expedited removal was used in an exceedingly small number of cases under the Biden
Administration and will not be used moving forward until the Department’s review is completed,”
a DHS spokesperson said in a statement.


From Jan. 20 to late August, ICE officials said they have deported four immigrants under the
policy, including one person who was not in possession of a valid visa in the Dallas area and
another who had entered the country through Texas in late June without authorization. Prior to
Jan. 20, 17 immigrants had been deported since the implementation of the so-called expanded
expedited removal policy last October.
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The data given to BuzzFeed News by ICE appears to be the first public acknowledgment by
government officials on the use and scope of the policy.


“The administration is right to direct that expanded expedited removal not be used while review is
ongoing. [Department of Homeland Security Secretary Alejandro] Mayorkas should now move
swiftly to rescind this Trump era policy,” said Anand Balakrishnan, an ACLU attorney who led a
lawsuit over the policy.


The controversial effort, which was initially instituted in 2019 by the Trump administration and
faced an immediate legal challenge that delayed its deployment, allows ICE officers to arrest and
deport undocumented immigrants without a hearing in front of an immigration judge. The policy
was blocked by a federal judge in 2019 before an appellate court lifted the preliminary injunction
last year. ICE officials later issued guidance to its officers last October on how to use it.


At the time of its implementation, the effort was seen as a way the Trump administration could
increase deportations while circumventing a court system that is severely backed up and short on
resources. Advocates for immigrants have said it would destroy their due process rights and
questioned the use of “expedited removal” away from the border, where it had been previously
used. Within the US, ICE officers typically arrest immigrants and place them into deportation
proceedings. These include a hearing before an immigration judge — a process that can take
years.


Since last year, questions about the scale and scope of the expansion of expedited removal have
gone unanswered.


The data provided to BuzzFeed News also comes months after President Joe Biden ordered
Mayorkas in February to review the policy and decide whether to modify, revoke, or rescind it. It
was expected that the Biden administration would move to undo the policy.


“The review shall consider our legal and humanitarian obligations, constitutional principles of due
process and other applicable law, enforcement resources, the public interest, and any other factors
consistent with this order that the Secretary deems appropriate,” Biden wrote.


“Expedited removal” is most commonly used within 100 miles of the border and for those who
have been in the country for up to two weeks. Border officials long used expedited removal near
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the border, regardless of administrations. The changes made by Trump officials, however, were
unprecedented. In July 2019, Trump expanded the policy so that expedited removal could be used
anywhere in the country and for anyone who could not prove that they had lived in the US for
longer than two years.


Experts have noted that the vast majority of unauthorized immigrants have lived in the US for 10
years or more, but said such a policy would instill fear within immigrant communities. What’s
more, while ICE officials told officers and prosecutors last year that immigrants could use
bankbooks, leases, school records, employment records, or other materials to prove the length of
their presence in the country, advocates have explained that such information could be difficult to
quickly round up, especially if the person is in detention.


Marielena Hincapié, executive director of the National Immigration Law Center, said any
continued use of the expanded expedited removal policy would directly contradict Biden's
promise to revamp the immigration system.


"This policy promotes racial profiling and eviscerates due process by allowing immigration
officers to rapidly deport people – including those with meaningful ties here – without ever
appearing before an immigration judge," Hincapié said in a statement. "Like the
administration’s recent decision to label people seeking safety and a better life at our borders as
security threats in their new enforcement guidelines, this is yet another example of how the Biden
administration continues to rely on destructive immigration policies and a failed deterrence-based
strategy."


In a 2019 lawsuit, the ACLU and the American Immigration Council challenged the expansion of
expedited removal, noting that the policy allows for officers to deport immigrants soon after they
are arrested without a chance to speak to their attorneys or gather evidence. The new process was
a “major departure” from a century-long norm of allowing noncitizens in the United States with
“notice, access to counsel, an opportunity to prepare, and a contested hearing when they face
removal.”


Since its creation two decades ago, the lawsuit notes, expedited removal was only authorized in
limited circumstances, specifically for those arrested near the border shortly after arrival into the
US. The group argued that the experience with expedited removal at the border should dissuade
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the courts to allow its use throughout the country, specifically finding that the government had
wrongly deported individuals, including US citizens, through the process.


“The unprecedented expansion means that low-level DHS officers can now immediately subject
hundreds of thousands of additional individuals to expedited removal, without any consideration
of their family ties — including ties to U.S. citizen or lawful permanent resident family members
— or their strong ties to their communities,” the group wrote in its initial complaint.


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                               Biden’s Approach To Immigration Is Causing A
                               Huge Internal Rift And Leading To A Lot Of
                               Confusion




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                 BuzzFeed News Reporter




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tnbÿorYnÿpde_ÿodÿebs\bnoÿqdWnYZbe]oYdWÿdpÿfWYoY]^ÿkVmVÿdeÿ~bWb]^ÿdpÿkVmVuÿÿkbpbeebZÿ]qoYdWÿYnÿ]ÿZYnqeboYdW]e`ÿ
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tvmfvÿ_]`ÿebb̄qoÿ̀d\eÿn\_YnnYdWÿ]WZÿebo\eWÿYoÿodÿ̀d\ÿYorÿYWnoe\qoYdWnÿodÿebn\_Yoÿ̀d\eÿebs\bnoÿq^dnbeÿodÿorbÿb|xYe]oYdWÿ
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pdeÿ~bWb]^ÿebs\bnodenuÿfpÿ̀d\ÿ]ebÿa^YWyÿ_debÿor]WÿdWbÿ̀b]eÿ]pobeÿ̀d\eÿ^]noÿxbeYdZÿdpÿZbpbeebZÿ]qoYdWÿb|xYebZÿdeÿ]oÿ]W`ÿ
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 EFGHÿJKÿGÿFJFQQÿOOJGÿRQOÿMNOPQKLKÿQRÿFJKÿSQOTUÿ
VWÿYWZY[YZ\]^ÿ_]`ÿbÿqdWnYZbebZÿpdeÿfWYoY]^ÿkVmVÿYpÿrbÿdeÿnrbÒÿ
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ÕÖ×ÿØÙÚÛÜÝÿØªÞÖßàÞáªÿâÜãÛâãÛäÿ                                                                            åæÿÜÿçÿÜèÿ
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3J21-ÿ-ÿ28ÿ.J6ÿ7-ÿÿ.Jÿ1ÿ237ÿ.128ÿ212-ÿ3-ÿ38ÿ.ÿ0-27ÿy2ÿ1ÿ
5, 1ÿO0y5P6ÿ312ÿ3Jÿÿ-1ÿ1ÿ812ÿ2Q 4ÿ5ÿ2ÿ-23ÿ.ÿÿ3132ÿ2,ÿ++13 ÿÿ
   286ÿ2ÿ277ÿ-ÿ81ÿÿ++13 ÿ1ÿ2.ÿ.ÿ-6ÿ36ÿ-ÿ711ÿ1ÿ812ÿ++13 4ÿ
9ÿ812ÿ3132ÿ++13 6ÿ81ÿ3 ÿÿÿ1.ÿ2z23ÿ.{ÿ
|MN1ÿ+21,--ÿ12ÿ.12}-ÿ77ÿ1231ÿÿ.ÿ2Q ~
MN1ÿ2,2-ÿ-ÿ-211-ÿ77ÿ1ÿ.ÿ1231ÿ1 -ÿ6ÿ-ÿ33-ÿ2.6ÿ812ÿ2Q ~ÿ-
M977ÿ1ÿ.ÿ1231ÿ2ÿ13+76ÿ26ÿ-ÿ122ÿÿ.ÿ3ÿ1ÿT74
5ÿ81ÿ7ÿ1ÿ-ÿ812ÿ3132ÿ2,ÿ++13 6ÿ2ÿ38ÿ-8ÿ812ÿ++714ÿ072ÿ1ÿ13+78ÿ2.ÿ.ÿ
  1ÿ38ÿ27ÿÿ.ÿ-7ÿ1ÿ812ÿ-22-ÿ1ÿ2Q 4ÿ/0150ÿ386ÿÿÿ-216ÿ2,ÿ.ÿ1771ÿ1ÿ
2ÿ31324ÿ
)x($MÿN1ÿ.17-ÿ33ÿ737ÿ+.111+ÿ1ÿ2Q -ÿ-13 ÿ7 ÿ.ÿ5 21 ÿ+T778ÿ 2ÿ81ÿ1ÿ
 33ÿÿ127ÿ-13 4ÿ/0150ÿ38ÿ2Q ÿÿ127ÿ-13 ÿÿ8ÿ3ÿ-2ÿ12ÿ+21 4ÿ5ÿ2ÿ2Q ÿÿ
127ÿ-13 ÿ213ÿ816ÿ2ÿ277ÿ22ÿÿ1ÿ81ÿ2ÿ/0150ÿ-23ÿÿ1ÿ712ÿ-ÿ.ÿ1274ÿ
smtiuÿ5ÿ81ÿ33ÿ127ÿ-13 ÿ2.ÿ.8ÿ2ÿ1ÿ2Q2-ÿ12ÿ2Q -6ÿK#Kÿh nÿj$%)nÿ%hÿg%ÿdÿ
'(eÿ%hMÿ

0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                   ÿÿ1ÿ9ÿ
           Case 1:25-cv-00190-JMC           Document 50-23         Filed 06/10/25       Page 269 of 305


!"#ÿÿ%&ÿ()*ÿ+*,-./ÿ0ÿ1)2*-34/ÿ5./6ÿ.4&)7-0/.)4ÿ.4ÿ0ÿ&)73.84ÿ9048*083:ÿ()*ÿ-*+/ÿ09+)ÿ+*,-./ÿ0ÿ&*99ÿ;489.+6ÿ
/704+90/.)4<ÿ=63ÿ/704+90/)7ÿ-*+/ÿ+.84ÿ0ÿ237/.>20/.)4ÿ/60/ÿ/63ÿ;489.+6ÿ9048*083ÿ/704+90/.)4ÿ.+ÿ2)-?93/3ÿ041ÿ022*70/3:ÿ041ÿ
/60/ÿ63ÿ)7ÿ+63ÿ.+ÿ2)-?3/34/ÿ/)ÿ/704+90/3ÿ&7)-ÿ/63ÿ&)73.84ÿ9048*083ÿ.4/)ÿ;489.+6<ÿ=63ÿ237/.>20/.)4ÿ-*+/ÿ09+)ÿ.429*13ÿ/63ÿ
/704+90/)7@+ÿ+.840/*73:ÿ?7.4/31ÿ40-3:ÿ/63ÿ+.840/*73ÿ10/3:ÿ041ÿ/63ÿ/704+90/)7@+ÿ2)4/02/ÿ.4&)7-0/.)4<ÿ
BCDECÿD"FÿDGG#ÿH)7ÿ011./.)409ÿ.4&)7-0/.)4ÿ)4ÿ/63ÿ0??9.20/.)4ÿ041ÿ%4+/7*2/.)4+ÿ0,)*/ÿ56373ÿ/)ÿ>93:ÿ260483ÿ)&ÿ
01173++:ÿ041ÿ)/637ÿI*3+/.)4+:ÿJ.+./ÿ/63ÿKLM%LÿM)4/02/ÿM34/37ÿ0/ÿNNN#OF!#P"QRF"FFGGÿ12ÿSSÿÿTUUVWXYVYZTWÿ
[==\ÿTUUVX]XV^TWW_<ÿ=63ÿKLM%LÿM)4/02/ÿM34/37ÿ?7)J.13+ÿ.4&)7-0/.)4ÿ.4ÿ;489.+6ÿ041ÿL?04.+6<ÿ
`abcdaeafgÿijjkllkmcfaknbopkmaqjcfaknbrÿ=)ÿ73I*3+/ÿ0ÿ1.+0,.9./(ÿ022)--)10/.)4s-)1.>20/.)4:ÿ&)99)5ÿ/63ÿ.4+/7*2/.)4+ÿ
)4ÿ()*7ÿ0??).4/-34/ÿ4)/.23ÿ)7ÿ0/ÿNNN#OF!#P"QRFF"tt"u!"!v"<ÿ
wuQFGÿx"G#ÿÿ%&ÿ()*ÿ5.+6ÿ/)ÿ>93ÿ0ÿ73I*3+/ÿ&)7ÿy1J0423ÿz07)93:ÿ?930+3ÿ&)99)5ÿ/63ÿ.4+/7*2/.)4+ÿ&)7ÿ>9.48ÿH)7-ÿ%{|}|:ÿ
y??9.20/.)4ÿ&)7ÿ=70J39ÿ~)2*-34/+:ÿz07)93ÿ~)2*-34/+:ÿ041ÿy77.J09s~3?07/*73ÿ32)71+<ÿÿ\)*ÿ204ÿ83/ÿ/63ÿ-)+/ÿ2*7734/ÿ
.4&)7-0/.)4ÿ)4ÿ6)5ÿ/)ÿ0??9(ÿ&)7ÿ01J0423ÿ?07)93ÿ,(ÿJ.+./.48ÿ/63ÿKLM%Lÿ53,+./3ÿ0/ÿNNN#OF!#P"QR!ÿ)7ÿ2099.48ÿ/63ÿ
0/.)409ÿM*+/)-37ÿL37J.23ÿ.43ÿ0/ÿ^VTUUVWXYVYZTWÿ12ÿ^VTUUVX]XV^TWWÿ[==\ÿ&)7ÿ/63ÿ6307.48ÿ.-?0.731_<ÿÿM*+/)-37ÿ+37J.23ÿ
) 237+ÿ073ÿ0J0.90,93ÿ)410(ÿ{ÿH7.10(ÿ&7)-ÿ
ÿ0<-<ÿ{ÿÿ?<-<ÿ.4ÿ3026ÿK<L<ÿ/.-3ÿ)43<ÿ
QGÿ!P#ÿÿ4ÿ)7ÿ0&/37ÿy*8*+/ÿ|:ÿ|:ÿ.&ÿ()*ÿ/70J39ÿ)*/+.13ÿ)&ÿ/63ÿK4./31ÿL/0/3+ÿ,3&)73ÿKLM%Lÿ60+ÿ13/37-.431ÿ
563/637ÿ/)ÿ13&37ÿ02/.)4ÿ.4ÿ()*7ÿ20+3:ÿ()*ÿ5.99ÿ4)/ÿ,3ÿ2)4+.13731ÿ&)7ÿ13&37731ÿ02/.)4<ÿ;J34ÿ0&/37ÿKLM%Lÿ60+ÿ13&37731ÿ
02/.)4ÿ.4ÿ()*7ÿ20+3ÿ*4137ÿ~yMy:ÿ()*ÿ+6)*91ÿ4)/ÿ/70J39ÿ)*/+.13ÿ/63ÿK4./31ÿL/0/3+ÿ*493++ÿ()*ÿ60J3ÿ,334ÿ.++*31ÿ04ÿy1J0423ÿ
z07)93ÿ~)2*-34/ÿ,(ÿKLM%L<ÿKLM%Lÿ-0(ÿ/37-.40/3ÿ13&37731ÿ02/.)4ÿ.4ÿ()*7ÿ20+3:ÿ041ÿ()*7ÿ0,.9./(ÿ/)ÿ73435ÿ~yMyÿ-0(ÿ,3ÿ
01J37+39(ÿ.-?02/31:ÿ.&ÿ()*ÿ/70J39ÿ)*/+.13ÿ/63ÿK4./31ÿL/0/3+ÿ5./6)*/ÿ),/0.4.48ÿ04ÿy1J0423ÿz07)93ÿ~)2*-34/ÿ&7)-ÿKLM%L<ÿÿ
%4ÿ011./.)4:ÿ930J.48ÿ/63ÿK4./31ÿL/0/3+:ÿ3J34ÿ5./6ÿ04ÿy1J0423ÿz07)93ÿ~)2*-34/:ÿ-0(ÿ.-?02/ÿ()*7ÿ0,.9./(ÿ/)ÿ73/*74ÿ/)ÿ/63ÿ
K4./31ÿL/0/3+<ÿ
"Nÿ"ÿD"tGGÿ"tÿEÿ
#=6.+ÿ&)7-ÿ2)4+.+/+ÿ)&ÿ3.86/ÿ?07/+<ÿ3I*3+/)7+ÿ&)7ÿ%4./.09ÿ~yMyÿ041ÿ/6)+3ÿ73I*3+/)7+ÿ+33.48ÿ343509ÿ)&ÿ~yMyÿ+6)*91
     >99ÿ)*/ÿ-)+/ÿ?07/+<ÿ)53J37:ÿ)49(ÿ73I*3+/)7+ÿ&)7ÿ%4./.09ÿ~yMyÿ+6)*91ÿ2)-?93/3ÿxÿ#ÿL33ÿ,39)5ÿ&)7ÿ8730/37ÿ13/0.9<
     xÿ#ÿnklcfaknÿidkfÿkrÿy99ÿ73I*3+/)7+ÿ-*+/ÿ2)-?93/3ÿ/6.+ÿ?07/<
     flÿldÿ^Wrÿknfgÿkÿafanba¡ÿkÿcfaknceafgrÿz7)J.13ÿ/63ÿ40-3ÿ)&ÿ/63ÿ2)*4/7(ÿ56373ÿ()*ÿ073ÿ0ÿ2./.34
     041s)7ÿ40/.)409<ÿ=6.+ÿ.+ÿ4)/ÿ4323++07.9(ÿ/63ÿ2)*4/7(ÿ56373ÿ()*ÿ5373ÿ,)74<ÿ%&ÿ()*ÿ1)ÿ4)/ÿ60J3ÿ2./.34+6.?ÿ.4ÿ04(
     2)*4/7(:ÿ/(?3ÿ)7ÿ?7.4/ÿ¢+/0/393++£ÿ041ÿ?7)J.13ÿ04ÿ3¤?9040/.)4ÿ.4ÿxÿ#ÿwuu!!"ÿEv"t!"<
     xÿ#ÿ¥G!uGFGÿuÿQGÿEv"t!"#ÿy99ÿ73I*3+/)7+ÿ-*+/ÿ2)-?93/3ÿ/6.+ÿ?07/<ÿz930+3ÿ,3ÿ05073ÿ/60/ÿ%4./.09
     73I*3+/)7+ÿ-*+/ÿ?7)J.13ÿ-)73ÿ3¤/34+.J3ÿ.4&)7-0/.)4ÿ/604ÿ343509ÿ73I*3+/)7+<
     xÿ#ÿ"ÿE!!ÿ¥G¦OGÿ§¨#ÿ343509ÿ73I*3+/)7+ÿ+6)*91ÿ+.?ÿ/6.+ÿ?07/<
     xÿ©#ÿalanceªÿcfaknceÿ«jafgªÿcnmÿ¬deajÿ«cfgÿnklcfaknrÿy99ÿ73I*3+/)7+ÿ-*+/ÿ2)-?93/3ÿ/6.+ÿ?07/<
     ¬cfÿYrÿ«fcflnfªÿfaqjcfaknªÿ«a­ncfªÿcnmÿknfcjfÿnklcfaknÿkÿfÿ®¯bfkrÿy99ÿ73I*3+/)7+ÿ-*+/
     2)-?93/3ÿ/6.+ÿ?07/<
     xÿ°#ÿknfcjfÿnklcfaknªÿfaqjcfaknªÿcnmÿ«a­ncfÿkÿfÿnf¡frÿy4(ÿ73I*3+/)7ÿ*+.48ÿ04ÿ.4/37?73/37
     -*+/ÿ2)-?93/3ÿ/6.+ÿ?07/<
     xÿ±#ÿknfcjfÿnklcfaknªÿ̀jeccfaknªÿcnmÿ«a­ncfÿkÿfÿ¬bknÿ¬¡can­ÿfabÿ®¯bfªÿÿ²fÿfcn
      ³Gÿ¥G¦OG"#ÿ%&ÿ()*ÿ601ÿ+)-3)43ÿ39+3ÿ?73?073ÿ()*7ÿ73I*3+/:ÿ63ÿ)7ÿ+63ÿ-*+/ÿ2)-?93/3ÿ/6.+ÿ?07/<
     xÿ#ÿwuu!!"ÿEv"t!"#ÿy4(ÿ73I*3+/)7ÿ-0(ÿ2)-?93/3ÿ/6.+ÿ?07/ÿ.&ÿ011./.)409ÿ+?023ÿ.+ÿ433131<
#H*7/637ÿ%4&)7-0/.)4ÿ)4ÿ>99.48ÿ)*/ÿH)7-ÿ%{|~´
     w#=(?3ÿ)7ÿ?7.4/ÿ938.,9(ÿ.4ÿ,902ÿ.4<
0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                           ÿÿ1ÿ9ÿ
           Case 1:25-cv-00190-JMC           Document 50-23        Filed 06/10/25      Page 270 of 305


    ÿ!ÿ"##$ÿ#%&'(ÿ)*(+#ÿ&ÿ+,*-#&#ÿ("ÿ.&#,ÿ/.&0."ÿ&0.)ÿ'#1!#)&2ÿ!)#ÿ3456ÿ8ÿ9::;6;<=4>ÿ?=@<5A46;<=ÿ("$ÿ,(B#
       ($$.&."(-ÿ+*.#)ÿÿ&0.)ÿ)0##&ÿ()ÿ"##$#$CÿD*#ÿ'ÿ*'."&ÿ!'ÿ"(,#ÿ("$ÿE-.#"ÿF#G.)&'(&."ÿH!,I#'ÿJEKH!,I#'LÿJ.
       ("Lÿ(&ÿ&0#ÿ&*ÿÿ#(+0ÿ)0##&Mÿ."$.+(&#ÿ&0#ÿNOPQÿSTUVQW2ÿNOWXÿSTUVQW2ÿ("$ÿYXQUÿSTUVQWÿ&ÿ/0.+0ÿ!'ÿ(")/#'
       '##')Mÿ("$ÿ).G"ÿ("$ÿ$(&#ÿ#(+0ÿ)0##&C
    ZE")/#'ÿ(--ÿ1!#)&.")ÿ!--ÿ("$ÿ(++!'(&#-Cÿÿÿ("ÿ.&#,ÿ.)ÿ"&ÿ(**-.+(I-#ÿ'ÿ&0#ÿ(")/#'ÿ.)ÿ[""#2\ÿ&*#ÿ'ÿ*'."&
       [H]ÿE2\ÿ!"-#))ÿ&0#'/.)#ÿ$.'#+&#$C
    ^E--ÿ$(&#)ÿ,!)&ÿI#ÿ#"&#'#$ÿ()ÿ,,]$$]Cÿÿ_ !ÿ,(ÿ*'`.$#ÿ(**'%.,(&#ÿ$(&#)ÿ.ÿ!ÿ$ÿ"&ÿB"/ÿ&0#ÿ#%(+&ÿ$(&#C
       a ÿ"&ÿ-#(`#ÿ(ÿ$(&#ÿ'#)*")#ÿI-("BC
    b35<cdee;=fÿ?=@<5A46;<=ÿ_ !ÿ,!)&ÿ*'`.$#ÿ&0#ÿI.,#&'.+)ÿ."',(&."ÿ'#1!#)&#$ÿ."ÿ3456ÿg2ÿYXQUÿSTUVQWh
       ijklÿmnkÿÿo'`.$."Gÿ&0.)ÿ."',(&."ÿ()ÿ*('&ÿÿ!'ÿ'#1!#)&ÿ,(ÿ'#$!+#ÿ&0#ÿ&.,#ÿ!ÿ)*#"$ÿ(&ÿ!'ÿpqrqÿEqr
       (**."&,#"&C
    sÿNOWXÿjkÿuXOXQUQvXwÿxQWXyz{OXy|vwÿuyPvOXTWQwÿOv}ÿx|vXO{XÿYv~|WUOXy|vÿ|~ÿXQÿQTQhX|Wkÿq#-#+&ÿ&0#ÿI%ÿ&0(&
       ."$.+(&#)ÿ/0#&0#'ÿ),#"#ÿ."&#'*'#&#$ÿ&0.)ÿ',ÿ'ÿ!Cÿÿ(**-.+(I-#2ÿ&0#ÿ(&&'"#2ÿ(++'#$.&#$ÿ'#*'#)#"&(&.̀#2ÿ'
        &0#'ÿ."$.̀.$!(-ÿ/0ÿ0#-*#$ÿ*'#*('#ÿ&0.)ÿ',ÿ'ÿ!ÿ,!)&ÿ+,*-#&#ÿ3456ÿÿ("$ÿ).G"ÿ("$ÿ$(&#ÿ&0#ÿ',Cÿ`#'
       '#1!#)&ÿ,!)&ÿ+"&(."ÿ&0#ÿ'#1!#)&')ÿ'.G."(-ÿ).G"(&!'#CÿÿEÿ*0&+*ÿÿ(ÿ).G"#$ÿ'#1!#)&ÿ'ÿ(ÿ&*#/'.&&#"ÿ"(,#
       ."ÿ*-(+#ÿÿ(ÿ).G"(&!'#ÿ.)ÿ=<6ÿ(++#*&(I-#Cÿq.G"ÿ("$ÿ$(&#ÿ&0#ÿ',ÿ("$ÿ*'`.$#ÿ!'ÿ$(&.,#ÿ&#-#*0"#ÿ"!,I#'2
       , I.-#ÿ&#-#*0"#ÿ"!,I#'2ÿ("$ÿ#,(.-ÿ($$'#))Cÿÿÿ!ÿ('#ÿ!"$#'ÿÿ#(')ÿÿ(G#2ÿ!'ÿ*('#"&ÿ'ÿ-#G(-ÿG!('$.("ÿ,(
       ).G"ÿ&0#ÿ'#1!#)&ÿ"ÿ!'ÿI#0(-CÿEÿ$#).G"(&#$ÿ'#*'#)#"&(&.̀#ÿ,(ÿ).G"ÿ.ÿ&0#ÿ'#1!#)&'ÿ.)ÿ!"(I-#ÿ&ÿ).G"ÿ$!#ÿ&ÿ(
       *0).+(-ÿ'ÿ$#`#-*,#"&(-ÿ$.)(I.-.&ÿ'ÿ,#"&(-ÿ.,*(.',#"&C
    3456ÿÿx|vXO{XÿYv~|WUOXy|vwÿxQWXyz{OXy|vwÿOv}ÿuyPvOXTWQÿ|~ÿXQÿYvXQWWQXQWkÿÿ!ÿ!)#$ÿ("ÿ."&#'*'#&#'ÿ&
       '#($ÿ&0#ÿ.")&'!+&.")ÿ("$ÿ+,*-#&#ÿ&0#ÿ1!#)&.")ÿ"ÿ&0.)ÿ',2ÿ&0#ÿ."&#'*'#&#'ÿ,!)&ÿ--ÿ!&ÿ3456ÿÿD0#ÿ."&#'*'#&#'
       ,!)&ÿ*'`.$#ÿ0.)ÿ'ÿ0#'ÿ!--ÿ"(,#2ÿ&0#ÿ"(,#ÿÿ0.)ÿ'ÿ0#'ÿI!)."#))ÿ'ÿ'G(".(&."2ÿ("ÿ($$'#))2ÿ(ÿ$(&.,#ÿ&#-#*0"#
       "!,I#'2ÿ("$ÿ("ÿ#,(.-ÿ($$'#))Cÿÿ#ÿ'ÿ)0#ÿ,!)&ÿ(-)ÿ).G"ÿ("$ÿ$(&#ÿ&0#ÿ',C
    3456ÿÿx|vXO{XÿYv~|WUOXy|vwÿQ{OWOXy|vwÿOv}ÿuyPvOXTWQÿ|~ÿXQÿNQWh|vÿNWQOWyvPÿXyhÿQTQhXwÿY~ÿXQW
       4=ÿ6dÿdde6<5ÿÿ&0#ÿ*#')"ÿ/0ÿ+,*-#&#$ÿ&0.)ÿ'#1!#)&2ÿ.)ÿ),#"#ÿ&0#'ÿ&0("ÿ&0#ÿ*#')"ÿ"(,#$ÿ."ÿ3456
       g2ÿ0#ÿ'ÿ)0#ÿ,!)&ÿ+,*-#&#ÿ&0.)ÿ)#+&."ÿÿ&0#ÿ'#1!#)&2ÿ*'`.$#ÿ0.)ÿ'ÿ0#'ÿ"(,#2ÿ&0#ÿ($$'#))ÿÿ0.)ÿ'ÿ0#'ÿI!)."#))
        'ÿ'G(".(&."ÿJ.ÿ("L2ÿ("$ÿ0.)ÿ'ÿ0#'ÿ+"&(+&ÿ."',(&."Cÿÿÿ&0#ÿ*#')"ÿ+,*-#&."Gÿ&0.)ÿ'#1!#)&ÿ.)ÿ("ÿ(&&'"#
        'ÿ(++'#$.&#$ÿ'#*'#)#"&(&.̀#2ÿ0#ÿ'ÿ)0#ÿ,!)&ÿ)!I,.&ÿ(ÿ+,*-#&#$ÿ',ÿK2ÿH &.+#ÿÿ"&'ÿÿE**#('("+#ÿ()
       E&&'"#ÿ'ÿE++'#$.&#$ÿF#*'#)#"&(&.̀#2ÿ(-"Gÿ/.&0ÿ&0.)ÿ'#1!#)&Cÿÿ!'&0#'2ÿ&0#ÿ(&&'"#ÿ'ÿ(++'#$.&#$ÿ'#*'#)#"&(&.̀#2
       ("$ÿ(""#ÿ/0ÿ()).)&#$ÿ."ÿ*'#*('."Gÿ!'ÿ'#1!#)&2ÿ,!)&ÿ).G"ÿ("$ÿ$(&#ÿ&0#ÿ'#1!#)&CÿD0.)ÿ)#+&."ÿÿ&0#ÿ'#1!#)&
       ÿ+"&(."ÿ&0#ÿ'.G."(-ÿ).G"(&!'#ÿÿ&0#ÿ(&&'"#ÿ'ÿ(++'#$.&#$ÿ'#*'#)#"&(&.̀#2ÿ("$ÿ(""#ÿ/0ÿ()).)&#$ÿ."
       *'#*('."Gÿ!'ÿ'#1!#)&CÿEÿ&*#/'.&&#"ÿ"(,#ÿ."ÿ*-(+#ÿÿ(ÿ).G"(&!'#ÿ.)ÿ"&ÿ(++#*&(I-#C

 b;:d=cdÿ@<5ÿ?=;6;4>ÿdde6eÿ=>ÿ
 b¡ÿÿ!ÿ('#ÿ)!I,.&&."Gÿ("ÿ?=;6;4>ÿdde6ÿ'ÿ+").$#'(&."ÿÿaErEÿ&ÿpqrq2ÿ!ÿ/.--ÿ"##$ÿ&ÿ)!I,.&ÿ
$+!,#"&)ÿ)0/."Gÿ0/ÿ!ÿI#-.#`#ÿ!ÿ0(`#ÿ)(&.)#$ÿ#(+0ÿaErEÿG!.$#-."#Cÿ
g¢0(&ÿ$+!,#"&)ÿ)0!-$ÿ!ÿ)!I,.&ÿ/.&0ÿ!'ÿ',ÿKa£
  9_ !ÿ$ÿ"&ÿ"##$ÿ&ÿ)!I,.&ÿ'.G."(-ÿ$+!,#"&)ÿ!"-#))ÿpqrqÿ'#1!#)&)ÿ&0#,C
  `.$#"+#ÿ("$ÿ)!**'&."Gÿ$+!,#"&)ÿ&0(&ÿ!ÿ-#ÿ/.&0ÿ!'ÿ',ÿKaÿ)0!-$ÿ)0/ÿ&0(&ÿ!ÿ('#ÿ(&ÿ-#()&ÿ¤
     #(')ÿÿ(G#ÿ(&ÿ&0#ÿ&.,#ÿÿ-."G2ÿ.ÿ'#1!.'#$ÿJ)##ÿ&0#ÿ¥<ÿ4ÿs;>dÿs<5Aÿ?¦8§g^ÿ)#+&."ÿÿ&0#)#ÿ.")&'!+&.")ÿ'
     , '#ÿ."',(&."L2ÿ("$ÿ&0(&ÿ!ÿ,##&ÿ(--ÿÿ&0#ÿ--/."GÿG!.$#-."#)¨
     ©gª¢#'#ÿI'"ÿ(&#'ÿ«!"#ÿ¤2ÿ¬ÿJ.C#C2ÿ_ !ÿ/#'#ÿ"&ÿ(G#ÿ­ÿ'ÿ-$#'ÿ"ÿ«!"#ÿ¤2ÿ®LM
     ©§ªE''.̀#$ÿ."ÿ&0#ÿp".&#$ÿq&(&#)ÿI#'#ÿ¯ÿ#(')ÿÿ(G#M
     ©°ª(`#ÿ+"&."!!)-ÿ'#).$#$ÿ."ÿ&0#ÿp".&#$ÿq&(&#)ÿ)."+#ÿ«!"#ÿ¤2ÿ®®±2ÿ!*ÿ&ÿ&0#ÿ*'#)#"&ÿ&.,#M
0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                         ÿÿ1ÿ9ÿ
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      2ÿ2 ÿÿ!ÿ" #ÿ$ÿ1ÿ%ÿ9&ÿ898&ÿ#ÿÿ!ÿ3ÿ1ÿ3'ÿ(12ÿ2) ÿ12ÿ1 #21
          1ÿ#22#ÿ1ÿ*!ÿ"$+5$,
      -./0#ÿ1ÿ1*1ÿÿ1ÿ%ÿ9&ÿ898,ÿ#
      232ÿ22 1(ÿÿ!111&ÿ2##ÿ12ÿ24#ÿÿ25ÿ1ÿ13 11ÿ213ÿ!!ÿ!111&ÿ16#ÿ
          78 ÿ25ÿ12ÿ1!2ÿ)41 ÿ6!129#ÿ:3ÿÿ!ÿ" #ÿ$&ÿ12ÿ!ÿ(1ÿ2ÿÿ!11261(
          #!2#ÿ42ÿ1ÿ!ÿ";$;ÿ323#ÿ012ÿ12ÿ";$;ÿ+1 ÿ72#;
<=!ÿ#13 ÿ#1ÿ(1ÿ#ÿ1ÿ214#ÿ1ÿ214ÿ# (>
  $63ÿ1ÿ1ÿ(ÿ1ÿ!ÿ1111*?
  @= 12,
  A=B2!ÿ25ÿ13 #ÿ6(ÿ!11ÿ# 51,
  C=3 (ÿ11ÿ# (ÿ#13 ÿ213ÿ(12ÿ1 2(ÿ1ÿ12ÿ62ÿ(12ÿ!11ÿ#12ÿ522,
  D=3 (ÿ";$;ÿ1423 ÿ3321ÿ12ÿ1!2ÿ#13 ÿ62ÿ(12ÿ3ÿ#ÿ!112!ÿE;;&ÿ83 &ÿ4&
      #242Fÿ1 &ÿ16#242ÿ2#G,
  H=3 (ÿ!1116#ÿ123ÿ1ÿ# 51ÿ*!ÿ!11,
  I=ÿK12(ÿ# 51ÿ#13 ÿ*!ÿ!11,
  L=$6#ÿ!11ÿ5ÿ!1*ÿ#ÿ1ÿ62!,ÿ12
  M=3 (ÿ1!2ÿ#13 ÿ*!ÿ!11ÿ!ÿ(1ÿ614ÿÿ214 ;
  NOPHQÿ8:2#ÿ#13 ÿ2ÿ 61;
R=STUVÿXYZ[\]^V_ÿ\U`ÿ_TYaÿVTUVÿ̀Y[ÿZU\]ÿVYÿVT]ÿb^cV]XÿdVUV]_ÿe]fYg]ÿ̀Y[gÿhiVTÿecgVTXU`j
  $63ÿ1ÿ1ÿ(ÿ1ÿ!ÿ1111*ÿ#13 ?
  @= 12ÿ*!ÿÿ#31ÿ3 ÿ#ÿ*!ÿ(1ÿ 2#ÿ!ÿ" #ÿ$,
  A=0123ÿ56k&ÿ56k&ÿ12ÿ56kÿ32241622ÿl12#,
  C=3 (ÿ53321ÿ#ÿm2191ÿ$24ÿE5m$Gÿ12ÿ0$ÿ#13 ÿÿ(12ÿ#ÿ1ÿ 2(ÿE;;&ÿ0123ÿ5678&
      m1ÿ1ÿ3 2G,
  D=n241ÿ212#&ÿ!ÿÿ2 121ÿ' ÿ!1*ÿ(12ÿ#ÿ1ÿ241ÿ1ÿ!ÿ" #ÿ$,
  H=$!111ÿ212#ÿE;;&ÿ2 2 &ÿ212ÿ2#Gÿ213ÿ!ÿ!111ÿ!ÿ(1ÿ!4ÿ##ÿÿ!ÿ" #ÿ$&
       !1*ÿ!ÿ3ÿ1ÿ!ÿ!111ÿ#ÿ21#ÿ1ÿ!111ÿ#,
  I=ÿ01 1ÿ12ÿ3#1ÿ212#ÿ12ÿ23 ÿ12ÿ!1 191&ÿ!1*ÿ!ÿ3ÿ1ÿ!ÿ3#1ÿ1
      12ÿ!( ÿ#ÿ!ÿ#ÿ1ÿ!ÿ23 ÿ12ÿ!1 191,
  L=op1ÿ212#ÿ213ÿÿ211ÿ (ÿÿ!ÿ" #ÿ$ÿ1523ÿ(12ÿ21ÿÿÿ211ÿ231(&
      2&ÿ12ÿ ÿE;;&ÿ6 3&ÿ52ÿ1331&ÿ*##G,ÿ12
  M=3 (ÿ1!2ÿ#13 ÿ!ÿ(1ÿ614ÿÿ214 ;
=qfÿ̀Y[ÿr]fVÿVT]ÿb^cV]XÿdVUV]_ÿfYgÿ_Y\]ÿs]gcYXÿYfÿVc\]ÿe]fYg]ÿ̀Y[gÿhiVTÿecgVTXU`ÿU^Xÿg]V[g^]XÿY^ÿYgÿUfV]gÿ̀Y[g
  hiVTÿecgVTXU`ÿVYÿe]tc^ÿ̀Y[gÿZ[gg]^Vÿs]gcYXÿYfÿZY^Vc^[Y[_ÿg]_cX]^Z]uÿaTUVÿXYZ[\]^V_ÿ\U`ÿ_TYaÿVTUVÿ̀Y[
  ]_VUerc_T]Xÿg]_cX]^Z]ÿe]fYg]ÿ̀Y[gÿhiVTÿecgVTXU`j
  $63ÿ1ÿ1ÿ(ÿ1ÿ!ÿ1111*ÿ#13 ?
  @=$!111ÿ212#ÿE;;&ÿ2 2 &ÿ212ÿ2#Gÿ213ÿ!ÿ!111ÿ!ÿ(1ÿ!4ÿ##ÿÿ!ÿ" #ÿ$&
       !1*ÿ!ÿ3ÿ1ÿ!ÿ!111ÿ#ÿ21#ÿ1ÿ!111ÿ#,

0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                   ÿÿ1ÿ9ÿ
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  31!3 ÿ212"ÿ#$$%ÿ!ÿ&%ÿ'68ÿ0123 %ÿ2(1ÿ1ÿ)ÿ(ÿ1ÿ0"2ÿ13ÿ*ÿ22 %ÿ
      +2(1ÿ1ÿ)ÿ(ÿ1ÿÿ13ÿ*ÿ22 %ÿ2ÿ213ÿ31!2%ÿ12%ÿÿ!1ÿ2ÿÿ31!"%ÿ2
      213ÿ&,ÿ"ÿ1)2ÿ(23 ÿ-)ÿ-)13ÿ!1ÿ)+ÿ"1ÿ& ./
  0 13 ÿ+"ÿ)ÿ!1ÿ-2ÿ)!!ÿ2 ÿÿ)ÿ1 "ÿ2ÿ12ÿ3ÿ!2ÿ212ÿ1ÿ!12ÿ93)
      &2)"!/ÿ12
  45 !ÿ1)2ÿ2+ ÿ"13 $
6789:;ÿ=>?@ABC;DÿA:EÿD9>Fÿ;9:;ÿE>@ÿ?>C;GC@>@DHEÿIBDG=B=ÿGCÿ;9BÿJCG;B=ÿK;:;BDÿDGC?BÿL@CBÿM6NÿOPPQNÿ@Rÿ;>ÿ;9B
  STUVUWXÿZ[XU\
  2&3ÿ1ÿ1ÿ!ÿ2+ ÿ"13 ÿ)ÿ]
  ^_ ÿ2 %ÿ!ÿ& ÿ#$$%ÿ%ÿ2%ÿ)1.%ÿ12ÿ2 ÿ12ÿ2ÿ213ÿ13ÿ)1-ÿ)ÿ"
      "2ÿ-))ÿ!1ÿ2+"ÿ2+$ÿ`1ÿ3!ÿ&3ÿ)ÿ"13 1ÿ+ÿÿÿ1 !ÿ)ÿ)ÿ3ÿ1ÿ!12
      2 ÿ12ÿÿ2" %ÿÿ1ÿÿ!1ÿ 1ÿ&3ÿ1)2ÿ+"ÿ#$$%ÿ)2"ÿ2!ÿ"13 1.ÿ)
      1  ÿ!1ÿ1ÿ!12ÿ2"ÿÿ)ÿ""2 /
  31!3 ÿ212"ÿ#$$%ÿ!ÿ&%ÿ'68ÿ0123 %ÿ2(1ÿ1ÿ)ÿ(ÿ1ÿ0"2ÿ13ÿ*ÿ22 %ÿ
      +2(1ÿ1ÿ)ÿ(ÿ1ÿÿ13ÿ*ÿ22 %ÿ2ÿ213ÿ31!2%ÿ12%ÿÿ!1ÿ2ÿÿ31!"%ÿ2
      213ÿ&,ÿ"ÿ1)2ÿ(23 ÿ-)ÿ-)13ÿ!1ÿ)+ÿ"1ÿ& ./
      abcdeÿÿ5ÿÿ1ÿ)ÿ"13 %ÿ!12ÿ3ÿ"ÿ)ÿ3ÿ1ÿ)ÿ31!2ÿ12ÿ1)2ÿ2 "ÿ12f1
      3 ÿ2ÿ1ÿ)ÿ123ÿ12ÿ2%ÿÿ-ÿÿ2+ ÿ"$ÿÿg2ÿ3 ÿ"]ÿ!12ÿ""2 ÿÿ)ÿ3ÿ1
      31!3 %ÿ*ÿ21"ÿ1ÿ31!3 %ÿ21"ÿ1ÿ!1h%ÿ"ÿ"ÿ-)ÿ)ÿ31!2$ÿÿg2ÿ3 ÿ 1ÿ&
       "ÿ&!ÿ)ÿ31!2ÿ"ÿ"ÿ)ÿ31!2iÿ1 ÿ1231$
  02)11ÿ212"ÿ#$$%ÿ2 2 %ÿ212ÿ2".ÿ213ÿ)ÿ)11 ÿ)ÿ!1ÿ)+ÿ""ÿÿ)ÿ1 "ÿ2%
       )1-ÿ)ÿ3ÿ1ÿ)ÿ)11 ÿ"ÿ21"ÿ1ÿ)11ÿ"/
  4j2!ÿ212"ÿ#$$%ÿ0123ÿ 689%ÿk2(ÿ1ÿ_ÿ12ÿ)2ÿ213ÿ5+ÿ!/ÿlmnÿ0123ÿ88%
      l1ÿm2"ÿ_12ÿ1ÿ221ÿ"ÿ_12"ÿ1ÿ22+/ÿ32!ÿ21 ÿ212"/ÿ12ÿ32!ÿ))ÿ212"./
  do1ÿ12ÿ3"ÿ212"ÿ12ÿ23 ÿ12ÿ)1f1%ÿ)1-ÿ)ÿ3ÿ1ÿ)ÿ3"ÿ
      12ÿ)! ÿ"ÿ)ÿ"ÿ1ÿ)ÿ23 ÿ12ÿ)1f1/
  pÿqrÿ212"ÿ213ÿÿ21ÿ !ÿÿ)ÿ1 "ÿ2ÿ1(23ÿ!12ÿ21ÿÿÿ21ÿ231!%
      2%ÿ12ÿ ÿ#$$%ÿ&3%ÿ(2ÿ1331%ÿ-""./
  sj1!ÿ12"2ÿ2 ÿ12ÿ31!ÿ ÿÿ12ÿ1ÿ1ÿ)ÿ1 2!/ÿ 12ÿ 2/ÿ&2)ÿ2(ÿ1ÿ)"2ÿ&12
      ÿ)ÿ1 "ÿ2/ÿ""ÿ212"ÿ1ÿ&,ÿ2 1 /ÿ1221"ÿ&-ÿ!1ÿ"ÿ1)2ÿ21ÿ12
      12f1/ÿ131&ÿ ÿ2 %ÿ%ÿ+)ÿ221%ÿ$/ÿ""%ÿ312%ÿ2 ÿ23 %
      1 2 ÿ1ÿ-))ÿ!1ÿ)+ÿ&ÿÿ2!/ÿ*ÿ2 /ÿ 2ÿ1/ÿ2 /ÿ1 32,"ÿ2/ÿ12
  t5 !ÿ1)2ÿ2+ ÿ"13 $
uv>ÿwIGBxÿ=BR:I;@IBDÿGC;BII@R;ÿ?>C;GC@>@DÿIBDG=BC?By
  5ÿ&2%ÿ%ÿ"ÿ 1 ÿ&ÿ213ÿ)ÿ1 "ÿ2ÿ-ÿ1ÿ22ÿ!12ÿ1 1ÿ2"$ÿÿ5ÿ!1ÿ-2
  & ÿ213ÿ)ÿ1 "ÿ2ÿ12ÿ!ÿ21"ÿ1ÿ3%ÿ!12ÿ&ÿ-ÿ&ÿ1 "2"ÿ&2%ÿ%ÿ"ÿ 1 %ÿÿ
  -ÿ1ÿ12ÿ2ÿzÿ9%ÿ8%ÿ"ÿ&12ÿ5 ÿ9%ÿ898%ÿ"]
  ^{)ÿ&ÿ-ÿ)12ÿ"ÿ21&!ÿ"ÿ1ÿ13)ÿ)ÿ21ÿ12ÿ)ÿ&/
  {)ÿ&ÿ-ÿ1ÿ&ÿ1ÿÿ12"2ÿ1ÿ*1%ÿ"121%ÿ12ÿ231+/
  0{)ÿ&ÿ-ÿ1ÿ&ÿ1ÿÿ12"2ÿ1ÿ+1 2!ÿ"22ÿ12ÿÿ"32+ÿ2 ÿ1ÿ+1 2!ÿ"22
      &12ÿ!1ÿ-2ÿ"ÿÿ*1%ÿ"121%ÿ12ÿ231+ÿ21"/ÿ"
  4{)ÿ21ÿ1ÿ)ÿ&ÿ"12ÿ!12ÿ1 ÿ-)ÿ1 "ÿ1ÿ)ÿ1 "ÿ2ÿ-2ÿ1ÿ1 22!ÿ1ÿ-$

0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                               ÿÿ1ÿ9ÿ
           Case 1:25-cv-00190-JMC           Document 50-23          Filed 06/10/25      Page 273 of 305


  ÿÿ!"ÿ#$$%&'()*+,%-+./+ÿ1.23$4'5%3.6ÿ89:;ÿ<88ÿ=>?@ÿ<A:BCDB:ÿE@>Fÿ;GBÿHC9;BIÿJ;<;B:ÿ:9CDBÿK?CBÿLMNÿOPPQRÿ
  SCD8?IBÿ9CE>@F<;9>Cÿ<A>?;ÿ<88ÿ=>?@ÿIBT<@;?@Bÿ<CIÿ@B;?@CÿI<;B:Nÿ<CIÿ;GBÿ@B<:>CÿE>@ÿ=>?@ÿIBT<@;?@B:RÿU>D?FBC;:ÿ=>?ÿD<Cÿ
  :?AF9;ÿ;G<;ÿF<=ÿ:G>Vÿ=>?@ÿ<A:BCDBÿV<:ÿA@9BENÿD<:?<8Nÿ<CIÿ9CC>DBC;ÿ9CD8?IBNÿA?;ÿ<@BÿC>;ÿ89F9;BIÿ;>Wÿ
  Y"Z8<CBÿ>@ÿ>;GB@ÿ;@<C:T>@;<;9>Cÿ;9D[B;:ÿ>@ÿ9;9CB@<@=ÿ:G>V9C\ÿ;GBÿ;@<]B8ÿI<;B:^
  _"Z<::T>@;ÿBC;@9B:^
  `"a>;B8ÿ@BDB9T;:ÿ:G>V9C\ÿ;GBÿI<;B:ÿ=>?ÿVB@Bÿ<A@><I^
  b"c]9IBCDBÿ>Eÿ;GBÿT?@T>:Bÿ>Eÿ;GBÿ;@<]B8ÿdBR\RNÿ=>?ÿ<;;BCIBIÿ<ÿVBII9C\ÿ>@ÿE?CB@<8e^
  f"g>T=ÿ>EÿhI]<CDBÿZ<@>8BÿU>D?FBC;ÿ9::?BIÿA=ÿHJgSJ^ÿ<CI
  i"ÿhC=ÿ>;GB@ÿB]9IBCDBÿ;G<;ÿD>?8Iÿ:?TT>@;ÿ<ÿA@9BENÿD<:?<8Nÿ<CIÿ9CC>DBC;ÿ<A:BCDBR
j"kl'5ÿ-3/m4+.5,ÿ4'nÿ-+43.,5$'5+ÿ5l'5ÿn3mÿo+$+ÿp$+,+.5ÿ%.ÿ5l+ÿq.%5+-ÿr5'5+,ÿ3.ÿsm.+ÿtu6ÿvwtvx
  J?AF9;ÿD>T9B:ÿ>Eÿ<C=ÿ@B8B]<C;ÿI>D?FBC;:ÿ:?DGÿ<:W
  Y"yBC;ÿ@BDB9T;:Nÿ?;989;=ÿA988:ÿdBR\RNÿ\<:NÿB8BD;@9DNÿTG>CBeNÿ>@ÿ@BDB9T;:ÿ>@ÿ8B;;B@:ÿE@>FÿD>FT<C9B:ÿ:G>V9C\ÿ;GBÿI<;B:
      I?@9C\ÿVG9DGÿ=>?ÿ@BDB9]BIÿ:B@]9DBÿz>?ÿF<=ÿ:?AF9;ÿ;G9:ÿI>D?FBC;<;9>CÿB]BCÿ9Eÿ9;ÿ>C8=ÿG<:ÿ;GBÿC<FBÿ>Eÿ=>?@
      T<@BC;:ÿ>@ÿ8B\<8ÿ\?<@I9<C:Nÿ<:ÿ8>C\ÿ<:ÿ=>?ÿ<8:>ÿ:?AF9;ÿ>;GB@ÿB]9IBCDBÿdBR\RNÿ;G9@IÿT<@;=ÿI>D?FBC;<;9>Ceÿ;G<;
      D>CCBD;:ÿ=>?ÿ;>ÿ=>?@ÿ@B:9IBCDBÿ<;ÿ;G<;ÿ<II@B::^
  _"cFT8>=FBC;ÿ@BD>@I:ÿdBR\RNÿT<=ÿ:;?A:Nÿ{|Oÿ}>@F:NÿDB@;9~D<;9>Cÿ>Eÿ;GBÿ~89C\ÿ>Eÿ}BIB@<8ÿ9CD>FBÿ;<ÿ@B;?@C:Nÿ:;<;B
      ]B@9~D<;9>Cÿ>Eÿ;GBÿ~89C\ÿ>Eÿ:;<;Bÿ9CD>FBÿ;<ÿ@B;?@C:Nÿ8B;;B@:ÿE@>FÿBFT8>=B@:Nÿ>@Nÿ9Eÿ=>?ÿ<@Bÿ:B8EÿBFT8>=BINÿ8B;;B@:
      E@>FÿA<C[:ÿ<CIÿ>;GB@ÿ~@F:ÿV9;GÿVG>Fÿ=>?ÿG<]BÿI>CBÿA?:9CB::e^
      fÿÿSCÿ<88ÿ>Eÿ;GB:BÿI>D?FBC;:Nÿ=>?@ÿC<FBÿ<CIÿ;GBÿC<FBÿ>Eÿ;GBÿBFT8>=B@ÿ>@ÿ>;GB@ÿ9C;B@B:;BIÿ>@\<C9<;9>C
      F?:;ÿ<TTB<@ÿ>Cÿ;GBÿE>@Fÿ>@ÿ8B;;B@Nÿ<:ÿVB88ÿ<:ÿ@B8B]<C;ÿI<;B:RÿÿB;;B@:ÿF?:;ÿ9CD8?IBWÿ=>?@ÿ<II@B::ÿ<;ÿ;GBÿ;9FBÿ>E
      BFT8>=FBC;NÿB<D;ÿTB@9>I:ÿ>EÿBFT8>=FBC;NÿTB@9>I:ÿ>Eÿ8<=>Nÿ<CIÿI?;9B:ÿV9;Gÿ;GBÿBFT8>=B@RÿÿB;;B@:ÿF?:;ÿ<8:>ÿAB
      :9\CBIÿA=ÿ;GBÿBFT8>=B@ÿ<CIÿ9CD8?IBÿ;GBÿBFT8>=B@:ÿD>C;<D;ÿ9CE>@F<;9>CR
  `"JDG>>8ÿ@BD>@I:ÿdBR\RNÿ;@<C:D@9T;:Nÿ@BT>@;ÿD<@I:eÿE@>Fÿ;GBÿ:DG>>8:ÿ;G<;ÿ=>?ÿG<]Bÿ<;;BCIBIÿ9Cÿ;GBÿHC9;BIÿJ;<;B:N
      :G>V9C\ÿ;GBÿC<FB:ÿ>Eÿ;GBÿ:DG>>8:ÿ<CIÿTB@9>I:ÿ>Eÿ:DG>>8ÿ<;;BCI<CDB^
  b"989;<@=ÿ@BD>@I:ÿdBR\RNÿ}>@FÿUU|OLNÿgB@;9~D<;Bÿ>EÿyB8B<:Bÿ>@ÿU9:DG<@\BÿE@>FÿhD;9]BÿU?;=^ÿÿ}>@FÿOON
      <;9>C<8ÿ?<@IÿyBT>@;ÿ>EÿJBT<@<;9>Cÿ<CIÿyBD>@Iÿ>EÿJB@]9DB^ÿF989;<@=ÿTB@:>CCB8ÿ@BD>@I:^ÿ>@ÿF989;<@=ÿGB<8;G
      @BD>@I:e^
  f"a>:T9;<8ÿ>@ÿFBI9D<8ÿ@BD>@I:ÿD>CDB@C9C\ÿ;@B<;FBC;ÿ>@ÿG>:T9;<89<;9>CNÿ:G>V9C\ÿ;GBÿC<FB:ÿ>Eÿ;GBÿFBI9D<8ÿE<D989;9B:
      >@ÿTG=:9D9<C:ÿ<CIÿ;GBÿI<;B:ÿ>Eÿ;GBÿ;@B<;FBC;ÿ>@ÿG>:T9;<89<;9>C^
  i"ÿD9<8ÿ@BD>@I:ÿE@>Fÿ<ÿ@B89\9>?:ÿBC;9;=ÿ9Cÿ;GBÿHC9;BIÿJ;<;B:ÿD>C~@F9C\ÿ=>?@ÿT<@;9D9T<;9>Cÿ9Cÿ<ÿ@B89\9>?:ÿDB@BF>C=N
      @9;BNÿ>@ÿT<::<\BÿdBR\RNÿA<T;9:FNÿ~@:;ÿD>FF?C9>CNÿVBII9C\e^
  ">CB=ÿ>@IB@ÿ@BDB9T;:ÿE>@ÿF>CB=ÿ:BC;ÿ9Cÿ>@ÿ>?;ÿ>Eÿ;GBÿD>?C;@=^ÿT<::T>@;ÿBC;@9B:^ÿA9@;GÿDB@;9~D<;B:ÿ>EÿDG98I@BCÿA>@C
      9Cÿ;GBÿHC9;BIÿJ;<;B:^ÿI<;BIÿ@BD>@I:ÿ>EÿA<C[ÿ;@<C:<D;9>C:^ÿD>@@B:T>CIBCDBÿAB;VBBCÿ=>?ÿ<CIÿ<C>;GB@ÿTB@:>Cÿ>@
      >@\<C9<;9>C^ÿ<?;>F>A98Bÿ89DBC:Bÿ@BDB9T;:Nÿ;9;8BNÿ]BG9D8Bÿ@B\9:;@<;9>CNÿB;DR^ÿIBBI:NÿF>@;\<\B:Nÿ@BC;<8ÿ<\@BBFBC;:N
      D>C;@<D;:ÿ;>ÿVG9DGÿ=>?ÿG<]BÿABBCÿ<ÿT<@;=^ÿ;<ÿ@BDB9T;:^ÿ9C:?@<CDBÿT>89D9B:^ÿ@BDB9T;:^ÿT>:;F<@[BIÿ8B;;B@:^ÿ>@
  "hC=ÿ>;GB@ÿ@B8B]<C;ÿI>D?FBC;R
"kl'5ÿ-3/m4+.5,ÿ4'nÿ,l3oÿn3mÿl'-ÿ.3ÿ('o2m(ÿ,5'5m,ÿ3.ÿsm.+ÿtu6ÿvwtvxÿdJ?AF9;ÿI>D?FBC;:ÿ9Eÿ=>?ÿVB@Bÿ<IF9;;BI
  >@ÿT<@>8BINÿ>@ÿ>;GB@V9:Bÿ>A;<9CBIÿ<ÿ8<VE?8ÿ9FF9\@<;9>Cÿ:;<;?:Nÿ>Cÿ>@ÿABE>@BÿK?CBÿLMNÿOPLONÿ>@ÿ=>?ÿVB@Bÿ>@ÿ<@Bÿ9C
  @BF>]<8ÿT@>DBBI9C\:Re
  J?AF9;ÿD>T9B:ÿ>Eÿ<C=ÿ>Eÿ;GBÿE>88>V9C\ÿI>D?FBC;:W
  Y"}>@FÿS|NÿS|{Nÿ>@ÿS|Mÿh@@9]<8UBT<@;?@BÿyBD>@Iÿ:G>V9C\ÿ;GBÿI<;Bÿ=>?@ÿ<?;G>@9BIÿ:;<=ÿBT9@BI^

0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                           ÿ7ÿ1ÿ9ÿ
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  5ÿ1ÿÿÿ!"ÿ12#2ÿ1ÿ$"1%ÿ#&121%ÿ12ÿ231"ÿ#ÿÿ1ÿ'ÿ9%ÿ898%ÿ(3ÿÿ1&ÿ1ÿ
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  IJKLMNÿPQÿRSTUÿMVSWXSYUWÿZVÿVU[UKTUWÿSÿ[UVYKI[SYUÿZ\ÿ[Z]^JUYKZLÿZVÿSÿ[UVYKI[SYUÿZ\ÿSYYULWSL[Uÿ\VZ]ÿSÿ_àÿ̀RKMR
  b[RZZJcÿSÿ_àÿ̀^XPJK[ÿZVÿ^VKTSYUÿ[ZJJUMUÿZVÿXLKTUVbKYdcÿKL[JXWKLMÿ[Z]]XLKYdÿ[ZJJUMUNÿZVÿ[QÿRSTUÿZPYSKLUWÿSÿefg
  [UVYKI[SYUÿZVÿZYRUVÿUhXKTSJULYÿbYSYUiSXYRZVKjUWÿUkS]ÿKLÿYRUÿ_LKYUWÿaYSYUblÿm5ÿ&&"("n
  o-p5-ÿ21qÿÿ11"%ÿ#1"ÿ&2123 %ÿ11"ÿ#2 %ÿ#ÿÿ#1ÿÿ21#ÿ
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           11"%ÿ"2ÿ&2123%ÿ12ÿ13ÿ11"ÿ&2123ÿ3ÿÿ2r23 )
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          x5C5ÿ#32#ÿ(ÿÿ16&21!ÿ )ÿ12
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          x:C5ÿ1ÿ#31 2#ÿ )
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          ~PQ5ÿ##ÿÿ01"ÿ12ÿÿ&2ÿ(ÿ0#2"%ÿ%ÿ"1"%ÿ12ÿ3&"ÿ#)ÿ12
          x:C5ÿ1ÿ#31 2#ÿ )
      xC+ÿo1-1ÿ&("ÿ12ÿ&2ÿ1""ÿ12ÿ2ÿ"#ÿ133ÿ1""1
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      |-ÿ12n%ÿ#ÿÿÿ&2123ÿÿ##ÿÿ01"ÿ12ÿÿ&2ÿ(ÿ0#2"%ÿ%ÿ"1"%ÿ12ÿ3&"ÿ
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      1231ÿÿwÿ12ÿ3ÿ#ÿ#ÿ1ÿ21""3 %ÿÿ#21ÿ1ÿÿ&2123ÿ#ÿ$&#ÿ13&"1ÿ
      #%ÿÿ&2123ÿ12ÿ1ÿ&("ÿ#%ÿ#ÿÿ&2123ÿ12q#ÿ2&2 ÿ1 ÿ12311ÿ

0123ÿ56789 ÿ5 21 ÿÿ988ÿÿÿ                                                                   ÿÿ1ÿ9ÿ
           Case 1:25-cv-00190-JMC          Document 50-23         Filed 06/10/25      Page 275 of 305


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        +!*!,4.ÿ0"!$$ÿ;$&(6ÿ#%<!ÿ#ÿ(-"!ÿ&#!, (&#ÿ&#%&'(&#*ÿ(-"ÿ+!*!,4.ÿ0"!$$ÿ;$&(=ÿ
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        IJKLÿ-&*-ÿ.'-$ÿ%&+$, ÿ!,ÿÿG=H=ÿ+/$&'ÿ!ÿ+!&0("ÿ-&*-ÿ.'-$ÿ!ÿ."'#%!ÿ.'-$6
        IMKLÿ!"'*#&2"%ÿ";&0$"#(ÿÿÿG=H=ÿ-&*-ÿ.'-$ÿ%&+$, ÿ#%"!ÿ.(("ÿ$:)ÿ&#'$%&#*ÿÿDAEÿ'"!(&F'("ÿ!ÿ(-"!
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     V<7ÿ248ÿ13:R?9ÿ?B?92ÿ9?>?B135ÿÿÿ
     V<7ÿ248ÿ;94B<7?ÿ13ÿ49<F<31>@ÿM137R9<55?3ÿ:<F31589?ÿ137ÿ715?ÿ2489ÿ9?A8?:5ÿ
     V<7ÿ248ÿ:8J0<5ÿ5M?ÿ3?6?::192ÿ74680?35:ÿ49ÿ.3<5<1>ÿ9?A8?:5:@ÿ7<7ÿ248ÿ:8J0<5ÿ74680?35:ÿ54ÿ0??5ÿ?16MÿF8<7?><3?ÿ
     49ÿU?3?R1>ÿ9?A8?:5:@ÿ:??ÿ5M?ÿ:?65<43ÿ5<5>?7ÿB<7?36?ÿ=49ÿU?3?R1>ÿU?A8?:5:ÿC3>2Kÿ
     .=ÿ248ÿR?9?ÿ<::8?7ÿ1ÿ31>ÿ497?9ÿ4=ÿ?6>8:<43@ÿ7?;49515<43@ÿ49ÿ9?04B1>@ÿ7<7ÿ248ÿ<36>87?ÿ1ÿ64;2ÿ4=ÿ5M15ÿ31>ÿ497?9ÿH<=ÿ
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     .=ÿ2489ÿ?6>8:<43@ÿ7?;49515<43@ÿ49ÿ9?04B1>ÿ;946??7<3F:ÿR?9?ÿ5?90<315?7ÿJ2ÿ13ÿ<00<F915<43ÿ87F?@ÿ7<7ÿ248ÿ<36>87?ÿ1ÿ
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     49ÿ132ÿ69<0?ÿ<3ÿ132ÿ6483592ÿ45M?9ÿ5M13ÿ5M?ÿ+3<5?7ÿ,515?:@ÿ7<7ÿ248ÿ:8J0<5ÿ13ÿ49<F<31>@ÿ4D6<1>@ÿ49ÿ64895^6?95<?7ÿ
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How ICE Is Seeking to Ramp Up Deportations Through
Courthouse Arrests
    nytimes.com/2025/05/30/us/politics/ice-courthouse-arrests.html

Hamed Aleaziz, Luis Ferré-Sadurní, Miriam Jordan                                                May 30, 2025




 Federal agents detained two men after immigration court hearings in Phoenix last week.Credit...Ross D.
                                      Franklin/Associated Press

A hearing on Tuesday at immigration court in Van Nuys, Calif., was supposed to be routine
for a young family from Colombia, the first step in what they hoped would be a successful bid
for asylum.

To their surprise, the judge informed the father, Andres Roballo, that the government wished
to dismiss his deportation case. Taken aback, Mr. Roballo hesitated, then responded: “As
long as I stay with my family.”

Moments later, as they exited the courtroom into a waiting area, Mr. Roballo was encircled by
plainclothes federal agents who ushered him into a side room. Other agents guided his
shaken wife, Luisa Bernal, and their toddler toward the elevator.




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Outside the courthouse, Ms. Bernal collapsed on a bench. “They have him, they have him,”
she wailed. “We didn’t understand this would happen.”

Mr. Roballo’s arrest was part of an aggressive new initiative by Immigration and Customs
Enforcement to detain migrants at immigration courts, the latest escalation by the Trump
administration in its all-out effort to ramp up deportations.

Agents have begun arresting migrants immediately after their hearings if they have been
ordered deported or their cases have been dismissed, a move that enables their swift
removal, according to immigration lawyers and internal documents obtained by The New
York Times.

The operations, which have taken place across the country in the past week, have required a
high level of coordination between the government lawyers in the courtrooms and the ICE
officers waiting to make the arrests, according to the documents.

The tactic is a significant break from past practice, when immigration officials largely steered
clear of courthouse arrests out of concern that they would deter people from complying with
orders. Critics, including some former homeland security officials, say the practice is
deceptive and could backfire.

“Arresting people there subverts the legal process and will make others too scared to show
up in the future, ultimately pushing people further into the shadows and out of legal status,”
said Deborah Fleischaker, a senior ICE official during the Biden administration.

“We don’t actually have an immigration process if we make it impossible for people to comply
and move through the system as ours was designed,” she said. “People showing up for their
immigration court hearings are by definition complying.”

Federal officials say the initiative saves valuable resources, allowing Immigration and
Customs Enforcement to more quickly to identify migrants who are subject to deportation
rather than deploying officers to try to track down people after they leave court and often slip
out of view.

“If an individual is going through proceedings and he’s going to take a deportation order, then
and there we want to make the arrest of that individual,” Garrett J. Ripa, a senior ICE official
in Miami, said in an interview.

“It’s easier on us,” he added, noting that the approach also avoided arrests in communities.

When asked whether the arrests could deter people from showing up to court, Mr. Ripa said
it was not clear.

“I think it’s really just in the initiative stage,” he said. “So I don’t have any concrete evidence
to show one way or the other.”

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A senior ICE official said in a statement that the agency’s prosecutors still had discretion to
dismiss cases.

Tricia McLaughlin, a spokeswoman for the Department of Homeland Security, added that
most migrants who illegally entered the United States in the past two years were subject to
expedited removals.

“Biden ignored this legal fact and chose to release millions of illegal aliens, including violent
criminals, into the country with a notice to appear before an immigration judge,” she said in a
statement. “ICE is now following the law and placing these illegal aliens in expedited
removal, as they always should have been.”

The migrants being targeted in court are typically there because the federal government has
initiated deportation proceedings against them for their illegal entry into the United States,
not for other alleged crimes. A number of them may also be seeking asylum as a defense to
deportation because they fear returning to their countries.

Greg Chen, a senior director at the American Immigration Lawyers Association, said his
organization had documented dozens of arrests in courthouses across 11 states and 16
cities since last week. Those detained have included migrants whose statuses have not been
resolved by the courts or who have opposed efforts to dismiss their cases, lawyers said.

“We are concerned that this is a form of collusion between the courts and ICE,” Mr. Chen
said. “Many are eligible for asylum or other legal protections, but because the Trump
administration is pressuring judges in courtrooms to dismiss the cases so that ICE can arrest
and fast-track their deportation, it is depriving them of a fair hearing.”

A spokeswoman for the Executive Office for Immigration Review, the agency in the Justice
Department that runs the immigration courts system, declined to comment.

In New York on Wednesday, ICE officers wearing face masks and carrying photographs of
migrants they were seeking to arrest waited by the elevators of the courthouses in Lower
Manhattan. Outside, protesters tried to block vans carrying detained migrants, leading to the
arrests of 23 people.




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                                                 Image




 A homeland security agent pepper sprayed protesters as they tried to block vans after immigration court
                 hearings in Manhattan on Wednesday.Credit...The New York Times

Among the migrants arrested in a Manhattan courthouse lobby was a young Venezuelan
man who appeared to be the first public school student in New York City to be detained by
ICE since President Trump returned to office. The student, a 20-year-old named Dylan,
entered the country last year by registering through a mobile app the Biden administration
had offered migrants to temporarily live and work in the United States while they applied for
asylum.

When he showed up for a May 21 court date, his case was dismissed. He was followed into
the elevator by ICE officers, who then arrested him in the lobby, according to his mother,
Raiza.

“It was like a trap,” said Raiza, who spoke on the condition that her last name be withheld.

Dylan’s arrest followed the new playbook.

The day before, on May 20, Immigration and Customs Enforcement had circulated an
internal memo instructing government prosecutors to help deportation officers with the
operation, according to a copy obtained by The Times. The agency was seeking to arrest




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people who were either likely to be ordered deported or “amenable” to a fast-track
deportation process known as expedited removal, the memo said.

Expedited removal, which does not require a hearing before a judge, was a process
previously reserved for migrants picked up within 100 miles of the border. The Trump
administration has expanded it to apply to migrants who have been in the country for fewer
than two years.

If an undocumented migrant no longer has a case pending before the court, they can be
subject to expedited removal. Under the new policy, Immigration and Customs Enforcement
is encouraging prosecutors to look for cases that could be dismissed, which could accelerate
deportations of more people, according to the internal guidance.

The prosecutors were told to give ICE officers at least two days to plan for an arrest in court
and to give the courts a 24-hour warning as well. Prosecutors were also instructed to give
deportation officers “the exact location of the courtroom at which the alien’s hearing is being
held and an estimate of the time frame for the hearing,” the memo said.

Usually, having a deportation case dismissed is a positive outcome for a migrant. However,
according to lawyers, judges have not been informing migrants that a dismissal can now lead
to their arrest. And, in some instances, judges have agreed to dismiss cases even though
migrants objected, the lawyers said.

On the day the guidance was issued, Leandro B. Ferrer, an immigration lawyer, said that ICE
officers ambushed him and his clients — two men from Cuba with pending asylum claims —
as they left a courthouse in Phoenix. A judge had just granted a request by government
lawyers to have their cases dismissed.

“Naturally, as a lawyer, this is news that you want to hear: A dismissal in immigration court is
equivalent to dismissing the criminal charges against a defendant in criminal court,” Mr.
Ferrer said.

Then ICE officers arrested his clients, who remain detained, he said.

“It was a trap, nothing short of a trap,” said Mr. Ferrer, who predicted that the tactics could
deter migrants from showing up in court and lead to their deportations as a result of missed
hearings.

Many immigration advocates said they had never seen ICE agents in court until the past
week. Brittany Triggs, a lawyer in Buffalo, said she spotted them in the lobby, in the hallways
near restrooms and in a waiting area.

At a recent hearing, she recalled, the judge gave a Venezuelan immigrant until June 5 to
respond to the government’s motion to close his case. The hearing ended, and the man left
several minutes before Ms. Triggs. Later, she said, she wondered, “Oh my God, what if they

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arrested him anyway?”

The following morning, she checked the ICE detainee locator online and found that the man
was being held at a facility in Batavia, N.Y., about 45 minutes away.

Immigrants who enter the United States unlawfully are usually placed in deportation
proceedings and must appear in court for several hearings, even if they apply for asylum, as
their cases wind through the backlogged system.

                                               Image




  ICE agents detained a Haitian migrant at a courthouse in New York on Wednesday.Credit...David Dee
                                            Delgado/Reuters

The federal government has a right to detain people while they are in immigration
proceedings. But after they enter the United States unlawfully and are processed at the
border, immigrants are generally allowed to fight their cases while living in communities
around the country. Many are not considered public security threats, and it is expensive, if
impractical, to hold so many people in detention facilities.

In recent days, as news rapidly circulated on social media that immigrants were being
detained in court, some of them appeared to be skipping their hearings.




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On Tuesday in Van Nuys, a neighborhood in Los Angeles, only five of the 15 migrants who
had scheduled cases reported for their hearings in Courtroom 1. One was an
unaccompanied minor who had crossed the border. Another was a man who said he had
lived in the United States for a long time. A Guatemalan man attended by video.

The government lawyer asked the judge to dismiss the case of another immigrant, a woman
in a white dress, over her objection.

“I am going to dismiss your case without prejudice,” the judge, Joseph A. Weiner, told her.
“You can appeal that decision if you choose to do so.”

As she left the courtroom, the woman was immediately met by two agents. “Hola, come with
us,” one of them said, and escorted her to the room where Mr. Roballo, the Colombian man,
had been taken earlier.

Sitting outside the courthouse, Mr. Roballo’s wife was inconsolable. Ms. Bernal said she
could not grasp why only her husband had been arrested when they were all part of the
same immigration case. (Men are frequently arrested alone, leaving their wives and children
free, according to lawyers.)

The couple and their daughter had crossed the border with Mexico seven months ago, she
said, eventually settling in the San Fernando Valley, where they had friends. They had hoped
to hire a lawyer and apply for asylum.

Now, with her husband in federal custody and likely to be deported, Ms. Bernal’s emotions
were raw. “They separated my family,” she said between sobs. “I don’t know what we are
going to do.”

Her 2-year-old daughter, Mia Sofia, stood beside her. “Papa, Papa,” she called out, her voice
small but insistent as she scanned the surroundings for her father.

Wesley Parnell contributed reporting from New York.




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                                                        Democracy Dies in Darkness




    EXCLUSIVE


Immigrant arrests at courthouses signal new tactic in
Trump’s deportation push
U.S. Immigration and Customs Enforcement officers have been instructed to arrest people immediately after a
judge has ordered them to be deported or after prosecutors move to drop their cases.
May 23, 2025


By Arelis R. Hernández and Maria Sacchetti
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Masked officers descended on courthouses across the country this week and arrested stunned immigrants showing up for scheduled immigration hearings
as part of a new directive from federal officials aimed at dramatically accelerating deportations.


U.S. Immigration and Customs Enforcement officers in Arizona, Virginia and more than 20 other states have been instructed to arrest people immediately
after a judge has ordered them to be deported or after prosecutors move to drop their cases, according to internal documents issued this month and
reviewed by The Washington Post.


The Trump administration is planning to then place immigrants whose cases are dismissed and who have been in the country less than two years into a
fast-track removal process that does not involve a hearing before a judge.


The coordinated operation is the government’s latest attempt to quickly remove people from the country — even if officials have to bypass the courts — as
concern grows in the White House that President Donald Trump won’t be able to fulfill his campaign promise to remove millions of undocumented
immigrants from the United States.


Homeland Security Secretary Kristi L. Noem “is reversing Biden’s catch and release policy that allowed millions of unvetted illegal aliens to be let loose on
American streets,” department spokeswoman Tricia McLaughlin said. “ICE is now following the law and placing these illegal aliens in expedited removal, as
they always should have been.”


In January, Trump signed an executive order to expand a process known as expedited removal to speed up deportations. The measure was created in a
1996 law that sought to crack down on illegal immigration. Migrants can request asylum from immigration officers if they fear persecution if returned
home. But if they are denied, their only recourse is a cursory review by an immigration judge, not a full hearing.


Historically, expedited removals have been more commonly used at the border, but the Trump administration is expanding their use throughout the
nation’s interior. The president made a similar attempt in 2019 during his first term but was stopped by a federal judge.


The American Civil Liberties Union and other groups filed a federal lawsuit in January in the District of Columbia seeking to block the latest expansion,
saying it violates immigrants’ constitutional rights as well as other U.S. laws. They said asylum seekers “would get less due process contesting their
deportation than they would contesting a traffic ticket.”
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As the case remains ongoing in court, Trump officials are moving forward with pushing through his effort to quickly arrest and deport immigrants.
Department of Homeland Security attorneys in cities and states across the country this week moved to dismiss scores of deportation cases, saying people
were free to go. But as soon as the immigrants left the courtrooms, a phalanx of federal law enforcement officers were waiting to handcuff them and take
them to immigration detention.


In Phoenix, nearly two dozen masked federal law enforcement officers assembled in the parking garage of a U.S. office building and arrested men and
women coming out of court as family members and others protested. Seattle attorneys were stunned when government lawyers filed motions to dismiss. In
Chicago, plainclothes federal officers popped into courtrooms with lists of names, searching for their targets.
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Today, ICE showed up in large numbers at Phoenix Immigration Court. Agents waited outside while
people came out thinking their cases were over. They were taken. No warning. No lawyers. Just arrests
and a bus waiting to take them away.

If you or someone you know has to go to immigration court, do not go alone. Bring an attorney if
possible, or a trusted friend or family member who is a permanent resident or U.S. citizen. Someone
who can witness and document what happens. We need to keep each other safe and keep the public
informed about what is happening in our communities.

-

Hoy, agentes federales llegaron a las cortes de inmigración en Phoenix. Estuvieron afuera esperando a
que saliera la gente, muchos pensando que ya habían terminado su cita con inmigración. Pero se
llevaron a varias personas, sin previo aviso, sin abogado y con un camión listo para llevárselos.

Si tú o alguien que conoces tiene una cita con inmigración, no vayan solos. Vayan con un abogado si
pueden, o con alguien de confianza que sea residente o ciudadano. Alguien que pueda estar
pendiente y grabar lo que pase. Tenemos que cuidarnos entre todos y seguir denunciando lo que está
pasando en nuestras comunidades.
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More than 30 immigration attorneys around the country said they witnessed their clients being apprehended in the mass dragnet, a process they said was
unfair to people who were complying with the law by attending their court hearings and seeking legal immigration options.


San Diego immigration attorney Michael Hirman, who described himself as a Republican who voted for Trump, was in immigration court this week
representing a client who said he had been a military commander in Venezuela. The man fled because he didn’t want to “gun down fellow Venezuelans in
the street” and enforce draconian laws handed down by the authoritarian government of Nicolás Maduro, Hirman said.


The man entered the United States three days before Trump’s inauguration and immediately applied for asylum.


When government attorneys filed a motion to dismiss his client’s case — signaling they would stop their efforts to remove him from the country — Hirman
thought that meant the Venezuelan was free to pursue his request for asylum with U.S. Citizenship and Immigration Services, a less adversarial process
than in the courts. It felt like a small victory until about a dozen ICE agents approached them. It was the first time Hirman had ever had a client detained at
court that way.


“My client went from hugging his family to being led away in handcuffs,” Hirman said.


He called the move a “sneaky new policy” that trapped people who had shown up for their court hearings in good faith — and whose lives are now at risk.


While some people may make false asylum claims, Hirman said, there is no doubt that his client “will be quietly removed from this world if returned to
Venezuela.”


The Biden administration, which prioritized the deportation of criminals, dismissed tens of thousands of deportation cases because the immigrants were
minors or adults seeking refuge, leaving them to search for another form of immigration relief. Biden officials also said officers generally should not arrest
people in immigration courts, saying it could have a chilling effect on people’s willingness to show up for hearings and “impair the fair administration of
justice.”


The American Immigration Lawyers Association has been tracking the enforcement actions to determine whether this fast-track procedure violates court
rules and the rights of immigrants to appeal the termination of their cases. Greg Chen, the group’s senior director of government relations, said the
administration’s undermining of the court process will produce immediate and long-term collateral effects.
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“The Trump administration is pressuring judges in immigration courtrooms to function more like cogs in the mass deportation machinery rather than as
fair and balanced arbiters of the law,” he said. “That is not the way Americans want and understand our judicial system to work. Immigration judges should
be worried about this.”


Retired judge Jennie Giambastiani said that throughout her years working in Chicago’s immigration courts, arrests would occur only if someone was
wanted in another court for a crime. Immigration courts are civil proceedings under the Justice Department. If the government seeks to terminate a
deportation case there is little a judge can do, she said. ICE has the authority to place individuals in expedited removal and detention.


“It’s deeply disturbing and it seems unfair, but I think it is within DHS’s authority,” Giambastiani said. “The blindsiding of these people who appear in
court, it’s heartbreaking and it’s not what I want this country to be, but this is what it’s turning into.”


Detaining people who are seeking lawful status is “just a cruel tactic to spread fear amongst the community,” said attorney Melissa Shepard with the
California-based Immigrant Defenders Law Center. She said that although she expects the majority of her firm’s clients to continue going to court, there are
thousands of people fighting their case pro se — representing themselves without an attorney — who could be discouraged. Missing a hearing could result
in a deportation order.


Attorney Khiabett Osuna said she was in court Thursday when someone behind her asked for information about the case she was representing.


The man, whom she later identified as a plainclothes ICE agent, had a list he was checking and sat in the court gallery with the public, she said. Outside the
courtroom, there were about a half dozen agents with laptops reviewing lists of names.


“It’s a whole operation,” she said.




         What readers are saying
         The comments overwhelmingly criticize the tactic of arresting immigrants at courthouses, describing it as cruel, cowardly, and
         authoritarian. Many commenters express outrage at ICE agents wearing masks, likening them to secret police or gang
         members, and suggesting that this... Show more
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 May 28, 2025 - Politics & Policy



 Scoop: Stephen Miller, Noem tell ICE to
 supercharge immigrant arrests
                  Brittany Gibson, Stef W. Kight




 Photo illustration: Lindsey Bailey/Axios. Photo: Bloomberg/Getty Images


 In a tense meeting last week, top Trump aide Stephen Miller and
 Homeland Security Secretary Kristi Noem demanded that
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 immigration agents seek to arrest 3,000 people a day, according to
 two sources familiar with the meeting.

 Why it matters: The new target is triple the number of daily arrests
 that agents were making in the early days of Trump's term — and
 suggests the president's top immigration officials are full-steam
 ahead in pushing for mass deportations.

    The increased pressure on agents comes as border-crossing
    numbers have plummeted in Trump's first four months. It signals
    an increasingly aggressive approach to making arrests in non-
    border communities nationwide.

    It also comes as the Trump administration's heavy-handed tactics
    in rounding up unauthorized immigrants — and in some cases,
    legal residents and even U.S. citizens — appear to have
    contributed to President Trump's slipping poll numbers on
    immigration.

 Zoom in: Miller, the White House's deputy chief of staff and leading
 architect of President Trump's immigration policy, laid into top
 immigration officials during the May 21 meeting at Immigration and
 Customs Enforcement (ICE) headquarters in D.C., according to four
 people familiar with the meeting.

    Miller demanded that field office directors and special agents in
    charge get arrest and deportation numbers up as much as
    possible, pointing to the waves of unauthorized immigrants who
    were able to enter the U.S. during the Biden administration.

 Noem took a milder approach in pushing for more arrests, soliciting
 feedback from ICE leaders. Special government employee Corey
 Lewandowski, a former Trump campaign aide, also spoke.

    Miller's directive and tone had people leaving the meeting feeling
    their jobs could be in jeopardy if the new targets aren't reached,
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    two of the sources said. A third person said Miller was trying to
    motivate people with a harsh tone.

    It's not the first time Miller has yelled at senior DHS officials
    about getting arrest and deportation numbers up, sources said.

 Zoom out: Immigration officers have almost 49,000 people in ICE
 custody, according to the latest government data from early May.
 That's significantly more people in detention than what Congress
 has appropriated funding to accommodate.

    But even as the Trump administration has carried out a series of
    controversial deportation flights to other nations, deportation
    totals are roughly the same as they were during President Biden's
    last year in office.

    Border-area deportations are lower because fewer migrants are
    attempting to cross into the U.S., while ICE's removals from the
    country's interior have increased, according to an analysis by the
    Transactional Records Access Clearinghouse (TRAC), an
    independent organization.

 To help ramp up deportations, Capitol Hill Republicans are working
 on providing an extra $147 billion in immigration funds over the next
 10 years — part of the Trump-backed "big beautiful bill" that passed
 the House last week.




    In the meantime, DHS and ICE have begun posting official
    requests for additional staffing, bed space and resources.

    ICE also has signed agreements to open up limited, additional bed
    space at existing detention spaces across the country.

    Such efforts to add space at a New Jersey detention center
    recently led to protests that resulted in the arrest of Rep. Rep.
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    LaMonica McIver (D-N.J.), sparking outrage among Democrats.

 What they're saying: "Keeping President Trump's promise to deport
 illegal aliens is something the administration takes seriously," White
 House spokesperson Abigail Jackson said in a statement.

    "We are committed to aggressively and efficiently removing
    illegal aliens from the United States, and ensuring our law
    enforcement officers have the resources necessary to do so. The
    safety of the American people depends upon it."

 The big picture: Immigration advocates have warned that if ICE
 gets more money and resources, more Americans and legal
 immigrants will be wrongfully detained and possibly deported.

    Trump and Vice President Vance have made clear they want to
    run the largest deportation operation in the country's history,
    with a goal of a million deportations a year.




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